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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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                                                               :
In re                                                          :      Chapter 11
                                                               :
FUSION CONNECT, INC., et al.,                                  :      Case No. 19-11811 (SMB)
                                                               :
                           Debtors.1                           :      (Jointly Administered)
                                                               :
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                         SCHEDULE OF ASSETS AND LIABILITIES FOR
                                 FUSION CONNECT, INC.
                                   (CASE NO. 19-11811)




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC (7402); Fusion NBS
    Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation (3066); Fusion MPHC Group,
    Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC (3012); Fusion CB Holdings, Inc.
    (6526); Fusion Communications, LLC (8337); Fusion Telecom, LLC (0894); Fusion Texas Holdings, Inc. (2636);
    Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of Oklahoma, LLC (3260); Fusion Telecom of Missouri,
    LLC (5329); Fusion Telecom of Texas Ltd., L.L.P. (8531); Bircan Holdings, LLC (2819); Fusion Management
    Services LLC (5597); and Fusion PM Holdings, Inc. (2478). The principal executive office of the Debtors is
    located at 210 Interstate North Parkway, Suite 300, Atlanta, Georgia 30339.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                          :       Chapter 11
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FUSION CONNECT, INC., et al.,                                  :       Case No. 19-11811 (SMB)
                                                               :
                                      1
                           Debtors.                            :       (Jointly Administered)
                                                               :
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                        GLOBAL NOTES AND STATEMENTS OF
                  LIMITATIONS, METHODOLOGY, AND DISCLAIMERS
                 REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
              AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Fusion Connect, Inc. (“Fusion”) and its U.S. subsidiaries, as debtors and debtors in
possession (collectively, the “Debtors”), are filing their respective Schedules of Assets and
Liabilities (each, a “Schedule” and, collectively, the “Schedules”) and Statements of Financial
Affairs (each, a “Statement” or “SOFA” and, collectively, the “Statements” or “SOFAs”) with
the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These global notes and statements of limitations, methodology and disclaimers regarding
the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively,
the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of
all of the Schedules and Statements. The Global Notes are in addition to the specific notes set
forth below with respect to particular Schedules and Statements (the “Specific Notes” and,
together with the Global Notes, the “Notes”). These Global Notes should be referred to, and
referenced in connection with, any review of the Schedules and Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals and have relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ advisors and other professionals.
Given the scale of the Debtors’ businesses, the Debtors’ management, including Mr. Soldan, who
has executed the Schedules and Statements of each of the Debtors, has not (and practically could
1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC (7402); Fusion NBS
     Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation (3066); Fusion MPHC Group,
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     Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of Oklahoma, LLC (3260); Fusion Telecom of Missouri,
     LLC (5329); Fusion Telecom of Texas Ltd., L.L.P. (8531); Bircan Holdings, LLC (2819); Fusion Management
     Services LLC (5597); and Fusion PM Holdings, Inc. (2478). The principal executive office of the Debtors is
     located at 210 Interstate North Parkway, Suite 300, Atlanta, Georgia 30339.



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not have) personally verified the accuracy of each statement and representation in the Schedules
and Statements, including, but not limited to, statements and representations concerning amounts
owed to creditors.

        The Schedules and Statements are unaudited and subject to potential adjustment. In
preparing the Schedules and Statements, the Debtors relied on financial data derived from their
books and records that was available at the time of preparation. The Debtors’ management team
and advisors have made reasonable efforts to ensure that the Schedules and Statements are as
accurate and complete as possible under the circumstances; however, subsequent information or
discovery may result in material changes to the Schedules or Statements and inadvertent errors,
omissions, or inaccuracies may exist. Notwithstanding any such discovery, new information, or
errors or omissions, the Debtors do not undertake any obligation or commitment to update the
Schedules and Statements.

        The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including, but not limited to, the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, identity of debtor or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’
rights or an admission with respect to their chapter 11 cases, including, but not limited to, any
issues involving objections to claims, substantive consolidation, equitable subordination, defenses,
characterization or re-characterization of contracts and leases, assumption or rejection of contracts
and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to
recover assets or avoid transfers.

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

               1. Description of the Cases. The Debtors commenced with this Bankruptcy Court
                  voluntary cases under chapter 11 of the Bankruptcy Code on June 3, 2019
                  (the “Commencement Date”). The Debtors are authorized to operate their
                  businesses and manage their properties as debtors in possession pursuant to sections
                  1107(a) and 1108 of the Bankruptcy Code. On June 3, 2019, the Bankruptcy Court
                  entered an order authorizing the joint administration of the cases pursuant to
                  Bankruptcy Rule 1015(b). On June 18, 2019, the United States Trustee for the
                  Southern District of New York (the “U.S. Trustee”) appointed an official
                  committee of unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy
                  Code (the “Creditors’ Committee”).

          2.        Basis of Presentation. For financial reporting purposes, the Debtors generally
                    prepare consolidated financial statements, which include financial information for
                    the Debtors and certain non-debtor affiliates. The Schedules and Statements are
                    unaudited and reflect the Debtors’ reasonable efforts to report certain financial

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                    information of each Debtor on a stand-alone, unconsolidated basis. These
                    Schedules and Statements neither purport to represent financial statements prepared
                    in accordance with Generally Accepted Accounting Principles in the United States
                    (“GAAP”), nor are they intended to be fully reconciled with the financial
                    statements of each Debtor.

                    The Debtors attempted to attribute the assets and liabilities, certain required
                    financial information, and various cash disbursements to the proper Debtor entity.
                    However, because the Debtors’ accounting systems, policies, and practices were
                    developed for consolidated reporting purposes, rather than by individual legal
                    entity, it is possible that not all assets, liabilities or amounts of cash disbursements
                    have been recorded with the correct legal entity on the Schedules and Statements.
                    Accordingly, the Debtors reserve all rights to supplement and/or amend the
                    Schedules and Statements in this regard.

                    Given, among other things, the uncertainty surrounding the valuation of certain
                    assets and the valuation and nature of certain liabilities, a Debtor may report more
                    assets than liabilities. Such report shall not constitute an admission that such
                    Debtor was solvent on the Commencement Date or at any time before or after the
                    Commencement Date. Likewise, a Debtor reporting more liabilities than assets
                    shall not constitute an admission that such Debtor was insolvent on the
                    Commencement Date or any time prior to or after the Commencement Date.

          3.        Reporting Date. Unless otherwise noted, the Schedules and Statements generally
                    reflect the Debtors’ books and records as of the close of business on the
                    Commencement Date, adjusted for authorized payments under the First Day Orders
                    (as defined herein).

          4.        Current Values. The assets and liabilities of each Debtor are listed on the basis of
                    the book value of the asset or liability in the respective Debtor’s accounting books
                    and records. Unless otherwise noted, the carrying value on the Debtor’s books,
                    rather than the current market value, is reflected in the Schedules and Statements.

          5.        Confidentiality. To protect the privacy of certain parties, including, among others,
                    the Debtors’ customers and/or employees, certain identifying information, such as
                    mailing addresses, was excluded from the Schedules and SOFAs.2

          6.        Consolidated Entity Accounts Payable and Disbursement Systems. As
                    described in the Cash Management Motion,3 the Debtors utilize an integrated,

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      This is consistent with the authority granted to the Debtors in the Order Granting Motion Authorizing Debtors
      to (A) File a Consolidated List of Creditors and (B) File a Consolidated List of Debtors' 40 Largest Unsecured
      Claims, (II) Authorizing Debtors to Redact Certain Personal Identification Information for Individual Creditors
      and Interest Holders, and (III) Approving Form and Manner of Notifying Creditors of Commencement of
      Chapter 11 Cases (ECF No. 50).
3
     The “Cash Management Motion” means the Motion of Debtors for (I) Authorization to (A) Continue Using
     Existing Cash Management System, Bank Accounts, and Business Forms, (B) Implement Changes to the Cash
                                                          3

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                    centralized cash management system in the ordinary course of business to collect,
                    concentrate, and disburse funds generated by their operations (the “Cash
                    Management System”). The Debtors maintain a consolidated accounts payable
                    and disbursements system to pay operating and administrative expenses through
                    various disbursement accounts.

                    In the ordinary course of business, the Debtors and certain non-debtor affiliates
                    engage in intercompany transactions (the “Intercompany Transactions”), which
                    result in intercompany receivables and payables (the “Intercompany Claims”). As
                    set forth more fully in the Cash Management Motion, the primary Intercompany
                    Transactions giving rise to Intercompany Claims are in connection with certain
                    shared services, interest expense allocation, and operational support. Historically,
                    Intercompany Claims are not settled by actual transfers of cash among the Debtors.
                    Instead, the Debtors track all Intercompany Transactions in their accounting
                    system, which concurrently are recorded on the applicable Debtor’s balance sheets.

          7.        Accuracy. Although the Debtors have made good faith reasonable efforts to file
                    complete and accurate Schedules and Statements, inadvertent errors or omissions
                    may exist. The Debtors reserve all rights to amend and/or supplement the Schedules
                    and Statements as is necessary or appropriate. The financial information disclosed
                    herein was not prepared in accordance with federal or state securities laws or other
                    applicable non-bankruptcy law or in lieu of complying with any periodic reporting
                    requirements thereunder. Persons and entities trading in or otherwise purchasing,
                    selling or transferring the claims against or equity interests in the Debtors should
                    evaluate this financial information in light of the purposes for which it was
                    prepared. The Debtors are not liable for and undertake no responsibility to indicate
                    variations from securities laws or for any evaluations of the Debtors based on this
                    financial information or any other information.

          8.        Net Book Value of Assets. In many instances, current market valuations are not
                    maintained by or readily available to the Debtors. It would be prohibitively
                    expensive, unduly burdensome, and an inefficient use of estate resources for the
                    Debtors to obtain current market valuations for all assets. As such, wherever
                    possible, unless otherwise indicated, net book values as of the Commencement Date
                    are presented for all assets. When necessary, the Debtors have indicated that the
                    value of certain assets is “Unknown” or “Undetermined.” Amounts ultimately
                    realized may vary materially from net book value (or other value so ascribed).
                    Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the
                    asset values set forth in the Schedules and Statements. As applicable, fixed assets
                    and leasehold improvement assets that fully have been depreciated, amortized or
                    impaired, or were expensed for GAAP accounting purposes, have no net book
                    value, and, therefore, are not included in the Schedules and Statements.


     Management System in the Ordinary Course of Business, (C) Continue Intercompany Transactions, (D) Provide
     Administrative Expense Priority for Postpetition Intercompany Claims, (E) Extend Time to Comply with, or Seek
     Waiver of, 11 U.S.C. § 345(b), and (II) Related Relief (ECF No. 4).

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          9.        Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
                    unless otherwise indicated.

          10.       Payment of Prepetition Claims Pursuant to First Day Orders. Following the
                    Commencement Date, the Bankruptcy Court entered various orders (collectively,
                    the “First Day Orders”) authorizing the Debtors to, among other things, pay
                    certain prepetition: (i) service fees and charges assessed by the Debtors’ banks and
                    debit and credit card companies; (ii) insurance and surety bond obligations;
                    (iii) obligations to critical vendors; (iv) customer program obligations;
                    (v) employee wages, salaries, and related items (including, but not limited to,
                    employee benefit programs and independent contractor obligations); and (vi) taxes
                    and assessments. Where the Schedules and Statements list creditors and set forth
                    the Debtors’ scheduled amounts attributable to such claims, such scheduled
                    amounts reflect balances owed as of the Commencement Date. To the extent any
                    adjustments are necessary for any payments made on account of such claims
                    following the commencement of these chapter 11 cases pursuant to the authority
                    granted to the Debtors by the Bankruptcy Court under the First Day Orders, such
                    adjustments have been included in the Schedules and Statements unless otherwise
                    noted on the applicable Schedule or Statement. The Debtors reserve the right to
                    update the Schedules and Statements to reflect payments made pursuant to the First
                    Day Orders.

          11.       Other Paid Claims. To the extent the Debtors have reached any postpetition
                    settlement with a vendor or other creditor, the terms of such settlement will prevail,
                    supersede amounts listed in the Schedules and Statements, and shall be enforceable
                    by all parties, subject to Bankruptcy Court approval. To the extent the Debtors pay
                    any of the claims listed in the Schedules and Statements pursuant to any orders
                    entered by the Bankruptcy Court, the Debtors reserve all rights to amend and
                    supplement the Schedules and Statements and take other action, such as filing
                    claims objections, as is necessary and appropriate to avoid overpayment or
                    duplicate payment for such liabilities.

          12.       Setoffs. The Debtors routinely incur setoffs from customers and suppliers in the
                    ordinary course of business. Such ordinary course setoffs can arise from various
                    items including, but not limited to, intercompany transactions, pricing
                    discrepancies, customer programs, returns, promotional funding, warranties,
                    refunds, and other disputes between the Debtors and their customers and/or
                    suppliers. These routine setoffs are consistent with the ordinary course of business
                    in the Debtors’ industry, and, therefore, can be particularly voluminous, unduly
                    burdensome, and costly for the Debtors to regularly document. Therefore, although
                    such setoffs and other similar rights may have been accounted for when scheduling
                    certain amounts, these ordinary course setoffs are not independently accounted for,
                    and, as such, are excluded from the Schedules and Statements. Any setoff of a
                    prepetition debt to be applied against the Debtors is subject to the automatic stay
                    and must comply with section 553 of the Bankruptcy Code.


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          13.       Accounts Receivable. The accounts receivable information listed on the
                    Schedules includes receivables from the Debtors’ customers and are calculated net
                    of any amounts that, as of the Commencement Date, may be owed to such
                    customers in the form of offsets or other price adjustments pursuant to the Debtors’
                    customer program policies and day-to-day operating policies and any applicable
                    Bankruptcy Court order.

          14.       Inventory. Inventories are valued based on management’s estimate of current
                    market value.

          15.       Interests in Insurance Policies. The Debtors maintain a portfolio of insurance
                    policies against unforeseen incidents and losses, and describe such policies in the
                    Final Order (I) Authorizing Debtors To (A) Continue To Maintain Their Insurance
                    Policies And Programs And Surety Bond Program And (B) Honor All Obligations
                    With Respect Thereto And (II) Modifying The Automatic Stay With Respect To The
                    Workers Compensation Program (ECF No. 136), entered on July 1, 2019
                    (the “Insurance Order”). Accordingly, the Debtors do not list their interests in
                    such insurance policies in Schedule A/B Part 11.

          16.       Property and Equipment. Property and equipment (including leasehold
                    improvements) are carried at cost, less accumulated depreciation. Additions and
                    substantial improvements are capitalized and include expenditures that materially
                    extend the useful lives of existing facilities and equipment. Maintenance and
                    repairs that do not materially improve or extend the lives of the respective assets
                    are expensed as incurred. Depreciation expense, which includes depreciation on
                    assets under capital leases, is recorded over the estimated useful lives of the
                    respective assets using the straight-line method for financial statement purposes.
                    The range of lives are generally 20 to 50 years for buildings, 3 to 10 years for
                    furniture, fixtures and equipment, and 3 to 5 years for computer systems and
                    computer equipment. Leasehold improvements are depreciated over the shorter of
                    the associated lease term or the estimated useful life of the asset.

                    The inventories, property and equipment listed in the Schedules are presented
                    without consideration of any mechanics’ or other liens.

          17.       Mechanics’ & UCC Liens. Known, filed mechanics’ and UCC liens, if any, are
                    listed on Schedule D.

          18.       Excluded Assets and Liabilities. Certain liabilities resulting from accruals,
                    liabilities recognized in accordance with GAAP, and/or estimates of long-term
                    liabilities either are not payable at this time or have not yet been reported.
                    Therefore, they do not represent specific claims as of the Commencement Date and
                    are not otherwise set forth in the Schedules. Additionally, certain deferred assets,
                    charges, accounts or reserves recorded for GAAP reporting purposes only, and
                    certain assets with a net book value of zero are not included in the Schedules.
                    Excluded categories of assets and liabilities include, but are not limited to, deferred

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                    tax assets and liabilities, deferred income, deferred charges, self-insurance reserves,
                    favorable lease rights, and unfavorable lease liabilities. Other immaterial assets
                    and liabilities may have been excluded.

                    In the ordinary course of business, the Debtors offer certain customer promotions
                    to incentivize customers to enter into longer-term contracts with the Debtors
                    (the “Customer Promotions”). The Debtors received approval under the Final
                    Order Authorizing the Debtors to Maintain and Administer Their Existing
                    Customer Programs and Honor Certain Prepetition Obligations Related Thereto
                    (ECF No. 133) (the “Customer Programs Order”) to continue to honor
                    obligations in connection with the Customer Promotions.

          19.       Reservation of Rights. Nothing contained in the Schedules, Statements, or Notes
                    shall constitute a waiver of rights with respect to these chapter 11 cases, including,
                    but not limited to, the following:

                    a. Any failure to designate a claim listed on the Schedules and Statements as
                       “disputed,” “contingent,” or “unliquidated” does not constitute an admission by
                       the Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.”
                       The Debtors reserve the right to dispute and to assert setoff rights,
                       counterclaims, and defenses to any claim reflected on its Schedules as to
                       amount, liability, and classification, and to otherwise subsequently designate
                       any claim as “disputed,” “contingent,” or “unliquidated.”

                    b. The description of an amount as “unknown” or “undetermined” is not intended
                       to reflect upon the materiality of such amount.

                    c. The listing of a claim does not constitute an admission of liability by the
                       Debtors, and the Debtors reserve the right to amend the Schedules accordingly.

                    d. The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F as
                       either “priority,” or “unsecured priority,” or (iii) listing a contract or lease on
                       Schedule G as “executory” or “unexpired” does not constitute an admission by
                       the Debtors of the legal rights of the claimant, or a waiver of the Debtors’ rights
                       to recharacterize or reclassify such claim or contract pursuant to a schedule
                       amendment, claim objection or otherwise. Moreover, although the Debtors
                       may have scheduled claims of various creditors as secured claims for
                       informational purposes, no current valuation of the Debtors’ assets in which
                       such creditors may have a security interest has been undertaken. Except as
                       provided in an order of the Bankruptcy Court, the Debtors reserve all rights to
                       dispute and challenge the secured nature or amount of any such creditor’s
                       claims or the characterization of the structure of any transaction, or any
                       document or instrument related to such creditor’s claim.

                    e. In the ordinary course of their business, the Debtors may lease property from
                       certain third-party lessors for use in the daily operation of their business. Any

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                         such leases are set forth in Schedule G and any current amount due under such
                         leases that was outstanding as of the Commencement Date is listed on Schedule
                         E/F. The property subject to any of such leases is not reflected in Schedule A/B
                         as either owned property or assets of the Debtors nor is such property reflected
                         in the Debtors’ SOFAs as property or assets of third parties within the control
                         of the Debtors. Nothing in the Statements or Schedules is or shall be construed
                         as an admission or determination as to the legal status of any lease (including
                         whether any lease is a true lease or a financing arrangement), and the Debtors
                         reserve all rights with respect to any of such issues, including, but not limited
                         to, the recharacterization thereof.

                    f. The claims of individual creditors for, among other things, goods, products,
                       services, or taxes are listed as the amounts entered on the Debtors’ books and
                       records and may not reflect credits, allowances, or other adjustments due from
                       such creditors to the Debtors. The Debtors reserve all of their rights with regard
                       to such credits, allowances, and other adjustments, including but not limited to,
                       the right to assert claims objections and/or setoffs with respect to the same.

                    g. The Debtors’ businesses are part of a complex enterprise. Although the Debtors
                       have exercised their reasonable efforts to ensure the accuracy of their Schedules
                       and Statements, they nevertheless may contain errors and omissions. The
                       Debtors hereby reserve all of their rights to dispute the validity, status, and
                       enforceability of any contracts, agreements, and leases set forth on the
                       Schedules and Statements, and to amend and supplement the Schedules and
                       Statements as necessary.

                    h. The Debtors further reserve all of their rights, claims, and causes of action with
                       respect to the contracts and agreements listed on the Schedules and Statements,
                       including, but not limited to, the right to dispute and challenge the
                       characterization or the structure of any transaction, document, and instrument
                       related to a creditor’s claim.

                    i. The Debtors exercised their reasonable efforts to locate and identify guarantees
                       and other secondary liability claims (the “Guarantees”) in their secured
                       financings, debt instruments, and other agreements. However, a review of these
                       agreements, specifically the Debtors’ unexpired leases and executory contracts,
                       is ongoing. Where such Guarantees have been identified, they are included in
                       the relevant Schedules and Statements. Guarantees embedded in the Debtors’
                       executory contracts, unexpired leases, secured financings, debt instruments, and
                       other agreements inadvertently may have been omitted. The Debtors have
                       reflected the obligations under the Guarantees for both the primary obligor and
                       the guarantors with respect to their secured financings and debt instruments on
                       Schedule H. Guarantees with respect to the Debtors’ executory contracts and
                       unexpired leases are not included on Schedule H and the Debtors believe that
                       certain Guarantees embedded in the Debtors’ executory contracts, unexpired


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                         leases, secured financing, debt instruments and similar agreements may exist
                         and, to the extent they do, will be identified upon further review.

                    j. Listing a contract or lease on the Schedules and Statements shall not be deemed
                       an admission that such contract is an executory contract, such lease is an
                       unexpired lease, or that either necessarily is a binding, valid, and enforceable
                       contract. The Debtors hereby expressly reserve the right to assert that any
                       contract listed on the Schedules and Statements does not constitute an executory
                       contract within the meaning of section 365 of the Bankruptcy Code, as well as
                       the right to assert that any lease so listed does not constitute an unexpired lease
                       within the meaning of section 365 of the Bankruptcy Code.

                    k. To timely close the books and records of the Debtors as of the Commencement
                       Date and to prepare such information on a legal entity basis, the Debtors were
                       required to make certain estimates and assumptions that affect the reported
                       amounts of assets and liabilities and reported revenue and expenses as of the
                       Commencement Date.

          20.       Totals. All totals that are included in the Schedules and Statements represent totals
                    of all the known amounts included in the Schedules and Statements and exclude
                    items identified as “unknown” or “undetermined.” If there are unknown or
                    undetermined amounts, the actual totals may be materially different from the listed
                    totals.

          21.       Global Notes Control. In the event that the Schedules or Statements differ from
                    any of the foregoing Global Notes, the Global Notes shall control.




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               Specific Notes with Respect to the Debtors’ Schedules of Assets and Liabilities


          1.        Schedule-Specific Disclosures. Each of Schedules A/B, D, E/F, G, and H contain
                    explanatory or qualifying notes that pertain to the information provided in the
                    Schedules. Those Schedule-specific notes are incorporated herein by reference.
                    The asset totals listed on the Schedules represent all known amounts included in
                    the Debtors’ books and records as of the Commencement Date. To the extent there
                    are unknown or undetermined amounts, the actual total may be different from the
                    total listed.

          2.        Schedules A/B

                    a. Part 1. The Debtors’ Cash Management System is comprised of bank
                       accounts that are largely concentrated in three main categories—bank
                       accounts associated with former Birch Communications Holdings, Inc.
                       (“Birch”), bank accounts associated with former MegaPath Holding Corp.
                       (“MegaPath”), and bank accounts associated with Fusion Connect, Inc., and
                       its subsidiaries that predate Fusion’s acquisitions of Birch and MegaPath
                       (collectively, the “Mergers”). As of the Commencement Date, the Debtors’
                       Cash Management System was comprised of thirty (30) bank accounts
                       (collectively, the “Bank Accounts”). However, eleven (11) of those Bank
                       Accounts were largely holdovers from the Mergers and were no longer in use
                       as of the Commencement Date. As such, the Debtors are in the process of
                       closing these eleven (11) Bank Accounts to consolidate their Cash
                       Management System. As of July 12, 2019, the Debtors collectively hold
                       twenty-three (23) Bank Accounts maintained by the following Debtors:
                       Fusion Connect, Inc. (seven (7) Bank Accounts), Fusion Cloud Company,
                       LLC (five (5) Bank Accounts), Fusion, LLC (two (2) Bank Accounts), Fusion
                       Cloud Services, LLC (two (2) Bank Accounts), Fusion Communications, LLC
                       (seven (7) Bank Accounts). The balances provided for each Bank Account
                       are as of July 12, 2019.

                         The Debtors are in possession of certain monies related to subtenant deposits
                         where the Debtors are the lessor. These monies are not segregated in separate
                         accounts and have been reported in the Debtors’ cash balances.

                         Further details with respect to the Cash Management System are provided in
                         the Cash Management Motion.

                    b. Part 2. The Debtors maintain certain deposits in the conduct of their business
                       operations. These deposits are included in the Schedules for the appropriate
                       legal entity. Types of deposits include, among other things, lease deposits,
                       security deposits, and equipment deposits. Certain prepaid or amortized assets
                       are listed in Part 2 in accordance with the Debtors’ books and records. The
                       amounts listed in Part 2 do not necessarily reflect values that the Debtors will

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                         be able to collect or realize. The amounts listed in Part 2 include, among other
                         things, prepaid rent, prepaid insurance, and prepaid employee expenses.

                    c. Part 3. The Debtors’ accounts receivable information includes receivables
                       from the Debtors’ customers, vendors, or third parties, which are calculated
                       net of any amounts that, as of the Commencement Date, may be owed to such
                       parties in the form of offsets or other price adjustments pursuant to the
                       Debtors’ customer programs and day-to-day operations or may, in the
                       Debtors’ opinion, be difficult to collect from such parties due to the passage
                       of time or other circumstances. The Debtors do not indicate the age of
                       accounts receivables in these Schedules and Statements. The accounts
                       receivable balances in this section exclude intercompany receivables.

                         In 2016, certain of the Debtors implemented a new accounting system,
                         however, at the time of the implementation of the new accounting system, the
                         Debtors did not list separate opening balances for each Debtor’s intercompany
                         receivables or payables with the other Debtors. As a result, the Debtors cannot
                         state which portion of any Debtor’s opening intercompany balance related to
                         any other Debtor as of the date the accounting system was implemented and
                         have excluded intercompany receivables and payables from the Schedules.
                         The Debtors have included net intercompany receivables related to ordinary
                         course intercompany transactions among the Debtors and their non-Debtor
                         Canadian subsidiaries on the Schedules.

                         As stated in the Cash Management Motion, the Debtors have tracked
                         intercompany transactions on a postpetition basis on a Debtor-by-Debtor
                         basis.

                    d. Part 4. Any of the Debtors’ ownership interests in subsidiaries, partnerships,
                       and joint ventures are listed in Schedule A/B, Part 4 as undetermined amounts
                       because the fair market value of such interests is dependent on numerous
                       variables and factors and may differ significantly from the net book value.

                    e. Part 5. Amounts presented as inventory receipts within twenty days of the
                       Commencement Date have not been reduced to reflect inventory received
                       under cash in advance payment or payments made postpetition under certain
                       First Day Orders. The amounts listed in Part 5 should not be interpreted as an
                       estimate of outstanding section 503(b)(9) balances.

                    f. Part 7. The Debtors have identified owned office furniture, fixtures, and
                       equipment. Actual realizable values may vary significantly relative to net
                       book values as of the Commencement Date.

                    g. Part 8. Actual realizable values of the identified leased or owned vehicles may
                       vary significantly relative to net book values as of the Commencement Date.

                    h. Part 9. Property leased by the Debtors is listed in Schedule G and is not listed
                                                      11

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                         in Part 9 of Schedule A/B, with the exception of any lease or security deposits
                         for such property, which is listed on Schedule A/B. The Debtors reserve all
                         rights to re-characterize their interests in real property at a later date.
                    i. Part 10. Part 10 identifies the various trademarks and patents owned and
                       maintained by the Debtors. The Schedules do not list the book balances of
                       intangible assets because they may not be reflective of realizable values.
                       Certain of the Debtors have customer information from ordinary course
                       business activities which contains personally identifiable information (as
                       defined in 11 U.S.C. Sections 101(41A) and 107). This information is not
                       included in the Schedules. As of the Commencement Date, the Debtors’ books
                       and records included balances for various intangible assets.

                    j. Part 11. Other contingent and unliquidated claims or causes of action of
                       every nature. In the ordinary course of business, the Debtors may have
                       accrued, or may subsequently accrue, certain rights to counterclaims, cross-
                       claims, setoffs, refunds with their customers and suppliers, and potential
                       warranty claims against their suppliers, among other claims. Additionally,
                       certain of the Debtors may be party to pending litigation in which the Debtors
                       have asserted, or may assert, claims as plaintiffs, or counter-claims and/or
                       cross-claims as defendants.

                         Despite exercising their reasonable efforts to identify all such assets, the
                         Debtors may not have listed all of their causes of action or potential causes of
                         action against third parties as assets in their Schedules including, but not limited
                         to, avoidance actions arising under chapter 5 of the Bankruptcy Code and
                         actions under other relevant non-bankruptcy laws to recover assets. The
                         Debtors reserve all of their rights with respect to any claims, causes of action,
                         or avoidance actions they may have and neither these Notes nor the Schedules
                         shall be deemed a waiver of any such claims, causes of action, or avoidance
                         actions or in any way prejudice or impair the assertion of such claims.

          3.        Schedule D. The claims listed on Schedule D, as well as the guarantees of those
                    claims listed on Schedule H, arose and were incurred on various dates. To the best
                    of the Debtors’ knowledge, all claims listed on Schedule D arose, or were incurred
                    before the Commencement Date.

                    Except as otherwise agreed or stated pursuant to a stipulation, agreed order, or
                    general order entered by the Bankruptcy Court that is or becomes final, the Debtors
                    and/or their estates reserve their right to dispute and challenge the validity,
                    perfection, or immunity from avoidance of any lien purported to be granted or
                    perfected in any specific asset to a creditor listed on Schedule D of any Debtor and,
                    subject to the foregoing limitations, note as follows: (a) although the Debtors may
                    have scheduled claims of various creditors as secured claims for informational
                    purposes, no current valuation of the Debtors’ assets in which such creditors
                    may have a lien has been undertaken; and (b) the descriptions provided on
                    Schedule D are intended to be a summary. Reference to the applicable loan

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                    agreements and related documents is necessary for a complete description of the
                    collateral and the nature, extent, and priority of any liens. Detailed descriptions of
                    the Debtors’ prepetition debt structure, guarantees, and descriptions of collateral
                    relating to each debt contained on Schedule D are contained in the Declaration of
                    Keith Soldan Pursuant to Rule 1007-2 of Local Bankruptcy Rules for Southern
                    District of New York (ECF No. 2) (the “Soldan Declaration”).

                    Pursuant to the Final DIP Order4, all principal amounts outstanding under the
                    Debtors’ Prepetition Super Senior Credit Facility (as defined in the Final DIP
                    Order) were refinanced dollar-for-dollar and discharged by the DIP Roll-Up Loans
                    (as defined in the Final DIP Order), subject to customary challenge periods. Except
                    as specifically stated herein, real property lessors, equipment lessors, utility
                    companies, and other parties which may hold security deposits or other security
                    interests have not been listed on Schedule D.

                    The Debtors have not listed on Schedule D any parties whose claims may be
                    secured through rights of setoff, deposits, or advance payments posted by, or on
                    behalf of, the Debtors, or judgment or statutory lien rights. The Debtors have not
                    investigated which of the claims may include such rights, and their population is
                    currently unknown.

          4.        Schedules E/F

                    a. Part 1. The claims listed on Part 1 arose and were incurred on various dates.
                         A determination of the date upon which each claim arose or was incurred
                         would be unduly burdensome and cost prohibitive. Accordingly, no such
                         dates are included for each claim listed on Part 1. To the best of the Debtors’
                         knowledge, all claims listed on Part 1 arose or were incurred before the
                         Commencement Date.

                         The Debtors have not listed any wage or wage-related obligations that the
                         Debtors have paid pursuant to the First Day Orders on Part 1. The Debtors
                         believe that all such claims for wages, salaries, expenses, benefits and other
                         compensation as described in the First Day Orders have been or will be
                         satisfied in the ordinary course during these chapter 11 cases pursuant to the
                         authority granted to the Debtors in the relevant First Day Orders. The Debtors
                         reserve their right to dispute or challenge whether creditors listed on Part 1
                         are entitled to priority claims under the Bankruptcy Code.

                         Claims owing to various taxing authorities to which the Debtors potentially
                         may be liable are included on Part 1. Certain of such claims, however, may
                         be subject to ongoing audits and/or the Debtors may otherwise be unable to

4
     Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Use Cash Collateral, (II)
     Granting Liens and Providing Superpriority Administrative Expense Status, (III) Granting Adequate Protection
     to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief (ECF No.
     160) (the “Final DIP Order”).

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                         determine with certainty the amount of the remaining claims listed on Part 1.
                         Therefore, the Debtors have listed all such claims as contingent and
                         unliquidated, pending final resolution of ongoing audits or other outstanding
                         issues.

                    b. Part 2. The Debtors have exercised their reasonable efforts to list all
                       liabilities on Part 2 of each applicable Debtor’s Schedule. As a result of the
                       Debtors’ consolidated operations, however, Part 2 for each Debtor should be
                       reviewed in these cases for a complete understanding of the unsecured claims
                       against the Debtors. Certain creditors listed on Part 2 may owe amounts to
                       the Debtors, and, as such, the Debtors may have valid setoff and recoupment
                       rights with respect to such amounts. The amounts listed on Part 2 may not
                       reflect any such right of setoff or recoupment, and the Debtors reserve all
                       rights to assert the same and to dispute and challenge any setoff and/or
                       recoupment rights that may be asserted against the Debtors by a creditor.
                       Additionally, certain creditors may assert mechanics’ or other similar liens
                       against the Debtors for amounts listed on Part 2. The Debtors reserve their
                       right to dispute and challenge the validity, perfection, and immunity from
                       avoidance of any lien purported to be perfected by a creditor listed on Part 2
                       of any Debtor. In addition, certain claims listed on Part 2 may potentially be
                       entitled to priority under 11 U.S.C. § 503(b)(9).
                         The Debtors reserve their right to dispute or challenge the validity, perfection
                         or immunity from avoidance of any lien purported to be perfected by a creditor
                         listed on Schedule E/F of any Debtor. In addition, the Debtors reserve their
                         right to dispute or challenge any priority asserted with respect to any liabilities
                         listed on Schedule E/F. The Debtors have made reasonable efforts to include
                         all unsecured creditors on Part 2 including, but not limited to, trade creditors,
                         landlords, utility companies, consultants, and other service providers. The
                         Debtors, however, believe the possibility exists that there are instances where
                         creditors have yet to provide proper invoices for prepetition goods or services.
                         While the Debtors maintain general accruals to account for these liabilities in
                         accordance with GAAP, these amounts are estimates and have not been
                         included on Part 2.
                         The Debtors’ accounting system tracks vendors using a number and unique
                         name assigned to each vendor. Because many vendors service multiple
                         business areas for the Debtors, there may be instances in which the same
                         vendor has been assigned multiple vendor numbers and variations of the
                         vendor’s name. For purposes of Part 2, the Debtors have not aggregated all
                         claims of such vendors with multiple vendor numbers and/or names. Rather,
                         the Debtors have separately listed the claims of such vendors under each
                         vendor number and name and should not be construed as giving rise to
                         duplicate claims to a vendor for the same services or goods delivered to a
                         Debtor. However, instances may exist where not all such claims have been
                         identified and the Debtors may have separately listed potentially duplicative
                         claims of such vendors under multiple vendor numbers.

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                         Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’
                         books and records as of the Commencement Date. The Debtors have excluded
                         workers’ compensation claims from the Statements because the Debtors are
                         fully insured for and continue to honor their workers’ compensation
                         obligations in the ordinary course in accordance with the Insurance Order.
                         Part 2 does not include certain balances including deferred liabilities, accruals,
                         or reserves. Such amounts are, however, reflected on the Debtors’ books and
                         records as required in accordance with GAAP. Such accruals primarily
                         represent estimates of liabilities and do not represent specific claims as of the
                         Commencement Date.
                         Part 2 does not include reserves for liabilities that may have arisen under
                         litigation in which a Debtor is a defendant unless there is a final judgment or
                         a settlement agreement.
                         The claims of individual creditors may not reflect credits and/or allowances
                         due from creditors to the applicable Debtor. The Debtors reserve all of their
                         rights with respect to any such credits and/or allowances, including the right
                         to assert objections and/or setoffs or recoupments with respect to same.
                         The Bankruptcy Court has authorized the Debtors to pay, in their discretion,
                         certain non-priority unsecured claims pursuant to the First Day Orders. To the
                         extent practicable, each Debtor’s Schedule E/F is intended to reflect the
                         balance as of the Commencement Date, adjusted for postpetition payments
                         made under some or all of the First Day Orders. Each Debtor’s Schedule E/F
                         will reflect some of that Debtor’s payment of certain claims pursuant to the
                         First Day Orders, and, to the extent an unsecured claim has been paid or may
                         be paid, it is possible such claim is not included on Schedule E/F. Certain
                         Debtors may pay additional claims listed on Schedule E/F during these chapter
                         11 cases pursuant to the First Day Orders and other orders of the Bankruptcy
                         Court and the Debtors reserve all of their rights to update Schedule E/F to
                         reflect such payments or to modify the claims register to account for the
                         satisfaction of such claims. Additionally, Schedule E/F does not include
                         potential rejection damage claims, if any, of the counterparties to executory
                         contracts and unexpired leases that may be rejected.

          5.        Schedule G. Although reasonable efforts have been made to ensure the accuracy
                    of Schedule G regarding executory contracts and unexpired leases (collectively, the
                    “Agreements”), the Debtors’ review process of the Agreements is ongoing and
                    inadvertent errors, omissions, or over-inclusion may have occurred. The Debtors
                    may have entered into various other types of Agreements in the ordinary course of
                    their businesses, such as indemnity agreements, supplemental agreements,
                    amendments/letter agreements, and confidentiality agreements which may not be
                    set forth in Schedule G. Omission of a contract or agreement from Schedule G does
                    not constitute an admission that such omitted contract or agreement is not an
                    executory contract or unexpired lease. Schedule G may be amended at any time to
                    add any omitted Agreements. Likewise, the listing of an Agreement on Schedule

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                    G does not constitute an admission that such Agreement is an executory contract or
                    unexpired lease or that such Agreement was in effect on the Commencement Date
                    or is valid or enforceable. The Agreements listed on Schedule G may have expired
                    or may have been modified, amended, or supplemented from time to time by
                    various amendments, restatements, waivers, estoppel certificates, letters and other
                    documents, instruments, and agreements which may not be listed on Schedule G.

                    Executory contracts for short-term service orders that are oral in nature have not
                    been included in Schedule G. Customer agreements are excluded from Schedule
                    G due to their voluminous nature and in order to protect the Debtors’ trade
                    secrets.

                    Certain of the Agreements listed on Schedule G may have been entered into by
                    or on behalf of more than one of the Debtors. Additionally, the specific Debtor
                    obligor(s) to certain of the Agreements could not be specifically ascertained in
                    every circumstance. In such cases, the Debtors have made reasonable efforts to
                    identify the correct Debtor’s Schedule G on which to list the Agreement.

          6.        Schedule H. The Debtors are party to various debt agreements which were
                    executed by multiple Debtors. The guaranty obligations under prepetition secured
                    credit agreements are noted on Schedule H for each individual Debtor. In the
                    ordinary course of their businesses, the Debtors are involved in pending or
                    threatened litigation and claims arising out of the conduct of their businesses. Some
                    of these matters may involve multiple plaintiffs and defendants, some or all of
                    whom may assert cross-claims and counter-claims against other parties. To the
                    extent such claims are listed elsewhere in the Schedules of each applicable Debtor,
                    they have not been set forth individually on Schedule H. In the event that two or
                    more Debtors are co-obligors with respect to a scheduled debt or guaranty, such
                    debt or guaranty is listed in the Schedules and Statements of each such Debtor at
                    the full amount of such potential claim, and such claim is marked “contingent” and
                    “unliquidated.” No claim set forth on the Schedules and Statements of any Debtor
                    is intended to acknowledge claims of creditors that are otherwise satisfied or
                    discharged by other Debtors or non-Debtors. To the extent these Notes include
                    notes specific to Schedules D-G, such Notes also apply to the co-Debtors listed in
                    Schedule H. The Debtors reserve all of their rights to amend the Schedules to the
                    extent that additional guarantees are identified or such guarantees are discovered to
                    have expired or be unenforceable.




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          Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

          1.        SOFA 1. The income stated in the Debtors’ response to SOFA 1 is consistent with
                    the consolidated sales disclosed in compliance with GAAP. The Debtors’ fiscal
                    year ends on the last day of each calendar year:

                        FY 2017: Comprised of 52 weeks ending December 31, 2017.

                        FY 2018: Comprised of 52 weeks ending December 31, 2018.

                        As a result of transaction accounting in relation to the Mergers, the revenues
                         of Fusion Connect, Inc. and its subsidiaries are not included for 2017 or for
                         the period January 1 to May 3, 2018. The revenues of Fusion Connect, Inc.
                         and its subsidiaries are included from May 4, 2018 onward. The revenues of
                         MegaPath Holding Corporation and its subsidiaries are included from the date
                         of acquisition, June 15, 2018.

                        Stub Period 2019: Comprised of approximately 5 months ending June 2,
                         2019.

          2.        SOFA 3. The Debtors are a leading provider of integrated cloud solutions to small,
                    medium, and large businesses. As described in the Cash Management Motion, the
                    Debtors utilize their integrated, centralized Cash Management System to collect,
                    concentrate, and disburse funds generated by their operations. The obligations of
                    the Debtors are primarily paid by and through Fusion Connect, Inc. notwithstanding
                    that certain obligations may be obligations of one or more of the Debtors as
                    described in the Cash Management Motion.

                    The payments disclosed in SOFA 3 are based on payments made by the Debtors
                    with payment dates from March 5, 2019 to June 2, 2019. The response to SOFA 3
                    excludes regular salary payments and disbursements or transfers listed on SOFA 4.
                    Amounts still owed to creditors will appear on the Schedules for each Debtor, as
                    applicable.

                    All payments for services of any entities that provided consultation concerning debt
                    counseling or restructuring services, relief under the Bankruptcy Code, or
                    preparation of a petition in bankruptcy within one year immediately preceding the
                    Commencement Date are listed on SOFA 11 and are not listed on SOFA 3.

          3.        SOFA 4. For purposes of the Schedules and Statements, the Debtors define
                    insiders as (a) officers, directors, and anyone in control of a corporate debtor and
                    their relatives; and (b) affiliates of the Debtor and insiders of such affiliates.
                    Individuals listed in the Statements as insiders have been included for
                    informational purposes only. The Debtors do not take any position with respect
                    to (i) such individual’s influence over the control of the Debtors; (ii) the
                    management responsibilities or functions of such individual; (iii) the decision-
                    making or corporate authority of such individual; or (iv) whether such individual
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                    could successfully argue that he or she is not an insider under applicable law,
                    including, without limitation, the federal securities laws, or with respect to any
                    theories of liability or for any other purpose. As such, the Debtors reserve all
                    rights to dispute whether someone identified is in fact an “insider” as defined in
                    section 101(31) of the Bankruptcy Code. For more information regarding each
                    Debtor’s officers and directors, please see SOFA 28 and SOFA 29.

                    Payments made to non-Debtor affiliates are listed on SOFA 4. Home addresses for
                    directors, former directors, employees, and former employees identified as insiders
                    have not been included in the Statements for privacy reasons and have been
                    replaced with the Debtors’ principal office address. Amounts still owed to creditors
                    will appear on the Schedules for each of the Debtors, as applicable.5

          4.        SOFA 6. The Debtors incur certain offsets and other similar rights in the ordinary
                    course of business. Offsets in the ordinary course can result from various items,
                    including, without limitation, intercompany transactions, pricing discrepancies,
                    overpayments, returns, and other disputes between the Debtors and their customers,
                    vendors and contract counterparties. These offsets and other similar rights are
                    consistent with the ordinary course of business in the Debtors’ industry and are not
                    tracked separately. Therefore, such offsets and other similar rights may have been
                    accounted for when certain amounts were included in the Schedules.

          5.        SOFA 7. Information provided on SOFA 7 includes only those legal disputes and
                    administrative proceedings that are formally recognized by an administrative,
                    judicial, or other adjudicative forum. While the Debtors believe they were diligent
                    in their efforts, it is possible that certain suits and proceedings may have been
                    inadvertently excluded in the Debtors’ response to SOFA 7. The Debtors reserve
                    all of their rights to amend or supplement their response to SOFA 7.

          6.        SOFA 9. The donations and/or charitable contributions listed in response to SOFA
                    9 represent payments made to third parties during the applicable timeframe that
                    were recorded as such within the Debtors’ books and records.

          7.        SOFA 11. All payments for services of any entities that provided consultation
                    concerning debt counseling or restructuring services, relief under the Bankruptcy
                    Code, or preparation of a petition in bankruptcy within one year immediately
                    preceding the Commencement Date are listed on the applicable Debtor’s response
                    to SOFA 11. Additional information regarding the Debtors’ retention of
                    professional service firms is more fully described in individual retention
                    applications and related orders.


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     The Court has allowed similar relief in the Order Granting Motion (I) Authorizing Debtors to (A) File a
     Consolidated List of Creditors and (B) File a Consolidated List of Debtors’ 40 Largest Unsecured Claims, (II)
     Authorizing Debtors to Redact Certain Personal Identification Information for Individual Creditors and Interest
     Holders, and (III) Approving Form and Manner of Notifying Creditors of Commencement of Chapter 11 Cases
     (ECF No. 50).

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                    In addition, the Debtors have listed payments made to professionals retained by the
                    Debtors but not payments made to advisors of their postpetition lenders or other
                    parties.

          8.        SOFA 13. This SOFA includes certain transfers in the amount of $500,000 and
                    greater in connection with (a) the spin-off of small business and residential
                    customers by Birch Communications Holdings, Inc. into Lingo Management LLC
                    prior to the Birch-Fusion merger transaction; (b) the post-merger sale of small
                    business customers to Lingo Management LLC; (c) the sale of equity interests in
                    Fusion Global Services, the Debtor's long distance business, to XcomIP LLC;
                    (d) the subordinated note in connection with financing; (e) the MegaPath Holding
                    Corp. merger transaction; and (f) the pre-closing payments and debt repayments
                    with newly borrowed funds in relation to the Birch Communications Holding, Inc.
                    merger transaction. The remaining 233 transfers in connection with the forgoing
                    transactions, each in an amount of less than $500,000, are excluded from this
                    SOFA and aggregate $5,587,706.

          9.        SOFA 16. The Debtors collect a limited amount of information about customers
                    via their website portals and mobile applications, over the telephone, or in person
                    in order to provide services to customers and inform them of new products and
                    services. The Debtors also collect personally identifiable information from
                    customers in certain instances. Examples of the types of information collected by
                    the Debtors include, among other things, name, mailing address, telephone number,
                    email address, and credit card number. The Debtors retain such information as long
                    as is necessary for the Debtors to comply with business, tax, and legal requirements.

          10.       SOFA 18. Following consummation of the Mergers, the Debtors have closed a
                    number of Bank Accounts in an effort to consolidate their Cash Management
                    System. As described in the Specific Notes to Schedule A/B and in the Cash
                    Management Motion, the Debtors can be reasonably expected to continue to close
                    Bank Accounts to continue to consolidate their Cash Management System.

          11.       SOFA 20. The Debtors utilize Iron Mountain Storage Facilities (“Iron
                    Mountain”) to retain records. Iron Mountain has various store locations across the
                    United States. The Debtors do not maintain specific Iron Mountain addresses and
                    thus have not listed them in SOFA 20.

          12.       SOFA 21. In the ordinary course of business, the Debtors utilize leased property
                    in the conduct of their business. Such leases are listed on Schedule G.

          13.       SOFA 25. The Debtors have used their reasonable efforts to identify the beginning
                    and ending dates of all businesses in which the Debtors were a partner or owned
                    five percent or more of the voting or equity securities within the six years
                    immediately preceding the Commencement Date.

          14.       SOFA 26. The Debtors provided financial statements in the ordinary course of

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                    business to certain parties for business, statutory, credit, financing and other
                    reasons. Recipients include, among others, regulatory agencies, financial
                    institutions, investment banks, debtholders and their legal and financial advisors.
                    Financial statements have also been provided to other parties as requested, subject
                    to customary non-disclosure requirements where applicable.

          15.       SOFA 27. The inventory listed in response to Question 27 was conducted by an
                    independent third party on April 9, 2019. Inventory is valued on a cost basis.

          16.       SOFA 28. The Debtors have excluded from SOFA 28 shareholders who hold less
                    than five percent (5%) of each Debtor’s voting or equity securities, as is consistent
                    with reporting requirements under SEC Filing 13D. For each entity, the Debtors
                    have included individuals identified as of the Commencement Date as directors,
                    officers, members, or managers, as applicable, of such entity in the Debtors’
                    recordkeeping systems or, if no individuals were identified, an entity member, as
                    applicable.

          17.       SOFA 29. The disclosures relate specifically to terminated job titles or positions
                    and are not indicative of the individuals’ current employment status with the
                    Debtors. For each entity, the Debtors have included the individuals who, during the
                    applicable period, were identified as directors and officers of such entity in the
                    Debtors’ recordkeeping systems.

          18.       SOFA 30. Any and all known disbursements to insiders other than regular salary
                    of the Debtors have been listed in response to SOFA 4.

          19.       SOFA 31. Various Debtor limited liability companies (each, an “LLC”) are
                    disregarded for tax purposes. Income generated by an LLC is consolidated at a
                    higher reporting unit level.




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 Fill in this information to identify the case:

 Debtor name            Fusion Connect, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               19-11811
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $       90,089,128.83

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $       90,089,128.83


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $     715,702,400.17


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$       10,093,545.81


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $        725,795,945.98




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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            19-11811-dsj                 Doc 191             Filed 07/16/19 Entered 07/16/19 22:09:01                        Main Document
                                                                         Pg 23 of 94
 Fill in this information to identify the case:

 Debtor name         Fusion Connect, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-11811
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    See Schedule A/B Part 1, Questions 3
           3.1.     Attachment                                                                                                                $62,301,746.74



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                               $62,301,746.74
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     One Beacon - Cash Collateral for Surety Bonds                                                                                 $218,728.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid Expenses                                                                                                              $543,068.77



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                                                         Pg 24 of 94
 Debtor           Fusion Connect, Inc.                                                        Case number (If known) 19-11811
                  Name




           8.2.     Prepaid Insurance                                                                                                    $230,956.42




 9.        Total of Part 2.                                                                                                          $992,753.19
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                      Valuation method used     Current value of
                                                                                                      for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     See Schedule A/B Part 4, Question 15
           15.1.     Attachment                                                                   %   100% Net Book                Undetermined



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                  $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of       Valuation method used     Current value of
                                                      physical inventory      debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale                                            Lower of cost or
           Finished Goods                             N/A                        $55,289.13           realizable value                    $55,289.13



 22.       Other inventory or supplies



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                                                         Pg 25 of 94
 Debtor         Fusion Connect, Inc.                                                             Case number (If known) 19-11811
                Name


 23.       Total of Part 5.                                                                                                              $55,289.13
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture                                                                               Lower of cost or
           Office Equipment                                                             $13,267.59        realizable value                   $13,267.59



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                 $13,267.59
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Fusion Connect, Inc.                                                          Case number (If known) 19-11811
                Name




 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See Schedule A/B Part 10, Question 60-65
            Attachment                                                          Undetermined                  N/A                  Undetermined



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Fusion Connect, Inc.                                                         Case number (If known) 19-11811
                Name

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           N/A                                                                                 Tax year Undetermined             Undetermined



 73.       Interests in insurance policies or annuities

           See Global Notes                                                                                                    Undetermined



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Tax Receivable                                                                                                         $1,705,131.00



           Receivable from Primus Management ULC                                                                                     $20,941.18



           Vector Receivable                                                                                                    $25,000,000.00




 78.       Total of Part 11.                                                                                                   $26,726,072.18
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 5
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                                                                             Pg 28 of 94
 Debtor          Fusion Connect, Inc.                                                                                Case number (If known) 19-11811
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $62,301,746.74

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $992,753.19

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $55,289.13

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $13,267.59

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $26,726,072.18

 91. Total. Add lines 80 through 90 for each column                                                       $90,089,128.83             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $90,089,128.83




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 6
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                                     In re Fusion
                                            Pg 29Connect,
                                                  of 94 Inc.
                                       Case No. 19-11811
          Schedule A/B: Part 1, Question 3 - Checking, savings or other financial accounts

                                                         Last 4 Digits of     Current Value of
        Name of Institution      Type of Account        Account Number        Debtor's Interest
  East West Bank                 Not in use                   8715                          $0.00
  East West Bank                 Collections                  5634                     $21,408.97
  Union Bank                     Concentration                0333                $44,255,337.77
  Union Bank                     Disbursement                 0317                          $0.00
  Union Bank                     Disbursement                 0325                          $0.00
  Union Bank                     DDA                          0218                          $0.00
  Union Bank                     DDA                          0655                $18,025,000.00
                                                              Total:              $62,301,746.74




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                                         In re Fusion
                                                Pg 30Connect,
                                                      of 94 Inc.
                                              Case No. 19-11811
Schedule A/B: Part 4, Question 15 - Non-publicly traded stock and interests in incorporated and unincorporated
                          businesses, including an LLC, partnership or joint venture

                                                               Valuation Method
                                             Percentage of      Used for Current       Current Value of
              Name of Entity                  Ownership              Value             Debtor's Interest
  Fusion BCHI Acquisition LLC                        100.0%        100% Net Book            Undetermined
  Fusion MPHC Holdings Corporation                   100.0%        100% Net Book            Undetermined
  Fusion NBS Acquisition Corp.                       100.0%        100% Net Book            Undetermined




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                                           In re Fusion
                                                  Pg 31Connect,
                                                        of 94 Inc.
                                              Case No. 19-11811
                  Schedule A/B: Part 10, Questions 60-65 - Intangibles and intellectual property



     General Description of Property (Patents,
     copyrights, trademarks, and trade secrets;
 Internet domain names and websites; Licenses,
franchises and royalties; Customer lists, mailing                      Valuation Method
  lists, or other compilations; Other intangibles, Net Book Value of    Used for Current     Current Value of
          or intellectual property; Goodwill)      Debtor's Interest         Value           Debtor's Interest
"CLEAR CONNECTIONS IN THE CLOUD"
Trademark                                           Undetermined             N/A               Undetermined
"FUSION" Trademark                                  Undetermined             N/A               Undetermined
"FUSIONWORKS" Trademark                             Undetermined             N/A               Undetermined
"THE SINGLE SOURCE FOR THE CLOUD"
Trademark                                           Undetermined             N/A               Undetermined
"YOUR SINGLE SOURCE FOR THE CLOUD"
Trademark                                           Undetermined             N/A               Undetermined
Fusion Logo Trademark                               Undetermined             N/A               Undetermined




                                                      1 of 1
            19-11811-dsj                     Doc 191         Filed 07/16/19 Entered 07/16/19 22:09:01                                Main Document
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 Fill in this information to identify the case:

 Debtor name          Fusion Connect, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)              19-11811
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1    See Schedule D Part 1                         Describe debtor's property that is subject to a lien             $715,702,400.17             Undetermined
        Creditor's Name



        Attachment
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $715,702,400.17

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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                                                                                                                     In re Fusion Connect, Inc.
                                                                                                                         Case No. 19-11811
                                                                                               Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                                                                                                  Date Debt was
                                                                                                                                                                                                    Incurred,
                                                                                                                                                                                                  Description of




                                                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                                     Debtor's                                                Amount of Claim




                                                                                                                                                                                                                     Contingent
                                                                                                                                                         CoDebtor




                                                                                                                                                                                                                                                 Disputed
                                                                                                                                                                                                     Property                                               (Do not deduct the
                                                                                                                                                                                                  Subject to the                                               value of the    Value of Collateral that
                Collateral Agent                           Address1             Address2         City         State         Zip             Country                         Nature of Lien             Lien                                                     collateral)     Supports this Claim
                                                                                                                                                                                                 Substantially all
Corporation Service Company, As Representative   801 Adlai Stevenson Drive                 Springfield         IL               62703                               UCC Form No. 20188777951     assets                             x                           Undetermined            Undetermined
                                                                                                                                                                                                 Substantially all
Corporation Service Company, As Representative   801 Adlai Stevenson Drive                 Springfield         IL               62703                               UCC Form No. 20190011127     assets                             x                           Undetermined            Undetermined
                                                                                                                                                                                                 Substantially all
GLAS America LLC and GLAS USA LLC, as Agent      45 Ludgate Hill             2nd Floor     London                      EC4M 7JU         United Kingdom    x         Second Lien                  assets                             x                          $88,676,056.01           Undetermined
                                                                                                                                                                                                 Substantially all
Town of West Hartford Revenue Collector          50 South Main Street        Room 109      West Hartford       CT      06107                                        UCC Form No. 2642537         assets                             x                           Undetermined            Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN                55402                     x         Term Loan B Consenting       assets                             x                         $517,869,715.27           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN                55402                     x         Term Loan B Non-Consenting   assets                             x                           $1,926,122.92           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN                55402                     x         Term Loan A                  assets                             x                          $45,515,855.32           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN          55402                           x         Revolver                     assets                             x                          $41,056,272.18           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN          55402                           x         Letters of Credit            assets                             x                             $518,228.46           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN          55402                           x         Bridge Loan Initial          assets                             x                          $15,129,791.67           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN          55402                           x         Bridge Loan Incremental      assets                             x                           $5,010,358.33           Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN                55402                               UCC Form No. 20183054141     assets                             x                           Undetermined            Undetermined
                                                                                                                                                                                                 Substantially all
Wilmington Trust as Agent                        50 South Sixth Street       Suite 1290    Minneapolis        MN                55402                               UCC Form No. 20183054190     assets                             x                           Undetermined           Undetermined
                                                                                                                                                                                                                                          Total:              $715,702,400.17          Undetermined




                                                                                                                               1 of 1
            19-11811-dsj                 Doc 191             Filed 07/16/19 Entered 07/16/19 22:09:01                                              Main Document
                                                                         Pg 34 of 94
 Fill in this information to identify the case:

 Debtor name         Fusion Connect, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)            19-11811
                                                                                                                                                              Check if this is an
                                                                                                                                                              amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                                Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              Undetermined             Undetermined
           See Schedule E/F 1 Part 1                                 Check all that apply.
           Attachment                                                    Contingent
                                                                         Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim: Tax


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                         Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $10,093,545.81
           See Schedule E/F Part 2                                                      Contingent
           Attachment                                                                   Unliquidated
           Date(s) debt was incurred                                                    Disputed

           Last 4 digits of account number                                         Basis for the claim:
                                                                                   Is the claim subject to offset?           No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                             related creditor (if any) listed?                    account number, if
                                                                                                                                                                  any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.      $
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                                page 1 of 2
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                                                                         Pg 35 of 94
 Debtor       Fusion Connect, Inc.                                                                Case number (if known)   19-11811
              Name

                                                                                                                                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            10,093,545.81

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              10,093,545.81




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 2
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                                                                                                                       In re Fusion Connect, Inc.
                                                                                                                                                                                                    Main Document
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                                                                                                    Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                                                                           Disputed
                                                                                                                                                                                                   Date Debt was     Specify Code Subsection
                                                                                                                                                                                                   Incurred, Basis    of Priority Unsecured
                         Creditor Name                                          Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
911 Assoc. of Central OK Governments                 4205 N Lincoln Boulevard                                                                        Oklahoma City       OK     73105              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Abilene/Taylor County 9-1-1 District                 555 Walnut Street                        Room 206                                               Abilene             TX     79601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Acadia Parish Communications District                P.O. Box 1273                                                                                   Crowley             LA     70527              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Acadia Parish School Board                           P.O. Drawer 309                                                                                 Crowley             LA     70527-0309         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ACCD E911                                            109 West Main Street                     P.O. Box 522                                           Maysville           MO     64469              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ada County                                           7200 Barrister Drive                                                                            Boise                ID    83704              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Adair County E911 Trust Authority                    220 West Division                        RM-101                                                 Stilwell            OK     74960              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Adams County                                         332 North 19th Avenue                                                                           Brighton            CO     80601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Adams County 911                                     110 South Wall Street                                                                           Natchez             MS     39120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Adams County E911 Authority Board                    332 N. 19th Avenue                                                                              Brighton            CO     80601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Adams County Treasurer                               P.O. Box 869                                                                                    Brighton            CO     80601-0869         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ADHITS                                               1220 West 6th Street                                                                            Little Rock         AR     72201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Aiken County IT- E911 Fund                           1930 University Parkway                  Suite 3500                                             Aiken                SC    29801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alabama 9-1-1 Board                                  1 Commerce Street                        Suite 620                                              Montgomery          AL     36104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alabama Department of Revenue                        50 North Ripley Street                                                                          Montgomery          AL     36130              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alabama Department of Revenue                        P.O. Box 327790                                                                                 Montgomery          AL     36132-7790         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alabama Public Service Commission                    P.O. Box 304260                                                                                 Montgomery          AL     36130-4260         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alameda County                                       1221 Oak Street                                                                                 Oakland             CA     94612-4285         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alameda County Tax Collector                         224 W Winton Avenue                      Room 169                                               Hayward             CA     94544-1221         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alaska Department of Revenue                         655 F St                                                                                        Anchorage           AK     99501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alaska Universal Service Administrative Company      12350 Industry Way                       Suite 200                                              Anchorage           AK     99515              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Albany County                                        112 State Street                         Room 800                                               Albany              NY     12207-2021         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alcorn County Clerk                                  P.O. Box 69                                                                                     Corinth             MS     38835              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Aldine ISD                                           P.O. Box 203989                                                                                 Houston             TX     77216-3989         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alfalfa County                                       300 South Cherokee                                                                              Cherokee            OK     73728              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alief ISD Tax Office                                 P.O. Box 368                                                                                    Alief               TX     77411              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allegan County                                       113 Chestnut                                                                                    Allegan             MI     49010              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allegany County Treasurer's Office                   7 Court Street                           Room 134                                               Belmont             NY     14813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Alleghany County Treasurer                           9212 Winterberry Ave, Ste F                                                                     Covington           VA     24426              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allen County Treasurer                               P.O. Box 115                                                                                    Scottsville         KY     42164              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allen Parish Communications District                 P.O. Box 278                                                                                    Oberlin             LA     70655              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allen Parish School Board                            P.O. Drawer 190                                                                                 Oberlin             LA     70655              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Allendale County 911 Service                         P.O. Box 190                                                                                    Allendale            SC    29810              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Altus/Jackson County E911                            509 South Main                                                                                  Altus               OK     73521              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Amite County                                         P.O. Box 680                                                                                    Liberty             MS     39645              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Amite County Board of Supervisors                    P.O. Box 680                                                                                    Liberty             MS     39645              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Anderson County                                      P.O. Box 8002                                                                                   Anderson             SC    29622              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Anderson County Treasurer                            137 South Main Street                                                                           Lawrenceburg        KY     40342              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Anderson County Trustee                              P.O. Box 25                                                                                     Clinton             TN     37717-0025         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Anne Arundel County Controller                       Box 427                                                                                         Annapolis           MD     21404-0427         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Aransas Pass Municipal ECD                           600 West Cleveland Blvd.                                                                        Aransas Pass        TX     78335-2000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arapahoe County E 911 Authority                      5334 South Prince Street                                                                        Littleton           CO     80120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arapahoe County E911 ECSA                            ATTN: 911 Surcharge Processing           5334 South Prince Street                               Littleton           CO     80120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arapahoe County Treasurer                            5334 S Prince St                                                                                Littleton           CO     80120-1136         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Archuleta County                                     P.O. Box 638                                                                                    Pagosa Springs      CO     81147              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ARHCF                                                P.O. Box 608                                                                                    Danville            AR     72833              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arizona Department of Revenue                        P.O. Box 29010                                                                                  Phoenix             AZ     85038-9010         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arizona Department of Revenue                        P.O. Box 29085                                                                                  Phoenix             AZ     85038-9085         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arkansas County E911                                 101 Court Square                                                                                Dewitt              AR     72042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arkansas Department of Finance & Administration      P.O. Box 3861                                                                                   Little Rock         AR     72203-3861         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arkansas Department of Finance and Administration    1509 W 7th St                                                                                   Little Rock         AR     72201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arkansas Department of Revenue                       P.O. Box 3566                            Sales and Use Tax--EFT Unit                            Little Rock         AR     72203              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arkansas Emergency Telephone Services Board          P.O. Box 34075                                                                                  Little Rock         AR     72203              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arlington County                                     P.O. Box 1754                                                                                   Merrifield          VA     22116-1754         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arlington County Commissioner of the Revenue         2100 Clarendon Blvd                      Suite 200                                              Arlington           VA     22201-5403         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Arlington County Treasurer                           2100 Clarendon Boulevard                 Suite 201                                              Arlington           VA     22201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ascension Parish Communications District             P.O. Box 1238                                                                                   Gonzales            LA     70707-1238         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ascension Parish Sales Tax Authority                 P.O. Box 1718                                                                                   Gonzales            LA     70707              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ashley County Treasurer                              205 East Jefferson                                                                              Hamburg             AR     71646              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Aspen-Pitkin Emergency Telephone Service Authority   530 East Main Street                     Suite 201                                              Aspen               CO     81611              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Assumption Parish 911                                P.O. Box 520                                                                                    Napoleonville       LA     70390              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Assumption Parish Sales and Use Tax Department       P.O. Drawer 920                                                                                 Napoleonville       LA     70390              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Athens-Clarke County                                 325 West Washington Street                                                                      Athens              GA     30601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Athens-Clarke County                                 P.O. Box 1748                                                                                   Athens              GA     30603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Atoka County Clerk                                   200 East Court Street                    Suite 203                                              Atoka               OK     74525              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Attala County Board of Supervisors                   230 West Washington Street                                                                      Kosciusko           MS     39030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Audubon County E911                                  318 Leroy                                Suite 4                                                Audubon              IA    50025-1255         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Aurora Tax Receiver                                  300 Gleed Avenue                                                                                East Aurora         NY     14052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
AUSF                                                 810 N Street, Suite 204                                                                         Anchorage           AK     99501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                                       Date Debt was     Specify Code Subsection
                                                                                                                                                                                                       Incurred, Basis    of Priority Unsecured
                       Creditor Name                                                Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Austin County                                            P.O. Box 911                                                                                    Bellville           TX     77418-0911         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Austin County Emergency Communications District          P.O. Box 911                                                                                    Bellville           TX     77418-0911         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Avoyelles Parish Sales Tax Fund                          221 Tunica Drive West                                                                           Marksville          LA     71351              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
AZ USF                                                   P.O. Box 360802                                                                                 Pittsburgh          PA     15251-6802         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Baldwin County                                           P.O. Box 189                                                                                    Robertsdale         AL     36567-0189         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Baltimore City Utility Service Tax                       Bureau of Revenue Collections            200 Holliday Street                                    Baltimore           MD     21202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Baltimore County                                         400 Washington Ave                                                                              Towson              MD     21204-4665         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Baltimore County Utility Service Tax                     400 Washington Avenue, Suite 100         Mailstop 2109                                          Towson              MD     21204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bamberg County Civil Defense Agency                      N. Main Street and 2nd Street            P.O. Box 119                                           Bamberg              SC    29003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bannock County Auditor                                   624 East Center                          Room 104                                               Pocatello            ID    83201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Barbour County                                           8 North Main Street                      County Courthouse                                      Philippi            WV     26416              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Barnwell County                                          57 Wall Street                           Administration Bldg.                                   Barnwell             SC    29812              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Barren County Fiscal Court                               117-3A North Public Square                                                                      Glasgow             KY     42141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Barrow County Board of Commissioners                     30 North Broad Street                    Suite 1                                                Winder              GA     30680-1939         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Barton County Treasurer                                  1004 Gulf                                                                                       Lamar               MO     64759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bartow County                                            135 W Cherokee Ave                       Suite 251                                              Cartersville        GA     30120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Batesburg-Leesville E911 Landline                        109 Scoth Road                                                                                  Chesterfield         SC    29709              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bath County                                              P.O. Box 39                              19 East Main St.                                       Owingsville         KY     40360              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Baxter County                                            1 East 7th Street                        Baxter County Courthouse, Suite 300                    Mountain Home       AR     72653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Beaufort County                                          2001 Duke Street                                                                                Beaufort             SC    29902              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Beaufort County Council                                  ATTN: E911                               P.O. Box 1758                                          Beaufort             SC    29901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Beauregard Parish 911                                    410 Bolivar Bishop Drive                                                                        DeRidder            LA     70634              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Beauregard Parish Sheriff's Department                   P.O. Box 639                                                                                    DeRidder            LA     70634-0639         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bedford County Trustee                                   102 Public Square North                                                                         Shelbyville         TN     37160              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bell County Collector                                    P.O. Box 448                                                                                    Pineville           KY     40977              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bell County Fiscal Court                                 P.O. Box 339                                                                                    Pineville           KY     40977              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bellevue Utility / Business and Occupation               Tax Division                             P.O. Box 90012                                         Bellevue            WA     98009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Benton County                                            P.O. Box 549                                                                                    Vinton               IA    52349              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Benton County Chancery Clerk                             P.O. Box 218                                                                                    Ashland             MS     38603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Benton County Treasurer                                  215 East Central                         Suite 4                                                Bentonville         AR     72712              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Berkeley County                                          P.O. Box 6122                                                                                   Moncks Corner        SC    29461              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bernalillo County Treasurer                              P.O. Box 27800                                                                                  Albuquerque         NM     87125-7800         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Berrien County                                           2100 East Empire Avenue                                                                         Benton Harbor       MI     49022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bexar Metro 911 Network District                         911 Saddletree Court                                                                            San Antonio         TX     78231-1523         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bienville Parish Communications District                 P.O. Box 214                                                                                    Arcadia             LA     71001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bingham County E911                                      501 N Maple St, #210                                                                            Blackfoot            ID    83221              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Blount County Trustee                                    347 Court St, Courthouse                                                                        Maryville           TN     37804-5906         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bluegrass 911 Central Communications                     278 Precision Court                                                                             Lancaster           KY     40444              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Board of County Commissioners                            P.O. Box 4188                                                                                   Frisco              CO     80443              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bolivar County E911                                      P.O. Box 789                                                                                    Cleveland           MS     38732              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bonneville County 911                                    605 N. Capital Avenue                                                                           Idaho Falls          ID    83402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Boone County Treasurer                                   100 N Main St.                           Suite 205                                              Harrison            AR     72601-4200         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bossier City - Parish Sales and Use Tax Division         P.O. Box 71313                                                                                  Bossier City        LA     71171-1313         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Bossier Parish Communications District                   P.O. Box 847                                                                                    Benton              LA     71006              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Boulder County Treasurer                                 P.O. Box 471                                                                                    Boulder             CO     80306-0471         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined

Boulder Regional Emergency Telephone Service Authority   P.O. Box 3726                                                                                   Boulder             CO     80307-3726          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Boundary County                                          P.O. Box 419                                                                                    Bonners Ferry       ID     83805               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bourbon County                                           525 High Street                                                                                 Paris               KY     40361               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Boyd County Treasurer                                    P.O. Box 423                                                                                    Catlettsburg        KY     41129               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Boyle County                                             321 West Main Street                                                                            Danville            KY     40422-1848          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bracken County Fiscal Court                              P.O. Box 264                                                                                    Brooksville         KY     41004               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bradley County                                           101 East Cedar Street                                                                           Warren              AR     71671               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bradley County Trustee                                   1701 Keith Street NW                                                                            Cleveland           TN     37311               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Branch County                                            31 Division Street                                                                              Coldwater           MI     49036               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brazoria County Tax Assessor-Collector                   P.O. Box 1586                                                                                   Lake Jackson        TX     77566               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brazos County Emergency Communications District          P.O. Box 911                                                                                    Bryan               TX     77806               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Breathitt County E911                                    1137 Main Street                                                                                Jackson             KY     41339               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Breckinridge County Treasurer                            P.O. Box 607                                                                                    Hardinsburg         KY     40143               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brooks County 911                                        610 Highland Street                                                                             Quitman             GA     31643               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brooks County Board of Commissioners                     P.O. Box 272                                                                                    Quitman             GA     31643               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Broome County                                            P.O. Box 1766                                                                                   Binghamton          NY     13902               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Broward County Tax Collection                            115 S Andrews Avenue                                                                            Fort Lauderdale     FL     33301-1895          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brown County                                             P.O. Box 23600                                                                                  Green Bay           WI     54305-3600          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Brown County E911                                        148 West 4th Street                                                                             Ainsworth           NE     69210               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bryan County                                             P.O. Box 1789                                                                                   Durant              OK     74702               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bryan County 911                                         402 W. Evergreen                                                                                Durant              OK     74701               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bullitt County Fiscal Court                              P.O. Box 768                                                                                    Shepherdsville      KY     40165               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Bulloch County 911                                       115 North Main Street                                                                           Statesboro          GA     30459               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                                                                                Unliquidated
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                                                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                                       Date Debt was     Specify Code Subsection
                                                                                                                                                                                                       Incurred, Basis    of Priority Unsecured
                            Creditor Name                                         Address1                              Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Bulloch County Public Safety Division                    17245 Highway 301 North                                                                         Statesboro          GA     30458              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Burke County 911                                         P.O. Box 89                                                                                     Waynesboro          GA     30830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Burnett County                                           7410 County Road K                                                                              Siren               WI     54872              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Butler County E911 Dispatch                              P.O. Box 626                                                                                    Morgantown          KY     42261              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Butler County Treasurer                                  100 North Main                         Courthouse, Room 103                                     Poplar Bluff        MO     63901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Caddo County Commissioner's Office                       P.O. Box 687                                                                                    Anadarko            OK     73005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Caddo Parish Communications                              1144 Texas Avenue                                                                               Shreveport          LA     71101-3343         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Caddo-Shreveport Sales and Use Tax Commission            P.O. Box 104                                                                                    Shreveport          LA     71161-0104         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calcasieu Parish Communications District                 P.O. Drawer 49                                                                                  Lake Charles        LA     70602-0049         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calcasieu Parish Public Safety Communications District   911 Hodges St                          P.O. Box 49                                              Lake Charles        LA     70602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calcasieu Parish Sales and Use Tax Department            P.O. Drawer 2050                                                                                Lake Charles        LA     70602-2050         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calcasieu Parish School Board                            P.O. Drawer 2050                                                                                Lake Charles        LA     70602-2050         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Caldwell Parish 911                                      P.O. Box 1737                                                                                   Columbia            LA     71418              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calhoun County                                           1702 Noble Street                      Suite107                                                 Anniston            AL     36201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calhoun County 911                                       P.O. Box 226                                                                                    Morgan              GA     39866              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calhoun County ECD                                       P.O. Box 1093                                                                                   Port Lavaca         TX     77979              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calhoun County Treasurer                                 315 West Green Street                                                                           Marshall            MI     49068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Calhoun Cty 911 Emergency Communications District        P.O. Box 1093                                                                                   Port Lavaca         TX     77979              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California Advanced Services Fund                        CASF/Fiscal Office (Room 3000)         505 Van Ness Avenue                                      San Francisco       CA     94102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California Department of Tax & Fee Administration        P.O. 942879                                                                                     Sacramento          CA     94279-6086         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California High Cost Fund-A                              P.O. Box 45118                                                                                  San Francisco       CA     94145-0118         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California High Cost Fund-B                              P.O. Box 45121                                                                                  San Francisco       CA     94145-0121         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California Public Utilities Commission                   505 Van Ness Avenue                    Fiscal Office                                            San Francisco       CA     94102-3214         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
California Teleconnect Fund                              P.O. Box 45254                                                                                  San Francisco       CA     94145-0254         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Callaway County                                          10 E. 5th Street                                                                                Fulton              MO     65251              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Callaway County Treasurer                                10 East 5th St.                                                                                 Fulton              MO     65251              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Camden County                                            1 Court Circle                         Suite 3                                                  Camdenton           MO     65020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Camden County 911                                        P.O. Box 99                                                                                     Woodbine            GA     31569              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Camden County Board of Commissioners                     P.O. Box 99                                                                                     Woodbine            GA     31569              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cameron County Emergency Communications District         501 Camelot Drive                                                                               Harlingen           TX     78550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cameron Parish Communications District                   P.O. Box 1280                                                                                   Cameron             LA     70631              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Campbell County                                          P.O. Box 1027                                                                                   Gillette            WY     82717-1027         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Campbell County                                          P.O. Box 72                                                                                     Jacksboro           TN     37757              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Campbell County E911                                     1098 Monmouth Street                                                                            Newport             KY     41071              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Canada Revenue Agency                                    P.O. Box 20004 STN A                                                                            Sudbury             ON     P3A 6B4    Canada Tax                507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Canyon County Auditor                                    1115 Albany                                                                                     Caldwell             ID    83605              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cape Girardeau County 911                                1 Barton Square                        Suite 102                                                Jackson             MO     63755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cape Girardeau County 911                                P.O. 617                                                                                        Jackson             MO     63755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Capital Area Emergency Communications District           6800 Burleson Rd                       Bldg. 310, Ste. 165                                      Austin              TX     78744              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carbon County                                            P.O. Box 6                                                                                      Rawlins             WY     82301-0006         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carroll County                                           896 Newnan Road                                                                                 Carrollton          GA     30117              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carroll County                                           P.O. Box 60                                                                                     Carrollton          MS     38917              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carroll County Fiscal Court                              440 Main Street                        2nd Floor Courthouse                                     Carrollton          KY     41008-1086         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carroll County Treasurer                                 210 W Church Street                                                                             Berryville          AR     72616              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carrollton-Farmers Branch ISD                            P.O. Box 110611                                                                                 Carrollton          TX     75011-0611         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carson City Treasurer                                    201 North Carson St                    Ste 5                                                    Carson City         NV     89701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carter County E911 Office                                107 1st Avenue SW                                                                               Ardmore             OK     73401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Carter County Fiscal Court                               300 W. Main Street - Room 227                                                                   Grayson             KY     41143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Casey County Fiscal Court                                P.O. Box 306                                                                                    Liberty             KY     42539              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cass County                                              120 North Broadway                     Suite 113                                                Cassopolis          MI     49031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cass County Treasurer                                    P.O. Box 2806                                                                                   Fargo               ND     58108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Catahoula Parish Communications District                 P.O. Box 354                                                                                    Harrisonburg        LA     71340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Catahoula Parish Sales Tax Fund                          P.O. Box 250                                                                                    Vidalia             LA     71373              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Catoosa County Board of Commissioners                    800 Lafayette Street                                                                            Ringgold            GA     30736              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cattaraugus County Treasurer                             303 Court Street                                                                                Little Valley       NY     14755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cayuga County 911 Administration                         7445 County House Rd                                                                            Auburn              NY     13021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cayuga County Treasurer                                  160 Genessee St                        County Office Bldg, 5th Floor                            Auburn              NY     13021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cerro Gordo County                                       220 North Washington                                                                            Mason City           IA    50401-3254         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chaffee County E911 Authority                            P.O. Box 1465                                                                                   Salida              CO     81201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Charleston County                                        4045 Bridge View Drive                 Suite B353                                               North Charleston     SC    29405-7464         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Charleston County 911                                    8500 Palmetto Commerce Parkway                                                                  North Charleston     SC    29456              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Charlotte Co Tax Collector                               18500 Murdock Circle                                                                            Port Charlotte       FL    33948              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chatham Co. Finance Department                           P.O. Box 9297                                                                                   Savannah            GA     31412              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chatham County Tax Commissioner                          P.O. Box 117037                                                                                 Atlanta             GA     30368-7037         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chattanooga City Treasurer                               P.O. Box 191                                                                                    Chattanooga         TN     37401-0191         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chattooga County                                         P.O. Box 211                                                                                    Summerville         GA     30747              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chautauqua County                                        3 North Erie St.                                                                                Mayville            NY     14757              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chemung County Treasurer                                 320 East Market Street                                                                          Elmira              NY     14902-0588         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chenango County Treasurer                                5 Court Street                                                                                  Norwich             NY     13815              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                         Claim subject to offset?
                                                                                                                                                                                                                                                               Unliquidated
                                                                                                                                                                                                                                                  Contingent


                                                                                                                                                                                                                                                                              Disputed
                                                                                                                                                                                                      Date Debt was     Specify Code Subsection
                                                                                                                                                                                                      Incurred, Basis    of Priority Unsecured
                       Creditor Name                                           Address1                            Address2                                     City       State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Cherokee County                                  110 Railroad Avenue                                                                                Gaffney                  SC    29340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cherokee County E911                             914 South College Avenue                    Ste 911                                                Tahlequah               OK     74464              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cherokee County E-911                            150 Chattin Drive                                                                                  Canton                  GA     30115              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cherokee County Tax Collector                    2780 Marietta Hwy                                                                                  Canton                  GA     30114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cherry Hills Village                             2450 East Quincy Avenue                                                                            Cherry Hills Village    CO     80113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chesapeake City                                  P.O. Box 16495                                                                                     Chesapeake              VA     23328-6495         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chester County Trustee                           P.O. Box 386                                                                                       Henderson               TN     38340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chesterfield County E911                         109 Scotch Road                                                                                    Chesterfield             SC    29709              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chesterfield County Treasurer                    P.O. Box 124                                                                                       Chesterfield            VA     23832-0908         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chickasaw County E911                            132 Lancaster Circle                                                                               Houston                 MS     38851              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Chicot County Treasurer                          108 North Main Street                                                                              Lake Village            AR     71653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Choctaw County Clerk                             300 East Duke Street                                                                               Hugo                    OK     74743              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Choctaw County E911                              P.O. Box 250                                                                                       Ackerman                MS     39735              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Christian County                                 521 Weber Street                                                                                   Hopkinsville            KY     42240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Christiansburg Town                              100 East Main Street                                                                               Christiansburg          VA     24073-3029         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Churchill County                                 155 North Taylor Street                     Suite 110                                              Fallon                  NV     89406-2748         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City & County of Denver Manager of Finance       Treasury Division                           201 West Colfax Ave., Dpt. 1010                        Denver                  CO     80217-0420         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City and County of Broomfield                    One DesCombes Drive                                                                                Broomfield              CO     80020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City and County of Broomfield                    P.O. Box 407                                                                                       Broomfield              CO     80038-0407         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City and County of Denver                        P.O. Box 660860                                                                                    Dallas                  TX     75266-0860         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City and County of Honolulu                      Administration Fiscal                       650 South King Street, 4th Floor                       Honolulu                 HI    96813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Clerk                                       1 Municipal Plaza                           Suite 1                                                Beacon                  NY     12508              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Clerk of Bartlesville                       401 S Johnstone Ave                                                                                Bartlesville            OK     74003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Collector                                   501 Vine Street                                                                                    Poplar Bluff            MO     63901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Hall                                        342 Central Ave.                                                                                   Dunkirk                 NY     14048              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Hall - King City                            212 South Vanverhurst                                                                              King City               CA     93930              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Abbott                                   P.O. Box 44                                 210 E. Walnut                                          Abbott                  TX     76621              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aberdeen                                 200 East Market Street                                                                             Aberdeen                WA     98520-5242         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Abilene                                  555 Walnut Street                           Room 211                                               Abilene                 TX     79601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Acworth                                  4415 Senator Russell Avenue                                                                        Acworth                 GA     30101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Acworth 911                              2529 J.O. Stephenson Avenue                                                                        Kennesaw                GA     30144              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ada                                      231 South Townsend St.                                                                             Ada                     OK     74820              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Adrian                                   P.O. Box 246                                                                                       Adrian                  MO     64720-0246         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Advance                                  P.O. Box 348                                                                                       Advance                 MO     63730              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Afton                                    P.O. Box 25                                                                                        Afton                   OK     74331              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Airway Heights                           1208 South Lundstrom                                                                               Airway Heights          WA     99001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Akron                                    21 Main St                                                                                         Akron                   NY     14001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alabaster                                P.O. Box 830525                             Dept. CS#1                                             Birmingham              AL     35283              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alameda                                  2263 Santa Clara Avenue                     Room 22                                                Alameda                 CA     94501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alamo                                    420 N. Tower Road                                                                                  Alamo                   TX     78516              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alamo Heights                            6116 Broadway                                                                                      San Antonio             TX     78209              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alamosa                                  P.O. Box 419                                                                                       Alamosa                 CO     81101-2610         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Albany                                   1000 San Pablo Avenue                                                                              Albany                  CA     94706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Albany                                   222 Pine Avenue                                                                                    Albany                  GA     31701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Albany                                   24 Eagle St.                                City Hall Rm 109                                       Albany                  NY     12207              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Albany                                   P.O. Box 3248                                                                                      Albany                  TX     76430-0595         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aledo                                    P.O. Box 1                                                                                         Aledo                   TX     76008              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alexander City                           P.O. Box 552                                                                                       Alexander City          AL     35011-0552         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alexandria                               P.O. Box 34842                                                                                     Alexandria              VA     22334-0842         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alexandria                               P.O. Box 34939                                                                                     Alexandria              VA     22334-0939         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Algona                                   402 Warde Street                                                                                   Algona                  WA     98001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alhambra                                 111 South First Street                                                                             Alhambra                CA     91801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alice                                    P.O. Box 3229                                                                                      Alice                   TX     78333              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Allen                                    One Butler Circle                                                                                  Allen                   TX     75013              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alpharetta                               2 Park Plaza                                                                                       Alpharetta              GA     30009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alpharetta                               P.O. Box 117022                                                                                    Atlanta                 GA     30368-7022         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alpine                                   100 N. 13th                                                                                        Alpine                  TX     79830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alton                                    509 S. Alton Blvd.                                                                                 Alton                   TX     78573              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alva                                     415 4th St                                                                                         Alva                    OK     73717              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alvarado                                 104 West College St                                                                                Alvarado                TX     76009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Alvin                                    216 West Sealy Street                                                                              Alvin                   TX     77511              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Amarillo                                 P.O. Box 1971                                                                                      Amarillo                TX     79105-1971         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Americus                                 101 West Lamar St                                                                                  Americus                GA     31709              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ames                                     P.O. Box 8094                                                                                      Ames                    TX     77575              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Anacortes                                P.O. Box 410                                                                                       Anacortes               WA     98221-0410         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Anadarko                                 P.O. Box 647                                                                                       Anadarko                OK     73005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Andersonville                            114 Church Street                                                                                  Andersonville           GA     31711              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Andrews                                  111 Logsdon St                                                                                     Andrews                 TX     79714              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Angleton                                 121 S. Velasco St                                                                                  Angleton                TX     77515              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                                                                           Disputed
                                                                                                                                                                                                   Date Debt was     Specify Code Subsection
                                                                                                                                                                                                   Incurred, Basis    of Priority Unsecured
                         Creditor Name                                         Address1                            Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Angus                                      6008 S. I H45 West                                                                               Corsicana            TX     75109              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Anna                                       P.O. Box 776                              101 N. Powell Pkwy                                     Anna                 TX     75409              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Annetta North                              P.O. Box 1238                                                                                    Aledo                TX     76008              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Anniston                                   P.O. Box 935145                                                                                  Atlanta              GA     31193-5145         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Anson                                      1301 Commercial Ave                                                                              Anson                TX     79501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Antlers                                    100 SE 2nd                                                                                       Antlers              OK     74523              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aransas Pass                               144 E. Goodnight                          P.O. Box 200                                           Aransas Pass         TX     78335-2000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arcadia                                    240 West Huntington Drive                                                                        Arcadia              CA     91007              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arcadia                                    P.O. Box 60021                                                                                   Arcadia              CA     91066-6021         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arcata                                     736 "F" Street                                                                                   Arcata               CA     95521              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Archer City                                P.O. Box 367                                                                                     Archer City          TX     76351              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arcola                                     13222 Highway 6                                                                                  Arcola               TX     77583              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ardmore                                    P.O. Box 249                                                                                     Ardmore              OK     73402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Argyle                                     P.O. Box 609                                                                                     Argyle               TX     76226              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arlington                                  238 N Olympic Ave                                                                                Arlington            WA     98223              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arlington                                  MS63-082P.O. Box 90231                                                                           Arlington            TX     76004-0231         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arnold                                     2101 Jeffco Blvd.                                                                                Arnold               MO     63010              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arp                                        P.O. Drawer 68                                                                                   Arp                  TX     75750              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Arvada                                     8101 Ralston Road                                                                                Arvada               CO     80001-8101         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ash Grove                                  P.O. Box 235                                                                                     Ash Grove            MO     65604              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Asherton                                   P.O. Box 450                                                                                     Asherton             TX     78827              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aspen                                      P.O. Box 912513                                                                                  Denver               CO     80291-2513         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Athens                                     508 E. Tyler                                                                                     Athens               TX     75751              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Athens                                     815 North Jackson Street                                                                         Athens               TN     37303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Athens                                     P.O. Box 1748                                                                                    Athens               GA     30603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Atlanta                                    55 Trinity Avenue                         Suite 1350                                             Atlanta              GA     30303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Atlanta                                    P.O. Box 669                                                                                     Atlanta              TX     75551              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Atlanta                                    P.O. Box 932053                                                                                  Atlanta              GA     31193-2053         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Atoka                                      P.O. Box 900                                                                                     Atoka                OK     74525              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aubrey                                     107 S. Main St.                                                                                  Aubrey               TX     76227              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Auburn                                     144 Tichenor Avenue                       Suite 6                                                Auburn               AL     36830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Auburn                                     25 West Main Street                                                                              Auburn               WA     98001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Auburn                                     P.O. Drawer 1059                                                                                 Auburn               GA     30011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Augusta                                    535 Telfair Street                        Suite 800                                              Augusta              GA     30901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aurora                                     15151 East Alameda Parkway                Suite 1100                                             Aurora               CO     80012              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aurora                                     303 Derting Rd.                                                                                  Aurora               TX     76078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aurora                                     P.O. Box 30                                                                                      Aurora               MO     65605              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aurora E911                                P.O. Box 30                                                                                      Aurora               MO     65605-1596         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Aurora Tax                                 P.O. Box 913200                                                                                  Denver               CO     80291-3200         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Austell                                    2716 Broad Street, SW                                                                            Austell              GA     30106              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Austin Telecom. & Regulatory Affairs       P.O. Box 1088                                                                                    Austin               TX     78767              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Avondale Estates                           21 North Avondale Plaza                                                                          Avondale Estates     GA     30002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Azle                                       613 SE Parkway                                                                                   Azle                 TX     76020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bainbridge                                 P.O. Box 946                                                                                     Bainbridge           GA     31717              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bainbridge Island                          280 Madison Avenue North                                                                         Bainbridge Island    WA     98110-1812         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Balch Springs                              13503 Alexander Rd                                                                               Balch Springs        TX     75181              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Balcones Heights                           3300 Hillcrest Dr.                                                                               Balcones             TX     78201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Baldwin Park                               14403 East Pacific Avenue                                                                        Baldwin Park         CA     91706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ballinger                                  P.O. Box 497                                                                                     Ballinger            TX     76821              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ballwin                                    14811 Manchester Road                                                                            Ballwin              MO     63011-4617         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bandera                                    P.O. Box 896                                                                                     Bandera              TX     78003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bangs                                      P.O. Box 188                                                                                     Bangs                TX     76823              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bardstown                                  214 Nelson County Plaza Drive                                                                    Bardstown            KY     40004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Barnesville                                109 Forsyth Street                                                                               Barnesville          GA     30204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bartlett                                   140 West Clark                            P.O. Drawer H                                          Bartlett             TX     76511              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bastrop                                    P.O. Box 427                                                                                     Bastrop              TX     78602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Batavia                                    One Batavia City Centre                                                                          Batavia              NY     14020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Battle Ground                              109 SW 1st Street, Suite 217                                                                     Battle Ground        WA     98604              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Baxley                                     P.O. Box 290                                                                                     Baxley               GA     31515              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bay City                                   1901 Fifth Street                                                                                Bay City             TX     77414              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Baytown                                    2401 Market Street                                                                               Baytown              TX     77522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beasley                                    P.O. Box 122                                                                                     Beasley              TX     77417              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beattyville                                P.O. Box 307                                                                                     Beattyville          KY     41311              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beaumont                                   550 E. 6th Street                                                                                Beaumont             CA     92233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beaumont                                   P.O. Box 3827                                                                                    Beaumont             TX     77704              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beaverton                                  P.O. Box 4755                                                                                    Beaverton            OR     97076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bedford                                    2000 Forest Ridge Drive                                                                          Bedford              TX     76021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beeville                                   400 North Washington St.                                                                         Beeville             TX     78102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bell                                       6330 Pine Avenue                                                                                 Bell                 CA     90201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                        Creditor Name                                  Address1                            Address2                                     City          State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Bella Villa                         751 Avenue H                                                                                    Bella Villa                MO     63125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellaire                            7008 South Rice Avenue                                                                          Bellaire                   TX     77401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellefontaine Neighbors             9641 Bellefontaine Road                                                                         Bellefontaine Neighbors    MO     63137              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellevue                            1500 Wall Street                                                                                Bellevue                   NE     68005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellevue                            P.O. Box 261                             610 Fourth St.                                         Bellevue                   TX     76228              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellevue                            P.O. Box 34372                                                                                  Seattle                    WA     98124-9012         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellflower                          16600 Civic Center Drive                                                                        Bellflower                 CA     90706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellingham                          210 Lottie Street                                                                               Bellingham                 WA     98225              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellmead                            3015 Bellmead Drive                                                                             Bellmead                   TX     76705              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bellville                           30 South Holland                                                                                Bellville                  TX     77418              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Belton                              506 Main Street                                                                                 Belton                     MO     64012              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Belton                              P.O. Box 120                                                                                    Belton                     TX     76513              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Benavides                           P.O. Box R                                                                                      Benavides                  TX     78341              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Benbrook                            911 Winscott Road                                                                               Benbrook                   TX     76126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Benicia                             P.O. Box 398502                                                                                 San Francisco              CA     94139-8502         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Berkeley                            1947 Center Street                                                                              Berkeley                   CA     94704              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Berkeley                            2180 Milvia Street                       3rd Floor                                              Berkeley                   CA     94704              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Berkeley                            8425 Airport Rd                                                                                 Berkeley                   MO     63134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Berkeley Lake                       4040 S Berkeley Lake Road NW                                                                    Berkeley Lake              GA     30096              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Berry Tax Collector                 P.O. Box 215                                                                                    Berry                      KY     41003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bessemer                            1700 Third Avenue North                                                                         Bessemer                   AL     35020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bethany                             6700 NW 36th Street                                                                             Bethany                    OK     73008-3311         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Beverly Hills                       7150 Natural Bridge Road                                                                        Saint Louis                MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bevil Oaks                          13560 River Oaks Blvd.                                                                          Beaumont                   TX     77713-8671         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Big Lake                            P.O. Box 310                                                                                    Big Lake                   TX     76932              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Big Spring                          310 Nolan Street                                                                                Big Spring                 TX     79720              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Binghamton                          38 Hawley St.                                                                                   Binghamton                 NY     13901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Birmingham                          P.O. Box 830638                                                                                 Birmingham                 AL     35283-0638         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bishop                              P.O. Box 356/500 East Texas Ave                                                                 Bishop                     TX     78343              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Black Diamond                       P.O. Box 599                             24301 Roberts Drive, Suite B                           Black Diamond              WA     98010              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Black Hawk                          P.O. Box 68                                                                                     Black Hawk                 CO     80422-0068         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Black Jack                          12500 Old Jamestown ROad                                                                        Black Jack                 MO     63033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Blackwell                           P.O. Box 350                             221 W Blackwell                                        Blackwell                  OK     74631              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Blaine                              435 Martin Street                        Suite 3000                                             Blaine                     WA     98230              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Blanco                              P.O. Box 750                                                                                    Blanco                     TX     78606              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bloomfield                          P.O. Box 350                                                                                    Bloomfield                 MO     63825              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bloomsdale                          P.O. Box 3                                                                                      Bloomsdale                 MO     63627              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Blue Mound                          301 S Blue Mound Rd                                                                             Blue Mound                 TX     76131              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Blue Springs                        903 W. Main Street                                                                              Blue Springs               MO     64015              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bluefield                           200 Rogers Street                                                                               Bluefield                  WV     24701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Boerne                              P.O. Box 1677                                                                                   Boerne                     TX     78006              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bogart                              P.O. Box 206                                                                                    Bogart                     GA     30622              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bonham                              301 East Fifth Street                                                                           Bonham                     TX     75418              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bonne Terre                         118 North Allen Street                                                                          Bonne Terre                MO     63628              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bonney Lake                         19306 Bonney Lake Blvd E                 P.O. 7380                                              Bonney Lake                WA     98390-0944         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Boonville                           401 Main Street                                                                                 Booneville                 MO     65233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Borger                              P.O. Box 5250                                                                                   Borger                     TX     79008-5250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bossier                             620 Benton Road                                                                                 Bossier City               LA     71111              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bossier City                        P.O. Box 71313                                                                                  Bossier City               LA     71171-1313         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bothell                             18305 101st Avenue NE                                                                           Bothell                    WA     98011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Boulder                             P.O. Box 791                                                                                    Boulder                    CO     80306              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Boulder City                        401 California Avenue                                                                           Boulder City               NV     89005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bowdon                              City Hall Avenue                                                                                Bowdon                     GA     30108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bowie                               304 Lindsey Street                                                                              Bowie                      TX     76230              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bowling Green                       16 West Church                                                                                  Bowling Green              MO     63334              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brackettville                       P.O. Box 526                                                                                    Brackettville              TX     78832              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bradbury                            600 Winston Avenue                                                                              Bradbury                   CA     91008              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brady                               P. O. Box 351                                                                                   Brady                      TX     78625              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brawley                             400 Main Street                                                                                 Brawley                    CA     92227              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brazoria                            201 S Main                                                                                      Brazoria                   TX     77422              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brazos Country                      316 Pecan Grove                                                                                 Sealy                      TX     77474              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Breckenridge                        105 North Rose Avenue                                                                           Breckenridge               TX     76424              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Breckenridge Hills                  9623 Saint Charles Rock Rd                                                                      BRECKENRIDGE HILLS         MO     63114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bremen                              232 Tallapoosa Street                                                                           Bremen                     GA     30110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bremerton                           345 Sixth Street                         Suite 100                                              Bremerton                  WA     98337-1873         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bremond                             P.O. Box E                                                                                      Bremond                    TX     76629              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brenham                             P.O. Box 1059                                                                                   Brenham                    TX     77834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brentwood                           2348 South Brentwood Boulevard                                                                  Brentwood                  MO     63144              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Briaroaks                           101 N. Briaroaks Rd.                                                                            Burleson                   TX     76028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                                            Date Debt was     Specify Code Subsection
                                                                                                                                                                                            Incurred, Basis    of Priority Unsecured
                         Creditor Name                                  Address1                            Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Bridge City                          P.O. Box 846                                                                                    Bridge City          TX     77611              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bridgeport                           900 Thompson Street                                                                             Bridgeport           TX     76426              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bridgeton                            12355 Natural Bridge Road                                                                       Bridgeton            MO     63044              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brighton                             500 South 4th Avenue                                                                            Brighton             CO     80601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Broken Arrow                         P.O. Box 610                                                                                    Broken Arrow         OK     74013-0610         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bronte                               P.O. Box 370                                                                                    Bronte               TX     76933              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brookfield                           116 W. Brooks                                                                                   Brookfield           MO     64628              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brookhaven                           4362 Peachtree Road                                                                             Brookhaven           GA     30319              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brookside Village                    6243 Brookside Road                                                                             Brookside Village    TX     77581              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brownfield                           201 West Broadway                                                                               Brownfield           TX     79316              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brownsville                          P.O. Box 911                                                                                    Brownsville          TX     78522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brownwood                            P.O. Box 1389                                                                                   Brownwood            TX     76804              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bruceville-Eddy                      143A Wilcox Drive                                                                               Eddy                 TX     76524              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Brunswick - Franchise Tax            P.O. Box 550                                                                                    Brunswick            GA     31521              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bryan                                P.O. Box 1000                                                                                   Bryan                TX     77805-1000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buchanan                             P.O. Box 6                                                                                      Buchanan             GA     30113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buckley                              P.O. Box 1960                                                                                   Buckley              WA     98321              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buda                                 P.O. Box 1380                                                                                   Buda                 TX     78610-1380         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buffalo                              1225 City Hall                                                                                  Buffalo              NY     14202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buford                               2300 Buford Highway                                                                             Buford               GA     30518-6044         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Buford                               95 Scott Street                                                                                 Buford               GA     30518              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Bunker Hill Village                  11977 Memorial Drive                                                                            Houston              TX     77024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burbank                              301 East Olive Avenue                    Suite 200                                              Burbank              CA     91502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burien                               15811 Ambaum Blvd. SW                    Ste. C Suite 30                                        Burien               WA     98166              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burien                               400 SW 152nd St, Suite 300                                                                      Burien               WA     98166              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burkburnett                          501 Sheppard Road                                                                               Burkburnett          TX     76354              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burleson                             141 West Renfro Street                                                                          Burleson             TX     76028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burlington                           833 South Spruce Street                                                                         Burlington           WA     98233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burnet                               P.O. Box 1369                                                                                   Burnet               TX     78611              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Burton                               P.O. Box 255                                                                                    Burton               TX     77835              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Butler                               P.O. Box 420                                                                                    Butler               MO     64730              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Byrnes Mill                          141 Osage Executive Circle                                                                      Byrnes Mill          MO     63051              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cabool                               P.O. Box 710                                                                                    Cabool               MO     65689              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Caddo Mills                          P.O. Box 492313 Main Street                                                                     Caddo Mills          TX     75135              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Calabasas                            100 Civic Center Way                                                                            Calabasas            CA     91302              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Caldwell                             107 South Hill Street                                                                           Caldwell             TX     77836              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Calhoun                              P.O. Box 248                                                                                    Calhoun              GA     30703-0248         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of California                           500 S. Oak Street                                                                               California           MO     65018              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Callisburg                           59 Campbell Street                                                                              Callisburg           TX     76240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Calvert                              P.O. Box 505                                                                                    Calvert              TX     77837              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cambridge                            795 Massachusetts Ave.                                                                          Cambridge            MA     02139              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cameron                              205 North Main Street                                                                           Cameron              MO     64429              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cameron                              P.O. Box 833                                                                                    Cameron              TX     76520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Camilla                              P.O. Box 328                                                                                    Camilla              GA     31730-0328         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Campbell                             302 West Grand Ave                                                                              Campbell             MO     63933              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canadaigua                           2 North Main Street                                                                             Canadaigua           NY     14424              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canadian                             6 Main Street                                                                                   Canadian             TX     79014              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canon City                           P.O. Box 17946                                                                                  Denver               CO     80217-0946         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canton                               124 North 5th Street                                                                            Canton               MO     63435              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canton                               201 N. Buffalo                                                                                  Canton               TX     75103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canton                               P.O. Box 231                                                                                    Canton               MO     63435              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canyon                               301 16th Street                                                                                 Canyon               TX     79015              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Canyon Lake                          31516 Railroad Canyon Rd                                                                        Canyon Lake          CA     92587              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cape Girardeau                       P.O. Box 617                                                                                    Cape Girardeau       MO     63702-0617         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cardwell                             P.O. Box 216                             119 E. Loeb St.                                        Cardwell             MO     63829              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carl Junction                        P.O. Box 447                                                                                    Carl Junction        MO     64834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carney                               P.O. Box 566                                                                                    CARNEY               OK     74833              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carrizo Springs                      P.O. Box 329                                                                                    Carrizo Springs      TX     78834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carrollton                           206 West Washington Avenue                                                                      Carrollton           MO     64633              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carrollton                           P.O. Box 1949                                                                                   Carrollton           GA     30112              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carrollton Revenue Collections       P.O. Box 115125                                                                                 Carrollton           TX     75011-0535         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cartersville                         Customer Service Department              P.O. Box 139                                           Cartersville         GA     30120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carthage                             326 Grant Street                                                                                Carthage             MO     64836              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Carthage                             P.O. Box 400                                                                                    Carthage             TX     75633              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Caruthersville                       200 West Third                                                                                  Caruthersville       MO     63830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Castle Hills                         209 Lemonwood                                                                                   Castle Hills         TX     78213              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Castroville                          1209 Fiorella Street                                                                            Castroville          TX     78009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cathedral City                       68-700 Avenida Lalo Guerrero                                                                    Cathedral City       CA     92234              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cayce                                1800 12th Street                                                                                Cayce                 SC    29033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                       Creditor Name                                     Address1                            Address2                                     City       State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Cedar Hill                            285 Uptown Blvd.                         Building 100                                           Cedar Hill              TX     75104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cedar Park                            450 Cypress Creek Rd                     Bldg #1                                                Cedar Park              TX     78613              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cedartown                             201 East Avenue                                                                                 Cedartown               GA     30125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Celeste                               P.O. Box 399                             201 N. Hwy. 69                                         Celeste                 TX     75423              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Celina                                142 N. Ohio Drive                                                                               Celina                  TX     75009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Centennial                            13133 E. Arapahoe Road                                                                          Centennial              CO     80112              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Centennial                            P.O. Box 17383                                                                                  Denver                  CO     80217-0383         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Center                                P.O. Box 1744                                                                                   Center                  TX     75935-1744         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Central                               P.O. Box 249                                                                                    Central                 CO     80427              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Centralia                             114 South Rollins Street                                                                        Centralia               MO     65240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Centralia                             P.O. Box 609                                                                                    Centralia               WA     98531              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chadron                               P.O. Box 390                             234 Main Street                                        Chadron                 NE     69337              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chaffee                               222 W. Yokum                                                                                    Chaffee                 MO     63740              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chamblee                              5468 Peachtree Road                                                                             Chamblee                GA     30341              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chamois                               200 South Main Street                                                                           Chamois                 MO     65024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chandler                              414 Manvel Avenue                                                                               Chandler                OK     74834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Charlack                              8401 Midland Blvd.                                                                              Charlack                MO     63114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Charleston                            204 North Main Street                                                                           Charleston              MO     63834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Charleston                            P.O. Box 7786                                                                                   Charleston              WV     25356              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chehalis                              1321 South Market Street                                                                        Chehalis                WA     98532              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chelsea                               P.O. Box 505680                                                                                 Chelsea                 MA     02150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cheney                                609 2nd Street                                                                                  Cheney                  WA     99004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cherry Hill Village                   2450 E. Quincy Avenue                                                                           Cherry Hills Village    CO     80113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chesapeake                            P.O. Box 15285                                                                                  Chesapeake              VA     23328-5285         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chesterfield                          690 Chesterfield Parkway West                                                                   Chesterfield            MO     63017-0670         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chicago                               22149 Network Place                                                                             Chicago                  IL    60673-1221         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chicago - Department of Revenue       333 S State Street                       Room 300                                               Chicago                  IL    60604              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chickasha                             117 North 4th Street                                                                            Chickasha               OK     73018              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chico                                 P.O. Box 3420                                                                                   Chico                   CA     95927-3420         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Childress                             P.O. Box 1087                                                                                   Childress               TX     79201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chillicothe                           715 Washington Street                                                                           Chillicothe             MO     64601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chillicothe                           P.O. Box 546                                                                                    Chillicothe             TX     79225              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of China                                 P.O. Box 248                                                                                    China                   TX     77613              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of China Grove                           2456 FM 1516 S.                                                                                 San Antonio             TX     78263              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Choctaw                               P.O. Box 567                                                                                    Choctaw                 OK     73020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Christine                             P.O. Box 238                                                                                    Christine               TX     78012              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chula Vista                           276 Fourth Avenue                                                                               Chula Vista             CA     91910              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Chula Vista                           P.O. Box 1087                                                                                   Chula Vista             CA     91912              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cibolo                                109 South Main Street                    P.O. Box 826                                           Cibolo                  TX     78108-0826         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cisco                                 P.O. Box 110                                                                                    Cisco                   TX     76437              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Citrus Heights                        6360 Fountain Square Drive                                                                      Citrus Heights          CA     95621-5634         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Claremont                             P.O. Box 880                                                                                    Claremont               CA     91711              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Claremore                             104 S. Muskogee                                                                                 Claremore               OK     74017              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clarkston                             3921 Church Street                                                                              Clarkston               GA     30021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clarkston                             829 Fifth Street                                                                                Clarkston               WA     99403-2634         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clarksville                           800 West Main                                                                                   Clarksville             TX     75426              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clarksville                           P.O. Box 530                                                                                    Clarksville             MO     63336              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clayton                               10 N. Bemiston Avenue                                                                           Clayton                 MO     63105              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cle Elum                              119 West First Street                                                                           Cle Elum                WA     98922              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cleburne                              P.O. Box 677                                                                                    Cleburne                TX     76033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clemson                               1250 Tiger Boulevard                     Suite 2                                                Clemson                  SC    29631-2661         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cleveland                             907 E. Houston St.                                                                              Cleveland               TX     77327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cleveland                             P.O. Box 1519                                                                                   Cleveland               TN     37364-1519         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cleveland                             P.O. Drawer 190                                                                                 Cleveland               OK     74020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clifton                               P.O. Box 231                                                                                    Clifton                 TX     76634              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clinton                               105 East Ohio                                                                                   Clinton                 MO     64735              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clinton                               P.O. Box 1177                                                                                   Clinton                 OK     73601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cloverdale                            P.O. Box 217                                                                                    Cloverdale              CA     95425              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clute                                 108 E. Main St.                                                                                 Clute                   TX     77531              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Clyde Hill                            9605 N.E. 24th Street                                                                           Clyde Hill              WA     98004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Coachella                             1515 Sixth Street                                                                               Coachella               CA     92236              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CITY OF COALGATE                              3 S. Main St.                                                                                   Coalgate                OK     74538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cockrell Hill                         4125 W. Clarendon                                                                               Cockrell Hill           TX     75211              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Coffeyville                           P.O. Box 1629                                                                                   Coffeyville              KS    67337              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cohoes                                96 Mohawk St                                                                                    Cohoes                  NY     12047              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of College Park                          P.O. Box 87137                                                                                  College Park            GA     30337              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of College Place                         625 S. College Avenue                                                                           College Place           WA     99324              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of College Station                       P.O. Box 9973                                                                                   College Station         TX     77842              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colleyville                           100 Main Street                                                                                 Colleyville             TX     76034              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                                                                             Disputed
                                                                                                                                                                                                     Date Debt was     Specify Code Subsection
                                                                                                                                                                                                     Incurred, Basis    of Priority Unsecured
                       Creditor Name                                              Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Collinsville                                    P.O. Box 649                                                                                   Collinsville        TX     76233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Collinsville                                    P.O. Box 730                                                                                   Collinsville        OK     74021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colmesneil                                      P.O. Box 144                                                                                   Colmesneil          TX     75938              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colonial Heights                                P.O. Box 3401                                                                                  Colonial Heights    VA     23834-9001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colorado City                                   P.O. Box 912                                                                                   Colorado City       TX     79512              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colorado Springs                                Department 2408                                                                                Denver              CO     80256-0001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Colquitt                                        154 West Street                                                                                Colquitt            GA     31737              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Columbia                                        P.O. Box 6015                                                                                  Columbia            MO     65205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Columbus                                        P.O. Box 1397                                                                                  Columbus            GA     31902              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Columbus                                        P.O. Box 87                                                                                    Columbus            TX     78934              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Combine                                         123 Davis Road                                                                                 Combine             TX     75159              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Commerce                                        1119 Alamo                                                                                     Commerce            TX     75428              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Commerce City                                   7887 E. 60th Avenue                                                                            Commerce City       CO     80022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Compton                                         205 South Willowbrook Avenue                                                                   Compton             CA     90220              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Concrete                                        P.O. Box 39                                                                                    Concrete            WA     98237              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Conroe                                          P.O. Box 3066                                                                                  Conroe              TX     77305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Converse                                        407 S. Seguin                                                                                  Converse            TX     78109              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Conyers                                         1184 Scott Street                                                                              Conyers             GA     30207              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cool Valley                                     100 Signal Hill                                                                                Cool Valley         MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Coppell                                         P.O. Box 9478                                                                                  Coppell             TX     75019              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Copperas Cove                                   P.O. Box 1449                                                                                  Copperas Cove       TX     76522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corinth                                         3300 Corinth Parkway                                                                           Corinth             TX     76208-5379         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corning                                         1 Civic Center Plaza                                                                           Corning             NY     14830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corpus Christi                                  321 John Sartain                        C/O Monica Corona-Hunter                               Corpus Christi      TX     78401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corpus Christi                                  P.O. Box 9257                                                                                  Corpus Christi      TX     78469-9257         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corpus Christi Police Department-MetroCom       321 John Sartain Street                                                                        Corpus Christi      TX     78401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corrigan                                        101 West Ben Franklin                                                                          Corrigan            TX     75939              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Corsicana                                       200 North 12th Street                                                                          Corsicana           TX     75110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cotulla                                         117 North Front Street                                                                         Cotulla             TX     78014              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Courtland                                       25 Cort St.                                                                                    Courtland           NY     13045              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Covina                                          125 East College Street                                                                        Covina              CA     91723              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Covington                                       16720 SE 271Street                      Suite 100                                              Covington           WA     98042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Coweta                                          P.O. Box 850                                                                                   Coweta              OK     74429              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Craig                                           300 West 4th Street                                                                            Craig               CO     81625              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crandall                                        P.O. Box 277                            110 S. Main St.                                        Crandall            TX     75114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crane                                           115 West 8th Street                                                                            Crane               TX     79731              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crawford                                        P.O. Box 7                                                                                     Crawford            TX     76638              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crestwood                                       1 Detjin Drive                                                                                 Crestwood           MO     63126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Creve Coeur                                     300 North New Ballas Road                                                                      Creve Coeur         MO     63141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cripple Creek                                   P.O. Box 430                                                                                   Cripple Creek       CO     80813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crockett                                        200 N. 5th Street                                                                              Crockett            TX     75835              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crowley                                         201 East Main                                                                                  Crowley             TX     76036              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crystal City                                    101 East Dimmit St.                                                                            Crystal City        TX     78839              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crystal City                                    130 Mississippi Avenue                                                                         Crystal City        MO     63019              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Crystal Lakes                                   14739 Crystal Drive                                                                            Crystal Lakes       MO     64024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cudahy                                          5220 Santa Ana Street                                                                          Cudahy              CA     90201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cuero                                           P.O. Box 66212 East Main                                                                       Cuero               TX     77954              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Culver City                                     9770 Culver Boulvard                    P.O. Box 507                                           Culver City         CA     90232-0507         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cumming                                         100 Main Street                                                                                Cumming             GA     30040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cupertino                                       10300 Torre Avenue                                                                             Cupertino           CA     95014              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Cushing                                         100 Judy Adams Blvd                     P.O. Box 311                                           Cushing             OK     74023              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dacono                                          P.O. Box 186                                                                                   Dacono              CO     80514              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dacula                                          P.O. Box 400                                                                                   Dacula              GA     30211              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dallas                                          129 East Memorial Drive                                                                        Dallas              GA     30132              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dallas                                          1500 Marilla Street                     Room 4/D/S                                             Dallas              TX     75201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dallas                                          Attention: Financial Staff              1500 Marilla Street, Room 4DS                          Dallas              TX     75201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dalworthington Gardens                          2600 Roosevelt Dr                                                                              Dalworthington      TX     76016              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Daly City                                       333 90th Street                                                                                Daly City           CA     94015-1895         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Danbury                                         P.O. Box 258                                                                                   Danbury             TX     77534              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Daphne                                          P.O. Box 1047                                                                                  Daphne              AL     36526-1047         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dasher                                          3686 US Highway 41 South                                                                       Dasher              GA     31601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Davis                                           227 East Main Street                                                                           Davis               OK     73030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dayton                                          117 Cook St.                                                                                   Dayton              TX     77535              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of De Soto                                         17 Boyd Street                                                                                 De Soto             MO     63020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Decatur                                         509 North McDonough Street                                                                     Decatur             GA     30030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Decatur                                         P.O. Box 1299                                                                                  Decatur             TX     76234              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Decatur                                         P.O. Box 220                                                                                   Decatur             GA     30031-0220         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Deer Park                                       P.O. Box 700                                                                                   Deer Park           TX     77536              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Del City                                        P.O. Box 15177                                                                                 Del City            OK     73115              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                                            Date Debt was     Specify Code Subsection
                                                                                                                                                                                            Incurred, Basis    of Priority Unsecured
                         Creditor Name                                  Address1                           Address2                                     City     State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Del Rio                              109 West Broadway Street                                                                       Del Rio               TX     78840              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dellwood                             1415 Chambers Road                                                                             Dellwood              MO     63135              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Denison                              P.O. Box 347                                                                                   Denison               TX     75021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Denton                               215 E. McKinney                                                                                Denton                TX     76201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Denver City                          P.O. Box 1539                                                                                  Denver City           TX     79323              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Des Moines                           21630 11th Avenue S, Suite A                                                                   Des Moines            WA     98198              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Des Moines                           21630 Eleventh Avenue S                                                                        Des Moines            WA     98198              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Des Moines                           P.O. Box 314                                                                                   Seahurst              WA     98062              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Des Peres                            12325 Manchester Road                                                                          Des Peres             MO     63131              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Desert Hot Springs                   65950 Pierson Boulevard                  65950 Pierson Blvd                                    Desert Hot Springs    CA     92240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Desloge                              300 N. Lincoln                                                                                 Desloge               MO     63601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of DeSoto                               211 E. Pleasant Run Rd.                                                                        DeSoto                TX     75115              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Devers                               P.O. Box 338                                                                                   Devers                TX     77538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Devine                               303 S. Teel Drive                                                                              Devine                TX     78016              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dewey                                411 E. Don Tyler                                                                               Dewey                 OK     74029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dexter                               301 East Stoddard Street                                                                       Dexter                MO     63841              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dickinson                            4403 Highway 3                                                                                 Dickinson             TX     77539              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dilley                               P.O. Box 230                                                                                   Dilley                TX     78017              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Donna                                307 South 12th Street                                                                          Donna                 TX     78537              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Doraville                            Attn: E911 Communications Center         3750 Park Ave                                         Doraville             GA     30340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Downey                               P.O. Box 7016                                                                                  Downey                CA     90241-7016         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dripping Springs                     P.O. Box 384                                                                                   Dripping Springs      TX     78620              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Du Pont                              1700 Civic Drive                                                                               Du Pont               WA     98327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dublin                               213 E. BlackJack                                                                               Dublin                TX     76446              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dublin                               P.O. Box 690                                                                                   Dublin                GA     31040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Duenweg                              P.O. Box 105                                                                                   Duenweg               MO     64841              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Duluth                               3167 Main Street                                                                               Duluth                GA     30096-3263         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dumas                                Box 438                                                                                        Dumas                 TX     79029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dumfries                             17755 Main Street                                                                              Dumfries              VA     22026-0056         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Duncan                               P.O. Box 969                             720 W. Willow                                         Duncan                OK     73534-0250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Duncanville                          203 E. Wheatland Rd.                                                                           Duncanville           TX     75138              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dunwoody                             4800 Ashford Dunwoody Road                                                                     Dunwoody              GA     30338              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Durango                              949 East 2nd Avenue                                                                            Durango               CO     81301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Durant                               300 W. Evergreen                                                                               Durant                OK     74701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Duvall                               15535 Main Street                        P.O. Box 130                                          Duvall                WA     98019              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Dyersburg                            P.O. Box 1358                                                                                  Dyersburg             TN     38025              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eagle Lake                           P.O. Box 38                                                                                    Eagle Lake            TX     77434              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eagle Pass                           100 S. Monroe St.                                                                              Eagle Pass            TX     78852              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Early                                P.O. Box 3100                                                                                  Early                 TX     76802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of East Bernard                         704 Church Street                                                                              East Bernard          TX     77435              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of East Palo Alto                       2415 University Avenue                                                                         East Palo Alto        CA     94303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of East Point                           1526 E. Forrest Ave                                                                            East Point            GA     30344              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of East Prairie                         219 North Washington                                                                           East Prairie          MO     63845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of East Wenatchee                       271 9th St. N.E.                                                                               East Wenatchee        WA     98802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eastland                             P.O. Box 749                                                                                   Eastland              TX     76448              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eastman                              P.O. Box 40                                                                                    Eastman               GA     31023              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eatonton                             P.O. Box 3820                                                                                  Eatonton              GA     31024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edcouch                              211 Southern Street                      P.O. Box 10                                           Edcouch               TX     78538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eden                                 P.O. Box 915                                                                                   Eden                  TX     76837              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edgewater                            1800 Harlan Street                                                                             Edgewater             CO     80214              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edgewood                             2224 104th Ave E                                                                               Edgewood              WA     98372-1513         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edgewood                             P.O. Box 377                                                                                   Edgewood              TX     75117              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edina                                204 East Monticello Street                                                                     Edina                 MO     63537              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edinburg                             P.O. Box 1079                            210 W. McIntyre                                       Edinburg              TX     78540              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edmonds                              121 Fifth Avenue North                                                                         Edmonds               WA     98020-3145         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edmund                               P.O. Box 2970                                                                                  Edmond                OK     73083              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edmundson                            4440 Holman Lane                                                                               Edmundson             MO     63134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Edna                                 126 West Main                                                                                  Edna                  TX     77957              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Campo                             315 E. Jackson                                                                                 El Campo              TX     77437              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Cerrito                           10890 San Pablo Avenue                                                                         El Cerrito            CA     94530              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Dorado Spring                     135 West Spring                                                                                El Dorado Spring      MO     64744              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Lago                              98 Lakeshore Drive                                                                             El Lago               TX     77586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Monte                             11333 Valley Boulevard                                                                         El Monte              CA     91731-3293         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Monte                             P.O. Box 6008                                                                                  El Monte              CA     91734              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Paso                              P.O. Box 1890                                                                                  El Paso               TX     79950-1890         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Reno                              101 North Choctaw Avenue                                                                       El Reno               OK     73036              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of El Segundo                           350 Main Street                                                                                El Segundo            CA     90245              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elberton                             P.O. Box 70                                                                                    Elberton              GA     30635              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eldon                                P.O. Box 355                                                                                   Eldon                 MO     65026              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                                       Date Debt was     Specify Code Subsection
                                                                                                                                                                                                       Incurred, Basis    of Priority Unsecured
                         Creditor Name                                  Address1                                       Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Eldorado                             P.O. Box 713                                                                                               Eldorado             TX     76936-0713         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elgin                                P.O. Box 591                                                                                               Elgin                TX     78621              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elk City                             320 W 3rd Street                                                                                           Elk City             OK     73644              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elk Grove                            8401 Laguna Palms Way                                                                                      Elk Grove            CA     95758              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ellisville                           1 Weis Avenue                                                                                              Ellisville           MO     63011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elma                                 P.O. Box E                                                                                                 Elma                 WA     98541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elmendorf                            P.O. Box 247                                        203 Bexar Ave                                          Elmendorf            TX     78112              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elmira                               317 East Church Street                                                                                     Elmira               NY     14901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Elsberry                             201 Broadway Street                                                                                        Elsberry             MO     63343              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Emeryville                           1333 Park Avenue                                                                                           Emeryville           CA     94608              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Emeryville                           373 E Shaw Ave Box 367                                                                                     Fresno               CA     93710              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Emory                                123 North Texas Street                              P.O. Box 10                                            Emory                TX     75440              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CITY OF EMPORIA                              104 E 5th PO Box 928                                                                                       Emporia               KS    66801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Encampment                           P.O. Box 486                                                                                               Saratoga             WY     82331              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Encinal                              P.O. Box 120                                                                                               Encinal              TX     78019              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Englewood                            1000 Englewood Parkway                                                                                     Englewood            CO     80110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Englewood                            P.O. Box 2900                                       1000 Englewood Parkway • 3rd Floor                     Englewood            CO     80150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Englewood                            P.O. Box 2901000 Englewood Parkway • 3rd Floor                                                             Englewood            CO     80150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CITY OF ENID                                 P.O. Box 1768                                                                                              Enid                 OK     73702              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ennis                                P.O. Box 220                                                                                               Ennis                TX     75120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Entiat                               14070 Kinzel                                                                                               Entiat               WA     98822              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Enumclaw                             1339 Griffin Avenue                                                                                        Enumclaw             WA     98022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Essex                                P.O. Box 357                                                                                               Essex                MO     63846              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eugene                               P.O. Box 1967                                                                                              Eugene               OR     97440              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Euless                               201 North Ector Drive                                                                                      Euless               TX     76039              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eureka                               1305 FM 2859                                                                                               Corsicana            TX     75110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Eureka                               P.O. Box 125                                                                                               Eureka               MO     63025              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Evans                                P.O. Box 912324                                                                                            Denver               CO     80291-2324         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Everett                              P.O. Box 94430                                                                                             Seattle              WA     98124-6730         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Everman                              212 N. Race Street                                                                                         Everman              TX     76140              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Excelsior Springs                    201 East Broadway                                   Hall of Waters Building                                Excelsior Springs    MO     64024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fair Oaks Ranch                      7286 Dietz Elkhorn                                                                                         Fair Oaks Ranch      TX     78015              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fairburn                             P.O. Box 145                                        56 Malone Street                                       Fairburn             GA     30213              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fairfax                              142 Bolinas Road                                                                                           Fairfax              CA     94930              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fairfax                              City Hall, Room 224                                 10455 Armstrong Street                                 Fairfax              VA     22030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fairfield                            1000 Webster Street                                                                                        Fairfield            CA     94533-4883         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fairview                             123 South Sixth Avenue                                                                                     Fairview             OK     73737              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Falfurrias                           P.O. Drawer E                                                                                              Falfurrias           TX     78355              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Falls Church Treasurer               300 Park Avenue                                     Suite 104 East                                         Falls Church         VA     22046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Falls City                           P.O. Box 250                                                                                               Falls City           TX     78113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fargo                                200 N. 3rd Street                                                                                          Fargo                ND     58102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Farmers Branch                       3723 Valley View Lane                                                                                      Farmers Branch       TX     75244              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Of Farmers Branch                       P.O. Box 819010                                                                                            Farmers Branch       TX     75381              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Farmersville                         205 South Main                                                                                             Farmersville         TX     75442              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Farmington                           110 West Columbia Street                                                                                   Farmington           MO     63640              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fate                                 P.O. Box 159                                                                                               FATE                 TX     75132              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fayette                              117 S. Main Street                                                                                         Fayette              MO     65248              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fayetteville                         240 Glynn Street South                                                                                     Fayetteville         GA     30214              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fayetteville Trustee                 110 Elk Avenue South                                                                                       Fayetteville         TN     37334              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Federal Heights                      2380 West 90th Avenue                                                                                      Federal Heights      CO     80260              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Federal Way                          33325 South 8th Avenue                                                                                     Federal Way          WA     98003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fenton                               625 New Smizer Mill Road                                                                                   Fenton               MO     63026              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fenton                               645 New Smizer Mill Road                                                                                   Fenton               MO     63026              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ferguson                             110 Church Street                                                                                          Ferguson             MO     63135              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ferndale                             P.O. Box 936                                                                                               Ferndale             WA     98248              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fernley                              595 Silver Lace Boulevard                                                                                  Fernley              NV     89408              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ferris                               100 Town Plaza                                                                                             Ferris               TX     75125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Festus                               711 West Main                                                                                              Festus               MO     63028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fife                                 5411 23rd Street E                                                                                         Fife                 WA     98424              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fircrest                             115 Ramsdell St                                                                                            Fircrest             WA     98466              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Flatonia                             P.O. Box 329                                                                                               Flatonia             TX     78941              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Flordell Hills                       7001 Brandon Avenue                                                                                        Flordell Hills       MO     63136              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Florence                             324 West Evans Street                                                                                      Florence              SC    29501-3430         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Floresville                          1120 D Street                                                                                              Floresville          TX     78114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Florissant                           955 Rue St. Francois Street                                                                                Florissant           MO     63031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Flowery Branch                       P.O. Box 757                                                                                               Flowery Branch       GA     30542              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Floydada                             114 West Virginia                                                                                          Floydada             TX     79235-2717         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Forest Hill                          3219 E. California Parkway                                                                                 Forest Hill          TX     76119              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Forest Park                          320 Cash Memorial Boulevard                                                                                Forest Park          GA     30297              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                       Creditor Name                                   Address1                                   Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Forney                             P.O. Box 826                                                                                            Forney              TX     75126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fort Collins                       P.O. Box 440                                                                                            Fort Collins        CO     80522-0580         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fort Collins                       P.O. Box 58215 North Mason Street 2nd Floor                                                             Fort Collins        CO     80522-0580         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Of Fort Lupton                        130 S Mckinley Ave                                                                                      Fort Lupton         CO     80621              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fort Stockton                      Box 1000                                                                                                Fort Stockton       TX     79735              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fort Valley                        P.O. Box 956                                                                                            Fort Valley         GA     31030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fort Worth                         P.O. Box 99005                                                                                          Fort Worth          TX     76199-0005         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Frankford                          P.O. Box 55                                                                                             Frankford           MO     63441              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Frankfort                          ATTN: Frankfort 911                              P.O. Box 697                                           Frankfort           KY     40602-0697         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Franklin                           P.O. Box 250                                                                                            Franklin            GA     30217-0250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Franklin                           P.O. Box 428                                                                                            Franklin            TX     77856              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fredericksburg                     126 W. Main St.                                                                                         Fredericksburg      TX     78624              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fredericksburg                     P.O. Box 644                                                                                            Fredericksburg      VA     22404              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Freeport                           200 West 2nd Street                                                                                     Freeport            TX     77541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Freer                              P.O. Drawer N                                                                                           Freer               TX     78357              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fremont                            400 E. Military Ave.                                                                                    Fremont             NE     68025-5141         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Friendswood                        910 South Friendswood Drive                                                                             Friendswood         TX     77546              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Frisco                             6101 Frisco Square Boulevard                     4th floor Finance                                      Frisco              TX     75034              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Frontenac                          10555 Clayton Road                                                                                      Frontenac           MO     63131              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fruitvale                          P.O. Box 197                                                                                            Fruitvale           TX     75127              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fulshear                           P.O. Box 279                                                                                            Fulshear            TX     77441              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Fulton                             P.O. Box 130                                                                                            Fulton              MO     65251              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gainesville                        200 S. Rusk                                                                                             Gainsville          TX     76240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gainesville                        P.O. Box 2496                                                                                           Gainesville         GA     30503              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Galena Park                        P.O. Box 46                                                                                             Galena Park         TX     77547              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Galveston                          P.O. Box 779                                                                                            Galveston           TX     77553              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garden City                        P.O. Box 7548                                                                                           Garden City         GA     31408              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garden Ridge                       9400 Municipal Parkway                                                                                  Garden Ridge        TX     78266              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gardena                            1700 West 162nd Street                           Room 104                                               Gardena             CA     90247              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garland                            1891 Forest Lane                                                                                        Garland             TX     75042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garland                            P.O. Box 462010                                                                                         Garland             TX     75046-2010         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garland                            P.O. Box 469002                                                                                         Garland             TX     75046-9002         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Garrison                           129 W. Greenwood St.                                                                                    Garrison            TX     75946-2423         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gatesville                         110 N. 8th Street                                                                                       Gatesville          TX     76528              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Geneva                             47 Castle Street                                                                                        Geneva              NY     14456              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of George West                        406 Nueces                                                                                              George West         TX     78022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Georgetown                         P.O. Box 409                                                                                            Georgetown          TX     78627              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Giddings                           118 E. Richmond St.                                                                                     Giddings            TX     78942              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gideon                             P.O. Box 396                                                                                            Gideon              MO     63848              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gig Harbor                         3510 Grandview Street                                                                                   Gig Harbor          WA     98335              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gilmer                             110 Buffalo St.                                  P.O. Box 76                                            Gilmer              TX     75644              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gilroy                             7351 Rosanna Street                                                                                     Gilroy              CA     95020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gladewater                         E519 E. Broadway                                                                                        Gladewater          TX     75647              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gladstone                          7010 North Holmes Street                                                                                Gladstone           MO     64188              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glasgow                            100 Market Street                                                                                       Glasgow             MO     65254              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glen Cove                          9 Glen Street                                                                                           Glen Cove           NY     11542              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glen Falls                         42 Ridge Street                                                                                         Glenn Falls         NY     12801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glen Rose                          P.O. Box 1949                                                                                           Glen Rose           TX     76043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glendale                           141 N Glendale Avenue                            Suite 346                                              Glendale            CA     91206-4498         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glendale                           141 North Glendale Avenue                        Suite 346                                              Glendale            CA     91206              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glendale                           424 North Sappington Road                                                                               Glendale            MO     63122              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glendale                           950 South Birch Street                                                                                  Glendale            CO     80246              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glenn Heights                      1938 S. Hampton Rd.                                                                                     Glenn Heights       TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glenn Heights                      550 E. Bear Creek Road                                                                                  Glenn Heights       TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glenpool                           12205 S Yukon Ave                                                                                       Glenpool            OK     74033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glenwood Springs                   101 West 8th Street                              P.O. Box 458                                           Glenwood Springs    CO     81602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Glenwood Springs                   P.O. Box 458                                                                                            Glenwood Springs    CO     81602-0458         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gloversville                       3 Frontage Rd.                                                                                          Gloversville        NY     12078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Godley                             P.O. Box 27                                                                                             Godley              TX     76044              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Golden                             P.O. Box 5885                                                                                           Denver              CO     80217              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Goldsmith                          P.O. Box 629                                                                                            Goldsmith           TX     79741              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Goliad                             P.O. Box 939                                                                                            Goliad              TX     77963              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gonzales                           P.O. Box 547                                                                                            Gonzales            TX     78629              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Goose Creek                        P.O. Drawer 1768                                                                                        Goose Creek          SC    29445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gordon                             P.O. Box 227                                                                                            Gordon              TX     76453              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Graford                            P.O. Box 97                                                                                             Graford             TX     76449              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Graham                             P.O. Box 1449                                                                                           Graham              TX     76450              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grain Valley                       711 S. Main St                                                                                          Grain Valley        MO     64029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Granbury                           116 West Bridge Street                                                                                  Granbury            TX     76048              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                           Date Debt was     Specify Code Subsection
                                                                                                                                                                                           Incurred, Basis    of Priority Unsecured
                       Creditor Name                                  Address1                              Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Grand Junction                     250 N 5th Street                                                                                Grand Junction        CO     81501-2668         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grand Prairie                      P.O. Box 534045                                                                                 Grand Prairie         TX     75053-4045         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grand Saline                       132 E. Frank Street                                                                             Grand Saline          TX     75140-1824         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grandfalls                         P.O. Box 327                                                                                    Grandfalls            TX     79742              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grandview                          1200 Main Street                                                                                Grandview             MO     64030-2498         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grandview                          P.O. Box 425                                                                                    Grandview             TX     76050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Granger                            P.O. Box 367                                                                                    Granger               TX     76530              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grant City                         P.O. Box 398                                                                                    Grant City            MO     64456              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grantville                         P.O. Box 160                                                                                    Grantville            GA     30220-0160         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grapevine                          P.O. Box 95104                                                                                  Grapevine             TX     76099              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greeley                            1000 10th Street                                                                                Greeley               CO     80631              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greeley                            P.O. Box 1648                                                                                   Greeley               CO     80632              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Green Park                         11100 Mueller Road                       Suite 6                                                Green Park            MO     63123              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greendale                          7309 Natural Bridge Road, Room 204                                                              St. Louis             MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greenfield                         P.O. Box 127                                                                                    Greenfield            CA     93927              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greenville                         P.O. Box 1049                                                                                   Greenville            TX     75403              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greenville                         P.O. Box 158                                                                                    Greenville            AL     36037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Greenwood Village                  P.O. Box 910841                                                                                 Denver                CO     80274              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gregory                            P.O. Box 297 / 206 W. Fourth                                                                    Gregor                TX     78359              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Griffin                            P.O. Box T                                                                                      Griffin               GA     30224              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grove                              104 W. 3rd Street                                                                               Grove                 OK     74344              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grover Beach                       P.O. Box 468                                                                                    Grover Beach          CA     93483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Groves                             3947 Lincoln Avenue                                                                             Groves                TX     77619              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Groveton                           P.O. Box 37                                                                                     Groveton              TX     75845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Grovetown                          P.O. Box 120                                                                                    Grovetown             GA     30813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gruver                             P.O. Box 947                                                                                    Gruver                TX     79040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gun Barrel City                    1716 W. Main Street                                                                             Gun Barrel City       TX     75156              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Gunnison                           P.O. Box 239                                                                                    Gunnison              CO     81230              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Guthrie                            P.O. Box 908                                                                                    Guthrie               OK     73044              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Guyton                             310 Central Blvd                                                                                Guyton                GA     31312              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hackberry                          119 Maxwell Road                         B-7                                                    Frisco                TX     75034              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hale Center                        P.O. Box 532                                                                                    Hale Center           TX     79041              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hallettsville                      101 N. Main                                                                                     Hallettsville         TX     77964              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hallsville                         P.O. Box 899                                                                                    Hallsville            TX     75650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Haltom City                        5024 Broadway Blvd.                                                                             Haltom City           TX     76117              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hamilton                           200 East Main                                                                                   Hamilton              TX     76531              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hamlin                             P.O. Box 157                             355 S. Central                                         Hamlin                TX     79520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hampton Treasurer                  P.O. Box 636                                                                                    Hampton               VA     23669              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hanahan                            1255 Yeamans Hall Road                                                                          Charleston             SC    29406              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hannibal                           320 Broadway                                                                                    Hannibal              MO     63401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hapeville                          P.O. Box 82311                                                                                  Hapeville             GA     30354              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Happy Valley                       16000 SE Misty Drive                                                                            Happy Valley          OR     97086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hardin                             P.O. Box 324                                                                                    Hardin                TX     77561              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harker Heights                     305 Miller's Crossing                                                                           Harker Heights        TX     76548              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harlem                             P.O. Box 99                                                                                     Harlem                GA     30814              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harlingen                          P.O. Box 2207                                                                                   Harlingen             TX     78550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harrah                             P.O. Box 636                                                                                    Harrah                OK     73045              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harrisonburg                       409 South Main Street                                                                           Harrisonburg          VA     22801-3610         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harrisonville                      300 East Pearl Street                                                                           Harrisonville         MO     64701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Harrisonville                      P.O. Box 367                             300 East Pearl Street                                  Harrisonville         MO     64701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hartselle                          P.O. Box 2028                                                                                   Decatur               AL     35602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Haslet                             105 Main St.                                                                                    Haslet                TX     76052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hastings                           220 North Hastings Avenue                                                                       Hastings              NE     68901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hawthorne                          4455 W 126th Street                                                                             Hawthorne             CA     90250              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hayti                              P.O. Box 552                                                                                    Hayti                 MO     63851              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hayti Heights                      P.O. Box 426                                                                                    Hayti                 MO     63851              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hayward                            777 B Street - 4th floor                                                                        HAYWARD               CA     94541-5007         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hazelwood                          415 Elm Grove Lane                                                                              Hazelwood             MO     63042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hearne                             210 Cedar Street                                                                                Hearne                TX     77859              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Heath                              200 Laurence Drive                                                                              Heath                 TX     75032              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hebron                             P.O. Box 118916                                                                                 Carrollton            TX     75011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hedwig Village                     955 Piney Point Road                                                                            Houston               TX     77024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Helena                             P.O. Box 262                                                                                    Helena                AL     35080-0262         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Helotes                            P.O. Box 507                                                                                    Helotes               TX     78023              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hempstead                          1125 Austin Street                                                                              Hempstead             TX     77445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Henderson                          400 West Main                                                                                   Henderson             TX     75652              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Henderson                          P.O. Box 95007                                                                                  Henderson             NV     89009-5007         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Henderson                          P.O. Box 95050                                                                                  Henderson             NV     89009-5050         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Henderson E-911                    P.O. Box 716                                                                                    Henderson             KY     42419              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                              Date Debt was     Specify Code Subsection
                                                                                                                                                                                              Incurred, Basis    of Priority Unsecured
                         Creditor Name                                     Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Henrietta                            P.O. Box 409                                                                                       Henrietta           TX     76365              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Henryetta E911                       P.O. Box 608                                115 South 4th Street                                   Henryetta           OK     74437              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Of Herculaneum                          1 Parkwood Court                                                                                   Herculaneum         MO     63048              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hercules                             111 Civic Drive                                                                                    Hercules            CA     94547              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hereford                             P.O. Box 2277                                                                                      Hereford            TX     79045              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hermosa Beach                        1315 Valley Drive                                                                                  Hermosa Beach       CA     90254-3885         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hewitt                               200 Patriot Court                                                                                  Hewitt              TX     76643              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hidalgo                              704 East Texano Drive                                                                              Hidalgo             TX     78557              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hideaway                             101-B Hideaway Lane Central                                                                        Hideaway            TX     75771-5001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Higbee                               P.O. Box 156                                                                                       Higbee              MO     65257              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Higginsville                         P.O. Box 110                                                                                       Higginsville        MO     64037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Higgston                             310 James Street                                                                                   Higgston            GA     30410              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Highland Village                     1000 Highland Village Road                                                                         Highland Village    TX     75077              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hill Country Village                 116 Aspen Lane                                                                                     San Antonio         TX     78232              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hillsboro                            150 E. Main Street, Floor 5                                                                        Hillsboro           OR     97123              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hillsboro                            P.O. Box 19                                                                                        Hillsboro           MO     63050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hillsboro                            P.O. Box 19                                                                                        Hillsboro           MO     63050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hillsboro                            P.O. Box 568                                                                                       Hillsboro           TX     76645              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hilshire Village                     8301 Westview Drive                                                                                Houston             TX     77055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hilton                               59 Henry Street                                                                                    Hilton              NY     14468              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hitchcock                            7423 Highway 6                                                                                     Hitchcock           TX     77563              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hogansville                          400 East Main Street                                                                               Hogansville         GA     30230              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Holiday Lakes                        Route 4, Box 747                                                                                   Angleton            TX     77515              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Holly Springs                        P.O. Box 990                                                                                       Holly Springs       GA     30142              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Holts Summit                         P.O. Box 429                                                                                       Holts Summit        MO     65043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hondo                                1600 Avenue M                                                                                      Hondo               TX     78861              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Honey Grove                          633 N. 6th St.                                                                                     Honey Grove         TX     75446              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hoover                               P.O. Box 11407                                                                                     Hoover              AL     35246-0144         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hornell                              P.O. Box 627                                82 Main Street                                         Hornell             NY     14843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Houston                              601 South Grand                                                                                    Houston             MO     65483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Houston                              P.O. Box 2226                                                                                      Houston             TX     77252              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Houston Lake                         5417 N.W. Adrian                                                                                   Houston Lake        MO     64151              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Howardville                          104 Howard Avenue                                                                                  Howardville         MO     63889              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hudson                               520 Warren Street                                                                                  Hudson              NY     12534              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hudson Oaks                          210 N Lakeshore                                                                                    Hudson Oaks         TX     76087              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hueytown                             P.O. Box 3650                                                                                      Hueytown            AL     35023              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hulbert                              P.O. Box 147                                                                                       Hulbert             OK     74441              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Humble                               114 West Higgins Street                                                                            Humble              TX     77338              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hunters Creek Village                #1 Hunters Creek Place                                                                             Houston             TX     77024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Huntington Beach                     2000 Main Street                            P.O. Box 711                                           Huntington Beach    CA     92648-0711         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Huntington Park                      6550 Miles Avenue                           Room 127                                               Huntington Park     CA     90255              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Huntsville                           1212 Avenue M                                                                                      Huntsville          TX     77340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Huntsville                           Dept #2108                                  P.O. Box 11407                                         Birmingham          AL     35246-2108         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hurst                                1505 Precinct Line Road                                                                            Hurst               TX     76054              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hutchins                             P.O. Box 500                                                                                       Hutchins            TX     75141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Hutto                                401 West Front Street                                                                              Hutto               TX     78634              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Idalou                               P.O. Box 1277                                                                                      Idalou              TX     79329              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Independence                         111 East Maple Avenue                                                                              Independence        MO     64050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Independence                         P.O. Box 1019                                                                                      Independence        MO     64050-0519         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Indio                                P.O. Box 1788                                                                                      Indio               CA     92202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ingleside                            P.O. Drawer 400                                                                                    Ingleside           TX     78362              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Inglewood                            1 Manchester Boulevard                                                                             Inglewood           CA     90301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Inglewood                            One Manchester Boulevard                                                                           Inglewood           CA     90301-1750         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Iowa Park                            P.O. Box 190                                                                                       Iowa Park           TX     76367              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Iraan                                P.O. Box 457                                                                                       Iraan               TX     79744              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Iron Mountain Lake                   538 Gallatin Dr                                                                                    Bismarck            MO     63624-8950         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ironton                              123 N Main                                                                                         Ironton             MO     63650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Irvine                               P.O. Box 19575                                                                                     Irvine              CA     92623-9575         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Irving                               825 West Irving Blvd.                                                                              Irving              TX     75060              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Irwindale                            5050 North Irwindale Avenue                                                                        Irwindale           CA     91706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Issaquah                             P.O. Box 1307                                                                                      Issaquah            WA     98027-1307         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Italy                                101 West Main Street                        P.O. Box 84                                            Italy               TX     76651              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Itasca                               134 N Hill Street                                                                                  Itasca              TX     76055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ithaca                               108 East Green Street                                                                              Ithaca              NY     14850              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jacinto City                         10301 Market Street Road                                                                           Jacinto City        TX     77029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jacksboro                            112 W. Belknap                                                                                     Jacksboro           TX     76458              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jackson                              101 Court Street                                                                                   Jackson             MO     63755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jackson                              333 Broadway Street                                                                                Jackson             KY     41339              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jackson                              P.O. Box 838                                                                                       Jackson             GA     30233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                                            Date Debt was     Specify Code Subsection
                                                                                                                                                                                            Incurred, Basis    of Priority Unsecured
                       Creditor Name                                   Address1                              Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Jacksonville                       P.O. Box 1390                                                                                      Jacksonville        TX     75766              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jamestown                          P.O. Box 150                                                                                       Jamestown           NY     14702-0150         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jarrell                            161 Town Center Blvd.                                                                              Jarrell             TX     76537              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jasper                             200 Burnt Mountain Road                                                                            Jasper              GA     30143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jasper                             P.O. Box 610                                                                                       Jasper              TX     75951              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jay                                P.O. Box 348                                                                                       Jay                 OK     74346              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jefferson                          102 N. Polk                                                                                        Jefferson           TX     75657              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jefferson City                     320 E. McCarty Street                     Rm.2                                                     Jefferson City      MO     65101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jekyll Island                      100 James Rd                                                                                       Jekyll Island       GA     31527-0833         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jenkinsburg                        211 Maple Drive                                                                                    Jenkinsburg         GA     30234              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jenks                              211 North Elm St.                         P.O. Box 2007                                            Jenks               OK     74037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jennings                           2120 Hord Avenue                                                                                   Jennings            MO     63136              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jersey Village                     16501 Jersey Drive                                                                                 Jersey Village      TX     77040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jesup                              P.O. Box 427                                                                                       Jesup               GA     31545              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jewett                             P.O. Box 189                                                                                       Jewett              TX     75846              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Johns Creek                        10700 Abbotts Bridge Rd, Ste 190                                                                   Johns Creek         GA     30097-1412         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Johns Creek                        12000 Findley Raod                        Suite 400                                                Johns Creek         GA     30097-1412         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Johnstown                          P.O Box 160                                                                                        Johnstown           NY     12095              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jolly                              194 Milton Street                                                                                  Wichita Falls       TX     76310              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jones                              110 East Main                             P O Box 720                                              Jones               OK     73049              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jonesboro                          124 North Avenue                                                                                   Jonesboro           GA     30236              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jonesboro                          P.O. Box 1845                                                                                      Jonesboro           AR     72403              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Joplin                             303 East 3rd Street                                                                                Joplin              MO     64801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Joplin                             602 S. Main St.                                                                                    Joplin              MO     64801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Joshua                             101 South Main                                                                                     Joshua              TX     76058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Jourdanton                         1604 State Hwy 97 East                    Ste A                                                    Jourdanton          TX     78026              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Justin                             P.O. Box 129                                                                                       Justin              TX     76247              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kansas City Missouri               414 East 12th Street                      2nd Floor - East                                         Kansas City         MO     64106-2786         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Karnes City                        314 E. Calvert                                                                                     Karnes City         TX     78118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Katy                               P.O. Box 617                                                                                       Katy                TX     77492              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kaufman                            P.O. Box 1168                                                                                      Kaufman             TX     75142              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kearney                            100 East Washington                                                                                Kearney             MO     64060              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kearney                            P.O. Box 797                                                                                       Kearney             MO     64060              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Keene                              100 N. Mockingbird                                                                                 Keene               TX     76059              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Keller                             P.O. Box 770                                                                                       Keller              TX     76244-0770         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kemah                              1401 Hwy. 146                                                                                      Kemah               TX     77565              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kemp                               P.O. Box 449                                                                                       Kemp                TX     75143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kempner                            P.O. Box 660                                                                                       Kempner             TX     76539              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kendleton                          P.O. Box 809                              13219 Loop 541                                           Kendleton           TX     77451              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kenedy                             303 West Main Street                                                                               Kenedy              TX     78119              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kenefick                           3564 FM 1008                                                                                       Dayton              TX     77535              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kenmore                            18120 68th Avenue NE                                                                               Kenmore             WA     98028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kennedale                          405 Municipal Drive                                                                                Kennedale           TX     76060              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kennesaw                           2529 J.O. Stephensen Avenue                                                                        Kennesaw            GA     30144              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kennett E911                       200 Cedar Street                                                                                   Kennett             MO     63857              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kennewick                          P.O. Box 6108                                                                                      Kennewick           WA     99336              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kent                               220 4th Avenue South                                                                               Kent                WA     98032-5895         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kent Finance Department            220 Fourth Avenue S                                                                                Kent                WA     98032-5895         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kermit                             110 South Tornillo                                                                                 Kermit              TX     79745              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kerrville                          701 Main Street                                                                                    Kerrville           TX     78028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kilgore                            815 N Kilgore                                                                                      Kilgore             TX     75662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Killeen                            101 North College                                                                                  Killeen             TX     76541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kingston                           420 Broadway                                                                                       Kingston            NY     12401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kingston                           P.O. Box 309                                                                                       Kingston            GA     30145-0309         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kingsville                         200 E. Kleberg                            P.O. Box 1458                                            Kingsville          TX     78364              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kinloch                            5825 Martin Luther King Blvd.                                                                      Kinloch             MO     63140              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kirby                              112 Baumann St.                                                                                    Kirby               TX     78219              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kirbyville                         107 S. Elizabeth                                                                                   Kirbyville          TX     75956              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kirkland                           123 Fifth Avenue                                                                                   Kirkland            WA     98033-6189         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kirksville                         201 South Franklin Street                                                                          Kirksville          MO     63501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kirkwood                           139 South Kirkwood Road                                                                            Kirkwood            MO     63122              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Knoxville                          P.O. Box 15001                                                                                     Knoxville           TN     37901-5001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kountze                            P.O. Box 188                                                                                       Kountze             TX     77625              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Krugerville                        5097 US Highway 377 S                                                                              Krugerville         TX     76227-6204         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Krum                               P.O. Box 217                                                                                       Krum                TX     76249              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Kyle                               100 W Center St.                                                                                   Kyle                TX     78640              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Coste                           P.O. Box 112                                                                                       LaCoste             TX     78039              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Feria                           115 E. Commercial Avenue                                                                           La Feria            TX     78559              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Grange                          155 E Colorado                                                                                     La Grange           TX     78945              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                       Creditor Name                                        Address1                             Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of La Joya                               P.O. Box H                                                                                          La Joya             TX     78560              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Marque                             1111 Bayou Rd.                                                                                      La Marque           TX     77568              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Monte                              107 N Main                                  P.O. Box 147                                            La Monte            MO     65337              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Palma                              7822 Walker Street                                                                                  La Palma            CA     90623              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Porte                              604 W Fairmont Pkwy                                                                                 La Porte            TX     77571              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Verne                              3660 D Street                                                                                       La Verne            CA     91750              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of La Vernia                             P.O. Box 225                                102 E. Chihuahua                                        La Vernia           TX     78121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lacey                                 420 College Street SE                                                                               Lacey               WA     98503-1238         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lackawanna                            714 Ridge Road                              #211                                                    Lackawanna          NY     14218              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ladonia                               P.O. Box 5                                                                                          Ladonia             TX     75449              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ladue                                 9345 Clayton Road                                                                                   Ladue               MO     63124-1511         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lafayette                             1290 South Public Road                      P.O. Box 25                                             Lafayette           CO     80026              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of LaFayette                             P.O. Box 250                                1290 South Public Road                                  Lafayette           CO     80026-0250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lafayette                             P.O. Box 4024                                                                                       Lafayette           LA     70502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lago Vista                            P.O. Box 4727                                                                                       Lago Vista          TX     78645              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of LaGrange                              200 Ridley Avenue                                                                                   LaGrange            GA     30240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake City                             5455 Jonesboro Rd                                                                                   Lake City           GA     30260              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake City                             P.O. Box 177                                                                                        Mathis              TX     78368              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Forest Park                      17425 Ballinger Way N.E.                                                                            Lake Forest Park    WA     98155              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Jackson                          25 Oak Drive                                                                                        Lake Jackson        TX     77566              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Lotawana                         100 Lake Lotawana Drive                                                                             Lake Lotawana       MO     64086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Oswego                           P.O. Box 369                                380 A Avenue                                            Lake Oswego         OR     97034              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Ozark                            P.O. Box 370                                                                                        Lake Ozark          MO     65049              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Park                             120 N. Essa Street                                                                                  Lake Park           GA     31636-5074         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake St Louis                         200 Civic Center Drive                      Suite 34                                                Lake Saint Louis    MO     63367              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Stevens                          P.O. Box 257                                                                                        Lake Stevens        WA     98258              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Tapaawingo                       144 Anchor Drive                                                                                    Lake Tapawingo      MO     64015              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Waukomis                         1147 South Shore Drive                                                                              Lake Waukomis       MO     64151              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lake Worth                            3805 Adam Grubb Street                                                                              Lake Worth          TX     76135              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakeport                              207 Milam Road                                                                                      Longview            TX     75603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakeway                               1102 Lohmans Crossing                                                                               Lakeway             TX     78734              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakewood                              480 South Allison Parkway                   Civic Center South Building, First Floor                Lakewood            CO     80226-3127         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakewood                              5050 North Clark Avenue                                                                             Lakewood            CA     90712              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakewood                              6000 Main Street SW                                                                                 Lakewood            WA     98499              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakewood                              P.O. Box 17479                                                                                      Denver              CO     80217              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lakewood Village                      100 Highridge Dr                                                                                    Lakewood Village    TX     75068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lamar                                 1104 Broadway Street                                                                                Lamar               MO     64759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lampasas                              312 East Third St.                                                                                  Lampasas            TX     76550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lancaster                             211 N. Henry Street                                                                                 Lancaster           TX     75146              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lancaster                             P.O. Box 477                                                                                        Lancaster           MO     63548              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CITY OF LANGLEY                               P.O. Box 760                                                                                        Langley             OK     74350              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Laredo                                P.O. Box 579                                                                                        Laredo              TX     78042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Las Vegas                             495 S Main St                               4th floor                                               Las Vegas           NV     89101-2986         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Las Vegas                             495 South Main Street                                                                               Las Vegas           NV     89101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lavon                                 P.O. Box 340                                120 School Road                                         Lavon               TX     75166              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lawndale                              14714 Burin Avenue                                                                                  Lawndale            CA     90260              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lawrence RE/PP/WS                     P.O. Box 726                                                                                        Reading             MA     01867-0413         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lawrenceville                         P.O. Box 2200                                                                                       Lawrenceville       GA     30046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lawton                                212 South 9th St                                                                                    Lawton              OK     73501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leadington                            12 Weir Street                                                                                      Leadington          MO     63601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leadwood                              708 Banks St                                                                                        Leadwood            MO     63653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of League City                           300 W. Walker                                                                                       League City         TX     77573              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leander                               P.O. Box 319                                                                                        Leander             TX     78646-0319         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leary                                 P.O. Box 148                                                                                        Leary               GA     31762              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leavenworth                           700 State Highway 2                         P.O. Box 287                                            Leavenworth         WA     98826              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lebanon                               400 South Madison                                                                                   Lebanon             MO     65536              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lebanon Commissioner of Finance       200 N Castle Heights Avenue                                                                         Lebanon             TN     37087              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lee's Summit                          220 SE Green Street                         P.O. Box 160                                            Lee's Summit        MO     64063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lee's Summit                          220 SE Green Street                         P.O. Box 1600                                           Lee's Summit        MO     64063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lefors                                101 N. Court St.                            P.O. Box 383                                            Lefors              TX     79054              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leighton                              P.O. Box 3989                                                                                       Muscle Shoals       AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leon Valley                           6400 El Verde Road                                                                                  Leon Valley         TX     78238              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Leroy                                 P.O. Box 38                                                                                         Leroy               TX     76654              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lewisville                            P.O. Box 299002                                                                                     Lewisville          TX     75029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lexington                             919 Franklin Avenue                                                                                 Lexington           MO     64067              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lexington Collector                   P.O. Box 1699                                                                                       Lexington           TN     38351              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Liberty                               1829 Sam Houston                                                                                    Liberty             TX     77575              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Liberty                               P.O. Box 159                                                                                        Liberty             MO     64069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lilbourn                              P.O. Box 643                                                                                        Lilbourn            MO     63862              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                        Creditor Name                                         Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Lilburn                                 76 Main Street                                                                                     Lilburn             GA     30247              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lincoln Treasurer                       555 S 10th Street                                                                                  Lincoln             NE     68508              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lindale                                 P.O. Box 130                                                                                       Lindale             TX     75771              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Linden                                  P.O. Box 419                                                                                       Linden              TX     75563              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lindsay                                 P.O. Box 153                                                                                       Lindsay             TX     76250              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Linn                                    P.O. Box 498                                                                                       Linn                MO     65051              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Little Falls                            659 East Main Street                                                                               Little Falls        NY     13365              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Little Rock                             500 W. Markham Street #203                  Room 100                                               Little Rock         AR     72201-1497         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Littleton                               P.O. Box 1305                                                                                      Englewood           CO     80150-1305         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Live Oak                                8001 Shin Oak Dr                                                                                   Live Oak            TX     78233-2497         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Liverpool                               P.O. Box 68                                                                                        Liverpool           TX     77577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Livingston                              200 West Church Street                                                                             Livingston          TX     77351              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Llano                                   301 W. Main Street                                                                                 Llano               TX     78643              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lockhart                                P.O. Box 239                                                                                       Lockhart            TX     78644              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lockney                                 218 E. Locust                               P.O. Box 387                                           Lockney             TX     79241              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lockport                                1 Locks Plaza                                                                                      Lockport            NY     14094              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Locust Grove                            3644 Hwy 42                                                                                        Locust Grove        GA     30248              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lone Tree                               P.O. Box 17987                                                                                     Denver              CO     80217-0987         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Long Beach                              1 West Chester Street                                                                              Long Beach          NY     11561              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Long Beach                              333 West Ocean Boulevard                    6th Floor                                              Long Beach          CA     90802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Longmont                                350 Kimbark Street                                                                                 Longmont            CO     80501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Longview                                P.O. Box 1952                                                                                      Longview            TX     75606-1952         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lorena                                  107-A South Frontage Rd                                                                            Lorena              TX     76655              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Alamitos                            3191 Katella Avenue                                                                                Los Alamitos        CA     90720              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Altos                               1 N San Antonio Road                                                                               Los Altos           CA     94022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Altos                               One North San Antonio Road                                                                         Los Altos           CA     94022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Angeles Department of Finance       P.O. Box 30655                                                                                     Los Angeles         CA     90030-0655         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Angeles Office of Finance           1200 West 7th Street                        1st Floor                                              Los Angeles         CA     90017              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Fresnos                             200 North Brazil                                                                                   Los Fresnos         TX     78566              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Los Indios                              P.O. Box 369                                                                                       Los Indios          TX     78567              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Louisiana                               202 South 3rd Street                        Suite 118                                              Louisiana           MO     63353              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Louisville                              749 Main Street                                                                                    Louisville          CO     80027              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Loveland                                P.O. Box 0845                                                                                      Loveland            CO     80539-0845         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lovelock                                P.O. Box 238                                                                                       Lovelock            NV     89419              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lowry Crossing                          1405 South Bridgefarmer Rd.                                                                        McKinney            TX     75069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lubbock                                 P.O. Box 2000                                                                                      Lubbock             TX     79457              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lucas                                   665 Country Club                                                                                   Lucas               TX     75002-7651         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lufkin                                  P.O. Box 190                                                                                       Lufkin              TX     75902-0190         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Luling                                  509 East Crockett                                                                                  Luling              TX     78648              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lumberton                               836 North Main                                                                                     Lumberton           TX     77657              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Luray                                   45 East Main Street                         P.O. Box 629                                           Luray               VA     22835              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lynchburg                               900 Church Street                                                                                  Lynchburg           VA     24504              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lynchburg                               P.O. Box 858                                                                                       Lynchburg           VA     24505              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lynden                                  P.O Box 650                                                                                        Lynden              WA     98264              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lynnwood                                P.O. Box 5008                                                                                      Lynnwood            WA     98046-2008         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lynwood                                 11330 Bullis Road                                                                                  Lynwood             CA     90262              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lyons                                   161 NE Broad Street                                                                                Lyons               GA     30436              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Lytle                                   14916 Main Street                           P.O. Box 743                                           Lytle               TX     78052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mabank                                  P.O. Box 293                                                                                       Mabank              TX     75147              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mabton                                  305 Main Street                             P.O. Box 655                                           Mabton              WA     98935              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Macon                                   106 W. Bourke St                            P.O. Box 569                                           Macon               MO     63552              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Macon Finance                           700 Poplar Street                                                                                  Macon               GA     31202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Madison                                 P.O. Box 32                                                                                        Madison             GA     30650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Madison                                 P.O. Box 99                                                                                        Madison             AL     35758              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Madisonville                            210 W. Cottonwood St.                                                                              Madisonville        TX     77864              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Madisonville                            P.O. Box 1270                                                                                      Madisonville        KY     42431              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Madisonville                            RE: 911 Fees                                P.O. Box 1270                                          Madisonville        KY     42431              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Magnolia                                18111 Buddy Riley Blvd                                                                             Magnolia            TX     77354              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Malden                                  201 S. Madison                                                                                     Malden              MO     63863              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Malibu                                  23825 Stuart Ranch Road                                                                            Malibu              CA     90265-4861         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manassas                                9027 Center St. #103                                                                               Manassas            VA     20110-5403         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manassas                                P.O. Box 125                                9027 Center Street                                     Manassas            VA     20108-0125         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manassas                                P.O. Box 512                                                                                       Manassas            VA     20108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manchester                              14318 Manchester Road                                                                              Manchester          MO     63011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manhattan                               1101 Poyntz Ave                                                                                    Manhattan            KS    66502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manor                                   P.O. Box 387                                                                                       Manor               TX     78653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mansfield                               1200 E. Broad St.                                                                                  Mansfield           TX     76063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Manvel                                  P.O. Box 187                                                                                       Manvel              TX     77578              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maple Valley                            P.O. Box 320                                City Hall                                              Maple Valley        WA     98038              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                                                                 Disputed
                                                                                                                                                                                         Date Debt was     Specify Code Subsection
                                                                                                                                                                                         Incurred, Basis    of Priority Unsecured
                        Creditor Name                                  Address1                           Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Maple Valley                        P.O. Box 32City Hall                                                                           Maple Valley        WA     98038              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maplewood                           7601 Manchester Road                                                                           Maplewood           MO     63143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marble Falls                        800 Third Street                                                                               Marble Falls        TX     75654              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marble Hill                         P.O. Box 799                                                                                   Marble Hill         MO     63764              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marceline                           116 North Kansas Avenue                                                                        Marceline           MO     64658              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marfa                               P.O. Box 787                                                                                   Marfa               TX     79843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marietta                            205 Lawrence Street                      Drawer 609                                            Marietta            GA     30061              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marietta Tax Office                 P.O. Box 609                                                                                   Marietta            GA     30061-0609         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marion                              P.O. Box 158                                                                                   Marion              TX     78124              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marlin                              P.O. Box 980                                                                                   Marlin              TX     76661              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marlow                              P.O. Box 113                                                                                   Marlow              OK     73055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marshall                            214 N. Lafayette Avenue                                                                        Marshall            MO     65340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marshall                            P.O. Box 698                                                                                   Marshall            TX     75671              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marshfield                          798 South Marshall                                                                             Marshfield          MO     65706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marston                             P.O. Box F                                                                                     Marston             MO     63866              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mart                                P.O. Box 360                                                                                   Mart                TX     76664              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maryland Heights                    11911 Dorsett Road                                                                             Maryland Heights    MO     63043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Marysville                          1049 State Avenue                                                                              Marysville          WA     98270              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maryville                           P.O. Box 438                                                                                   Maryville           MO     64468              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maryville Collector                 412 W Broadway                                                                                 Maryville           TN     37801-4710         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mason                               P.O. Box 68                                                                                    Mason               TX     78656              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mathis                              411 E SAN PATRICIO AVE                                                                         MATHIS              TX     78368              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Matthews                            P.O. Box 54                                                                                    Matthews            MO     63867              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maumelle                            550 Edgewood Drive                       Suite 590                                             Maumelle            AR     72113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mayfield                            211 East Broadway Street                                                                       Mayfield            KY     42066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maysville                           216 Bridge Street                                                                              Maysville           KY     41056              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Maywood                             4319 E Slauson Avenue                                                                          Maywood             CA     90270              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McAlester                           28 E. Washington Street                  P.O. Box 578                                          McAlester           OK     74502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McAlester                           P.O. Box 578                                                                                   McAlester           OK     74502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McAllen                             1300 Houston                             P.O. Box 220                                          McAllen             TX     78505-0220         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McCamey                             P.O. Box 1409                                                                                  McCamey             TX     79752              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McDonough                           136 Keys Ferry St.                                                                             McDonough           GA     30253              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McGregor                            P.O. Box 192                                                                                   McGregor            TX     76657-0192         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McKinney                            222 N. Tennessee                                                                               McKinney            TX     75070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McLean                              P.O. Box 9                               220 N. Main                                           McLean              TX     79057              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of McLendon-Chisholm                   1371 West FM 550                                                                               McLendon-Chisolm    TX     75032              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Meadows Place                       One Troyan Drive                                                                               Meadows Place       TX     77477              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mechanicville                       36 North Main Street                                                                           Mechanicville       NY     12118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Medford                             615 N. Front St.                         P.O. Box 123                                          Medford             OK     73759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Medical Lake                        124 S Lefever                            P.O. Box 369                                          Medical Lake        WA     99022              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Medina                              P.O. Box 144                                                                                   Medina              WA     98039              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Melissa                             3411 Barker Avenue                                                                             Melissa             TX     75454              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Memphis                             721 Robertson Street                                                                           Memphis             TX     79245              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Menlo Park                          701 Laurel Street                                                                              Menlo Park          CA     94025-3469         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mercedes                            400 S. Ohio                                                                                    Mercedes            TX     78570              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mercer Island                       9611 SE 36th Street                                                                            Mercer Island       WA     98040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Meridian                            P.O. Box 306                                                                                   Meridian            TX     76665              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Merkel                              100 Kent                                                                                       Merkel              TX     79536              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mertzon                             P.O. Box 456                             104 S. Park View                                      Mertzon             TX     76941              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mesquite                            P.O. Box 850137                                                                                Mesquite            TX     75181-0137         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mesquite                            P.O. Box 850137                                                                                Mesquite            TX     75185              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mesquite                            P.O. Box 850267                                                                                Mesquite            TX     75185-0267         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mexia                               P.O. Box 207                                                                                   Mexia               TX     76667              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mexico                              300 North Coal Street                                                                          Mexico              MO     65265              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Miami                               P.O. Box 1288                            129 5th Ave. NW                                       Miami               OK     74355-1288         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Middletown                          16 James Street #13                                                                            Middletown          NY     10940              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Midland                             P.O. Box 1152                                                                                  Midland             TX     79702              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Midlothian                          104 W. Ave. E.                                                                                 Midlothian          TX     76065              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Midway                              P.O. Box 227                                                                                   Midway              TX     75852              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Midwest City                        100 N. Midwest Blvd.                                                                           MIDWEST CITY        OK     73110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Milton                              1000 Laurel Street                                                                             Milton              WA     98354              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Milton                              2006 Heritage Walk                                                                             Milton              GA     30004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Minden                              P.O. Box 580                                                                                   Minden              LA     71058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mineola                             P.O. Box 179                                                                                   Mineola             TX     75773              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mineral Wells                       P.O. Box 460                                                                                   MINERAL WELLS       TX     76068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mingus                              P.O. Box 115                                                                                   Mingus              TX     76463              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mission                             1201 E. 8th Street                                                                             Mission             TX     78572              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Missouri City                       P.O. Box 666                             1522 Texas Parkway                                    Missouri City       TX     77459              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moberly                             101 West Reed Street                                                                           Moberly             MO     65270              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                                            Date Debt was     Specify Code Subsection
                                                                                                                                                                                            Incurred, Basis    of Priority Unsecured
                        Creditor Name                                   Address1                             Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Mobile                              P.O. Box 11407                            Department 1519                                        Birmingham           AL     35246-1519         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Modesto                             P.O. Box 3441                                                                                    Modesto              CA     95353              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Modesto                             P.O. Box 642                                                                                     Modesto              CA     95353-0767         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moline Acres                        2449 Chambers Rd.                                                                                Moline Acres         MO     63136              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monahans                            112 West 2nd Street                                                                              Monahans             TX     79756              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monett                              217 5th Street                                                                                   Monett               MO     65708-2310         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monroe                              806 West Main Street                                                                             Monroe               WA     98272              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monroe                              P.O. Box 123                                                                                     Monroe               LA     71210-0123         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monroe City                         300 North Main                            P.O. Box 67                                            Monroe City          MO     63456              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montclair                           5111 Benito Street                                                                               Montclair            CA     91763              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montclair                           P.O. Box 2308                                                                                    Montclair            CA     91763              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monterey                            735 Pacific Street                        Suite A                                                Monterey             CA     93940              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Of Monterey                            City Hall Revenue Office                  735 Pacific Street Suite A                             Monterey             CA     93940              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Monterey Park                       320 West Newmark Avenue                                                                          Monterey Park        CA     91754              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montgomery                          P.O. Box 5070                                                                                    Montgomery           AL     36103-5070         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montgomery                          P.O. Box 708                                                                                     Montgomery           TX     77356              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montgomery                          P.O. Box 830469                                                                                  Birmingham           AL     35283-0469         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Montgomery City                     723 North Sturgeon Street                                                                        Montgomery           MO     63361              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moody                               P.O. Box 68                                                                                      Moody                TX     76557              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moore                               301 North Broadway Street                                                                        Moore                OK     73160              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moreno Valley                       14177 Frederick Street                                                                           Moreno Valley        CA     92553              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moreno Valley                       P.O. Box 88005                                                                                   Moreno Valley        CA     92552              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Morgan's Point                      1415 E. Main St.                                                                                 Morgans Point        TX     77571              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Morristown                          P.O. Box 1654                                                                                    Morristown           TN     37816-1654         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Morrow                              1500 Morrow Road                                                                                 Morrow               GA     30260              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moscow                              P.O. Box 9203                                                                                    Moscow                ID    83843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moses Lake                          P.O. Box 1579                                                                                    Moses Lake           WA     98837              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Moulton                             P.O. Box 369                                                                                     Moulton              TX     77975              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mount Pleasant                      501 N. Madison                                                                                   Mt. Pleasant         TX     75455-3650         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mount Vernon                        910 Cleveland Avenue                                                                             Mount Vernon         WA     98273              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mount Vernon                        P.O. Box 1006                                                                                    Mount Vernon         NY     10551-1006         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mount Vernon                        P.O. Box 597                                                                                     Mount Vernon         TX     75457              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mount Zion                          P.O. Box 597                                                                                     Mount Zion           GA     30150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mountain Brook                      P.O. Box 130009                                                                                  Mountain Brook       AL     35213-3700         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mountain View                       500 Castro Street                         P.O. Box 7540                                          Mountain View        CA     94039              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mountlake Terrace                   6100 219th Street SW                      Suite 200                                              Mountlake Terrace    WA     98043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mountlake Terrace                   P.O. Box 72                                                                                      Mountlake Terrace    WA     98043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mukilteo                            11930 Cyrus Way                                                                                  Mukilteo             WA     98275              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Murphy                              206 North Murphy Road                                                                            Murphy               TX     75094              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Murray                              104 North Fifth Street                    Suite A                                                Murray               KY     42071              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mustang                             1501 N. Mustang Road                                                                             Mustang              OK     73064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Mustang Ridge                       12800 U.S. 183 South                                                                             Buda                 TX     78610              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nacogdoches                         P.O. Box 635030                                                                                  Nacogdoches          TX     75963-5030         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nassau Bay                          18100 Upper Bay Road                                                                             Nassau Bay           TX     77058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Natalia                             P.O. Box 27300 3rd Street                                                                        Natalia              TX     78059              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Navasota                            P.O. Box 910                                                                                     Navasota             TX     77868-0910         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nederland                           P.O. Box 967                                                                                     Nederland            TX     77627              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Needville                           P.O. Box 527                                                                                     Needville            TX     77461-0527         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Neosho                              203 East Main Street                                                                             Neosho               MO     64850              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nevada                              110 South Ash Street                                                                             Nevada               MO     64772              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of New Berlin                          275 FM 2538                                                                                      Seguin               TX     78155              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of New Braunfels                       550 Landa Street                                                                                 New Braunfels        TX     78130              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of New Madrid                          560 Mott Street                                                                                  New Madrid           MO     63869              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of New Orleans                         P.O. Box 61840                                                                                   New Orleans          LA     70161-1840         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of New Rochelle                        515 North Avenue                                                                                 New Rochelle         NY     10801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newark                              310 FM 718 / P.O. Box 156                                                                        Newark               TX     76071              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newark                              37101 Newark Boulevard                                                                           Newark               CA     94560              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newburgh                            83 Broadway                                                                                      Newburgh             NY     12550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newburgh                            City Hall, First Floor                    83 Broadway                                            Newburgh             NY     12550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newkirk                             P.O. Box 469                                                                                     Newkirk              OK     74647              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newnan                              25 LaGrange Street                                                                               Newnan               GA     30263              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newport                             615 Third Street                                                                                 Newport              AR     72112              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Newton                              201 East 6th                              P.O. Box 426                                           Newton                KS    67114-0426         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Neylandville                        2469 County Road 4311                                                                            Greenville           TX     75401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Niagra Falls                        745 Main Street                                                                                  Niagra Falls         NY     14301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nichols Hills                       6407 Avondale Drive                                                                              Nichols Hills        OK     73116              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nicoma Park                         P.O. Box 250                                                                                     Nicoma Park          OK     73066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Noble                               P.O. Box 557                                                                                     Noble                OK     73068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nolanville                          101 North 5th Street                                                                             Nolanville           TX     76559              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                          Creditor Name                                  Address1                            Address2                                     City       State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Noonday                               P.O. Box 6425                                                                                   Tyler                   TX     75711-6425         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norcross                              65 Lawrenceville Street                                                                         Norcross                GA     30071              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Nordheim                              P.O. Box 266                             105 W. First St.                                       Nordheim                TX     78141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norfolk                               309 North 5th Street                                                                            Norfolk                 NE     68701-4150         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norman                                201 W. Gray                              Bldg. C                                                Norman                  OK     73069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Normandy                              7700 Natural Bridge Road                                                                        Normandy                MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Normandy Park                         801 SW 174th Street                                                                             Normandy Park           WA     98166              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of North Cleveland                       P.O. Box 1266                                                                                   Cleveland               TX     77327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of North Las Vegas                       2250 Las Vegas Boulevard North           Suite 110                                              North Las Vegas         NV     89030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of North Little Rock                     300 Main Street                                                                                 North Little Rock       AR     72114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of North Richland Hills                  P.O. Box 820609                                                                                 North Richland Hills    TX     76182-0609         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of North Tonawanda                       216 Payne Avenue                                                                                North Tonawanda         NY     14120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Northglenn                            P.O. Box 5305                                                                                   Denver                  CO     80217-5305         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Northport                             P.O. Box 569                                                                                    Northport               AL     35476              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Northwoods                            4600 Oakridge Blvd.                                                                             Northwoods              MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norton                                P.O. Box 618                                                                                    Norton                  VA     24273-0618         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norwalk                               12700 Norwalk Boulevard                                                                         Norwalk                 CA     90650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Norwich                               1 City Plaza                                                                                    Norwich                 NY     13815              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Grove                             1300 Broadway                            P.O. Box 805                                           Oak Grove               MO     64075              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Leaf                              301 Locust Dr.                                                                                  Oak Leaf                TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Point                             100 Naylor Road                                                                                 Oak Point               TX     75068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Ridge                             P.O. Box 1                                                                                      Oak Ridge               TN     37831-0001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Ridge North                       27424 Robinson Road.                                                                            Oak Ridge North         TX     77385              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oak Valley                            2211 Oak Valley Ln.                                                                             Corsicana               TX     75110              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oakland                               P.O. Box 220511                                                                                 Oakland                 MO     63122              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oakland - Utility Users Tax           P.O. Box 45336                                                                                  San Francisco           CA     94145-0336         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oakland Utility Users Tax             P.O. Box 101514                                                                                 Pasadena                CA     91189-0005         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oakwood                               P.O. Box 99                                                                                     Oakwood                 GA     30566              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oconee                                P.O. Box 69                                                                                     Oconee                  GA     31067              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Odessa                                P.O. Box 4398                            411 W. 8th Street                                      Odessa                  TX     79760              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of O'Fallon                              100 North Main Street                                                                           O'fallon                MO     63366              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ogdensburg                            Office of the Comptroller #5             330 Ford Street                                        Ogdensburg              NY     13669              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oglesby                               P.O. Box 185                                                                                    Oglesby                 TX     76561              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of OIivette                              1140 Dielman Road                                                                               Olivette                MO     63132              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oklahoma City                         420 W. Main Street                       Suite 130                                              Oklahoma City           OK     73102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Okmulgee                              P.O. Box 250                                                                                    Okmulgee                OK     74447              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Olean                                 P.O. Box 668                                                                                    Olean                   NY     14760              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Olivette                              9473 Olive Boulevard                                                                            Olivette                MO     63132              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Olmos Park                            120 W. El Prado Drive                                                                           San Antonio             TX     78212              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Olympia                               P.O. Box 2009                                                                                   Olympia                 WA     98507-2009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Omaha                                 1819 Farnam St                           Suite 1004                                             Omaha                   NE     68183              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Omaha                                 P.O. Box 937                                                                                    Omaha                   TX     75571              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oneida                                109 N. Main St.                                                                                 Oneida                  NY     13421              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oneonta                               258 Main Street                                                                                 Oneonta                 NY     13820              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oran                                  P.O. Box 464                                                                                    Oran                    MO     63771              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Orange                                P.O. Box 520                                                                                    Orange                  TX     77631-0520         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Orange Grove                          P.O. Box 1350                                                                                   Orange Grove            TX     78372              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oregon City                           320 Warner Mill NE Road                                                                         Oregon City             OR     97045              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oroville                              1735 Montgomery Street                                                                          Oroville                CA     95965              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Osage Beach                           1000 City Parkway                                                                               Osage Beach             MO     65065              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oswego                                13 West Oneida Street                                                                           Oswego                  NY     13126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Othello                               500 East Main Street                                                                            Othello                 WA     99344-1195         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Otterville                            P.O. Box 58                                                                                     Otterville              MO     65348              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Overland                              9119 Lackland Road                                                                              Overland                MO     63114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ovilla                                105 Cockrell Hill Rd.                                                                           Ovilla                  TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Owasso                                P.O. Box 180                                                                                    Owasso                  OK     74055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Owensboro                             P.O. Box 10003                                                                                  Owensboro               KY     42302-9003         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Oyster Creek                          3210 FM 523                                                                                     Oyster Creek            TX     77541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pacific                               300 Hoven Drive                                                                                 Pacific                 MO     63069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pacific                               300 North Haven Street                                                                          Pacific                 MO     63069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pacific                               P.O. Box 250                             100 3rd Avenue                                         Pacific                 WA     98047-0250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pacific Grove                         300 Forest Avenue                                                                               Pacific Grove           CA     93950              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pagedale                              1420 Ferguson Ave                                                                               Pagedale                MO     63133              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Paintsville E911                      P.O. Box 1588                                                                                   Paintsville             KY     41240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palacios                              P.O. Box 845                                                                                    Palacios                TX     77465              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palestine                             504 North Queen Street                                                                          Palestine               TX     75801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palm Springs                          3200 East Tahquitz Canyon Way                                                                   Palm Springs            CA     92262              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palmer                                231 West Evergreen Avenue                                                                       Palmer                  AK     99645              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palmer                                P.O. Box 489                                                                                    Palmer                  TX     75152              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                          Creditor Name                                    Address1                             Address2                                    City     State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Palmetto                              509 Toombs Street                                                                                Palmetto               GA     30268              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palmhurst                             4417 North Shary Road                                                                            Palmhurst              TX     78574              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palmview                              400 W. Veterans Blvd.                                                                            Palmview               TX     78572              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palmyra                               P.O. Box 32                                                                                      Palmyra                MO     63461              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palo Alto                             P.O. Box 10250                                                                                   Palo Alto              CA     94303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Palouse                               P.O. Box 248                               East 120 Main Street                                  Palouse                WA     99161-0248         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pampa                                 P.O. Box 2499                                                                                    Pampa                  TX     79066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Panorama Village                      98 Hiwon Drive                                                                                   Panorama Village       TX     77304-1123         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Of Paragould                             P.O. Box 1175                                                                                    Paragould              AR     72451              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Paramount                             16400 Colorado Ave                                                                               Paramount              CA     90723              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Paris                                 P.O. Box 90037                                                                                   Paris                  TX     75461              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Park Hills                            #9 Bennett Street                                                                                Park Hills             MO     63601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Parker                                5700 E. Parker Rd.                                                                               Parker                 TX     75002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Parkville                             8880 Clark Avenue                                                                                Parkville              MO     64152              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pasadena                              100 N Garfield Ave. RM 106                                                                       Pasadena               CA     91109              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CIty of Pasadena                              100 North Garfield Avenue                  Room 106                                              Pasadena               CA     91109              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pasadena                              P.O. Box 672                                                                                     PASADENA               TX     77501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pasadena Hills                        3915 Roland Blvd.                                                                                Pasadena Hills         MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pasco                                 P.O. Box 293                                                                                     Pasco                  WA     99301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pattison                              P.O. Box 360                                                                                     Pattison               TX     77466              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Patton Village                        16940 MAIN ST                                                                                    SPLENDORA              TX     77372              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pawnee                                510 Illinois Street                                                                              Pawnee                 OK     74058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Peachtree City                        151 Willowbend Road                                                                              Peachtree City         GA     30269              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pearland                              3519 Liberty Dr                                                                                  Pearland               TX     77581              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pearsall                              215 S Ash Street                                                                                 Pearsall               TX     78061              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pecan Hill                            1094 South Lowrance Road                                                                         Pecan Hill             TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Peculiar                              250 S. Main St.                                                                                  Peculiar               MO     64078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Peekskill                             840 Main Street                                                                                  Peekskill              NY     10566              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pelham                                P.O. Box 1238                                                                                    Pelham                 AL     35124              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pell City                             1905 First Avenue North                                                                          Pell City              AL     35125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pembroke                              P.O. Box 130                                                                                     Pembroke               GA     31321              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Penitas                               P.O. Box 204                                                                                     Penitas                TX     78576              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Perry                                 P.O. Box 798                                                                                     Perry                  OK     73077              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Perryton                              P.O. Box 849                                                                                     Perryton               TX     79070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Perryville                            215 North West Street                                                                            Perryville             MO     63775              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pevely                                401 Main St.                                                                                     Pevely                 MO     63070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pflugerville                          P.O. Box 589                                                                                     Pflugerville           TX     78691              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pharr                                 P.O. Box 1729                                                                                    Pharr                  TX     78577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pico Rivera                           6615 Passons Boulevard                                                                           Pico Rivera            CA     90660              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pico Rivera                           P.O. Box 1016                                                                                    Pico Rivera            CA     90660-1016         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Piedmont                              120 Vista Avenue                                                                                 Piedmont               CA     94611              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Piedmont                              P.O. Drawer 112                                                                                  Piedmont               AL     36272              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pierce City                           1 Frisco Place                                                                                   City of Pierce City    MO     65723              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pikeville                             243 Main Street                                                                                  Pikeville              KY     41501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pilot Point                           102 E Main Street                                                                                Pilot Point            TX     76258              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pine Lawn                             6250 Steve Marre Avenue                                                                          Pine Lawn              MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Piney Point Village                   7676 Woodway                               Suite 300                                             Houston                TX     77063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pinole                                2131 Pear Street                                                                                 Pinole                 CA     94564              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pittsburg                             200 Rusk Street                                                                                  Pittsburg              TX     75686              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Placentia                             401 East Chapman Avenue                                                                          Placentia              CA     92870              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plains                                P.O. Box 550                                                                                     Plains                 TX     76355-0550         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plainview                             901 Broadway                                                                                     Plainview              TX     79072              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plano                                 Attn: 9-1-1 Coordinator                    P.O. Box 860358                                       Plano                  TX     75086-0358         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plano                                 P.O. Box 860358                                                                                  Plano                  TX     75086-0358         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plano                                 Suite 32P.O. Box 860358                                                                          Plano                  TX     75086-0358         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Platte City                           400 Main Street                                                                                  Platte City            MO     64079              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Platte Woods                          6750 N Tower Drive                                                                               Platte Woods           MO     64151              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plattsburg                            6 Miller Street                                                                                  Plattsburg             NY     12901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pleak                                 6621 FM 2218S                                                                                    Richmond               TX     77469              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pleasant Hill                         100 Gregory Lane                                                                                 Pleasant Hill          CA     94523              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pleasant Valley                       6500 Royal Rd.                                                                                   Pleasant Valley        MO     64068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pleasanton                            108 Second Street                          P.O. Box 209                                          Pleasanton             TX     78064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Plum Grove                            P.O. Box 1358                                                                                    Plum Grove             TX     77372              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pomona                                P.O. Box 660                                                                                     Pomona                 CA     91769              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ponca City                            P.O. Box 1450                                                                                    Ponca City             OK     74602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Angeles                          321 East 5th Street                                                                              Port Angeles           WA     98362              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Arthur                           444 - 4th Street                                                                                 Port Arthur            TX     77640              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Isabel                           305 East Maxan Street                                                                            Port Isabel            TX     78578              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Lavaca                           202 N. Virginia                                                                                  Port Lavaca            TX     77979              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                           Date Debt was     Specify Code Subsection
                                                                                                                                                                                           Incurred, Basis    of Priority Unsecured
                       Creditor Name                                  Address1                             Address2                                      City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Port Neches                        P.O. Box 758                                                                                     Port Neches          TX     77651              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Orchard                       216 Prospect Street                                                                              Port Orchard         WA     98366              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Port Townsend                      250 Madison Street                       Suite 1                                                 Port Townsend        WA     98368              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portageville                       P.O. Drawer B                                                                                    Portageville         MO     63873              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Porterville                        291 North Main Street                                                                            Porterville          CA     93257              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portland                           111 S.W. Columbia                        Suite 600                                               Portland             OR     97201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portland                           111 SW Columbia                          Ste 600                                                 Portland             OR     97201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portland                           1900 Billy G. Webb Drive                                                                         Portland             TX     78374              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portland & Multnomah County        111 SW Columbia, Suite 600                                                                       Portland             OR     97201-5840         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Portola Valley                     765 Portola Road                                                                                 Portola Valley       CA     94028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Poteau                             111 Peter Street                                                                                 Poteau               OK     74953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Poteet                             P.O. Box 378                                                                                     Poteet               TX     78065              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Potosi                             121 East High Street                                                                             Potosi               MO     63664              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pottsboro                          528 E. Hwy. 120                                                                                  Pottsboro            TX     75076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Poughkeepsie                       62 Civic Center Plaza                                                                            Poughkeepsie         NY     12601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Poulan                             P.O. Box 68                                                                                      Poulan               GA     31781              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Poulsbo                            200 NE Moe Street                                                                                Poulsbo              WA     98370-7347         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Powder Springs                     4484 Marietta Street                                                                             Powder Springs       GA     30127              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Powder Springs                     P.O. Box 46                                                                                      Powder Springs       GA     30127              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Prairie View                       P.O. Box 817 300 Highway 290                                                                     Prairie View         TX     77446              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Prattville                         P.O. Box 680190                                                                                  Prattville           AL     36068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Prestonsburg                       200 N. Lake Dr                                                                                   Prestonsburg         KY     41653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Primera                            22893 Stuart Place Rd                                                                            Primera              TX     78552              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Princeton                          P.O. Box 970                                                                                     Princeton            TX     75047              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Progreso                           P.O. Box 699                                                                                     Progreso             TX     78579              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Progreso Lakes                     P.O. Box 760                                                                                     Progreso Lakes       TX     78579              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Providence                         P.O. Box 128                                                                                     Providence           KY     42450              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pryor                              P.O. Box 1167                                                                                    Pryor                OK     74362              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pueblo                             P.O. Box 1427                            1 City Hall Pl.                                         Pueblo               CO     81002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Puxico                             P.O. Box 441                                                                                     Puxico               MO     63960              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Puyallup                           P.O. Box 84911                                                                                   Seattle              WA     98124-6211         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Pyote                              P.O. Box 137                                                                                     Pyote                TX     79777              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Quanah                             P.O. Box 629                                                                                     Quanah               TX     79252-0629         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Queen City                         P.O. Box 301                                                                                     Queen City           TX     75572-0301         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Quitman                            P.O. Box 1855                                                                                    Quitman              TX     75783              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Qulin                              P.O. Box 172                                                                                     Qulin                MO     63961              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rancho Cordova                     2729 Prospect Park Drive                                                                         Rancho Cordova       CA     95670-6025         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ranger                             400 West Main St.                                                                                Ranger               TX     76470              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rankin                             P.O. Box 61                              107 E. 9th                                              Rankin               TX     79778              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rawlins                            P.O. Box 953                                                                                     Rawlins              WY     82301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Raymond                            230 Second Street                                                                                Raymond              WA     98577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Raymondville                       142 S. 7th                                                                                       Raymondville         TX     78580              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Raymore                            100 Municipal Circle                                                                             Raymore              MO     64083              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Raytown                            10000 East 59th Street                                                                           Raytown              MO     64133              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Red Oak                            P.O. Box 393                                                                                     Red Oak              TX     75154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Redmond                            15670 NE 85th Street                     P.O. Box 97010                                          Redmond              WA     98073-9710         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Redmond                            P.O. Box 97010                                                                                   Redmond              WA     98073              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Redondo Beach                      415 Diamond Street                                                                               Redondo Beach        CA     90277-0167         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Redwood City                       1017 Middlefield Road                                                                            Redwood City         CA     94063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Redwood City                       P.O. Box 478                                                                                     Redwood City         CA     94064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Reno                               P.O. Box 1900                                                                                    Reno                 NV     89505              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Reno (Lamar)                       165 Bybee St                                                                                     Reno                 TX     75462              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rensselaer                         62 Washington Street                                                                             Rensselaer           NY     12144              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Renton                             1055 South Grady Way                                                                             Renton               WA     98055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Renton                             P.O. Box 35136                                                                                   Seattle              WA     98124              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Republic                           213 North Main Avenue                                                                            Republic             MO     65738              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rialto                             150 South Palm Avenue                                                                            Rialto               CA     92376              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richardson                         411 W. Arapaho Road                      Suite 106                                               Richardson           TX     75080              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richardson                         P.O. Box 831907                                                                                  Richardson           TX     75083-0129         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richland                           505 Swift Blvd                           P.O. Box 190                                            Richland             WA     99352              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richland                           P.O. Box 190                                                                                     Richland             WA     99352              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richland Hills                     3200 Diana Drive                                                                                 Richland Hills       TX     76118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond                           205 Summit Street                                                                                Richmond             MO     64085              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond                           402 Morton Street                                                                                Richmond             TX     77469              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond                           450 Civic Center Plaza                                                                           Richmond             CA     94804              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond                           900 East Broad Street Room 102           P.O. Box 26624                                          Richmond             VA     23261              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond                           P.O. Box 4046                                                                                    Richmond             CA     94804-0046         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richmond Heights                   1330 South Big Bend Boulevard                                                                    Richmond Heights     MO     63117              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Richwood                           1800 N. Brazosport Blvd.                                                                         Richwood             TX     77531              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                                                                     Disputed
                                                                                                                                                                                             Date Debt was     Specify Code Subsection
                                                                                                                                                                                             Incurred, Basis    of Priority Unsecured
                          Creditor Name                                   Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Ridgefield                            230 Pioneer Avenue                                                                               Ridgefield          WA     98642              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ridgway                               P.O. Box 10                                                                                      Ridgway             CO     81432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riesel                                P.O. Box 249                                                                                     Riesel              TX     76682              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rio Grande City                       5332 E US HWY 83                                                                                 Rio Grande City     TX     78582-9460         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rio Hondo                             P.O. Box 389                                                                                     Rio Hondo           TX     78583              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of River Oaks                            4900 River Oaks Blvd                                                                             River Oaks          TX     76114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riverdale                             6690 Church Street                                                                               Riverdale           GA     30274              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riverside                             2950 North West Vivian Road                                                                      Riverside           MO     64150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riverside                             2950 NW Vivion Rd                                                                                Riverside           MO     64150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riverside                             3900 Main Street                          6th Floor                                              Riverside           CA     92522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Riverton                              816 North Federal Boulevard                                                                      Riverton            WY     82501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roanoke                               108 South Oak Street                                                                             Roanoke             TX     76262              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roanoke                               P.O. Box 1451                                                                                    Roanoke             VA     24007-1451         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Robinson                              111 W. Lyndale                                                                                   Robinson            TX     76706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Robstown                              P.O. Box 872                                                                                     Robstown            TX     78380              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roby                                  P.O. Box 170                                                                                     Roby                TX     79543              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rochester                             30 Church Street                          #109A                                                  Rochester           NY     14614              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rock Hill                             320 W. Thornton Ave.                                                                             Rock Hill           MO     63119              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rock Springs                          212 D Street                                                                                     Rock Springs        WY     82901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rockdale                              P.O. Box 586                                                                                     Rockdale            TX     76567              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rockmart                              P.O. Box 231                                                                                     Rockmart            GA     30153              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rockport                              2751 Highway 35 BYP                                                                              Rockport            TX     78382-7505         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rockwall                              385 S. Goliad Rockwall                                                                           Rockwall            TX     75087              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rolla                                 P.O. Box 979                                                                                     Rolla               MO     65402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rollingwood                           403 Nixon Drive                                                                                  Rollingwood         TX     78746              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roma                                  P.O. Box 947                                                                                     Roma                TX     78584              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roman Forest                          2430 Roman Forest Blvd.                                                                          New Caney           TX     77357              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rome                                  198 N. Washington Street                                                                         Rome                NY     13440              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rome                                  P.O. Box 1433                                                                                    Rome                GA     30162              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roscoe                                P.O. Box 340                                                                                     Roscoe              TX     79545              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rose City                             370 S. Rose City Drive                                                                           Vidor               TX     77662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rose Hill Acres                       100 Jordan Rd,                                                                                   Lumberton           TX     77657              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roseburg                              900 SE Douglas Ave                                                                               Roseburg            OR     97470-3333         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rosenberg                             P.O. Box 32                                                                                      Rosenberg           TX     77471              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roswell                               38 Hill Street                            Suite 130                                              Roswell             GA     30075-4537         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Roswell                               P.O. Box 732685                                                                                  Dallas              TX     75373-2685         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rotan                                 302 W. Sammy Baugh                                                                               Rotan               TX     79546              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Round Rock                            221 East Main Street                                                                             Round Rock          TX     78664              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rowlett                               4000 Main Street                          P.O.Box 99                                             Rowlett             TX     75030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rowlett E911                          P.O. Box 99                                                                                      Rowlett             TX     75030-0099         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Royse City                            P.O. Box 638                                                                                     Royse City          TX     75189              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Royston                               770 Franklin Springs Street                                                                      Royston             GA     30662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Runge                                 P.O. Box 206                                                                                     Runge               TX     78151              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rutledge                              P.O. Box 277                                                                                     Rutledge            GA     30663              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Rye                                   1051 Boston Post Road                                                                            Rye                 NY     10580              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sabinal                               P.O. Box 838                                                                                     Sabinal             TX     78881              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sachse                                3815-B Sachse Road                                                                               Sachse              TX     75048              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sacramento                            915 "I" Street                            Room 1214                                              Sacramento          CA     95814-2604         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saginaw                               P.O. Box 79070                                                                                   Saginaw             TX     76179              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saint Ann                             10405 Saint Charles Rock Road                                                                    Saint Ann           MO     63074              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saint Clair                           1 Paul Parks Drive                                                                               Saint Clair         MO     63077              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saint Hedwig                          P.O. Box 40                                                                                      St. Hedwig          TX     78152              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saint Mary                            165 P.O. Box 165                                                                                 St. Mary            MO     63673-0165         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Salamanca                             225 Wildwood Avenue                       Suite 2                                                Salamanca           NY     14779              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Salem                                 555 Liberty SE                                                                                   Salem               OR     97310              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Salem Treasurer                       P.O. Box 869                                                                                     Salem               VA     24153              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Salinas                               200 Lincoln Avenue                                                                               Salinas             CA     93901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sallisaw                              P.O. Box 525                                                                                     Sallisaw            OK     74955              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Angelo                            72 W College Ave                                                                                 San Angelo          TX     76903              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Antonio                           P.O. Box 839966                                                                                  San Antonio         TX     78283-3966         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Augustine                         301 South Harrison Street                                                                        San Augustine       TX     75972              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Benito                            485 N. Sam Houston                                                                               San Benito          TX     78586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Bernardino                        290 North D Street                                                                               San Bernardino      CA     92401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Diego                             404 South Mier Street                                                                            San Diego           TX     78384              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Gabriel                           P.O. Box 130                                                                                     San Gabriel         CA     91778              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Jose                              200 East Santa Clara                      13th Floor Payment Processing                          San Jose            CA     95113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Juan                              709 S. Nebraska                                                                                  San Juan            TX     78589              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Leandro                           835 East 14th Street                                                                             San Leandro         CA     94577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Luis Obispo                       990 Palm Street                                                                                  San Luis Opispo     CA     93401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                                                                     Disputed
                                                                                                                                                                                             Date Debt was     Specify Code Subsection
                                                                                                                                                                                             Incurred, Basis    of Priority Unsecured
                           Creditor Name                                  Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of San Marcos                             630 E. Hopkins                                                                                  San Marcos          TX     78666              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Marino                             2200 Huntington Drive                                                                           San Marino          CA     91108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of San Pablo                              1 Alvarado Square                                                                               San Pablo           CA     94806              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sanctuary                              P.O. Box 125                                                                                    Azle                TX     76020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sand Springs                           P.O. Box 338                                                                                    Sand Springs        OK     74063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sandersville                           P.O. Box 71                                                                                     Sandersville        GA     31082              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sandpoint                              1123 Lake Street                                                                                Sandpoint            ID    83864              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sandy Springs                          1 Galambos Way                                                                                  Sandy Springs       GA     30328              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sandy Springs                          7840 Roswell Road                        Building 500                                           Sandy Springs       GA     30350              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sanford                                P.O. Box 220                                                                                    Sanford             TX     79078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sanger                                 P.O. Box 1729                                                                                   Sanger              TX     76266              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sansom Park                            5500 Buchanan                                                                                   Ft. Worth           TX     76114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Ana                              20 Civic Center Plaza                    P.O. Box 1964                                          Santa Ana           CA     92701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Ana                              Treasury Division (M-15)                 P.O. Box 1964                                          Santa Ana           CA     92702-1964         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Barbara                          P.O. Box 1990                                                                                   Santa Barbara       CA     93102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Cruz                             809 Center Street                        Room 101                                               Santa Cruz          CA     95060-3826         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Fe                               P.O. Box 909                                                                                    Santa Fe            NM     87504-0909         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Fe                               P.O. Box 950                                                                                    Santa Fe            TX     77510              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Fe Springs                       11710 E. Telegraph Road                                                                         Santa Fe Springs    CA     90670-3658         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Monica                           1685 Main Street                         Room 104                                               Santa Monica        CA     90401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Monica                           P.O. Box 2200                                                                                   Santa Monica        CA     90407              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Rosa                             P.O. Box 1673                                                                                   Santa Rosa          CA     95402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Santa Rosa                             P.O. Box 326                                                                                    Santa Rosa          TX     78593              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sapulpa                                P.O. Box 1130                                                                                   Sapulpa             OK     74067              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Saratoga Springs                       474 Broadway                                                                                    Saratoga Springs    NY     12866              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Savannah                               402 Court Street                                                                                Savannah            MO     64485              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Savannah                               P.O. Box 1228                                                                                   Savannah            GA     31402-1228         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Savoy                                  405 E. Hayes Street                                                                             Savoy               TX     75479              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Schenectady                            City Hall Room 103                       Jay Street                                             Schenectady         NY     12305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Schertz                                1400 Schertz Pkwy                                                                               SCHERTZ             TX     78154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Scott City                             215 Chester Ave                                                                                 Scott City          MO     63780              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Scottsville                            P.O. Box 453                                                                                    Scottsville         TX     75688              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seabrook                               1700 First Street                                                                               Seabrook            TX     77586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seagoville                             702 N. Hwy. 175                                                                                 Seagoville          TX     75159              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seal Beach                             211 8th Street                                                                                  Seal Beach          CA     90740-6379         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sealy                                  P.O. Box 517                                                                                    Sealy               TX     77474              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seaside                                440 Harcourt Avenue                                                                             Seaside             CA     93955              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seattle                                P.O. Box 34907                                                                                  Seattle             WA     98124              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sebastopol                             P.O. Box 1776                                                                                   Sebastopol          CA     95473-1776         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sedalia                                200 S. Osage Avenue                                                                             Sedalia             MO     65301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sedalia                                319 S Lamine                             Suite B-10                                             Sedalia             MO     65301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seguin                                 P.O. Box 591                                                                                    Sequin              TX     78156              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Selma                                  9375 Corporate Drive                                                                            Selma               TX     78154              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seminole                               302 South Main                                                                                  Seminole            TX     79360              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Senath                                 P.O. Box 609                                                                                    Senath              MO     63876              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sequim                                 152 W Cedar Street                       P.O Box 1087                                           Sequim              WA     98382              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Seward                                 P.O. Box 38                                                                                     Seward              NE     68434-0038         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shamrock                               116 West 2nd Street                                                                             Shamrock            TX     79079              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shavano Park                           900 Saddletree Ct                                                                               Shavano Park        TX     78231-1523         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shawnee                                P.O. Box 1448                                                                                   Shawnee             OK     74802-1448         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sheffield                              P.O. Box 3989                                                                                   Muscle Shoals       AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shelbina                               P.O. Box 646                                                                                    Shelbina            MO     63468              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shelbyville                            P.O. Box 185                                                                                    Shelbyville         TN     37162              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shenandoah                             29955 I-45 N.                                                                                   Shenandoah          TX     77381              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shepherd                               11020 Hwy 150                                                                                   Shepherd            TX     77371              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sheridan                               4101 So. Federal Blvd.                                                                          Sheridan            CO     80110-5399         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sheridan                               P.O. Box 173301                                                                                 Denver              CO     80217-3301         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sherman                                317 S Travis St                                                                                 Sherman             TX     75090-1106         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sherman                                P.O. Box 1106                                                                                   Sherman             TX     75091-1106         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shiner                                 P.O. Box 308                                                                                    Shiner              TX     77984              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shoreacres                             601 Shoreacres Blvd.                                                                            LaPorte             TX     77571              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shoreline                              17500 Midvale Avenue North                                                                      Shoreline           WA     98133-4905         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shreveport                             P.O. Box 31109                                                                                  Shreveport          LA     71130              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Shrewsbury                             5200 Shrewsbury Avenue                                                                          Shrewsbury          MO     63119              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sierra Madre                           232 West Sierra Madre Boulevard                                                                 Sierra Madre        CA     91024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sikeston                               105 East Center                                                                                 Sikeston            MO     73801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Silsbee                                105 S. 3rd Street                                                                               Silsbee             TX     77656              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Simonton                               P.O. Drawer A                                                                                   Simonton            TX     77476              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sinton                                 P.O. Box 1395                                                                                   Sinton              TX     78387              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                              Date Debt was     Specify Code Subsection
                                                                                                                                                                                              Incurred, Basis    of Priority Unsecured
                        Creditor Name                                      Address1                           Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Skiatook                            P.O. Box 399                                                                                       Skiatook             OK     74070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Slater                              232 Main Street                                                                                    Slater               MO     65349              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Slaton                              130 S. 9th Street                                                                                  Slaton               TX     79364              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Smithville                          107 West Main Street                                                                               Smithville           MO     64089              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Smithville                          P.O. Box 190                                                                                       Smithville           GA     31787              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Smithville                          P.O. Box 449                                                                                       Smithville           TX     78957              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Smyrna                              2800 King Street                                                                                   Smyrna               GA     30081              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Smyrna                              P.O. Box 1226                                                                                      Smyrna               GA     30081              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Snellville                          2342 Oak Road                                                                                      Snellville           GA     30078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Snohomish                           116 Union Avenue                                                                                   Snohomish            WA     98290              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Snohomish                           P.O. Box 1589                                                                                      Snohomish            WA     98219              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Snoqualmie                          P.O. Box 987                                                                                       Snoqualmie           WA     98065              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Snyder                              P.O. Box 1341                                                                                      Snyder               TX     79550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Socorro                             124 South Horizon Blvd.                                                                            Socorro              TX     79927              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Soledad                             248 Main Street                                                                                    Soledad              CA     93960              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Somerset                            7360 E. 6th St.                                                                                    Somerset             TX     78069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sonora                              201 E. Main                                                                                        Sonora               TX     76950              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sour Lake                           625 Highway 105 West                                                                               Sour Lake            TX     77659              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of South Bend                          P.O. Box 9                                                                                         South Bend           WA     98586-0009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of South Houston                       P.O. Box 238                                                                                       South Houston        TX     77587              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of South Lake Tahoe                    1901 Airport Road                            Suite 210                                             South Lake Tahoe     CA     96150-7048         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of South Pasadena                      1414 Mission Street                                                                                South Pasadena       CA     91030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Southlake                           1400 Main Street                             Suite 440                                             Southlake            TX     76092              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Southside Place                     6309 Edloe Avenue                                                                                  Houston              TX     77005-3699         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sparks                              P.O. Box 857                                                                                       Sparks               NV     89432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sparks                              P.O. Box 899                                                                                       Sparks               GA     31647              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sparta                              P.O. Box H                                                                                         Sparta               GA     31087              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sperry                              P.O. Box 579                                                                                       Sperry               OK     74073-0579         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Splendora                           P.O. Drawer 1087                                                                                   Splendora            TX     77372              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Spokane                             808 West Spokane Falls Blvd.                                                                       Spokane              WA     99201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Spokane Valley                      10210 East Sprague Avenue                                                                          Spokane Valley       WA     99206              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Spring Valley                       1025 Campbell Road                                                                                 Houston              TX     77055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Springfield                         840 Booneville Avenue                                                                              Springfield          MO     65802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Springfield                         P.O. Box 8368                                840 Boonville Ave                                     Springfield          MO     65801-8368         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Charles                         200 North 2nd. St.                                                                                 Saint Charles        MO     63301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Charles                         200 North Second Street                                                                            Saint Charles        MO     63301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Clair                           #1 Paul Park Drive                                                                                 Saint Clair          MO     63077              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. John                            8944 St. Charles Rock Road                                                                         St. John             MO     63114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Joseph                          1100 Frederick Avenue                        Room 107                                              St. Joseph           MO     64501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Louis                           1200 Market Street                           Room 311                                              Saint Louis          MO     63103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Louis                           1200 Market Street                           Room 212                                              Saint Louis          MO     63103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Louis                           City Hall                                    Rm 311                                                St. Louis            MO     63103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of St. Marys                           418 Osborne St.                                                                                    St. Marys            GA     31558              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stafford                            2610 South Main                                                                                    Stafford             TX     77477              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stagecoach                          16930 Boot Hill Rd                                                                                 Magnolia             TX     77355              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stamford                            201 E. McHarg                                P.O. Drawer 191                                       Stamford             TX     79553              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stamps                              107 Thomas Street                                                                                  Stamps               AR     71860              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stanton                             7800 Katella Avenue                                                                                Stanton              CA     90680              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stanton                             P.O. Box 370                                                                                       Stanton              TX     79782-0370         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stanwood                            10220 - 270th Street N.W.                                                                          Stanwood             WA     98292              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Statham                             P.O. Box 28                                                                                        Statham              GA     30666              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Steamboat Springs                   P.O. Box 772869                                                                                    Steamboat Springs    CO     80477-2869         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stephenville                        298 W. Washington                                                                                  Stephenville         TX     76401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sterling                            421 N. 4th Street                            P.O. Box 4000                                         Sterling             CO     80751-0400         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sterling City                       P.O. Box 1022                                                                                      Sterling City        TX     76951              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stillwater                          P.O. Box 1449                                                                                      Stillwater           OK     74076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stillwater                          RE: 9-1-1                                    P.O. Box 1449                                         Stillwater           OK     74076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stinnett                            P.O. Box 909                                                                                       Stinnett             TX     79083              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stockbridge                         4640 North Henry Blvd.                                                                             Stockbridge          GA     30281              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stockton                            P.O. Box 2107                                                                                      Stockton             CA     95201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stockton                            P.O. Box 590                                                                                       Stockton             MO     65785              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stone Mountain                      875 Main Street                                                                                    Stone MTN            GA     30083-3620         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Stover                              P.O. Box 370                                                                                       Stover               MO     65078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Strawn                              P.O. Box 581                                                                                       Strawn               TX     76475              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sugar Land                          P.O. Box 5029                                                                                      Sugar Land           TX     77487              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sullivan City                       P.O. Box 249                                                                                       Sullivan City        TX     78595              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sulphur Springs                     125 S. Davis                                                                                       Sulphur Springs      TX     75482              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sumner                              1104 Maple Street                            Suite 245                                             Sumner               WA     98390              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sunnyside                           818 East Edison Avenue                                                                             Sunnyside            WA     98944              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                  Claim subject to offset?
                                                                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                                                                       Disputed
                                                                                                                                                                                               Date Debt was     Specify Code Subsection
                                                                                                                                                                                               Incurred, Basis    of Priority Unsecured
                        Creditor Name                                     Address1                           Address2                                     City      State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Sunnyvale                           650 West Olive Avenue                                                                             Sunnyvale              CA     94086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sunnyvale                           P.O. Box 3707                                                                                     Sunnyvale              CA     94088-3707         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sunset Hills                        3939 South Lindbergh Blvd                                                                         Sunset Hills           MO     63127              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sunset Valley                       3205 Jones Road                                                                                   Sunset Valley          TX     78745              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Surrency                            P.O. Box 162                                                                                      Surrency               GA     31563              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Suwanee                             330 Town Center Avenue                                                                            Suwanee                GA     30024              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Sweetwater                          P.O. Box 450                                                                                      Sweetwater             TX     79556              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Syvester                            P.O. Box 370                                                                                      Sylvester              GA     31791              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tacoma                              733 Market Street                           Room 21                                               Tacoma                 WA     98402-3770         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tacoma                              P.O. Box 11640                                                                                    Tacoma                 WA     98411-6640         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Taft                                P.O. Box 416                                                                                      Taft                   TX     78390              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tahlequah                           111 S Cherokee                                                                                    Tahlequah              OK     74464              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tallapoosa                          25 East Alabama Street                                                                            Tallapoosa             GA     30176              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Talty                               9550 Helms Trail                            Ste 500                                               Forney                 TX     75126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Taylor                              400 Porter Street                                                                                 Taylor                 TX     76574              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Taylor Lake Village                 500 Kirby Blvd.                                                                                   Taylor Lake Village    TX     77586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Teague                              105 South 4th Avenue                                                                              Teague                 TX     75860              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Temple                              2 North Main Street                                                                               Temple                 TX     76501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tennille                            P.O. Box 145                                                                                      Tennille               GA     31089              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Terrell                             P.O. Box 31201 E Nash St.                                                                         Terrell                TX     75160              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Terrell Hills                       5100 N. New Braunfels                                                                             San Antonio            TX     78209              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Texarkana                           P.O. Box 1967                                                                                     Texarkana              TX     75501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Texarkana                           P.O. Box 2711                                                                                     Texarkana              AR     75504              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Texas City                          1801 9th Ave N                                                                                    Texas City             TX     77590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of The Colony                          6800 Main Street                                                                                  The Colony             TX     75056              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of The Village                         2304 Manchester Street                                                                            The Village            OK     73120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thibodaux                           P.O. Box 5418                                                                                     Thibodaux              LA     70302              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thomson                             P.O. Box 1017                                                                                     Thomson                GA     30824              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thornton                            9500 Civic Center Drive                                                                           Thornton               CO     80229              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thornton                            P.O. Box 910222                                                                                   Denver                 CO     80291-0222         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thornton E911 Authority             9500 Civic Center Drive                                                                           Thornton               CO     80229-4326         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Thunderbolt                         2821 River Drive                                                                                  Thunderbolt            GA     31404              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tigard                              13125 SW Hall Blvd                                                                                Tigard                 OR     97223              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Timpson                             P.O. Box 369                                                                                      Timpson                TX     75975              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tomball                             401 West Market St.                                                                               Tomball                TX     77375              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tonawanda                           200 Niagra St.                                                                                    Tonowanda              NY     14150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tonkawa                             113 S. 7th Street                                                                                 Tonkawa                OK     74653-5014         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Topeka                              215 SE 7th                                  Rm. 358                                               Topeka                  KS    66603-3914         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Torrance                            3031 Torrance Boulevard                                                                           Torrance               CA     90503              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Town and Country                    1011 Municipal Center Drive                                                                       Town And Country       MO     63131              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Trenton                             1100 Main Street                                                                                  Trenton                MO     64683              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Trophy Club                         1 Trophy Wood Dr                                                                                  Trophy Club            TX     76262              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Troy                                433 River Street                            Suite 5001                                            Troy                   NY     12180              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Troy                                800 Cap Au Gris                                                                                   Troy                   MO     63379              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Troy                                P.O. Box 389                                201 E. Main                                           Troy                   TX     76579              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Trussville                          P.O. Box 159                                                                                      Trussville             AL     35173              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tualatin                            18880 SW Martinazzi Avenue                                                                        Tualatin               OR     97062-7092         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tukwila                             6200 Southcenter Boulevard                                                                        Tukwila                WA     98188-2599         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tulare                              411 East Kern Avenue                                                                              Tulare                 CA     93274              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tulsa                               175 East 2nd Street                                                                               Tulsa                  OK     74103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tulsa                               P.O. Box 451                                                                                      Tulsa                  OK     74101-0451         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tulsa Finance Dept                  P.O. Box 451                                                                                      Tulsa                  OK     74101-0451         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tumwater                            555 Israel Road SW                                                                                Tumwater               WA     98501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Turkey                              P.O. Box 415                                                                                      Turkey                 TX     79261              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tuscaloosa                          P.O. Box 2089                                                                                     Tuscaloosa             AL     35403              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tuscumbia                           P.O. Box 3989                                                                                     Muscle Shoals          AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tye                                 P.O. Box 369                                205 North Street                                      Tye                    TX     79563              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tyler                               P.O. Box 2039                                                                                     Tyler                  TX     75710              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Tyrone                              881 Senoia Road                                                                                   Tyrone                 GA     30290              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Union                               500 East Locust Street                                                                            Union                  MO     63084              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Union City                          5047 Union Street                                                                                 Union City             GA     30291              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Universal City                      2150 Universal City Blvd.                                                                         Universal City         TX     78148              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of University Park                     3800 University Blvd.                                                                             University Park        TX     75205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of University Place                    3609 Market Place West                      Suite 200                                             University Place       WA     98466-4488         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of University Place                    3715 Bridgeport Way W                       Suite B1                                              University Place       WA     98466              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Utica                               1Kennedy Plaza                                                                                    Utica                  NY     13502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Uvalde                              P.O. Box 799                                                                                      Uvalde                 TX     78802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vail                                75 S Frontage Road West                                                                           Vail                   CO     81657              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Valdosta                            216 E. Central Avenue                                                                             Valdosta               GA     31601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                         Creditor Name                                    Address1                               Address2                                  City      State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Vallejo                              555 Santa Clara Street                                                                            Vallejo                CA     94590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vallejo                              P.O. Box 3068                              555 Santa Clara Street                                 Vallejo                CA     94590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Valley Brook                         1618 SE 59th Street                                                                               Valley Brook           OK     73129-7314         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Valley Mills                         P.O. Box 641                                                                                      Valley Mills           TX     76689              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Valley Park                          300 Benton                                                                                        Valley Park            MO     63088              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Valley Park                          320 Benton Street                                                                                 Valley Park            MO     63088              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Van Alstyne                          P.O. Box 247                                                                                      Van Alstyne            TX     75495              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vancouver                            P.O. Box 1995                              415 W. 6th St                                          Vancouver              WA     98668-1995         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vancouver                            P.O. Box 8995                                                                                     Vancouver              WA     98668-8995         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vandalia                             200 East Park Street                                                                              Vandalia               MO     63382              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Velda City                           2560 Lucas and Hunt Rd                                                                            Velda City             MO     63121-5017         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Velda Village Hills                  3501 Avondale Ave                                                                                 Velda Village Hills    MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Ventura                              501 Poli Street                            P.O. Box 99                                            Ventura                CA     93002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Venus                                P.O. Box 380                                                                                      Venus                  TX     76084              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vernon                               1725 Wilbarger St.                                                                                Vernon                 TX     76384              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vernon                               4305 S. Santa Fe Avenue                                                                           Vernon                 CA     90058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vernon                               4305 South Santa Fe Avenue                                                                        Vernon                 CA     90058              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Victoria                             P.O. Box 1758                                                                                     Victoria               TX     77902              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vidalia                              P.O. Box 280                                                                                      Vidalia                GA     30474              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vidor                                1395 North Main Street                                                                            Vidor                  TX     77662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vienna                               P.O. Box 196                                                                                      Vienna                 MO     65582              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Villa Rica                           571 W. Bankhead Highway                                                                           Villa Rica             GA     30180              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Vinita Park                          8374 Midland Blvd                                                                                 Vinita Park            MO     63114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Waco                                 P.O. Box 2570                                                                                     Waco                   TX     76702              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wahoo                                605 North Broadway Street                                                                         Wahoo                  NE     68066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wake Village                         P.O. Box 3776                                                                                     Wake Village           TX     75501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Walla Walla                          15 North 3rd Avenue                                                                               Walla Walla            WA     99362              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Waller                               P.O. Box 239                                                                                      Waller                 TX     77484              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Walters                              P.O. Box 485                                                                                      Walters                OK     73572              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wapato                               205 East Third Street                                                                             Wapato                 WA     98951              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wardell                              P.O. Box 1                                                                                        Wardell                MO     63879              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Warrensburg                          102 South Holden Street                                                                           Warrensburg            MO     64093              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Warsaw                               P.O. Box 68                                                                                       Warsaw                 MO     65355              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Warson Woods                         10015 Manchester Rd                                                                               Warson Woods           MO     63122              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Washington                           405 Jefferson Street                                                                              Washington             MO     63090              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Washougal                            1701 C Street                                                                                     Washougal              WA     98671              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Watauga                              7101 Whitley Road                                                                                 Watauga                TX     76148              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Watertown                            245 Washington Street                                                                             Watertown              NY     13601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Watervliet                           2 Fifteenth Street                                                                                Watervliet             NY     12189              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Watsonville                          250 Main Street                                                                                   Watsonville            CA     95076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Waxahachie                           P.O. Box 757                                                                                      Waxahachie             TX     75165              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weatherby Lake                       7200 NW Eastside Dr.                                                                              Weatherby              MO     64152              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weatherford                          522 W. Rainey                                                                                     Weatherford            OK     73096-4704         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weatherford                          P.O. Box 255                                                                                      Weatherford            TX     76086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Webb City                            200 South Main Street                                                                             Webb City              MO     64870              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Webster                              101 Pennsylvania                                                                                  Webster                TX     77598              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Webster Groves                       4 E. Lockwood                                                                                     Webster Groves         MO     63119-3020         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weirton                              200 Municipal Plaza                                                                               Weirton                WV     26062              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wellston                             1414 Evergreen Avenue                                                                             Wellston               MO     63133              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wellsville                           200 West Hudson                                                                                   Wellsville             MO     63384              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wenatchee                            P.O. Box 519                                                                                      Wenatchee              WA     98807              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wentzville                           1001 Schroeder Creek Blvd                                                                         Wentzville             MO     63385              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weslaco                              255 S. Kansas Ave.                                                                                Weslaco                TX     78596              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West                                 P.O. Box 97                                                                                       West                   TX     76691              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West Columbia                        P.O. Box 4044                                                                                     West Columbia           SC    29171              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West Columbia                        P.O. Box 487                                                                                      West Columbia          TX     77486              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West Lake Hills                      911 Westlake Drive                                                                                West Lake Hills        TX     78746              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West Orange                          2700 Austin Avenue                                                                                West Orange            TX     77630              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West Plains                          P.O. Box 710                                                                                      West Plains            MO     65775              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of West University Place                3800 University                                                                                   W. University Place    TX     77005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Westbrook                            P.B. Box 124                                                                                      Westbrook              TX     79565              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Westminster                          4800 West 92nd Avenue                                                                             Westminster            CO     80031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Westminster                          8200 Westminster Avenue                                                                           Westminster            CA     92683              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Westminster                          P.O. Box 17107                                                                                    Denver                 CO     80217-7107         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weston                               300 Main Street                                                                                   Weston                 MO     64098              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weston                               P.O. Box 248                                                                                      Weston                 TX     75097              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Weston Lakes                         P.O. Box 1082                                                                                     Fulshear               TX     77441              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Westworth Village                    311 Burton Hill Road                                                                              Fort Worth             TX     76114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wetumka                              202 North Main Street                                                                             Wetumka                OK     74883              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                                                                          Disputed
                                                                                                                                                                                                  Date Debt was     Specify Code Subsection
                                                                                                                                                                                                  Incurred, Basis    of Priority Unsecured
                       Creditor Name                                           Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
City of Wharton                                   120 E. Caney                                                                                      Wharton             TX     77488              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wheat Ridge                               7500 West 29th Avenue                                                                             Wheat Ridge         CO     80033-8001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wheat Ridge                               P.O. Box 912758                                                                                   Denver              CO     80291-2758         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wheeler                                   P.O. Box 98                                                                                       Wheeler             TX     79096              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wheeling Finance Dept.                    1500 Chaplin Street                        Room 115                                               Wheeling            WV     26003-3553         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of White Oak                                 906 S. White Oak Road                                                                             White Oak           TX     75693              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of White Plains-Dept. of Finance             255 Main Street                                                                                   White Plains        NY     10601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of White Settlement                          214 Meadow Park Drive                                                                             White Settlement    TX     76108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Whitehouse                                P.O. Box 776                                                                                      Whitehouse          TX     75791              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Whitesboro                                P.O. Box 340                                                                                      Whitesboro          TX     76273              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Whitewright                               P.O. Box 516                                                                                      Whitewright         TX     75491              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Whitney                                   P.O. Box 2050                                                                                     Whitney             TX     76692              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Whittier                                  13230 E Penn Street                                                                               Whittier            CA     90602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wichita                                   455 N. Main ST                                                                                    Wichita              KS    67202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wichita                                   455 North Main - 12th Floor                                                                       Wichita              KS    67202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wichita Falls                             1300 Seventh                                                                                      Wichita Falls       TX     76307              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wickett                                   P.O. Box 185                                                                                      Wickett             TX     79788              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wildwood                                  16860 Main Street                                                                                 Wildwood            MO     63040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Willis                                    200 Bell Street                                                                                   Willis              TX     77378              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Willow Park                               516 Ranch House Road                                                                              Willow Park         TX     76087-7626         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wills Point                               P.O. Box 505                                                                                      Wills Point         TX     75169              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wilmer                                    128 Dallas Ave                                                                                    Wilmer              TX     75172              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winchester                                109 Lindy Boulevard                                                                               Winchester          MO     63021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Windcrest                                 8601 Midcrown                                                                                     Windcrest           TX     78239              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wink                                      P.O. Box 397                                                                                      Wink                TX     79789              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winlock                                   323 NE First Street                                                                               Winlock             WA     98596              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winnemucca                                90 West 4th Street                                                                                Winnemucca          NV     89445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winnsboro                                 501 South Main Street                                                                             Winnsboro           TX     75494              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winona                                    520 Dallas St. / P.O. Box 97                                                                      Winona              TX     75792              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Winters                                   310 S. Main                                                                                       Winters             TX     79567              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wolfe City                                P.O. Box 106                                                                                      Wolfe City          TX     75496              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodinville                               17301 133rd Avenue NE                                                                             Woodinville         WA     98072              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodland Park                             P.O. Box 9045                                                                                     Woodland Park       CO     80866-9045         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodson Terrace                           4323 Woodson Road                                                                                 Woodson Terrace     MO     63134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodstock                                 12453 Highway 92                                                                                  Woodstock           GA     30188              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodville                                 400 West Bluff                                                                                    Woodville           TX     75979              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Woodway                                   924 Estates Drive                                                                                 Woodway             TX     76712              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Worcester                                 P.O. Box 15588                                                                                    Worcester           MA     01615-0588         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wrens                                     P.O. Box 125                                                                                      Wrens               GA     30833              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wrightsville                              2566 East Elm St                                                                                  Wrightsville        GA     31096              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wyatt                                     P.O. Box 427                                                                                      Wyatt               MO     63882              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Wylie                                     300 Country Club Road                      Building 100                                           Wylie               TX     75098              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yakima                                    129 North Second Street                                                                           Yakima              WA     98901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yoakum                                    P.O. Box 738                                                                                      Yoakum              TX     77995              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yonkers                                   1 Larkin Center - 3rd Floor                                                                       Yonkers             NY     10701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yonkers                                   Maria Tavares, Director of Accounting      1 Larkin Center - 3rd Floor                            Yonkers             NY     10701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yorktown                                  P.O. Box 605                                                                                      Yorktown            TX     78164              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City of Yukon                                     P.O. Box 850500                                                                                   Yukon               OK     73085              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Treasurer                                    555 South 10th Street                                                                             Lincoln             NE     68508              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Treasurer Norfolk                            P.O. Box 2260                                                                                     Norfolk             VA     23501-2260         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
City Treasury                                     24 South St.                                                                                      Auburn              NY     13021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Claiborne County E911                             P.O. Box 449                                                                                      Port Gibson         MS     39150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Claiborne Parish Communications District          613 East Main Street                                                                              Homer               LA     71040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Claiborne Parish School District                  P.O. Box 600                                                                                      Homer               LA     71040-0600         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clarendon County E911                             411 Sunset Drive                                                                                  Manning              SC    29102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clark County                                      P.O. Box 551220                                                                                   Las Vegas           NV     89155-1220         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clark County Assessor                             P.O. Box 551401                                                                                   Las Vegas           NV     89155-1401         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clark County Department of Business License       P.O. Box 551810                                                                                   Las Vegas           NV     89155-1810         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clark County Fiscal Court                         34 South Main                                                                                     Winchester          KY     40391              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clark County Treasurer                            401 Clay Street                                                                                   Arkadelphia         AR     71923              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clarke County Board of Supervisors                P.O. Box 616                                                                                      Quitman             MS     39355              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clarke County Tax Commissioner                    P.O. Box 1768                                                                                     Athens              GA     30603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clarksville City Tax Collector                    P.O. Box 928                                                                                      Clarksville         TN     37041-0928         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clay County                                       P.O. Box 815                                                                                      West Point          MS     39773              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clay County 911                                   200 White Street                                                                                  Manchester          KY     40962              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clay County Treasurer                             1 Courthouse Square                                                                               Liberty             MO     64068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clayton County                                    112 Smith Street                                                                                  Jonesboro           GA     30236              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clear Creek County 911                            P.O. Box 2000                                                                                     Georgetown          CO     80444              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cleburne County Treasurer                         301 West Main                                                                                     Heber Springs       AR     72543              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                                           Date Debt was     Specify Code Subsection
                                                                                                                                                                                                           Incurred, Basis    of Priority Unsecured
                      Creditor Name                                                     Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Clinton City Recorder                                     100 N Bowling Street                                                                               Clinton             TN     37716              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clinton County                                            100 South Cross Street                                                                             Albany              KY     42602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clinton County                                            1900 North 3rd Street                                                                              Clinton              IA    52732              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Clinton County Emergency Services                         16 Emergency Services Drive                                                                        Plattsburg          NY     12903              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coahoma County                                            P.O. Box 579                                                                                       Clarksdale          MS     38614              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coal County                                               4 N. Main Street                            Suite 1                                                Coalgate            OK     74538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cobb County Finance Department                            100 Cherokee St.                            Suite 400                                              Marietta            GA     30090              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cobb County Tax Commissioner                              P.O. Box 100127                                                                                    Marietta            GA     30061-7027         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cocke County Trustee                                      111 Court Avenue Room 107                                                                          Newport             TN     37821              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coffee County Trustee                                     P.O. Box 467                                                                                       Manchester          TN     37349              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colbert County                                            P.O. Box 3989                                                                                      Muscle Shoals       AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Collector of Revenue                                      1200 Market St. #410                                                                               St Louis            MO     63103-2841         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colleton County                                           P.O. Box 433                                                                                       Walterboro           SC    29488              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Collin County Tax Assessor-Collector                      P.O. Box 8046                                                                                      McKinney            TX     75070-8046         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colorado Department of Revenue                            1375 Sherman Street                                                                                Denver              CO     80261-0013         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colorado Department of Revenue                            P.O. Box 17087                                                                                     Denver              CO     80217-0087         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colorado High Cost Support Administrator                  1560 Broadway                               Suite 250                                              Denver              CO     80202-5143         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colorado High Cost Support Mechanism Fund                 P.O. Box 912414                                                                                    Denver              CO     80291-2414         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Colquitt County                                           P.O. Box 517                                                                                       Moultrie            GA     31776              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbia City                                             700 N Garden St                                                                                    Columbia            TN     38401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbia County 911                                       85 Industrial Tract                                                                                Hudson              NY     12534              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbia County Treasurer                                 101 Boundary Street                         Ste 103                                                Magnolia            AR     71753              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbiana County 911                                     105 S Market Street                                                                                Lisbon              OH     44432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbus Consolidated Government                          P.O. Box 1340                                                                                      Columbus            GA     31902-1340         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Columbus/ Lowndes County E911                             515 Second Avenue North                                                                            Columbus            MS     39701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Comanche County Commissioners                             315 S.W. 5th Street                                                                                Lawton              OK     73501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined

Comm of MA Statewide Emergency Telecommunications Board   151 Campanelli Drive                        Suite A                                                Middleborough      MA      02346               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commerical Mobile Radio Service Board - E911 Fund         P.O. Box 22692                                                                                     Jackson            MS      39225-2692          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissioner of Finance                                   128 City Hall                                                                                      Syracuse           NY      13202               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissioner of Revenue                                   10455 Armstrong Street                                                                             Fairfax            VA      22030-3630          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissioner of Revenue                                   Attn: City Hall Room 224                    10455 Armstrong Street                                 Fairfax            VA      22030-3630          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissioner of Revenue                                   P.O. Box 389                                                                                       Franklin           VA      23851               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissioner of Revenue Services                          P.O. Box 5030                                                                                      Hartford           CT      06102-5030          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commissoner of Revenue                                    P.O. Box 552                                                                                       Winchester         VA      22604               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commonwealth of Massachusetts                             P.O. Box 419257                                                                                    Boston             MA      02241-9257          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commonwealth of Pennsylvania                              Comptroller Operations                      P.O. Box 2833                                          Harrisburg         PA      17101               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Commonwealth of Pennsylvania                              P.O. Box 2833                                                                                      Harrisburg         PA      17101               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Comptroller of Maryland                                   P.O. Box 17405                                                                                     Baltimore          MD      21297-1405          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Comptroller of Maryland                                   P.O. Box 207                                                                                       Annapolis          MD      21404-0207          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Comptroller of the Treasury                               P.O. Box 17405                                                                                     Baltimore          MD      21297-1405          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Concordia Parish E911                                     P.O. Box 873                                                                                       Vidalia            LA      71373               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Concordia Parish School Board                             P.O. Box 160                                                                                       Vidalia            LA      71373               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Connecticut Department of Emergency Services and Public
Protection                                                1111 Country Club Road                                                                             Middletown         CT      06457               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Connecticut Department of Revenue                         450 Columbus Blvd., Ste 1                                                                          Hartford           CT      06103-5032          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Consolidated Communications Center                        225 E. 6th St.                                                                                     Waterloo           IA      50703               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Contra Costa County Tax Collector                         P.O. Box 7002                                                                                      San Francisco      CA      94120-7002          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Conway County                                             117 S. Moose Street                                                                                Morrilton          AR      72110               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Copiah County                                             P.O. Box 507                                                                                       Hazelhurst         MS      39083               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Cortland County Treasurer                                 60 Central Avenue                           Rm 113                                                 Cortland           NY      13045               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Cotton County                                             301 North Broadway                                                                                 Walters            OK      73572               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Country Club Hills City Hall                              7422 Eunice Avenue                                                                                 Saint Louis        MO      63136               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Adair                                           106 West Washington Street                                                                         Kirksville         MO      63501-2889          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Alameda                                         224 West Winton Avenue                      Room 169                                               Hayward            CA      94544-1221          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Albemarle                                       401 Mclntire Rd                                                                                    Charlottesville    VA      22902               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Camden                                          1 Court Circle Street                       Suite #3                                               Camdenton          MO      65020               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Fairfax                                         P.O. Box 10201                                                                                     Fairfax            VA      22035-0201          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Hawaii, County Director of Finance              25 Aupuni Street                            Room 1102                                              Hilo               HI      96720-4245          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Henrico                                         P.O. Box 90775                                                                                     Henrico            VA      23273-0775          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Lawrence                                        P.O. Box 46                                                                                        Mt. Vernon         MO      65712               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Livingston                                      700 Webster                                 Suite 5                                                Chillicothe        MO      64601               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Loudoun                                         P.O. Box 1000                                                                                      Leesburg           VA      20177-1000          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Madison                                         124 North Main                                                                                     Fredericktown      MO      63645               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Maui/Director of Finance                        200 S. High St.                             Kalana O Maui Bldg 2nd Fl                              Wailuku            HI      96793-0913          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Miller                                          P.O. Box 12                                                                                        Tuscumbia          MO      65082               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Montgomery                                      211 East Third                                                                                     Montgomery City    MO      63361               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of New Madrid                                      P.O. Box 68                                                                                        New Madrid         MO      63869               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
County of Newton                                          101 South Wood Street                                                                              Neosho             MO      64850               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                   Date Debt was     Specify Code Subsection
                                                                                                                                                                                                   Incurred, Basis    of Priority Unsecured
                       Creditor Name                                            Address1                              Address2                                   City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
County of Orange                                   P.O. Box 1438                                                                                     Santa Ana           CA     92702-1438         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Powell                                   P.O. Box 506                                                                                      Stanton             KY     40380              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Rappahannock                             P.O. Box 37                                                                                       Washington          VA     22747-1431         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Sainte Genevieve                         55 So. Third St.                           Room 5                                                 Sainte Genevieve    MO     63670              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Scott                                    P.O. Box 188                                                                                      Benton              MO     63736              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Suffolk                                  30 Yaphank Ave.                                                                                   Yaphank             NY     11980              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of Taney                                    P.O. Box 507                                                                                      Forsyth             MO     65653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
County of York                                     P.O. Box 251                                                                                      Yorktown            VA     23690-0090         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Covington City Tax Collector                       P.O. Box 768                                                                                      Covington           TN     38019              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Covington County 911                               P.O. Box 1679                                                                                     Collins             MS     39428              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coweta County 911                                  195 International Park                                                                            Newnan              GA     30265              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coweta County Finance Department                   22 E Broad Street                                                                                 Newnan              GA     30263              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Coweta County Tax Commissioner                     P.O. Box 195                                                                                      Newnan              GA     30264-0195         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Craig County E911 Trust Authority                  P.O. Box 911                                                                                      Vinita              OK     74301-0911         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Craighead County                                   511 South Main Street--Room 205            P.O. Box 63                                            Jonesboro           AR     72403-0063         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Crawford County Treasurer                          300 Main Street                                                                                   Van Buren           AR     72956              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Creek County E911                                  317 East Lee                               Suite #103                                             Sapulpa             OK     74066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Crisp County                                       210 Seventh Street South                                                                          Cordele             GA     31015              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Crittenden County Courthouse                       107 South Main Street                      Suite 202                                              Marion              KY     42064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Crittenden County Treasurer                        100 Court Square                                                                                  Marion              AR     72364              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cross County                                       Room 4                                     705 East Union Street                                  Wynne               AR     72396              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CRS/CDF                                            P.O. Box 45140                                                                                    San Francisco       CA     94145-0140         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
CTTRS                                              100 South Jefferson Road                                                                          Whippany             NJ    07981              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cullman County                                     P.O. Box 1206                                                                                     Cullman             AL     35055              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cynthiana City                                     P.O. Box 67                                                                                       Cynthiana           KY     41031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Cypress-Fairbanks ISD Tax Assessor-Collector       10494 Jones Rd                                                                                    Houston             TX     77065              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
D.C. Treasurer                                     P.O. Box 96384                                                                                    Washington          DC     20090-6384         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dallas County Tax Collector                        P.O. Box 139066                                                                                   Dallas              TX     75313-9066         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dallas County Treasurer                            206 West 3rd Street                                                                               Fordyce             AR     71742              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dallas County Utility/Recl District                P.O. Box 140035                                                                                   Irving              TX     75014-0035         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dane County                                        210 Martin Luther King Jr Blvd #109                                                               Madison             WI     53703-3342         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Darlington County Treasurer                        1 Public Square                            Room 203                                               Darlington           SC    29532-3296         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Davidson County Metropolitan Trustee               P.O. Box 305012                                                                                   Nashville           TN     37230-5012         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dawson County E911                                 19 Tucker Avenue                                                                                  Dawsonville         GA     30534              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DC Public Service Commission                       1333 H Street NW                           2nd Floor West Tower                                   Washington          DC     20005              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DC Treasurer                                       P.O. Box 556                                                                                      Washington          DC     20044-0556         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DC USTF                                            P.O. Box 785652                                                                                   Philadelphia        PA     19178-5652         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
De Kalb County 911                                 1960 West Exchange Place                                                                          Tucker              GA     30084              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
De Kalb County Police Headquarters                 1300 Commerce Drive                        6th Floor                                              Decatur             GA     30030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
De Soto County                                     2535 Highway 51 South                                                                             Hernando            MS     38632              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
De Soto County                                     365 Losher Street                          Suite 32                                               Hernando            MS     38632              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dekalb County Clerk                                P.O. Box 248                               109 W. Main Street                                     Maysville           MO     64469              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DeKalb County Revenue Department                   111 Grand Avenue SW                        Suite 112                                              Fort Payne          AL     35967              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DeKalb County Tax Commissioner                     P.O. Box 100004                                                                                   Decatur             GA     30031-7004         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Delaware County E-911                              P.O. Box 26                                                                                       Jay                 OK     74346              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Delaware County Treasurer                          111 Main Street                                                                                   Delhi               NY     13753              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Delaware Division of Revenue                       820 N French St                                                                                   Wilmington          DE     19801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Delaware Division of Revenue                       P.O. Box 2340                                                                                     Wilmington          DE     19899-2340         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Denco Area 9-1-1 District                          1075 Princeton Street                                                                             Lewisville          TX     75067              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Denison Police Department                          108 West Main Street                                                                              Denison             TX     75021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Denton County Tax Office                           P.O. Box 90223                                                                                    Denton              TX     76202-5223         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Assessments and Taxation             301 West Preston Street                                                                           Baltimore           MD     21201-2395         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department OF ASSESSMENTS AND TAXATION             P.O. Box 17052                                                                                    Baltimore           MD     21297-1052         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Finance                              P.O. Box 2590                                                                                     Baton Rouge         LA     70821-2590         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Finance and Administration           P.O. Box 8042                                                                                     Little Rock         AR     72203-8042         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Public Safety                        445 Minnesota Street                       Suite 137                                              St Paul             MN     55101-5137         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Revneue                              P.O. Box 5835                                                                                     Helena              MT     59604-5835         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Taxation                             P.O. Box 3559                                                                                     Honolulu             HI    96811-3559         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of the Treasury                         Internal Revenue Service                   550 Main St. #10                                       Cincinnati          OH     45999-0009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of the Treasury                         Internal Revenue Service                   324 25th Street                                        Ogden               UT     84201-0012         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of the Treasury                         P.O. Box 269                                                                                      Trenton              NJ    08695-0269         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Department of Treasury                             Internal Revenue Service                   550 Main Street 10                                     Cincinnati          OH     45999-0009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dept of Health & Human Services                    2025 Mail Service Center                                                                          Raleigh             NC     27699-2025         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Des Moines County                                  513 North Main Street                                                                             Burlington           IA    52601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Desha County Treasurer                             P.O. Box 355                                                                                      Arkansas City       AR     71630              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Desoto Parish Communications District E-911        264 Oak Street                                                                                    Mansfield           LA     71052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
DeSoto Parish Sales and Use Tax Commission         P.O. Box 927                                                                                      Mansfield           LA     71052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dickinson County                                   P.O. Box 609                                                                                      Iron Mountain       MI     49801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dillon County Treasurer                            P.O. Drawer 552                                                                                   Dillon               SC    29536              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                                           Claim subject to offset?
                                                                                                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                                                                                                    Contingent


                                                                                                                                                                                                                                                                                                Disputed
                                                                                                                                                                                                                        Date Debt was     Specify Code Subsection
                                                                                                                                                                                                                        Incurred, Basis    of Priority Unsecured
                          Creditor Name                                          Address1                                               Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Dinwiddie County Treasurer                           P.O. Box 178                                                                                                        Dinwiddie            VA     23841-0178         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Director of Finance                                  200 Holiday Street, Room 3                                                                                          Baltimore            MD     21202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
District of Columbia                                 P.O. Box 96019                                                                                                      Washington           DC     20090-6183         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
District of Columbia Treasurer                       300 Indiana Avenue, North West                               Suite 4068                                             Washington           DC     20001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
District of Columbia Treasurer                       899 North Capitol St NE                                      Ste 600A                                               Washington           DC     20002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Div. Statewide Emergency Telecom                     CT Dept Emer Svc & Pub Protection                            1111 Country Club Road                                 Middletown           CT     06457              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Division of Statewide Emergency Telecommunications   1111 Country Club Road                                                                                              Middletown           CT     06457              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Division of Vocational Rehabilitation                122 West 25th Street                                         1100 Herschler Building 1E                             Cheyenne             WY     82002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dodge County                                         P.O. Box 818                                                                                                        Eastman              GA     31023-0818         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dorchester County                                    212 Deming Way # 3                                                                                                  Summerville           SC    29483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dougherty County Tax Department                      P.O. Box 1827                                                                                                       Albany               GA     31702-1827         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County                                       1819 Farnam Street LC2                                                                                              Omaha                NE     68183-0001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County                                       P.O. Box 3000                                                                                                       Minden               NV     89423              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County                                       P.O. Box 507                                                                                                        Castle Rock          CO     80104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County 911                                   8480 South Cherokee Blvd                                                                                            Douglasville         GA     30134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County 911 Communications                    3603 N 156th Street                                                                                                 Omaha                NE     68116              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County ETSA                                  Attn: DCETSA 911 Board Coordinator                           P.O. Box 507                                           Castle Rock          CO     80104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Douglas County Treasurer                             P.O. Box 1208                                                                                                       Castle Rock          CO     80104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Drew County 911                                      210 South Main Street                                                                                               Monticello           AR     71655              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dunklin County E911                                  P.O. Box 188                                                                                                        Kennett              MO     63857              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dunn County                                          615 Stokke Pkwy                                                                                                     Menomonie            WI     54751-7900         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Durham County Tax Collector                          P.O. Box 30090                                                                                                      Durham               NC     27702-3090         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dutchess County Commissioner of Finance              22 Market Street                                                                                                    Poughkeepsie         NY     12601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Dyer County Trustee                                  P.O. Box 1360                                                                                                       Dyersburg            TN     38025-1360         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
E911 - Freemont County                               P.O. Box 465                                                                                                        Lander               WY     82520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
E911 Authority                                       P.O. Box 1561                                                                                                       Canon City           CO     81215              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
E911 Authority Board                                 2025 Shield Drive                                                                                                   Steamboat Springs    CO     80487              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Eagle County, CO                                     P.O. Box 850                                                                                                        Eagle                CO     81631              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Early County 911                                     P.O. Box 693                                                                                                        Blakely              GA     39823              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Early County Administration                          204 Court Square                                                                                                    Blakely              GA     39823              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
East Baton Rouge Finance Administration              P.O. Box 1471                                                                                                       Baton Rouge          LA     70821              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
East Carroll Parish                                  P.O. Box 130                                                                                                        Vidalla              LA     71373              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
East Carroll Parish Communications District          301 First Street                                                                                                    Lake Providence      LA     71254              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
East Feliciana Parish E911 Commission                P.O. Box 293                                                                                                        Clinton              LA     70722              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Eaton County Board of Commissioners                  1045 Independence Blvd                                                                                              Charlotte            MI     48813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ECD of Ector County                                  700 N. Grant Ave                                             Suite 100                                              Odessa               TX     79761              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Echols County Commissioner                           P.O. Box 190                                                                                                        Statenville          GA     31648              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Edgefield County 911                                 210 Penn St.                                                                                                        Edgefield             SC    29824              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Edmonson County E911                                 P.O. Box 353                                                                                                        Brownsville          KY     42210              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Effingham County Finance Department                  601 North Laurel Street                                                                                             Springfield          GA     31329              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso County                                       200 North Kansas Street                                                                                             El Paso              TX     79901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso County                                       P.O. Box 2018                                                                                                       Colorado Springs     CO     80901-2018         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso County 911 District                          6055 Threadgill Ave.                                                                                                El Paso              TX     79924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso County 911 District                          El Paso Reg Comm Center, Suite A107 6055 Threadgill Avenue                                                          El Paso              TX     79924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso Tax Assessor/Collector                       P.O. Box 2992                                                                                                       El Paso              TX     79999-2992         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
El Paso-Teller County 911                            2350 Airport Rd.                                                                                                    Colorado Springs     CO     80910              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Elbert County                                        P.O. Box 992                                                                                                        Elizabeth            CO     80107              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Elbert County Communications Authority               P.O. Box 992                                                                                                        Elizabeth            CO     80107              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Elko County                                          571 Idaho                                                                                                           Elko                 NV     89801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ellis County Tax Assessor-Collector                  P.O. Drawer 188                                                                                                     Waxahachie           TX     75168-0188         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Emergency Communications District of Ector County    703 N. Hancock Avenue                                                                                               Odessa               TX     79761              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
EMS                                                  P.O. Box 1728                                                                                                       West Memphis         AR     72303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Erie County Office of Comptroller                    95 Franklin Street                                           Room 1100                                              Buffalo              NY     14202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Essex County Treasurer                               P.O. Box 217                                                                                                        Elizabethtown        NY     12932              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Estado Libre Asociado de Puerto Rico                 P.O. Box 270200                                                                                                     San Juan             PR     00927              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ETSA of La Plata County                              990 E Second Ave                                                                                                    Durango              CO     81301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Evangeline Parish                                    P.O. Box 367                                                                                                        Ville Platte         LA     70586-0367         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Evangeline Parish Communications District            415 West Cotton Street                                                                                              Ville Platte         LA     70586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Everett Utility\Business and Occupation Tax          2930 Wetmore Avenue                                          Suite 1-A                                              Everett              WA     98201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fairfax County                                       12000 Governement Center Parkway                             Suite 223                                              Fairfax              VA     22035              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fairfield County Council                             P.O. Drawer 60                                                                                                      Winnsboro             SC    29180              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Faulkner County Treasurer                            801 Locust Street                                                                                                   Conway               AR     72032              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fauquier County                                      P.O. Box 677                                                                                                        Warrenton            VA     20188-0677         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fayette County                                       P.O. Box 307                                                                                                        Fayetteville         WV     25840-0307         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fayette County (Cellular/VoIP) E911                  140 Stonewall Avenue West                                    Suite 101                                              Fayetteville         GA     30214              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fayette County Tax Commissioner                      P.O. Box 70                                                                                                         Fayetteville         GA     30214              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Federal Communications Commission                    445 12th Street, S.W                                         Room 6- A224                                           Washington           DC     20554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fleming County Fiscal Court                          100 Court Square                                                                                                    Flemingsburg         KY     41041              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Florence County                                      180 North Irby Street                                        MSC-H                                                  Florence              SC    29501-3456         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                                                                                          Disputed
                                                                                                                                                                                                                  Date Debt was     Specify Code Subsection
                                                                                                                                                                                                                  Incurred, Basis    of Priority Unsecured
                          Creditor Name                                              Address1                              Address2                                     City           State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Florida Department of Revenue                         5050 W Tennessee Street                                                                               Tallahassee                  FL    32399-0120         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Florida Department of Revenue                         P.O. Box 6520                                                                                         Tallahassee                  FL    32314-6520         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Florida E911 Board                                    P.O. Box 7117                                                                                         Tallahassee                  FL    32314              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Florida Public Service Commission                     2540 Shumard Oak Boulevard                                                                            Tallahassee                  FL    32399-0850         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Florida Telecommunications Relay Inc.                 1820 E. Park Avenue                          Suite 101                                                Tallahassee                  FL    32301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Floyd County                                          P.O. Box 946                                                                                          Rome                        GA     30162              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Floyd County Sheriff's Office                         P.O. Box 152                                                                                          Prestonsburg                KY     41653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Floyd County Treasurer                                100 East Main Street                         Box 5                                                    Floyd                       VA     24091              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Floyd County Treasurer                                P.O. Box 1600                                                                                         Prestonsburg                KY     41653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Forrest County Board of Supervisors                   4080 U.S. Highway 11                                                                                  Hattiesburg                 MS     39402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Forsyth County                                        110 East Main Street                         Suite 255                                                Cumming                     GA     30040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Forsyth County Tax Commissioner                       1092 Tribble Gap Rd                                                                                   Cumming                     GA     30040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fort Bend County Tax Assessor-Collector               P.O. Box 1028                                                                                         Sugar Land                  TX     77487-1028         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franchise Tax Board                                   P.O. Box 942857                                                                                       Sacramento                  CA     94257-0531         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Frankfort/Franklin County E911                        P.O. Box 697                                                                                          Frankfort                   KY     40602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin County                                       400 East Locust                              Room 206                                                 Union                       MO     63084              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin County                                       P.O. Box 159                                                                                          Carnesville                 GA     30521              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin County                                       P.O. Box 3989                                                                                         Muscle Shoals               AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin County E911                                  P.O. Box 297                                                                                          Meadville                   MS     39653              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin County Treasurer                             55 Bare Hill Rd                                                                                       Malone                      NY     12953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin Parish E-911 Communications District         P.O. Box 366                                                                                          Winnsboro                   LA     71295              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Franklin Parish Sales Tax                             P.O. Box 337                                                                                          Winnsboro                   LA     71295              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fredericksburg City County                            P.O. Box 267                                                                                          Fredericksburg              VA     22404              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fremont County 911                                    P.O. Box 1561                                                                                         Canon City                  CO     81215              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fresno County Tax Collector                           P.O. Box 1192                                                                                         Fresno                      CA     93715-1192         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Friendswood ISD & GCCDD Consolidated Tax Office       P.O. Box 31                                                                                           Friendswood                 TX     77549-0031         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fulton County Emergency Communications                130 Peachtree Street                         Suite 3147                                               Atlanta                     GA     30303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fulton County Tax Comm                                141 Pryor Street SW                                                                                   Altanta                     GA     30303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fulton County Tax Commissioner                        P.O. Box 105052                                                                                       Atlanta                     GA     30348-5052         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Fulton County Treasurer                               P.O. Box 128                                                                                          Johnstown                   NY     12095              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gallatin City Recorder                                132 W. Main St, Rm 111                                                                                Gallatin                    TN     37066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Galveston County                                      1353 FM 646 Road West                        Suite 101                                                Dickinson                   TX     77539              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Galveston County Tax Collector                        P.O. Box 1169                                                                                         Galveston                   TX     77553              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Galveston Cty Emergency Communications District       1353 FM 646 West                             Suite 101                                                Dickinson                   TX     77539              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garfield Co. Emergency Communications                 585 East First Street                                                                                 Rifle                       CO     81650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garfield County Treasurer                             C/O Enid/Garfield County 911                 100 W. Broadway                                          Enid                        OK     73701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garland County                                        Dept. of Emerg. Mgmt./911                    401 Mid America Boulevard                                Hot Springs                 AR     71913              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garland ISD                                           P.O. Box 461407                                                                                       Garland                     TX     75046-1407         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garland Police Department                             1891 Forest Lane                                                                                      Garland                     TX     75042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Garvin County 911                                     225 West McClure                             Room 205                                                 Pauls Valley                OK     73075              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gatlinburg City                                       P.O. Box 5                                                                                            Gatlinburg                  TN     37738              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gem County Clerk                                      415 E Main St.                               Room 202                                                 Emmett                       ID    83617              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Genesee County Treasurer                              15 Main Street                               County Building #1                                       Batavia                     NY     14020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Genessee County                                       1101 Beach Street                                                                                     Flint                       MI     48502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
George County Supervisors                             355 Cox Street                                                                                        Lucedale                    MS     39452              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Georgetown County                                     715 Prince Street                                                                                     Georgetown                   SC    29440-3631         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Georgetown County                                     P.O. Drawer 421270                                                                                    Georgetown                   SC    29442-1270         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Georgia Department of Revenue                         P.O. Box 105296                                                                                       Atlanta                     GA     30348-5296         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Georgia Department of Revenue                         P.O. Box 105408                                                                                       Atlanta                     GA     30348-5408         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Georgia Department of Revenue                         P.O. Box 740239                                                                                       Atlanta                     GA     30374-0239         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gibson County                                         P.O. Box 259                                                                                          Trenton                     TN     38382              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gila River Indian Community                           P.O. Box 2160                                                                                         Sacaton                     AZ     85147              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Giles County                                          130 N Main Street                                                                                     Pearisburg                  VA     24134-1625         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gilmer County 911                                     1 Broad Street                               Suite 106                                                Ellijay                     GA     30540              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gilpin County 911                                     P.O. Box 351                                                                                          Central City                CO     80427              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Glenn Heights Police Department                       550 East Bear Creek Road                                                                              Glenn Heights               TX     75154-8336         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Glynn County 911                                      1725 Reynolds Street                         Suite 300                                                Brunswick                   GA     31520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Glynn County Tax Commissioner                         P.O. Box 1259                                                                                         Brunswick                   GA     31521              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Goochland County                                      Commisioners Office                          P.O. Box 60                                              Goochland                   VA     23063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Goodlettsville City                                   105 S. Main Street                                                                                    Goodlettsville              TN     37072              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Goose Creek CISD Tax Services                         P.O. Box 2805                                                                                         Baytown                     TX     77522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gordon County                                         P.O. Box 580                                                                                          Calhoun                     GA     30703-0580         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Government of US Virgin Islands                       2314 Kronprindsens Gade                                                                               St. Thomas                   VI    00802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
GPSC TRS Fund                                         P.O. Box 101378                                                                                       Atlanta                     GA     30392-1378         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
GPSC UAF                                              P.O. Box 934025                                                                                       Atlanta                     GA     31193-4025         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grady County                                          250 North Broad Street                                                                                Cairo                       GA     31728              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grady County Commissioners                            P.O. Box 1009                                                                                         Chickasha                   OK     73023-1009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grand Co. Emergency Telephone Service Auth.           P.O. Box 1                                                                                            Hot Sulphur Springs City    CO     80451              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grand Traverse County                                 400 Boardman Avenue                                                                                   Traverse City               MI     49684              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                                                                           Disputed
                                                                                                                                                                                                   Date Debt was     Specify Code Subsection
                                                                                                                                                                                                   Incurred, Basis    of Priority Unsecured
                       Creditor Name                                             Address1                            Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Grant County E911                                     112 E. Guhrie Street                     Room 102                                              Medford             OK     73759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grant County Treasurer                                101 West Center                                                                                Sheridan            AR     72150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grant Parish Sales Tax Office                         P.O. Box 187                                                                                   Colfax              LA     71417-0187         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grant Parish Sheriffs Department                      P.O. Box 187                                                                                   Colfax              LA     71417              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grapevine-Colleyville Area Tax Office                 3072 Mustang Drive                                                                             Grapevine           TX     76051-5901         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gratiot County                                        1375 County Farm Lane                                                                          Ithaca              MI     48847              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grayson County E-911                                  10 Public Square                                                                               Leitchfield         KY     42754              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greater Harris County                                 10220 Fairbanks North Houston Road                                                             Houston             TX     77064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Green County                                          203 Westcourt St                                                                               Greensburg          KY     42743              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Green County Board of Supervisors                     P.O. Box 460                                                                                   Leakesville         MS     39451              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greenbrier County                                     P.O. Box 506                                                                                   Lewisburg           WV     24901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greene County                                         411 Main Street                          Suite 408                                             Catskill            NY     12414              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greene County Board of Commissioners                  1034 Silver Drive                        Suite 201                                             Greensboro          GA     30642              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greene County Treasurer                               320 West Court                           Room 106                                              Paragould           AR     72450-4304         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greens Parkway MUD                                    11500 NW Freeway                                                                               Houston             TX     77092              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greenup County E911                                   301 Main Street                          Box 7, Rm 313 Courthouse                              Greenup             KY     41144              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greenville County                                     301 University Ridge                     Suite 600                                             Greenville           SC    29601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greenville County Treasurer                           301 University Ridge                     Suite 200                                             Greenville           SC    29601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greenwood County Treasurer                            528 Monument St.                         Suite 105                                             Greenwood            SC    29646              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Greer County E-911 Trust Authority                    P.O. Box 263                                                                                   Mangum              OK     73554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grenada E911 District                                 370 Van Dorn Street                                                                            Grenada             MS     38901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Grundy County Treasurer                               700 Main Street                          Courthouse                                            Trenton             MO     64683              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gulf Coast Regional 9-1-1 ECD                         P.O. Box 22777                                                                                 Houston             TX     77227              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
GVNW Consulting, Inc                                  P.O. Box 27561                                                                                 Albuquerque         NM     87125-7561         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gwinnett County (Cellular) E911                       ATTN: Financial Serv./Treasury           P.O. Box 602                                          Lawrenceville       GA     30046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gwinnett County Board of Commissioners                P.O. Box 602                                                                                   Lawrenceville       GA     30046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Gwinnett County Tax Commissioner                      P.O. Box 372                                                                                   Lawrenceville       GA     30046-0372         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Habersham County 911                                  555 Monroe Street                        Unit 20                                               Clarkesville        GA     30523-7815         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hall County                                           P.O. Box 1435                                                                                  Gainesville         GA     30503              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hall County Tax Commissioner                          P.O. Box 1579                                                                                  Gainesville         GA     30503              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hamblen County Trustee                                P.O. Box 423                                                                                   Morristown          TN     37815-0423         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hamilton County Trustee                               P.O. Box 11047                                                                                 Chattanooga         TN     37401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hampton County                                        200 Jackson Avenue East                                                                        Hampton              SC    29924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hancock County                                        854 Hwy 90 Suite A                                                                             Bay Saint Louis     MS     39520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hancock County Treasurer                              P.O. Box 277                                                                                   Hawesville          KY     42348              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hanover County                                        P.O. Box 200                                                                                   Hanover             VA     23069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Haralson County                                       155 Van Wert Street                                                                            Buchanan            GA     30113              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hardin County Trustee                                 465 Main Street                          #3                                                    Savannah            TN     38372              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hardy County E911                                     157 Freedom Way                                                                                Moorefield          WV     26836              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harlan County Sheriff                                 P.O. Box 978                                                                                   Harlan              KY     40831              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harlan County Treasurer                               P.O. Box 956                                                                                   Harlan              KY     40831              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harriman City                                         P.O. Box 433                                                                                   Harriman            TN     37748              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harris County Tax Assessor-Collector                  P.O. Box 4622                                                                                  Houston             TX     77210-4622         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harrison County                                       113 W. Pike St                                                                                 Cynthiana           KY     41031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harrison County                                       15309 B Community Road                                                                         Gulfport            MS     39503              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harrison County 911 Emergency Management              538 North Main St                        Suite F                                               Cadiz               OH     43907              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Harrison County Fiscal Court                          111 South Main Street                    Suite 201                                             Cynthiana           KY     41031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii Department of Taxation                         P.O. Box 1425                                                                                  Honolulu             HI    96806-1425         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii Department of Taxation                         P.O. Box 1530                                                                                  Honolulu             HI    96806-1530         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii Public Utilities Commission                    465 S. King Street                       Room 103                                              Honolulu             HI    96813              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii State Tax Collector                            Hawaii Department of Taxation            P.O. Box 1425                                         Honolulu             HI    96806-1425         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii TRS                                            Solix, Inc.                              30 Lanidex Plaza West, P.O. Box 685                   Parsippany           NJ    07054              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hawaii TRS Administrator                              30 Lanidex Plaza West                    P.O. Box 685                                          Parsippany           NJ    07054              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hays County Tax Office                                712 S Stagecoach Trail                                                                         San Marcos          TX     78666-6073         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Heard County Board of Commissioners                   P.O. Box 40                                                                                    Franklin            GA     30217              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hempstead County Treasurer                            P.O. Box 1420                                                                                  Hope                AR     71802-1420         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henderson City Tax Collector                          P.O. Box 68                                                                                    Henderson           TN     38340-0068         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henderson County                                      P.O. Box 230                                                                                   Athens              TX     75751              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henderson County Trustee                              P.O. Box 9                                                                                     Lexington           TN     38351              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hendersonville City Tax Collector                     101 Maple Dr N                                                                                 Hendersonville      TN     37075              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henry County 911                                      526 Industrial Blvd                                                                            Mc Donough          GA     30253              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henry County Tax Commissioner                         140 Henry Parkway                                                                              McDonough           GA     30253              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henry County Treasurer                                P.O. Box 202                                                                                   New Castle          KY     40050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Henry County Trustee                                  P.O. Box 776                                                                                   Paris               TN     38242              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Herkimer County                                       108 Court Street                                                                               Herkimer            NY     13350              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hillsborough County Tax Collector                     P.O. Box 30012                                                                                 Tampa                FL    33630-3012         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hinds County Clerk Office                             P.O. Box 686                                                                                   Jackson             MS     39205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Holmes County 911                                     P.O. Box 209                                                                                   Tchula              MS     39169              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Honolulu City and County Public Service Company       1001 Kamokila Blvd                       Suite 216                                             Kapolei              HI    96707              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                         Claim subject to offset?
                                                                                                                                                                                                                                                               Unliquidated
                                                                                                                                                                                                                                                  Contingent


                                                                                                                                                                                                                                                                              Disputed
                                                                                                                                                                                                      Date Debt was     Specify Code Subsection
                                                                                                                                                                                                      Incurred, Basis    of Priority Unsecured
                      Creditor Name                                                Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Horry County                                          P.O. Box 1236                                                                                     Conway               SC    29528              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hot Spring County 9-1-1                               210 Locust St.                                                                                    Malvern             AR     72104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Houston County                                        200 Carl Vinson Parkway                                                                           Warner Robins       GA     31088              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Houston County Tax Commissioner                       P.O. Box 7799                                                                                     Warner Robins       GA     31095              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Houston-Galveston Area Council                        P.O. Box 22777                                                                                    Houston             TX     77227              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Howard County                                         P.O. Box 2398                                                                                     Big Spring          TX     79721-2398         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Howard County 9-1-1 Communications District           P.O Box 2398                                                                                      Big Spring          TX     79721-2398         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Howard County Treasurer                               421 North Main Street                                                                             Nashville           AR     71852              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hughes County Treasurer                               200 North Broadway                         Suite 6                                                Holdenville         OK     74848              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Humboldt City Mayor                                   1201 Main Street                                                                                  Humboldt            TN     38343              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Humboldt County                                       50 West 5th Street                         Suite 207                                              Winnemucca          NV     89445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Humphreys County 911                                  P.O. Box 547                                                                                      Belzoni             MS     39038              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Huron County                                          99 West Soper Road                                                                                Bad Axe             MI     48413              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Hutchins Police Department                            321 N. Main                                P.O. Box 50                                            Hutchins            TX     75141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iberia Parish Communications District                 300 Iberia Street                          Suite B12                                              New Iberia          LA     70560              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iberville Parish                                      P.O. Box 324                                                                                      Plaquemine          LA     70765              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iberville Parish                                      P.O. Box 355                                                                                      Plaquemine          LA     70765-0355         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iberville Parish Council                              P.O. Box 389                                                                                      Plaquemine          LA     70765-0389         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Idaho State Tax Commission                            P.O. Box 76                                                                                       Boise                ID    83707-0076         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Idaho State Tax Commission                            P.O. Box 83784                                                                                    Boise                ID    83707-3784         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Idaho Telecommunications Assistance Program           1964 North 300 East                                                                               Centerville         UT     84014              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Idaho TRS Fund                                        2545 N. Waggle Place                                                                              Meridian             ID    83642-9017         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois Commerce Commission                          527 East Capitol Avenue                                                                           Springfield           IL   62701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois Department of Revenue                        P.O. Box 19019                                                                                    Springfield           IL   62796-0001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois Department of Revenue                        P.O. Box 19028                                                                                    Springfield           IL   62794-9028         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois State Police                                 801 South 7th Street                                                                              Springfield           IL   62703              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois State Police                                 P.O. Box 19277                                                                                    Springfield           IL   62794-9277         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois State Police                                 Statewide 9-1-1 Bureau                     801 South 7th Street                                   Springfield           IL   62703              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Illinois Telecommunications Access Corporation        3001 Montvale Drive                        Suite A                                                Springfield           IL   62704              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Independence County                                   192 East Main Street                                                                              Batesville          AR     72501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Indiana Department of Revenue                         P.O. Box 7218                                                                                     Indianapolis         IN    46207-7218         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Indiana Department of Revenue                         P.O. Box 7226                                                                                     Indianapolis         IN    46207-7226         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Indiana Department of Revenue                         P.O. Box 7228                                                                                     Indianapolis         IN    46207-7228         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Indiana Utility Regulatory Commission                 101 West Washington Street                 Suite 1500 E                                           Indianapolis         IN    46204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Information Technology Department                     4201 Normandy St.                                                                                 Bismarck            ND     58503-1324         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Information Technology Department                     600 East Boulevard Ave                     Dept 112                                               Bismarck            ND     58505-0100         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ingham County                                         P.O. Box 215                                                                                      Mason               MI     48864              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ingham County Treasurer                               P.O. Box 215                                                                                      Mason               MI     48864              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Internal Revenue Service                              31 Pharr Rd. NW                                                                                   Atlanta             GA     30305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
InTRAC                                                7702 Woodland Drive                        Suite 130                                              Indianapolis         IN    46278              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ionia County Treasurer                                100 Main Street                                                                                   Ionia               MI     48846-1696         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iosco County                                          422 West Lake Street                       P.O. Box 538                                           Tawas City          MI     48764-0538         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iowa Department of Revenue                            1305 E Walnut St Fourth Floor, 0107                                                               Des Moines           IA    50319              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Iowa Utilities Board                                  1375 E. Court Avenue                       RM 69                                                  Des Moines           IA    50319-0069         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Irving ISD Tax Office                                 P.O. Box 152021                                                                                   Irving              TX     75015-2021         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Itawamba County E911                                  P.O. Box 776                                                                                      Fulton              MS     38843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson City Recorder                                 101 E Main St,                                                                                    Jackson             TN     38301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson County                                        415 East 12th Street                                                                              Kansas City         MO     64106              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson County Central Dispatch                       1715 Lansing Ave.                                                                                 Jackson             MI     49201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson County E911                                   P.O. Box 911                                                                                      Jefferson           GA     30549              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson County ECD                                    920 Convent Avenue                                                                                Pascagoula          MS     39567              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson Independent School District                   940 Highland Avenue                                                                               Jackson             KY     41339              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson Parish Communications District                P.O. Box 636                                                                                      Jonesboro           LA     71251              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jackson Parish Sales                                  P.O. Box 666                                                                                      Jonesboro           LA     71251              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jasper County 911                                     P.O. Box 670                                                                                      Monticello          GA     31064              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jasper County Auditor                                 P.O. Box 944                                                                                      Newton               IA    50208              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jasper County Civil Defense / E911                    P.O. Box 406                                                                                      Bay Springs         MS     39422              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jasper County Emergency Services                      P.O. Box 1509                                                                                     Ridgeland            SC    29936              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County                                      101 West Barraque Street                                                                          Pine Bluff          AR     71601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County                                      220 North Main                                                                                    Waurika             OK     73573              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County                                      753 Waterman Drive                                                                                Watertown           NY     13601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County                                      P.O. Box 830710                                                                                   Birmingham          AL     35283-0710         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County Board of Supervisors                 P.O. Box 145                                                                                      Fayette             MS     39069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County Emergency Communications Authority   P.O. Box 17302                                                                                    Denver              CO     80217-0302         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County Sheriff                              P.O. Box 34570                                                                                    Louisville          KY     40232-4570         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County Tax Collector                        P.O. Box 100                                                                                      Hillsboro           MO     63050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County Treasurer                            100 Jefferson County Pkwy,                                                                        Golden              CO     80419-2520         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson County, WI                                  311 S. Center Ave, Rm 107                                                                         Jefferson           WI     53549              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson Davis Parish                                P.O. Box 1409                                                                                     Jennings            LA     70546              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                                              Date Debt was     Specify Code Subsection
                                                                                                                                                                                                              Incurred, Basis    of Priority Unsecured
                       Creditor Name                                                      Address1                               Address2                                   City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Jefferson Parish                                               P.O. Box 9                                Suite 4200                                             Gretna              LA     70054              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson Parish Sheriff's Office                              P.O. Box 248                                                                                     Gretna              LA     70054-0248         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jefferson Parish Sheriff's Office                              Sales/Use Tax Division                    P.O. Box 248                                           Gretna              LA     70054-0248         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jessamine County                                               101 N. Main Street                        Suite 7                                                Nicholasville       KY     40356              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jessamine Couty Fiscal Court                                   101 N Main St                                                                                    Nicholasville       KY     40356              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jim Hogg County Treasurer                                      P.O. Box 455                                                                                     Hebbronville        TX     78361              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Johnson County                                                 511 S Capital                             P.O. Box 2540                                          Iowa City            IA    52240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Johnson County Tax Assessor-Collector                          P.O. Box 75                                                                                      Cleburne            TX     76033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Johnston County Clerk                                          403 West Main                             Suite 101                                              Tishomingo          OK     73460              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Joint Board of the County                                      913 South Dubuque                                                                                Iowa City            IA    52244              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Jones County                                                   P.O. Box 1468                                                                                    Laurel              MS     39441              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Junta Reglamentadora de Telecomunicaciones de PR               500 R. H. Todd Avenue, Stop 18                                                                   San Juan            PR     00907              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kalamazo County                                                201 West Kalamazoo Avenue, Suite 104                                                             Kalamazoo           MI     49007              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kanawha County Metro Emergency Operations Center               200 Peyton Way                                                                                   Charleston          WV     25309              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kansas 911 Coordinating Council                                P.O. Box 842                                                                                     Emporia              KS    66801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kansas Department of Revenue                                   915 SW Harrison Street                                                                           Topeka               KS    66612-1588         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kansas Department of Revenue                                   P.O. Box 758571                                                                                  Topeka               KS    66675-8571         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kansas Retailers' Use Tax                                      Kansas Department of Revenue              915 SW Harrison Street                                 Topeka               KS    66625-5000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kansas Universal Service Fund                                  LockBox 1512                              3035 South Topeka Blvd.                                Topeka               KS    66611-1512         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kaufman County Tax Office                                      P.O. Box 339                                                                                     Kaufman             TX     75142              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kemper County                                                  RE: 9-1-1                                 P.O. Box 188                                           De Kalb             MS     39328              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kenai Peninsula Borough                                        144 North Binkley Street                                                                         Soldotna            AK     99669-7520         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kenosha County                                                 1000 55th St.                                                                                    Kenosha             WI     53140-3794         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kent County                                                    300 Monroe Avenue NW                                                                             Grand Rapids        MI     49503-2206         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky Department of Revenue                                 501 High Street                           Station 61                                             Frankfort           KY     40620-0003         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky Department of Revenue                                 P.O. Box 181, Station 53                                                                         Frankfort           KY     40602-0181         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky Public Service Commission                             211 Sower Blvd.                           P.O. Box 615                                           Frankfort           KY     40602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky State Treasurer                                       501 High St, Station No. # 32                                                                    Frankfort           KY     40601-2103         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky State Treasurer                                       702 Capitol Avenue                        Capital Annex, Room 488A                               Frankfort           KY     40601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky State Treasurer                                       P.O. 181                                  Station 66                                             Frankfort           KY     40620-0003         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kentucky State Treasury                                        200 Mero Street                                                                                  Frankfort           KY     40622              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kerr County                                                    819 Water Street                          Suite 270                                              Kerrville           TX     78028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kershaw County                                                 P.O. Box 622                                                                                     Camden               SC    29020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kershaw County E911 Tarriff                                    515 Walnut Street                                                                                Camden               SC    29020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kilgore Police Department                                      P.O. Box 3066                             907 N. Kilgore Street                                  Kilgore             TX     75663              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
King County Treasury                                           500 Fourth Ave., Rm 600                                                                          Seattle             WA     98104-2340         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
King William County                                            P.O. Box 156                                                                                     King William        VA     23086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kingfisher County Clerk                                        101 S. Main                               Room #3                                                Kingfisher          OK     73750              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kit Carson County                                              P.O. Box 160                                                                                     Burlington          CO     80807              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Klein ISD                                                      7200 Spring-Cypress Road                                                                         Klein               TX     77379              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Knox County Fiscal Court                                       P.O. Box 177                                                                                     Barbourville        KY     40906              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Knox County Treasurer                                          P.O. Box 173                                                                                     Barbourville        KY     40906              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Knox County Trustee                                            P.O. Box 70                                                                                      Knoxville           TN     37901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Kootenai County Treasurer                                      P.O. Box 9000                                                                                    Coeur D'alene        ID    83816-9000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
La Corporación de Financiamiento Municipal - Municipio de
Carolina                                                       P.O. Box 11877                            Fernandez Juncos Station                               San Juan            PR     00910               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Corporación de Financiamiento Municipal -Municipio de
Arecibo                                                        P.O. Box 1086                                                                                    Arecibo             PR     00613               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Corporación de Financiamiento Municipal -Municipio de
Mayaguez                                                       P.O. Box 1852                                                                                    Mayaguez            PR     00681-1852          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Corporación de Financiamiento Municipal -Municipio de
Ponce                                                          P.O. Box 331709                                                                                  Ponce               PR     00733-1709          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Corporación de Financiamiento Municipal -Municipio de San
Juan                                                           P.O. Box 70179                                                                                   San Juan            PR     00936-8179          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Corporación de Financiamiento Municipal -Municipio de
Yauco                                                          P.O. Box 42001                                                                                   San Juan           PR      00940-2001          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Crosse County                                               400 4th Street North                      Room 1290                                              La Crosse          WI      54601               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
La Vista City Clerk                                            8116 Parkview Blvd.                                                                              La Vista           NE      68128               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette County                                               P.O. Box 1240                                                                                    Oxford             MS      38655               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette County Treasurer                                     1 Courthouse Square                                                                              Lewisville         AR      71845               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette County Treasurer                                     1001 Main Street                                                                                 Lexington          MO      64067               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette Parish Communications District                       P.O. Box 82236                                                                                   Lafayette          LA      70598               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette Parish School System                                 P.O. Box 52706                                                                                   Lafayette          LA      70505-2706          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafayette Parish Tax Collector                                 P.O. Box 52667                                                                                   Lafayette          LA      70505               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafollette                                                     207 S. Tenn Ave.                                                                                 Lafollette         TN      37766               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafourche Parish Communications District                       111 Dunkleman Drive                       P.O. Box 1157                                          Raceland           LA      70394-9700          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafourche Parish Communications District                       P.O. Box 1157                                                                                    Raceland           LA      70394               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lafourche Parish School Board                                  P.O. Box 54585                                                                                   New Orleans        LA      70154               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Lake Stevens                                                   P.O. Box 257                                                                                     Lake Stevens       WA      98258               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                       Creditor Name                                          Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Lamar County                                      P.O. Box 1240                                                                                    Purvis              MS     39475              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lamar County Board of Commissioners               408 East Thomaston Street                                                                        Barnesville         GA     30204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lancaster County                                  P.O. Box 1809                                                                                    Lancaster            SC    29721              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lancaster County E911                             P.O. Box 1809                                                                                    Lancaster            SC    29721              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lancaster Police Department                       1650 N. Dallas Ave                                                                               Lancaster           TX     75134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lapeer County Treasurer                           255 Clay Street                           Suite 303                                              Lapeer              MI     48664              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laporte Sehrt Romig Hand                          10000 Perkins Rowe                        Suite 200                                              Baton Rouge         LA     70810              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laramie County                                    309 West 20th Street                      Suite 1300                                             Cheyenne            WY     82001-4452         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laramie County Treasurer--E911                    P.O. Box 125                                                                                     Cheyenne            WY     82003              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Larimer County                                    P.O. Box 578                                                                                     Fort Collins        CO     80522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Larimer County Treasurer                          P.O. Box 2336                                                                                    Fort Collins        CO     80522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Larimer Emergency Telephone Authority             P.O. Box 578                                                                                     Fort Collins        CO     80522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Larue County Fiscal Court                         209 West High Street, Courthouse                                                                 Hodgenville         KY     42748              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Las Animas County                                 P.O. Box 46                                                                                      Trinidad            CO     80182              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Latah County Treasurer                            P.O. Box 8068                                                                                    Moscow               ID    83843-0568         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Latimer County Treasurer                          109 N. Central                            Room 109                                               Wilburton           OK     74578              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lauderdale County                                 1300 26th Avenue                                                                                 Meridian            MS     39301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lauderdale County Trustee                         100 Court Square                                                                                 Ripley              TN     38063              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laurens County                                    P.O. Box 2011                                                                                    Dublin              GA     31040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laurens County 911                                P.O. Box 1396                                                                                    Laurens              SC    29360              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Laurens County Tax Commissioner                   P.O. Box 2099                                                                                    Dublin              GA     31040-2099         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrence County Board of Supervisors              P.O. Box 1160                                                                                    Monticello          MS     39654              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrence County E911                              P.O. Box 46                               1 East Courthouse Square                               Mount Vernon        MO     65712              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrence County Treasurer                         315 West Main                             Room 6                                                 Walnut Ridge        AR     72476              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrence County Treasurer                         E911                                      P.O. Box 566                                           Louisa              KY     41230              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrence County Trustee                           200 W Gaines St                                                                                  Lawrenceburg        TN     38464              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lawrenceburg City                                 25 Public Square                                                                                 Lawrenceburg        TN     38464              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Le Flore County Treasurer                         P.O. Box 100                                                                                     Poteau              OK     74953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Leake County 911                                  P.O. Drawer 72                                                                                   Carthage            MS     39051              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County                                        P.O. Box 1785                                                                                    Tupelo              MS     38802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County                                        P.O. Box 190                                                                                     Fort Madison         IA    52627              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County E911                                   P.O. Box 323                                                                                     Bishopville          SC    29010              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County Fiscal Court                           P.O. Box G                                                                                       Beattyville         KY     41311              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County Sheriff                                P.O. Box P                                                                                       Beattyville         KY     41311              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County Tax Collector                          P.O. Box 1609                                                                                    Ft. Myers            FL    33902-1609         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lee County Treasurer                              15 East Chestnut Street                                                                          Marianna            AR     72360              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Leflore County Clerk                              P.O. Box 250                                                                                     Greenwood           MS     38935-0250         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lemhi County 911                                  206 Courthouse Drive                                                                             Salmon               ID    83467              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lenawee County Central Dispatch                   405 North Winter Street                                                                          Adrian              MI     49221              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lenoir City Treasurer                             P.O. Box 445                                                                                     Lenoir City         TN     37771              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Letcher County Fiscal Court                       156 Main St                               Ste 107                                                Whitesburg          KY     41858              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Letcher County Sheriff                            6 Broadway St                                                                                    Whitesburg          KY     41858              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lewis County                                      112 2nd Street                            Room 201                                               Vanceburg           KY     41179              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lewis County Commission                           110 Center Avenue                                                                                Weston              WV     26452              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lewis County Treasurer                            7660 State Street                                                                                Lowville            NY     13367              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lewisburg City                                    P.O. Box 1968                                                                                    Lewisburg           TN     37091              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lexington County                                  212 South Lake Drive                      Suite B02                                              Lexington            SC    29072              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lexington-Fayette Urban County Government         200 East Main Street                                                                             Lexington           KY     40507              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lexington-Fayette Urban County Government         Division of Enhanced 9-1-1                200 East Main St Rm 313                                Lexington           KY     40507              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lexington-Fayette Urban County Gov't              200 E Main Street                         Rm 313                                                 Lexington           KY     40507              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Liberty County Board of Commissioners             100 North Main Street, Suite 1510                                                                Hinesville          GA     31313              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County                                    300 South Drew Street                     Room 20                                                Star City           AR     71667              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County                                    301 South First Street                    Room 202                                               Brookhaven          MS     39601              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County                                    E911 Authority                            P.O. Box 527                                           Chandler            OK     74834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County                                    P.O. Box 555                                                                                     Brookhaven          MS     39602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County 911                                250 W College St                                                                                 Troy                MO     63379              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County E911                               201 Main Street                                                                                  Troy                MO     63379              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln County Trustee                            112 Main Avenue South                                                                            Fayetteville        TN     37334-3032         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln Parish Communications District            P.O. Box 979                                                                                     Ruston              LA     71273              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lincoln Parish Sales and Use Tax Commission       P.O. Box 863                                                                                     Ruston              LA     71273-0863         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Linn County                                       P.O. Box 669                                                                                     Cedar Rapids         IA    52406              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Little River County                               351 North 2nd Street                                                                             Ashdown             AR     71822              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston County                                 300 South Highlander Way                                                                         Howell              MI     48843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston County E-911                           P.O. Box 70                               Livingston County Judge Executive Office               Smithland           KY     42081              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston County Treasurer                       200 East Grand River                                                                             Howell              MI     48843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston County Treasurer                       6 Court Street                            Room 203                                               Geneseo             NY     14454              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston Parish                                 P.O. Box 1117                                                                                    Denham Springs      LA     70727              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Livingston Parish School Board                    P.O. Box 1030                                                                                    Livingston          LA     70754-1030         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Local E911's Informational Return                 Customer Service Bureau                   P.O. Box 8949                                          Madison             WI     53708-8949         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                                                                                 Disputed
                                                                                                                                                                                                         Date Debt was     Specify Code Subsection
                                                                                                                                                                                                         Incurred, Basis    of Priority Unsecured
                       Creditor Name                                                  Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Logan County Treasurer                                 P.O. Box 365                                                                                        Russellville        KY     42276              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Longview Utility\ Business and Occupation Tax          P.O. 128                                                                                            Longview            WA     98632              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lonoke County E911                                     210 North Center Street                                                                             Lonoke              AR     72086-2847         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Los Angeles County Tax Collector                       P.O. Box 54018                                                                                      Los Angeles         CA     90054-0018         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Los Angeles County Treasurer & Tax Collector           P.O. Box 30909                                                                                      Los Angeles         CA     90030-0909         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Loudon County                                          1 Harrison Street, S.E., 5th Floor           Mailstop #32B                                          Leesburg            VA     20175              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Loudon County Trustee                                  P.O. Box 351                                                                                        Loudon              TN     37774              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Louisiana Department of Revenue                        617 3rd St                                                                                          Baton Rouge         LA     70802              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Louisiana Department of Revenue                        P.O. Box 201                                                                                        Baton Rouge         LA     70821-0201         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Louisiana Department of Revenue                        P.O. Box 3138                                                                                       Baton Rouge         LA     70821-3138         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Louisville/Jefferson County Metro Revenue Commission   P.O. Box 35410                                                                                      Louisville          KY     40232-5410         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Louisville-Jefferson County Metro Government           611 West Jefferson Street                    1st Floor                                              Louisville          KY     40202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Love County                                            405 W. Main Street                           Suite 203                                              Marietta            OK     73448              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lowndes County                                         P.O. Box 1349                                                                                       Valdosta            GA     31603-1349         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lubbock County                                         6032 43rd Street                                                                                    Lubbock             TX     79407-3711         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lucus County E911                                      916 Braden Ave                                                                                      Chariton             IA    50049              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lumpkin County Board of Commissioners                  99 Courthouse Hill                           Suite D                                                Dahlonega           GA     30533              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lydia McEvoy                                           1 Courthouse Square                                                                                 Liberty             MO     64068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lyon County E911                                       27 South Main Street                                                                                Yerington           NV     89447              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Lyon County Treasurer                                  P.O. Box 747                                                                                        Emporia              KS    66801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
MA Department of Telecommunications and Cable          1000 Washington Street                       Suite 820                                              Boston              MA     02118-6500         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Macon-Bibb County                                      P.O. Box 247                                                                                        Macon               GA     31202-0247         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Macon-Bibb County Tax Commissioner                     P.O. Box 4724                                                                                       Macon               GA     31208-4724         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison Co. Board of Commissioners                     P.O. Box 147                                                                                        Danielsville        GA     30633-0147         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County                                         P.O. Box 608                                                                                        Canton              MS     39046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County 911                                     P.O. Box 1268                                                                                       Richmond            KY     40475              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County E911                                    P.O. Box 608                                                                                        Canton              MS     39046              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County E-9-1-1                                 P.O. Box 329                                                                                        Huntsville          AR     72740              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County Fiscal Court                            P.O. Box 1120                                                                                       Richmond            KY     40476              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County Sales Tax Department                    100 North Side Square                                                                               Huntsville          AL     35801-4820         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County Treasurer                               P.O. Box 665                                                                                        Wampsville          NY     13163-0668         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison County Trustee                                 100 E Main St                                                                                       Jackson             TN     38301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison Parish Communications District (E-911)         402 East Green Street                        Courthouse Annex Building                              Tallulah            LA     71282              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madison Parish School Board                            P.O. Box 1830                                                                                       Tallulah            LA     71284-1830         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Madisonville City Clerk Office                         P.O. Box 705                                                                                        Madisonville        KY     42431              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mahaska County                                         214 High Ave. East                                                                                  Oskaloosa            IA    52577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maine Funds                                            P.O. Box 62276                                                                                      Baltimore           MD     21264-2276         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maine Revenue Services                                 51 Commerce Dr                                                                                      Augusta             ME     04330              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maine Revenue Services                                 P.O. Box 1065                                                                                       Augusta             ME     04332-1065         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maine TEAF & ConnectME Fund                            P.O. Box 232                                                                                        Lewiston            ME     04243-0232         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Major County - 911                                     P.O. Box 455                                                                                        Fairview            OK     73737              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Manager of Finance                                     P.O. Box 660859                                                                                     Dallas              TX     75266-0859         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marathon County                                        500 Forest Street                                                                                   Wausau              WI     54403              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maricopa County Treasurer                              P.O. Box 52133                                                                                      Phoenix             AZ     85072-2133         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maries County Treasurer                                P.O. Box 104                                                                                        Vienna              MO     65582              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marion County                                          200 Jackson Street                           Room 403                                               Fairmont            WV     26554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marion County                                          P.O. Box 183                                                                                        Marion               SC    29571              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marion County 911                                      250 Broad Street                             Suite 2                                                Columbia            MS     39429              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marion County Treasurer                                P.O. Box 6145                                                                                       Indianapolis         IN    46206-6145         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marlboro County                                        205 Market St.                               P.O. Box 419                                           Bennettsville        SC    29512              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marlow City Clerk                                      115 North 2nd Street                                                                                Marlow              OK     73055-2405         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marshall County Collector                              1102 Courthouse Annex                                                                               Lewisburg           TN     37091              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marshall County E911                                   P.O. Box 219                                                                                        Holly Springs       MS     38635              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marshall County Treasurer                              Courthouse                                   Room 104                                               Madill              OK     73446              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Marshall County Treasurer's Office                     RE: 911                                      P.O. Box 114                                           Benton              KY     42025              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Martin County                                          P.O. Box 366                                 Route 4                                                Inez                KY     41224              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maryland Office of the Comptroller                     110 Carroll Street                                                                                  Annapolis           MD     21411-0001         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maryland Public Service Commission                     6 Saint Paul Street, 16th Floor                                                                     Baltimore           MD     21202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maryville City Hall                                    P.O. Box 438                                                                                        Maryville           MO     64468              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
MASC Telecommunications Tax Collection Program         P.O. Box 531733                                                                                     Atlanta             GA     30353-1733         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mason County Schools                                   P.O. Box 130                                                                                        Maysville           KY     41056              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mass. Dept. of Revenue                                 P.O. Box 7015                                                                                       Boston              MA     02204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Massachusetts Department of Revenue                    100 Cambridge Street                                                                                Boston              MA     02114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Massachusetts Department of Revenue                    P.O. Box 7039                                                                                       Boston              MA     02204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Maury County                                           One Public Square                                                                                   Columbia            TN     38401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mayes County Clerk                                     1 Court PL                                   Suite 12                                               Pryor               OK     74361-1012         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McClain County 911                                     P.O. Box 922                                                                                        Purcell             OK     73080              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McCurtain County 911 Trust Authority                   827 East Lincoln Road                                                                               Idabel              OK     74745              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McDuffie County Board of Commissioners                 210 Rail Road Street                                                                                Thomson             GA     30824              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                                                                           Disputed
                                                                                                                                                                                                   Date Debt was     Specify Code Subsection
                                                                                                                                                                                                   Incurred, Basis    of Priority Unsecured
                      Creditor Name                                            Address1                             Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
McIntosh County                                    P.O. Box 110                                                                                      Eufaula             OK     74432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McIntosh County 911 Trust Authority                1425 Industrial Drive                                                                             Eufaula             OK     74432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McIntosh County Board of Commissioners             P.O. Box 584                                                                                      Darien              GA     31305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McKenzie County Treasurer                          201 5th Street North West                 Suite 504                                               Watford City        ND     58854              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McLean County Fiscal Court                         P.O. Box 127                                                                                      Calhoun             KY     42327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McLean County Fiscal Court E911                    P.O. Box 127                                                                                      Calhoun             KY     42327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McLennan County                                    107 Burnett Court                                                                                 Woodway             TX     76712              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McMinn County Trustee                              6 E Madison Avenue                                                                                Athens              TN     37303-3659         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
McNairy County Trustee                             170 Court Ave Rm 103                                                                              Selmer              TN     38375              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
MDA Professional Group                             1 Commerce Street                         Suite 620                                               Montgomery          AL     36104              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Meade County Fiscal Court                          516 Hillcrest Dr.                                                                                 Brandenburg         KY     40108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mecosta County                                     20701 Northland Drive                                                                             Paris               MI     49338              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Medina County 911 District                         1613 Avenue K                             Suite 101                                               Hondo               TX     78861              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mercer County                                      207 West Lexington Street                                                                         Harrodsburg         KY     40330              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Meriden City                                       142 East Main Street,                                                                             Meriden             CT     06450              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Meriweather Co. Board of Commissioners             P.O. Box 428                                                                                      Greenville          GA     30222              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Miami-Dade Co Tax Collector                        200 NW 2nd Avenue                                                                                 Miami                FL    33128              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Michigan Department of Treasury                    Department 78172                          P.O. Box 7800                                           Detroit             MI     48278-0172         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Michigan Department of Treasury                    P.O. Box 30774                                                                                    Lansing             MI     48909-8274         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Michigan Department of Treasury                    P.O. Box 30781                                                                                    Lansing             MI     48909-8281         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Middle Flint Regional E911 Authority               P.O. Box 449                                                                                      Ellaville           GA     31806              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Midland County                                     1110 West Wall Street                     Bldg. O-208                                             Midland             TX     79701-5357         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Miller County E911                                 P.O. Box 24                                                                                       Tuscumbia           MO     65082              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Milwaukee City                                     P.O. Box 78776                                                                                    Milwaukee           WI     53278-0776         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Milwaukee County                                   821 W State Street                                                                                Milwaukee           WI     53233              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Minnesota Department of Revenue                    600 Robert St N                                                                                   St Paul             MN     55101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Minnesota Department of Revenue                    P.O. Box 64622                            Main Station 111                                        St. Paul            MN     55146-0622         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi County E911                            200 West Walnut Street                                                                            Blytheville         AR     72315              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi County Treasurer                       P.O. Box 369                                                                                      Charleston          MO     63834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi Department of Revenue                  P.O. Box 1033                                                                                     Jackson             MS     39215-1033         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi Department of Revenue                  P.O. Box 23191                                                                                    Jackson             MS     39225-3191         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi Public Service Commission              P.O. Box 1174                                                                                     Jackson             MS     39215-1174         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mississippi Tax Commission                         P.O. Box 960                                                                                      Jackson             MS     39205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Missouri Department of Revenue                     P.O. Box 155                                                                                      Jefferson City      MO     65105-0155         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Missouri Department of Revenue                     P.O. Box 3365                                                                                     Jefferson City      MO     65105-3365         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Missouri Department of Revenue                     P.O. Box 840                                                                                      Jefferson City      MO     65105-0840         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Missouri Public Service Commission                 P.O. Box 360                                                                                      Jefferson City      MO     65102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Missouri Universal Service Fund                    P.O. Box 752                                                                                      Jefferson City      MO     65102-0752         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monongalia County                                  243 High Street                                                                                   Morgantown          WV     26505              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe Co. Board of Commissioners                  P.O. Box 189                                                                                      Forsyth             GA     31029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County                                      39 West Main Street                       Room 401                                                Rochester           NY     14614              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County                                      987 S. Raisinville Road                                                                           Monroe              MI     48161              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County 911                                  P.O. Box 578                                                                                      Aberdeen            MS     39730              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County Auditor                              10 Benton Ave, East                                                                               Albia                IA    52531              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County E911 Center                          529 Capp Harlan                                                                                   Thompkinsville      KY     42167              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County Treasurer                            123 Madison                                                                                       Clarendon           AR     72029              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Monroe County Trustee                              103 College St. S                                                                                 Madisonville        TN     37354              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montana Department of Revenue                      P.O. Box 5805                                                                                     Helena              MT     59604-5805         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montana Department of Revenue                      P.O. Box 5835                                                                                     Helena              MT     59604-5835         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montana Department of Revenue                      P.O. Box 8021                                                                                     Helena              MT     59604-8021         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montcalm County Central Dispatch                   657 North State Street                                                                            Stanton             MI     48888              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery Co MUD #06                              P.O. Box 7829                                                                                     The Woodlands       TX     77387-7829         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery Co MUD #19                              11111 Katy Freeway                                                                                Houston             TX     77079-2197         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery Co MUD #36                              P.O. Box 7829                                                                                     The Woodlands       TX     77387-7580         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County                                  255 Rockville Pike                        Suite L-15                                              Rockville           MD     20850              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County                                  P.O. Box 295                                                                                      Mt. Vernon          GA     30445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County                                  P.O. Box 4779                                                                                     Montgomery          AL     36103-4779         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County                                  P.O. Box 71                                                                                       Winona              MS     38967              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County                                  P.O. Box 824860                                                                                   Philadelphia        PA     19182-4860         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County Department of Finance            255 Rockville Pike                        #L15                                                    Rockville           MD     20850              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County E911                             225 Oak Grove Drive                                                                               Mount Sterling      KY     40353              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County E911                             County Courthouse                         211 E. Third Street                                     Montgomery City     MO     63361              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County ECD                              P.O. Box 1830                                                                                     Conroe              TX     77305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County MUD #47                          P.O. Box 7829                                                                                     The Woodlands       TX     77387-7829         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County Sheriff                          1 Court Street                                                                                    Mount Sterling      KY     40353              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County Tax Assessor/Collector           400 North San Jacinto St.                                                                         Conroe              TX     77301-2823         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County Treasurer                        P.O. Box 1500                                                                                     Fonda               NY     12068-1500         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery County Trustee                          P.O. Box 1005                                                                                     Clarksville         TN     37041              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Montgomery Cty Emergency Communications District   P.O. Box 1830                                                                                     Conroe              TX     77305              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                       Claim subject to offset?
                                                                                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                                                                                Contingent


                                                                                                                                                                                                                                                                            Disputed
                                                                                                                                                                                                    Date Debt was     Specify Code Subsection
                                                                                                                                                                                                    Incurred, Basis    of Priority Unsecured
                         Creditor Name                                       Address1                               Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Morehouse Parish Communications District          911 - Morehouse Parish                       P.O. Box 509                                          Bastrop              LA     71220              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Morehouse Sales and Use Tax Commission            P.O. Box 672                                                                                       Bastrop              LA     71221-0672         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Morgan County                                     P.O. Box 168                                                                                       Madison              GA     30650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Morgan County                                     P.O. Box 1848                                                                                      Decatur              AL     35602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Morgan County Treasurer                           100 East Newton                                                                                    Versailles           MO     65084              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Morton County Treasurer                           210 2nd Ave NW                                                                                     Mandan               ND     58554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Moscow City                                       206 East Third Street                                                                              Moscow                ID    83843              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Mountrail County Treasurer                        P.O. Box 69                                                                                        Stanley              ND     58784-0069         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Muhlenberg County Fiscal Court                    E911                                         P.O. Box 137                                          Greenville           KY     42345              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Muhlenberg County Fiscal Court                    P.O. Box 137                                                                                       Greenville           KY     42345              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Multnomah County Tax Collector                    Division of Assessment & Taxation            111 SW Columbia, Suite 600                            Portland             OR     97208-2716         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Murfreesboro City Tax Collector                   P.O. Box 1139                                                                                      Murfreesboro         TN     37133-1139         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Murray County 911                                 P.O. Box 1129                                                                                      Chatsworth           GA     30705              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Murray County E911 Board                          P.O. Box 594                                                                                       Sulphur              OK     73086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Muscatine County                                  401 E. 3rd St.                                                                                     Muscatine             IA    52761              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Muskegon County                                   770 Terrace Street                                                                                 Muskegon             MI     49440              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Muskogee City-County 911                          P.O. Box 1911                                                                                      Muskogee             OK     74402              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nampa Police Department                           820 2nd Street S                                                                                   Nampa                 ID    83651              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nassau County Police Department                   1194 Prospect Avenue                                                                               Westbury             NY     11590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Natchitoches Parish                               P.O. Box 639                                                                                       Natchitoches         LA     71458-0639         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Natchitoches Parish Communications District       P.O. Box 1411                                                                                      Natchitoches         LA     71458-1411         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Natrona County                                    P.O. Box 2290                                                                                      Casper               WY     82602-2290         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NC 911 Board                                      P.O. Box 17209                                                                                     Raleigh              NC     27619-7209         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NC Wireless 911 Board                             Information Technology Service               P.O. Box 17209                                        Raleigh              NC     27619-7209         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nebraska Department of Revenue                    1313 Farnam St #10                                                                                 Omaha                NE     68102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nebraska Department of Revenue                    P.O. Box 98923                                                                                     Lincoln              NE     68509-8923         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nebraska Public Service Commission                300 The Atrium, 1200 N Street                P.O. Box 94927                                        Lincoln              NE     68509-4927         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Neshoba County 911                                401 Beacon Street                            Suite 201                                             Philadelphia         MS     39350-2954         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nevada County                                     Nevada County Courthouse                                                                           Prescott             AR     71857              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nevada Department of Taxation                     2550 Paseo Verde Pkwy #180                                                                         Henderson            NV     89074              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nevada Department of Taxation                     P.O. Box 7165                                                                                      San Francisco        CA     94120-7165         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Hampshire Department of Revenue               109 Pleasant St                                                                                    Concord              NH     03301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Hampshire Public Utilities Commission         21 South Fruit Street, Suite 10                                                                    Concord              NH     03301-2429         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Jersey Department of Treasury                 P.O. Box 002                                                                                       Trenton               NJ    08625-0002         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Jersey Division of Taxation                   P.O. Box 999                                                                                       Trenton               NJ    08646-0999         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Madrid County Treasurer                       P.O. Box 68                                                                                        New Madrid           MO     63869              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Market Town Treasurer                         P.O. Box 58                                                                                        New Market           VA     22844              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Mexico Taxation & Revenue Department          P.O. Box 25123                                                                                     Santa Fe             NM     87504              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Mexico Taxation and Revenue Department        P.O. Box 25127                                                                                     Santa Fe             NM     87504-5127         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New Mexico USF                                    GVNW Consulting, Inc.                        P.O. Box 27561                                        Albuquerque          NM     87125-7561         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New York City                                     P.O. Box 5564                                                                                      Binghamton           NY     13902-5564         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NEW YORK CITY OF FINANCE                          ONE CENTER STREET                            22ND FLOOR                                            NEW YORK             NY     10007              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New York State Sales Tax                          NYS Sales Tax Processing                     P.O. Box 15172                                        Albany               NY     12212-5172         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
New York State Sales Tax                          NYS Sales Tax Processing                     P.O. Box 15174                                        Albany               NY     12212-5174         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newaygo County                                    P.O. Box 885                                                                                       White Cloud          MI     49349              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newberry County                                   P.O. Box 156                                                                                       Newberry              SC    29108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newberry County                                   P.O. Box 206                                                                                       Newberry              SC    29108-0206         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newport City Tax Collector                        P.O. Box 370                                                                                       Newport              TN     37821              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newport News City County                          2400 Washington Ave.                                                                               Newport News         VA     23607              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newton County Board of Commissioners              1113 Usher Street, Suite 204                                                                       Covington            GA     30014              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newton County E911                                Attn: E911 Coordinator                       P.O. Box 629                                          Decatur              MS     39327              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Newton County, MO                                 308 North Jefferson Street                                                                         Neosho               MO     64850              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nez Perce County                                  P.O. Box 896                                                                                       Lewiston              ID    83501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NH Dept of Revenue Administration                 P.O. Box 637                                                                                       Concord              NH     03302-0637         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Niagara County Treasurer                          59 Park Ave                                                                                        Lockport             NY     14094              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Nicholas County                                   700 Main Street                                                                                    Summersville         WV     26651              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NM USF                                            P.O. Box 27561                                                                                     Albuquerque          NM     87125-7561         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Noble County Treasurer                            300 Courthouse Drive                         #7                                                    Perry                OK     73077              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Carolina 911 Board                          NC Department of Information Technology      P.O. Box 17209                                        Raleigh              NC     27619-7209         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Carolina Department of Revenue              P.O. Box 25000                                                                                     Raleigh              NC     27640-0520         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Central Texas Emergency Comm District       P.O. Box 5888                                                                                      Arlington            TX     76005-5888         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Dakota Association of Counties              P.O. Box 877                                                                                       Bismarck             ND     58502-0877         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Dakota Department of Revenue                600 E. Boulevard Ave., Dept. 127                                                                   Bismarck             ND     58505-0599         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
North Kansas City                                 2010 Howell Street                                                                                 North Kansas City    MO     64116              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Northeast OK E911 Trust Auth (NOETA)              18930 S Hwy 88                                                                                     Claremore            OK     74017              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Noxubee County E911                               P.O. Box 147                                                                                       Macon                MS     39341              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NV USF                                            P.O. Box 360343                                                                                    Pittsburg            PA     15251-6343         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYC Department of Finance                         P.O. Box 3933                                                                                      New York             NY     10008-3933         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYC Department of Finance                         P.O. Box 5564                                                                                      Binghamton           NY     13902-5564         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                        Creditor Name                                          Address1                                            Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
NYE County                                          P.O. Box 473                                                                                                   Tonopah             NV     89049              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYS Corporation Tax                                 P.O. Box 15181                                                                                                 Albany              NY     12212-5181         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYS Corporation Tax                                 P.O. Box 22038                                                                                                 Albany              NY     12201-2038         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYS Estimated Corporation Tax                       P.O. Box 4136                                                                                                  Binghamton          NY     13902-4136         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
NYS TAX Department                                  RPC-WCS-1                                               P.O. Box 15193                                         Albany              NY     12212-5193         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
O.C. Emer. Communications                           Attn: Roxanne Horton                                    265 Main Street                                        Goshen              NY     10924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oakland County                                      2100 Pontiace Lake Road                                 Bldg 41W                                               Waterford           MI     48328              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oakland County Information Technology               1200 N.Telegraph                                        Dept 421 Bldg. 49 W                                    Pontiac             MI     48341-0479         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oconee County Board of Commissioners                P.O. Box 1527                                                                                                  Watkinsville        GA     30677              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oconee County Communications--911                   415 S. Pine Street                                                                                             Walhalla             SC    29691              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Office of Budget and Finance                        400 Washington Avenue                                   Room 15                                                Towson              MD     21204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Office of Emergency Management                      555 Palmer Street                                                                                              Delta               CO     81416              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Office of the County Comptroller                    100 Veterans Memorial Highway                           9th Floor                                              Hauppauge           NY     11788-0099         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Office of the County Comptroller                    H. Lee Dennison Building, 9th Floor                     100 Veterans Memorial Highway, P.O Box 6100            Hauppauge           NY     11788-0099         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Office of The Fayette County Sheriff's              P.O. Box 34148                                                                                                 Lexington           KY     40588-4148         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ohio County Treasurer                               130 East Washington Street                              Suite 215                                              Hartford            KY     42347              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ohio Department of Taxation                         P.O. Box 16560                                                                                                 Columbus            OH     43216-6560         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ohio Department of Taxation                         P.O. Box 16561                                          4485 Northland Ridge Blvd.                             Columbus            OH     43229              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ohio Department of Taxation                         P.O. Box 27                                                                                                    Columbus            OH     43216-0027         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
OK USF                                              P.O. Box 271446                                                                                                Oklahoma City       OK     73137              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Okfuskee County                                     RE: E911                                                P.O. Box 26                                            Okemah              OK     74859              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Okitbbeha County Board of Supervisors               P.O. Box 80285                                                                                                 Starkville          MS     39759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oklahoma High Cost Fund                             P.O. Box 99784                                                                                                 Oklahoma City       OK     73102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oklahoma Tax Commission                             P.O. Box 26800                                                                                                 Oklahoma City       OK     73126-0890         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oklahoma Universal Service Fund                     First Fidelity Bank, N.A.                               P.O. Box 271446                                        Oklahoma City       OK     73137              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Okmulgee County Treasurer                           314 West 7th Street                                     Room 201                                               Okmulgee            OK     74447              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oktibbeha County                                    100 Jefferson Street                                                                                           Starkville          MS     39759              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oldham County Fiscal Court                          100 West Jefferson St.                                                                                         Lagrange            KY     40031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Onondaga County                                     421 Montgomery Street                                   15th Floor                                             Syracuse            NY     13202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Onondaga County                                     John H. Mulroy Civic Center                             421 Montgomery Street                                  Syracuse            NY     13202              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ontario County Finance Department                   3019 County Complex Drive                                                                                      Canandaigua         NY     14424              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ontario County Treasurer                            20 Ontario Street                                                                                              Canandaigua         NY     14424              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Orange County                                       30 Matthews Street                                      Suite 102                                              Goshen              NY     10924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Orange County Finance Department                    255-265 Main Street                                                                                            Goshen              NY     10924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Orangeburg County                                   P.O. Drawer 9000                                                                                               Orangeburg           SC    29116-9000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oregon Department of Revenue                        P.O. Box 14110                                                                                                 Salem               OR     97309-0910         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oregon Department of Revenue                        P.O. Box 14780                                                                                                 Salem               OR     97309-0469         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oregon Public Utility Commission                    P.O. Box 2153                                                                                                  Salem               OR     97308-2153         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Orleans County Treasurer                            RE: 9-1-1                                               34 East Park Street                                    Albion              NY     14411              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Orleans Parish Communication District               118 City Park Avenue                                                                                           New Orleans         LA     70119              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Osage County E911                                   121 East 6th Street                                                                                            Pawhuska            OK     74056              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Oswego County Treasurer                             46 E. Bridge Street                                                                                            Oswego              NY     13126              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
OTA/TRS Fund                                        3800 N. Classen Boulevard                               Suite 215                                              Oklahoma City       OK     73118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Otsego County Treasurer                             197 Main Street                                                                                                Cooperstown         NY     13326              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ottawa County 911                                   P.O. Box 880                                                                                                   Miami               OK     74355              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ouachita County                                     Ouachita County Courthouse                              145 Jefferson St. SW                                   Camden              AR     71701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ouachita Parish                                     P.O. Box 123                                                                                                   Monroe              LA     71210-0123         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ouachita Parish 9-1-1 Communications District       800 Coleman Ave                                                                                                West Monroe         LA     71292              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ouachita Parish Comm Dist                           P.O. Box 1010                                                                                                  West Monroe         LA     71294              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Owen County Fiscal Court                            100 North Thomas Street                                                                                        Owenton             KY     40359              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Owen County Sheriff                                 102 North Madison St                                                                                           Owenton             KY     40359              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Owensboro - Daviess County Central Dispatch         222 E 9th Street                                                                                               Owensboro           KY     42303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Owyhee County                                       County Clerks Office                                    20381 ID-78                                            Murphy               ID    83650              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ozaukee County WI                                   121 W Main Street                                                                                              Port Washington     WI     53074              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
PA Department of Revenue                            P.O. Box 280407                                                                                                Harrisburg          PA     17128-0407         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pacific City Treasurer                              100 3rd Avenue SE                                                                                              Pacific             WA     98047              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
PADD E-911 Admin Board                              P.O. Box 588                                                                                                   Mayfield            KY     42066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Paducah-McCracken County E-911                      510 Clark Street                                                                                               Paducah             KY     42003-1710         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Page County                                         112 E. Main St.                                                                                                Clarinda             IA    51632              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Panola County                                       151 Public Square                                                                                              Batesville          MS     38606              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Panola County Administrator                         P.O. Box 807                                                                                                   Batesville          MS     38606              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Paris City                                          P.O. Box 970                                                                                                   Paris               TN     38242              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish and City Treasurer                           P.O. Box 2590                                                                                                  Baton Rouge         LA     70821-2590         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of Caldwell Sales Tax Fund                   P.O. Box 280                                                                                                   Vidalia             LA     71373              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of East Baton Rouge                          P.O. Box 2590                                                                                                  Baton Rouge         LA     70821-2590         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of Jefferson                                 Attn:Telecommunications/911 Communication District      P.O. Box 9                                             Gretna              LA     70054-0009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of Jefferson                                 P.O. Box 9                                                                                                     Gretna              LA     70054-0009         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of St. Charles                               P.O. Box 302                                            P.O. Box 426                                           Hahnville           LA     70057              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of St. Tammany                               P.O. Box 61041                                                                                                 New Orleans         LA     70161-1041         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                   Unliquidated
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                                                                                                                                                                                                                                                                                  Disputed
                                                                                                                                                                                                          Date Debt was     Specify Code Subsection
                                                                                                                                                                                                          Incurred, Basis    of Priority Unsecured
                          Creditor Name                                                Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Parish of Terrebonne Sales Tax Fund                       P.O. Box 670                                                                                      Houma               LA     70361-0670         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parish of West Baton Rouge                                P.O. Box 86                                                                                       Port Allen          LA     70767-0086         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Park County                                               1131 11th Street                                                                                  Cody                WY     82414-3532         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Park County                                               P.O. Box 1947                                                                                     Fairplay            CO     80440              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Parker County Appraisal District                          1108 Santa Fe Drive                                                                               Weatherford         TX     76086-5818         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pasadena ISD                                              P.O. Box 1318                                                                                     Pasadena            TX     77501-1318         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Paulding County                                           240 Constitution Blvd                                                                             Dallas              GA     30132              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pawnee County Clerk                                       500 Harrison Street,                       Room 202 County Courthouse                             Pawnee              OK     74058-2507         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Payne County Commissioners                                315 W. 6th                                 Suite 203                                              Stillwater          OK     74074-4080         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
PCEMA                                                     Polk County Sheriff's Office               1985 NE 51st Place                                     Des Moines           IA    50313              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
PEAC                                                      P.O. Box 408                                                                                      Princeton           KY     42445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Peach County                                              213 Pearsons Street                                                                               Fort Valley         GA     31030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pearl River County 911                                    P.O. Box 431                                                                                      Poplarville         MS     39470              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pemiscot County Treasurer                                 610 Ward Avenue                                                                                   Caruthersville      MO     63830              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pendleton County E911                                     223 Main St.                                                                                      Falmouth            KY     41040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania Department of Revenue                        Dept 28046                                                                                        Harrisburg          PA     17128-0406         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania Department of Revenue                        P.O. Box 280407                                                                                   Harrisburg          PA     17128-0407         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania Department of Revenue                        P.O. Box 280425                                                                                   Harrisburg          PA     17128-0425         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania Public Utility Commission                    400 North Street                                                                                  Harrisburg          PA     17120              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania TRS Fund                                     50 S. 16th Street                          Suite 200                                              Philadelphia        PA     19102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pennsylvania TRS Fund                                     Attn: Dina Buccieri                        50 S. 16th Street, Suite 2000                          Philadelphia        PA     19102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County                                              P.O. Box 198                                                                                      New Augusta         MS     39462              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County 911                                          481 Main Street                            Suite 300                                              Hazard              KY     41701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County E911                                         105 North Main Street                                                                             New Lexington       OH     43764              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County Treasurer                                    321 North Main                             Suite 3                                                Perryville          MO     63775-1315         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County Treasurer                                    Attn: E911                                 P.O. Drawer 210                                        Hazard              KY     41701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Perry County Treasurer                                    P.O. Drawer 210                                                                                   Hazard              KY     41701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pettis County Treasurer                                   319 S Lamine Street                        Suite 10 - Pettis County Emergency Management          Sedalia             MO     65301              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Phillips County Treasurer                                 620 Cherry Street                          # 204                                                  Helena              AR     72342              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pickens County                                            222 McDaniel Avenue                        B-11                                                   Pickens              SC    29671              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pickens County Government                                 1266 East Church Street, Suite 175                                                                Jasper              GA     30143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pierce County Finance                                     P.O. Box 11621                                                                                    Tacoma              WA     98411-6621         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pike County 911                                           P.O. Box 431                                                                                      Magnolia            MS     39652              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pike County 911 Office                                    1602 Business Hwy. 54 W.                                                                          Bowling Green       MO     63334              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pike County Sheriff                                       P.O. Box 839                                                                                      Pikeville           KY     41502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pittsburg County                                          115 East Carl Albert Pkwy                  Room 100                                               Mcalester           OK     74501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pittsburg County E911                                     115 E. Carl Albert Parkway                 Room 100                                               McAlester           OK     74501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Placer County Tax Collector                               2976 Richardson Drive                                                                             Auburn              CA     95603              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Plano Public Safety Communications                        P.O. Box 860358                                                                                   Plano               TX     75086-0358         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Plaquemines Parish Government                             8056 Hwy 23                                Suite 308                                              Belle Chasse        LA     70037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Plaquemines Parish Sales Tax Division                     333 F. Edward Hebert Blvd.                 Building 102, Suite 345                                Belle Chasse        LA     70037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Platte County Treasurer                                   415 Third Street                           Suite 117                                              Platte City         MO     64079              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Platte County Treasurer E911                              415 3rd Street, Room 117                                                                          Platte City         MO     64079              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Plymouth County Auditor                                   215 4th Avenue SE                                                                                 Le Mars              IA    51031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Poinsett County                                           401 Market Street                                                                                 Harrisburg          AR     72432              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pointe Coupee Parish Communications District              P.O. Box 248                                                                                      New Roads           LA     70760              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pointe Coupee Parish Sales Tax                            P.O. Box 290                                                                                      New Roads           LA     70760-0290         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Polk Co. Board of Commissioners                           P.O. Box 268                                                                                      Cedartown           GA     30125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Polk County                                               507 Church Street                                                                                 Mena                AR     71953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Polk County                                               P.O. Box 268                                                                                      Cedartown           GA     30125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Polk County Auditor                                       111 Court Avenue                                                                                  Des Moines           IA    50309              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pontotoc County Clerk                                     18 S Liberty St.                                                                                  Pontotoc            MS     38863              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pontotoc County Clerk                                     Attn: E911                                 18 S Liberty St.                                       Pontotoc            MS     38863              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pope County Treasurer's Office                            100 West Main Street                                                                              Russellville        AR     72801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Portage County                                            1500 Strongs Ave.                                                                                 Stevens Point       WI     54481-3542         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Portsmouth City Treasurer                                 801 Crawford Street                                                                               Portsmouth          VA     23704-3872         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Portsmouth City Treasurer                                 P.O. Box 7847                                                                                     Richmond            VA     23707-0847         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pottawatomie County Enhanced 911 System                   14101 Acme Rd.                                                                                    Shawnee             OK     74804              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pottawattamie County                                      227 South 6th Street                                                                              Council Bluffs       IA    51501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Potter/Randall Cty Emergency Comm. District               405 West 8th                                                                                      Amarillo            TX     79101-2215         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined

Potter-Randall County Emergency Communications District   Attn: Robbyn Hart                          405 Southwest 8th Avenue                               Amarillo           TX      79101-2215          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Powell County                                             P.O. Box 489                                                                                      Stanton            KY      40380               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Prentiss County 911                                       P.O. Box 477                                                                                      Booneville         MS      38829               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Preston County                                            300 Rich Wolfe Drive                                                                              Kingwood           WV      26537               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Prince George's County Government                         14741 Governor Oden Bowie Dr.              Ste. 1090                                              Upper Marlboro     MD      20772               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Public Regulation Commission                              1120 Paseo de Peralta                                                                             Santa Fe           NM      87504-1269          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Public Service Taxation Division                          P.O. Box 1197                                                                                     Richmond           VA      23218               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Public Utilities Commission of Nevada                     1150 East William Street                                                                          Carson City        NV      89701-3109          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                                                                                             Disputed
                                                                                                                                                                                                                     Date Debt was     Specify Code Subsection
                                                                                                                                                                                                                     Incurred, Basis    of Priority Unsecured
                           Creditor Name                                                   Address1                                Address2                                   City    State       Zip      Country      for Claim                Claim                                                                              Total Claim   Priority Amount
Public Utilities Commission of Ohio                          180 East Broad Street 4th Floor               Suite 404                                              Columbus             OH     43215                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Public Utility Commission of Oregon                          P.O. Box 2153                                                                                        Salem                OR     97308-2153             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pueblo County                                                909 Court Street                                                                                     Pueblo               CO     81003                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pueblo County Government                                     215 West 10th Street                          Room 217                                               Pueblo               CO     81003-2992             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pulaski County                                               201 South Broadway                            Suite 420                                              Little Rock          AR     72201                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pulaski County E911                                          P.O. Box 29                                                                                          Hawkinsville         GA     31036                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pullman Utility Users Tax                                    325 SE Paradise St                                                                                   Pullman              WA     99163                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Purchase Area Enhanced 911 Administrative Board              P.O. Box 588                                                                                         Mayfield             KY     42066                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Pushmataha County Treasurer                                  302 S W B Street                                                                                     Antlers              OK     74523                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Putnam County                                                111 Ridley Drive                                                                                     Eatonton             GA     31024                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Putnam County                                                112 Old Route 6                                                                                      Carmel               NY     10512                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Putnam County                                                40 Gleneida Avenue                                                                                   Carmel               NY     10512                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Quitman County Board of Commissioners                        P.O. Box 114                                                                                         Georgetown           GA     39540-0114             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Quitman County Chancery Clerk                                220 Chestnut Street                           Suite 2                                                Marks                MS     38646                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Racine County                                                717 Wisconsin Ave.                                                                                   Racine               WI     53403-1237             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Randolph County                                              101 E. Broadway                               Suite C                                                Pocahontas           AR     72455                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Randolph County                                              4 Randolph Avenue                             Suite 102                                              Elkins               WV     26241                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Randolph County E911                                         372 Highway JJ                                Suite 2-B                                              Huntsville           MO     65259                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rankin County                                                211 East Government Street                                                                           Brandon              MS     39042                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rankin County                                                601 Marquette Road                                                                                   Brandon              MS     39042                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rapides Parish Communications District                       4216 Ellis St.                                                                                       Alexandria           LA     71302                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rapides Parish Sales and Use Tax Department                  5606 Coliseum Blvd                                                                                   Alexandria           LA     71303                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Receiver General                                             275 Pope Road                                 Suite 103                                              Summerside           PE     C1N 0E1      Canada    Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Red River Parish Communications District                     P.O. Box 407                                                                                         Coushatta            LA     71019                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Regions Bank                                                 P.O. Box 1174                                 1900 Fifth Avenue North 25th Floor                     Birmingham           AL     35203                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rensselaer County                                            1600 7th Avenue                                                                                      Troy                 NY     12180-3409             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Revenu Québec                                                3800, rue de Marly                                                                                   Quebec               QC     G1X 4A5      Canada    Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Revenue Discovery Systems                                    P.O. Box 830725                                                                                      Birmingham           AL     35283-0725             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Revenue Quebec                                               C. P. 8025                                    Succursale Desjardins                                  Montreal             PQ     H5B 0A8      Canada    Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rhode Island Division of Public Utilities and Carriers       89 Jefferson Boulevard                                                                               Warwick               RI    02888                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rhode Island Division of Taxation                            P.O. Box 9702                                                                                        Providence            RI    02940-9702             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richardson ISD Tax Office                                    420 S Greenville Ave                                                                                 Richardson           TX     75081                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richland County                                              1410 Laurens Street                                                                                  Columbia              SC    29204                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richland County                                              2020 Hampton Street                                                                                  Columbia              SC    29204                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richland Parish Communications District                      P.O. Box 855                                                                                         Rayville             LA     71269                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richland Parish Sales/Use Tax                                P.O. Box 688                                                                                         Rayville             LA     71269-0688             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Richland Parish Tax Commisssion                              P.O. Box 688                                                                                         Rayville             LA     71269-0688             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ripley City Recorder                                         110 S. Washington                                                                                    Ripley               TN     38063                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Riverside County Treasurer                                   P.O. Box 12005                                                                                       Riverside            CA     92502-2205             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Roane County                                                 P.O. Box 296                                                                                         Kingston             TN     37763                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rock County                                                  3636 N. County Highway F                                                                             Janesville           WI     53545                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rockcastle County 911                                        P.O. Box 700                                                                                         Mount Vernon         KY     40456                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rockdale County Tax Commissioner                             P.O. Box 1497                                                                                        Conyers              GA     30012-7597             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rockland County                                              18 New Hempstead Road                                                                                New City             NY     10956                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rockwall Central Appraisal District                          841 Justin Road                                                                                      Rockwall             TX     75087                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Routt County E 911 Authority Board                           P.O. Box 773598                                                                                      Steamboat Springs    CO     80477                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rowan County                                                 600 W. Main Street                                                                                   Morehead             KY     40351                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Rutherford County Trustee                                    P.O. Box 1316                                                                                        Murfreesboro         TN     37133                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sabine Parish 911                                            P.O. Box 550                                                                                         Many                 LA     71449                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sabine Parish Sales and Use Tax Commission                   P.O. Box 249                                                                                         Many                 LA     71449-0249             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sacramento County                                            700 H Street                                  Room 1710                                              Sacramento           CA     95814                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sacramento County                                            P.O. Box 508                                                                                         Sacramento           CA     95812-0508             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saginaw County E911 Division                                 618 Cass Street                                                                                      Saginaw              MI     48602                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Bernard Parish Government                              8201 W. Judge Perez Drive                                                                            Chalmette            LA     70043                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Charles County Government                              201 North Second Street                       Room 529                                               St. Charles          MO     63301                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Clair County                                           200 Grand River Avenue                        Suite 203                                              Port Huron           MI     48060                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Clair County                                           201 McMorran                                                                                         Port Huron           MI     48080                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Francis County                                         P.O. Box 250                                                                                         Forrest City         AR     72355                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Francois County E911                                   102 Industrial Drive                                                                                 Park Hills           MO     63601                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Lawrence County Treasurer                              48 Court Street                                                                                      Canton               NY     13617-1194             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Louis City Collector of Revenue                        P.O. Box 66877                                                                                       St. Louis            MO     63166-6877             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saint Louis County                                           41 S. Central, Fiscal Management, 8th Fl                                                             Clayton              MO     63105                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saline County                                                102 S. Main                                   Level B                                                Benton               AR     72015                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Salt Lake County Treasurer                                   P.O. Box 410418                                                                                      Salt Lake City       UT     84141-0418             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Saluda County E911                                           111 Law Enforcement Drive                                                                            Saluda                SC    29138                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
San Bernardino County                                        268 W. Hospitality Lane                                                                              San Bernardino       CA     92415-0360             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
San Francisco Tax Collector                                  P.O. Box 7425                                                                                        San Francisco        CA     94120-7425             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
San Francisco Tax Collector                                  P.O. Box 7426                                                                                        San Francisco        CA     94120-7426             Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
San Luis Valley 911 Authority                                P.O. Box 1598                                                                                        Alamosa              CO     81101                  Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                  Claim subject to offset?
                                                                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                                                                       Disputed
                                                                                                                                                                                                      Date Debt was Specify Code Subsection
                                                                                                                                                                                                      Incurred, Basis of Priority Unsecured
                       Creditor Name                                                   Address1                               Address2                                  City   State   Zip    Country    for Claim             Claim                                                                          Total Claim   Priority Amount
San Mateo County Tax Collector                           P.O. Box 45878                                                                                     San Francisco       CA 94145-0878         Tax            507(a)(8)              X              X            X                                    Undetermined    Undetermined

San Miguel Emergency Telephone Service Authority Board   P.O. Box 233                                                                                       Telluride          CO   81435              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Santa Barbara County                                     P.O. Box 579                                                                                       Santa Barbara      CA   93102-0579         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Santa Clara County                                       P.O. Box 60534                                                                                     City of Industry   CA   91716-0534         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Santa Cruz County                                        P.O. Box 1817                                                                                      Santa Cruz         CA   95061              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Santa Cruz County Tax Collector                          701 Ocean St.                               Room 15                                                Santa Cruz         CA   95060              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Saratoga County                                          25 West High Street                         #4                                                     Ballston Spa       NY   12020              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Saratoga County                                          40 McMaster Street                          Building 1                                             Ballston Spa       NY   12020              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sarpy County Treasurer                                   1210 Golden Gate Drive                                                                             Papillion          NE   68046              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Savannah City                                            140 Main Street                                                                                    Savannah           TN   38372              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
SC Department OF REVENUE                                 P.O. Box 125                                                                                       Columbia           SC   29214-0850         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Schenectady County                                       620 State Street                            Third Floor                                            Schenectady        NY   12305              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Schoharie County 911                                     284 Main Street                             P.O. Box 9                                             Schoharie          NY   12157              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Schuyler County                                          105 Ninth Street                            Unit 17                                                Watkins Glen       NY   14891              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Scott County                                             1100 East 46th Street                                                                              Davenport          IA   52807              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Scott County                                             P.O. Box 188                                                                                       Benton             MO   63736              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Scott County Board of Supervisors                        P.O. Box 630                                                                                       Forest             MS   39074              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Scott County Fiscal Court                                P.O. Box 973                                                                                       Georgetown         KY   40324              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Scotts Bluff County                                      1825 10th Street                                                                                   Gering             NE   69341              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
SDTTC                                                    P.O. Box 129009                                                                                    San Diego          CA   92112              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sea Tac Utility Service Tax                              4800 South 188th Street                                                                            SecTac             WA   98188-8605         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Searcy County Treasurer                                  P.O. Box 38                                                                                        Marshall           AR   72650              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sebastian County                                         Courthouse 35 South 6th                     RM 106                                                 Fort Smith         AR   72901              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Secretary of the Treasury                                Edificio Intendente Ramirez                 Paseo Covadonga#10                                     San Juan           PR   00901              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Secretary, Public Service Commission                     Heber M. Wells Building                     160 E 300 S. 4th Floor                                 Salt Lake City     UT   84111              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sedgwick County                                          P.O. Box 2961                                                                                      Wichita            KS   67201-2961         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Selmer City Tax Collector                                144 North 2nd Street                                                                               Selmer             TN   38375              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Seminole County Clerk's Office                           P.O. Box 1180                                                                                      Wewoka             OK   74884              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Seneca County Treasurer                                  1 Di Pronio Drive                                                                                  Waterloo           NY   13165-0690         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sequoyah County 911                                      106 E. Creek                                                                                       Sallisaw           OK   74955-1758         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sevier County Trustee                                    125 Court Ave Suite 212W                                                                           Sevierville        TN   37862              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sevierville City Tax Collector                           P.O. Box 5500                                                                                      Sevierville        TN   37864-5500         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sharkey County Chancery Clerk                            P.O. Box 218                                                                                       Rolling Fork       MS   39159              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sharon Gade, County Treasurer                            402 Commercial St.                                                                                 Emporia            KS   66801              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sharp County                                             P.O. Box 307                                                                                       Ash Flat           AR   72513              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Shawnee County Treasurer                                 200 SE 7th Street                                                                                  Topeka             KS   66603-3959         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sheboygan County                                         527 N. 6th St.                                                                                     Sheboygan          WI   53081-4610         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Shelby County                                            419 Washington Street                                                                              Shelbyville        KY   40065              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Shelby County                                            P.O. Box 800                                                                                       Columbiana         AL   35051              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Shelby County Trustee                                    P.O. Box 2751                                                                                      Memphis            TN   38101-2751         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Sheridan County                                          224 South Main Street                       Suite B1                                               Sheridan           WY   82801              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Shiawassee County                                        208 North Shiawassee Street                                                                        Corunna            MI   48817              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Simpson County E911                                      P.O. Box 308                                                                                       Mendenhall         MS   39114              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Simpson County Fiscal Court                              RE: E911                                    P.O. Box 242                                           Franklin           KY   42135              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
SIRCOMM                                                  P.O. Box 504                                                                                       Jerome             ID   83338              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
SJC TTC                                                  P.O. Box 2169                                                                                      Stockton           CA   95201-2169         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Smith County                                             1001 ESE Loop 323                           Suite 410                                              Tyler              TX   75701              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Smith County EMA                                         P.O. Box 1107                                                                                      Raleigh            MS   39153              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Smith County Tax Assessor/Collector                      P.O. Box 2011                                                                                      Tyler              TX   75710              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Snohomish County Treasurer                               P.O. Box 34171                                                                                     Seattle            WA   98124-1171         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Inc - DC USTF                                      P.O Box 785652                                                                                     Philadelphia       PA   19178-5652         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Inc. - Connecticut TRS                             P.O. Box 223035                                                                                    Pittsburgh         PA   15251-2035         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Inc. Colorado TRS                                  P.O. Box 912551                                                                                    Denver             CO   80291-2551         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Inc. Colorado TRS                                  P.O. Box 912551                                                                                    Denver             CO   80291-2551         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Indiana USF                                        P.O. Box 223509                                                                                    Pittsburgh         PA   15251-2509         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Solix Maine Funds                                        P.O. Box 232                                                                                       Lewiston           ME   04243-0232         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Carolina Department of Revenue                     P.O. Box 100153                                                                                    Columbia           SC   29202              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Carolina Department of Revenue                     P.O. Box 100193                                                                                    Columbia           SC   29202              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Carolina Department of Revenue                     P.O. Box 125                                                                                       Columbia           SC   29214-0106         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Dakota Department of Revenue                       445 East Capitol Ave                                                                               Pierre             SD   57501-3185         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Dakota Department of Revenue                       P.O Box 5055                                                                                       Sioux Falls        SD   57117-5055         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Dakota State Treasurer                             Mail Code 5055                              445 East Capitol Avenue                                Pierre             SD   57501-3100         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Dakota State Treasurer                             P.O. Box 5055                                                                                      Sioux Falls        SD   57117-5055         Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
South Western Oklahoma Development Authority             P.O. Box 569                                420 Sooner Drive                                       Burns Flat         OK   73624              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Southwest Regional Communications Center                 200 S. Parks Dr.                                                                                   DeSoto             TX   75115              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Southwest Regional Communications Center                 200 South Parks Drive                                                                              Desoto             TX   75115              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Spalding County                                          P.O. Box 1087                               Suite B                                                Griffin            GA   30224              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined
Spanish Lake License Tax                                 City Hall, 1200 Market St.                  City Hall, Room 220                                    St. Louis          MO   63103              Tax           507(a)(8)               X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                                                                          Disputed
                                                                                                                                                                                                  Date Debt was     Specify Code Subsection
                                                                                                                                                                                                  Incurred, Basis    of Priority Unsecured
                       Creditor Name                                       Address1                                   Address2                                  City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Spartanburg County                              180 Magnolia Street                         P.O. Box 5666                                          Spartanburg           SC    29304              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Spartanburg County                              P.O. Box 5666                                                                                      Spartanburg           SC    29304-5666         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Spencer County Judges Office                    P.O. Box 397                                                                                       Taylorsville         KY     40071              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Spring Branch ISD Tax Assessor/Collector        P.O. Box 19037                                                                                     Houston              TX     77224-9037         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St Croix County WI                              1101 Carmichael Road Hudson Main Level                                                             Hudson               WI     54016              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Bernard Parish                              P.O Box 168                                                                                        Chalmette            LA     70044              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Charles County                              1605 Wentzville Parkway                                                                            Wentzville           MO     63385              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Charles County Tax Collector                201 N. 2nd Street                                                                                  St Charles           MO     63301-2889         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Charles Parish School Board                 13855 River Road                                                                                   Luling               LA     70070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Clair County                                165 5th Avenue                              Suite 102                                              Ashville             AL     35953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. James Parish Government                     P.O. Box 106                                                                                       Convent              LA     70723              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. James Parish School Board                   P.O. Box 368                                                                                       Lutcher              LA     70071-0368         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. John Parish Sales Tax                       P.O. Box 2066                                                                                      LaPlace              LA     70069-2066         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. John The Baptist Parish                     P.O. Box 1600                                                                                      La Place             LA     70069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Landry Parish Communication District        780 Hwy 742                                                                                        Opelousas            LA     70570              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Landry Parish School Board                  P.O. Box 1210                                                                                      Opelousas            LA     70571-1210         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Louis County                                41 South Central Avenue 4th Floor                                                                  Clayton              MO     63105              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Louis County                                Dept. of Revenue/Div. of Licenses           41 South Central Avenue 4th Floor                      Clayton              MO     63105              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Martin Parish Communication District        P.O. Box 247                                400 St. Martin Street                                  Saint Martinville    LA     70582              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Martin Parish School Board                  P.O. Box 1000                                                                                      Breaux Bridge        LA     70517              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Mary Parish                                 1200 David Drive                            Bldg B                                                 Morgan City          LA     70380              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St. Mary Sales and Use Tax Department           P.O. Drawer 1279                                                                                   Morgan City          LA     70381              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
St.Tammany Parish Communications District       28911 Krentel Road                                                                                 Lacombe              LA     70445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
STACS                                           Sales Tax Division                          P.O. Box 3989                                          Muscle Shoals        AL     35662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stanton City Treasurer                          P.O. Box 370                                                                                       Stanton              KY     40380              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stark County Auditor                            P.O. Box 130                                                                                       Dickinson            ND     58602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State Comptroller                               P.O. Box 149356                                                                                    Austin               TX     78714-9356         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State Comptroller of Public Accounts            111 E. 17th Street                                                                                 Austin               TX     78774-0100         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State Dept. Assessments & Taxation              301 W. Preston St.                                                                                 Baltimore            MD     21201-2395         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Arkansas                               P.O. Box 1272                                                                                      Little Rock          AR     72203              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Hawaii                                 Mail Code 61233                             P.O. Box 1300                                          Honolulu              HI    96807-1300         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Indiana                                10 West Market Street                       Suite 2950                                             Indianapolis          IN    46204-2982         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Kansas                                 915 South West Harrison Street                                                                     Topeka                KS    66625-5000         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Kansas                                 P.O. Box 758572                                                                                    Topeka                KS    66675-8572         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Kentucky                               Department of Revenue                       501 High St, Station 61                                Frankfort            KY     40619              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Michigan                               7150 Harris Drive                           P.O. Box 30221                                         Lansing              MI     48909              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Michigan                               P.O. Box 30324                                                                                     Lansing              MI     48909-7824         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Michigan-Public Utilities Tax          P.O. Box 30471                                                                                     Lansing              MI     48909-7971         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of New Hampshire                          33 Hazen Drive                                                                                     Concord              NH     33050              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of New Jersey                             P.O. Box 999                                                                                       Trenton               NJ    08646-0999         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of New Mexico                             P.O. Box 25128                                                                                     Santa Fe             NM     87504-5128         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of New York                               P.O. Box 15172                                                                                     Albany               NY     12212-5172         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of North Carolina                         P.O. Box 25000                                                                                     Raleigh              NC     27640-0700         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of North Dakota                           P.O. Box 5623                                                                                      Bismarck             ND     58506-5623         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Oklahoma                               P.O. Box 26850                                                                                     Oklahoma City        OK     73126-0850         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Rhode Island                           One Capital Hill                            Suite 4                                                Providence            RI    02908-5802         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of South Carolina                         Sales Tax Return                            P.O. 125                                               Columbia              SC    29214-0101         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of South Dakota                           500 East Capitol Avenue                                                                            Pierre               SD     57501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State of Utah                                   210 North 1950 West                                                                                Salt Lake City       UT     84134-0400         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
State Treasurer                                 P.O Box 1065                                                                                       Augusta              ME     04332              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Statewide E911 Board                            10 West Market Street                       Suite 2950                                             Indianapolis          IN    46204              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stephens County                                 101 S. 11th Street                          Room 203                                               Duncan               OK     73533              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stephens County Board of Commissioners          P.O. Box 386                                                                                       Toccoa               GA     30577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Steuben County Treasurer                        E911                                        3 East Pulteney Sqare                                  Bath                 NY     14810              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stewart County                                  P.O. Box 157                                                                                       Lumpkin              GA     31815              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stigler/Haskell County 911                      115 S Broadway                                                                                     Stigler              OK     74462              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stone County 911                                533 S. First Street                                                                                Wiggins              MS     39577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Stone County 911                                E911 Coordinator                            533 S. First Street                                    Wiggins              MS     39577              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sullivan County                                 P.O. Box 5012                                                                                      Monticello           NY     12701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Summit County                                   P.O. Box 4188                                                                                      Frisco               CO     80443              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sumner County Collector                         355 Belvedere Drive N                                                                              Gallatin             TN     37066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sumter County Administration Bldg.              13 E. Canal Street                                                                                 Sumter                SC    29150              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sunflower County E911 Commission                P.O. Box 988                                                                                       Indianola            MS     38751              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sweetwater                                      P.O. Box 267                                                                                       Sweetwater           TN     37874              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Sweetwater Combined Communications JPB          P.O. Box 129                                                                                       Green River          WY     82935              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
SWRCC E911                                      200 S. Parks Dr.                                                                                   Desoto               TX     75115              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tallahatchie County E911                        P.O. Box 350                                                                                       Charleston           MS     38921              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tangipahoa Parish Communications District       P.O. Box 505                                                                                       Amite                LA     70422              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Targeted Accessibility Fund of New York         4 Tower Place                               2nd Floor                                              Albany               NY     12203-3710         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                                 Date Debt was     Specify Code Subsection
                                                                                                                                                                                                                 Incurred, Basis    of Priority Unsecured
                        Creditor Name                                                         Address1                            Address2                                     City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Tarrant County                                                  2600 Airport Freeway                                                                               Fort Worth          TX     76111              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tarrant County Assessor/Collector                               P.O. Box 961018                                                                                    Fort Worth          TX     76161-0018         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tate County                                                     201 Ward Street                                                                                    Senatobia           MS     38668              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tattnall County E911                                            P.O. Box 905                                                                                       Reidsville          GA     30453              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Appraisal District of Bell County                           P.O. Box 390                                                                                       Belton              TX     76513-0390         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Collector                                                   P.O. Box 61041                                                                                     New Orleans         LA     70161-1041         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Commission                                                  P.O. Box 23075                                                                                     Jackson             MS     39205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Trust Account                                               373 East Shaw Avenue Box 367                                                                       Fresno              CA     93710              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Trust Account                                               P.O. Box 830725                                                                                    Birmingham          AL     35283-0725         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tax Trust Account - E lSegundo                                  373 E Shaw Avenue Box 367                                                                          El Segundo          CA     93710              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Taylor County Fiscal Court                                      203 N. Court Street                         Suite 4                                                Campbellsville      KY     42718              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Telecom Relay Service                                           Hill Farms State Office Building            4822 Madison Yards Way                                 Madison             WI     53705              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Telecom Relay Surcharge                                         168 N 1950 W                                Suite 103                                              Salt Lake City      UT     84116              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Telecommunications Regulatory Board of Puerto Rico              Form TRB 200 Filings                        500 Ave Roberto H Todd (Pda 18 Santurce)               San Juan            PR     00907-3941         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tennessee Department of Revenue                                 500 Deaderick Street                                                                               Nashville           TN     37242-0700         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tennessee Emergency Communications Board                        500 James Robertson Parkway                 Ninth Floor, Davy Crockett Tower                       Nashville           TN     37243              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tennessee Regulatory Authority                                  460 James Robertson Parkway                                                                        Nashville           TN     37243-0505         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tensas Parish                                                   P.O. Box 430                                                                                       Vidalia             LA     71373              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tensas Parish Communications District                           P.O. Box 252                                                                                       Saint Joseph        LA     71366              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Terrebonne Parish                                               110 Capital Boulevard                                                                              Houma               LA     70360              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Terrebonne Parish                                               P.O. Box 670                                                                                       Houma               LA     70361-0670         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Teton County                                                    P.O. Box 585                                                                                       Jackson             WY     83001-3594         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Texas City ISD                                                  P.O. Box 1150                                                                                      Texas City          TX     77592-1150         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                            7050 South Yale Ave. Suite 101                                                                     Tulsa               OK     74136-7050         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Texas County E911                                               P.O. Box 494                                                                                       Houston             MO     65483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Texas Eastern 911 District                                      132 North Marshall Street                                                                          Henderson           TX     75652              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
The City of Boston                                              P.O. Box 55808                                                                                     Boston              MA     02205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
The Commissioner of Finance                                     50 Sanatorium Road                          Bldg A 8th Floor                                       Pomona              NY     10970              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
The Director of Provincial Sales Tax                            P.O. Box 9443 Stn Prov Govt                                                                        Victoria            BC     V8W 9W7 Canada Tax                   507(a)(8)                   X             X            X                                    Undetermined    Undetermined

The Illinois Small Company Exchange Carrier Association, Inc.   3220 Pleasant Run                                                                                  Springfield         IL     62711               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
The Office of Regulatory Staff                                  1401 Main Street                            Suite 900                                              Columbia           SC      29201               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Thomas County                                                   P.O. Box 920                                                                                       Thomasville        GA      31799-0920          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Thomas County                                                   P.O. Box 920                                                                                       Thomasville        GA      31799               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Thurston County Treasurer                                       2000 Lakeridge Drive SW                                                                            Olympia            WA      98502-6080          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tift County                                                     P.O. Box 826                                                                                       Tifton             GA      31793               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tioga County Treasurer                                          56 Main Street                              Room 21                                                Owego              NY      13827               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tippah County 911                                               E911 Coordinator                            101 E. Spring St.                                      Ripley             MS      38663               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tipton County Trustee                                           P.O. Box 487                                                                                       Covington          TN      38019               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tishomingo County 911                                           1008 Battleground Drive                                                                            Iuka               MS      38852               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Todd County                                                     P.O. Box 31P.O. Box 355                                                                            Elkton             KY      42220               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tomball ISD                                                     P.O. Box 276                                                                                       Tomball            TX      77377-0276          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Tompkins County 911                                             92 Brown Road                                                                                      Ithaca             NY      14850               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town Collector                                                  486 Oxford Road                                                                                    Oxford             CT      06478               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Addison                                                 P.O. Box 9010                                                                                      Addison            TX      75001               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Allegany                                                52 West Main Street                                                                                Allegany           NY      14706               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Anthony                                                 P.O. Box 1269                                                                                      Anthony            TX      79821               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Arcade                                                  15 Liberty Street                                                                                  Arcade             NY      14009               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Avon                                                    P.O. Box 975                                                                                       Avon               CO      81620               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Babylon                                                 200 East Sunrise Highway                                                                           Lindenhurst        NY      11757               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Bayside                                                 P.O. Box 194                                909 First St.                                          Bayside            TX      78340               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Bayview                                                 102 San Roman                                                                                      Los Fresnos        TX      78566               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Berthoud                                                328 Massachusetts Ave.                      P.O. Box 1229                                          Berthoud           CO      80513-2229          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Braselton                                               4982 Highway 53                             P.O. Box 306                                           Braselton          GA      30516               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Breckenridge                                            P.O. Box 17236                                                                                     Denver             CO      80217               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Burke                                                   P.O. Box 121                                                                                       Burke              NY      12917               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Burlington                                              P.O. Box 376                                                                                       Burlington         MA      01803               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Carbondale                                              511 Colorado Ave                                                                                   Carbondale         CO      81623               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Castle Rock                                             P.O. Box 17906                                                                                     Denver             CO      80217               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Cherry Creek                                            P.O. Box 98                                                                                        Cherry Creek       NY      14723               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Chireno                                                 P.O. Box 87                                                                                        Chireno            TX      75937               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Clint                                                   P.O. Box 350                                                                                       Clint              TX      79836               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Collierville                                            500 Poplar View Parkway                                                                            Collierville       TN      38017               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Combes                                                  P.O. Box 280                                                                                       Combes             TX      78535               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Cross Roads                                             1401 FM 424                                                                                        Crossroads         TX      76227               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Cross Timber                                            P.O. Box 2042                                                                                      Burleson           TX      76097               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Culpeper                                                400 South Main Street                                                                              Culpeper           VA      22701               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Cut-N-Shoot                                             P.O. Box 7364                                                                                      Cut and Shoot      TX      77306               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Town of Double Oak                                              320 Waketon                                                                                        Double Oak         TX      75077               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                                            Date Debt was     Specify Code Subsection
                                                                                                                                                                                            Incurred, Basis    of Priority Unsecured
                       Creditor Name                                   Address1                            Address2                                       City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Town of East Hampton                       159 Pantigo Road                                                                                 East Hampton          NY     11937              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Edgecliff Village                  1605 Edgecliff Road                                                                              Edgecliff Village     TX     76134              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Elgin                              P.O. Box 310                                                                                     Elgin                 OK     73538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Fairland                           P.O. Box 429                                                                                     Farland               OK     74343              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Fairview                           372 Town Place                                                                                   Fairview              TX     75069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Farmingdale                        361 Main Street                                                                                  Farmingdale           NY     11735              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Fayetteville                       P.O. Box 298                                                                                     Fayetteville          WV     25840              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Flower Mound                       2121 Cross Timbers                                                                               Flower Mound          TX     75028              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Forest Park                        4203 N. Coltrane Road                                                                            Forest Park           OK     73121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Franklin                           P.O. Box 209                                                                                     Vermontville          NY     12989              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Frisco                             P.O. Box 4100                             1st & Main Street                                      Frisco                CO     80443              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Front Royal                        P.O. Box 1560                                                                                    Front Royal           VA     22630-0033         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Fulton                             P.O. Box 1130 The Kleburg Law Firm        800 North Shorel                                       Fulton                TX     78358              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Gay                                P.O. Box 257                                                                                     Gay                   GA     30218-0257         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Glencoe                            P.O. Box 198                                                                                     Glencoe               OK     74032              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Goldsby                            100 East Center Road                                                                             Goldsby               OK     73093-9112         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Goshen                             41 Webster Avenue                                                                                Goshen                NY     10924              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Hamburg                            S 6100 South Park Avenue                                                                         Hamburg               NY     14075              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Hempstead                          350 Front Street                                                                                 Hempstead             NY     11550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Herndon                            777 Lynn Street                                                                                  Herndon               VA     20170-4602         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Herndon                            P.O. Box 427                                                                                     Herndon               VA     20172-0427         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Herndon                            Revenue Department                        777 Lynn Street                                        Herndon               VA     20170-4602         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Highland Park                      4700 Drexel Drive                                                                                Highland Park         TX     75205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Hollywood Park                     2 Mecca Drive                                                                                    Hollywood Park        TX     78232              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Horizon City                       14999 Darrington Road                                                                            Horizon City          TX     79928              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Johnstown                          450 S. Parish Ave                                                                                Johnstown             CO     80534              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Jonesville                         P.O. Box 190                                                                                     Jonesville            VA     24263              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Kiefer                             P.O. Box 369                                                                                     Kiefer                OK     74041-0369         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of La Conner                          P.O. Box 400                                                                                     La Conner             WA     98257              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Lakeside                           9830 Confederate Park Rd.                                                                        Ft. Worth             TX     76108              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Larkspur                           P.O. Box 310                                                                                     Larkspur              CO     80118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Leesburg                           25 West Market Street                                                                            Leesburg              VA     20176              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Leesburg                           P.O. Box 8000                                                                                    Leesburg              VA     20177-9804         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Little Elm                         100 West Eldorado Parkway                                                                        Little Elm            TX     75068              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Macedon                            32 Main Street                                                                                   Macedon               NY     14502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Mamaroneck                         P.O. Box 369                              Town Hall                                              Mamaroneck            NY     10543              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Mount Kisco                        104 Main Street                                                                                  Mount Kisco           NY     10549              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Natick                             13 East Central Street                                                                           Natick                MA     01760              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of New Hope                           P.O. Box 562                                                                                     Mc Kinney             TX     75070-0562         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Ninnekah                           P.O. Box 211                                                                                     Ninnekah              OK     73067-0211         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Northlake                          1400 FM 407                                                                                      North Lake            TX     76247              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Palm Valley                        1313 Stuart Place Road                    Suite #100                                             Palm Valley           TX     78552              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Pantego                            1614 S. Bowen Rd.                                                                                Pantego               TX     76013              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Parker                             P.O. Box 5602                                                                                    Denver                CO     80217-5602         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Pecos City                         P.O. Box 929                              110 E. 6th St.                                         Pecos                 TX     79772              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Pine Island                        36722 Brumlow Rd                                                                                 Hempstead             TX     77445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Pine Mountain                      P.O. Box 8                                                                                       Pine Mountain         GA     31822-0008         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Pocola                             P.O. Box 397                                                                                     Pocola                OK     74902              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Prosper                            P.O. Box 307                                                                                     Prosper               TX     75078              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Providence Village                 P.O. Box 838                                                                                     Providence Village    TX     76227              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Rancho Viejo                       3301 Carmen Avenue                                                                               Rancho Viejo          TX     78575              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Refugio                            P.O. Box 1020                                                                                    Refugio               TX     78377              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Richlands                          200 Washington Square                                                                            Richlands             VA     24641              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Saint Joseph                       P.O. Box 217                                                                                     Saint Joseph          LA     71366              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of San Felipe                         4220 Sixth St.                            P.O. Box 129                                           San Felipe            TX     77473              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Silverthorne                       601 Center Circle                         P.O. Box 1309                                          Silverthorne          CO     80498-1309         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Skellytown                         P.O. Box 129                                                                                     Skellytown            TX     79080-0129         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Slaughterville                     10701 US Hwy 77                                                                                  Lexington             OK     73051              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Snowmass Village                   P.O. Box 5010                                                                                    Snowmass Village      CO     81615              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of South Boston                       455 Ferry Street                                                                                 South Boston          VA     24592              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of South Padre Island                 P.O. Box 3410                                                                                    South Padre Island    TX     78597              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Summerville                        104 Civic Center                                                                                 Summerville            SC    29483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Summerville                        200 South Main Street                                                                            Summerville            SC    29483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Sunnyvale                          127 N. Collins Road                                                                              Sunnyvale             TX     75182              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Telluride                          P.O. Box 1704                                                                                    Telluride             CO     81435-1704         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Thompsons                          P.O. Box 29                                                                                      Thompsons             TX     77481              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Thorntonville                      2414 West 2nd Street                                                                             Monahans              TX     79756              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Timnath                            MSC: 205                                  P.O. Box 29048                                         Phoenix               AZ     85038-9048         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Timnath                            P.O. Box 29048                                                                                   Phoenix               AZ     85038-9040         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                                                                             Disputed
                                                                                                                                                                                                     Date Debt was     Specify Code Subsection
                                                                                                                                                                                                     Incurred, Basis    of Priority Unsecured
                      Creditor Name                                               Address1                             Address2                                    City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Town of Trinity                                      P.O. Box 302                                                                                      Decatur             AL     35602              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Tully                                        P.O. Box 206                                                                                      Tully               NY     13159              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Valley View                                  P.O. Box 268                                                                                      Valley View         TX     76272              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Vienna                                       127 Center Street South                                                                           Vienna              VA     22180              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Wakefield                                    P.O. Box 269                                                                                      Wakefield           MA     01880-0469         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Warrenton                                    18 Court Street                                                                                   Warrenton           VA     20186              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Wellington                                   P.O. Box 127                                                                                      Wellington          CO     80549              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Westlake                                     3 Village Circle                           Suite 202                                              Westlake            TX     76262              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Westover Hills                               5824 Merrymount Road                                                                              Fort Worth          TX     76107              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Windsor                                      301 Walnut Street                                                                                 Windsor             CO     80550              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Winter Park                                  P.O. Box 3327                                                                                     Winter Park         CO     80482-3327         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Woodsboro                                    P.O. Box 632                                                                                      Woodsboro           TX     78393              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Woodway                                      23920 West 113th Place                                                                            Woodway             WA     98020              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Town of Yarrow Point                                 4030 NE 95th Avenue                                                                               Yarrow Point        WA     98004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Towns County 911 Coordinator                         48 River St                                Suite B                                                Hiawassee           GA     30546-3219         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Travis County Tax Collector                          P.O. Box 149328                                                                                   Austin              TX     78714-9328         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer                                            P.O. Box 185                                                                                      Memphis             TN     38101-0185         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer                                            P.O. Box 7425                                                                                     Merrifield          VA     22116-7425         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer - State of Iowa                            P.O. Box 10412                                                                                    Des Moines           IA    50306-0412         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer- City of Owensboro                         P.O. Box 10003                                                                                    Owensboro           KY     42302-9003         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer of Virginia                                State Corporation Comm. - Public Svc       P.O. Box 1197                                          Richmond            VA     23218              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer of Warren County                           P.O. Box 1540                                                                                     Front Royal         VA     22630-0033         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer Spotsylvania County                        P.O. Box 9000                                                                                     Spotsylvania        VA     22553              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer State of Maine E911                        18 State House Station                                                                            Augusta             ME     04333              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer Warren County                              429 East 10th Avenue                                                                              Bowling Green       KY     42101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
TREASURER, CITY OF DETROIT                           P.O. BOX 67000                                                                                    Detroit             MI     48267              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasurer, State of Maine E-9-1-1                    18 SHS                                                                                            Augusta             ME     04333              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Treasury Management                                  P.O. Box 2467                                                                                     Prince William      VA     22197              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tri-County E-911                                     9161 Nashville Hwy                                                                                Lakeland            GA     31635              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Trigg County E911                                    P.O. Box 672                                                                                      Cadiz               KY     42211              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Trimble County                                       P.O. Box 251                                                                                      Bedford             KY     40006              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Troup County Board of Commissioners                  100 Ridley Avenue                                                                                 LaGrange            GA     30240              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tullahoma City                                       P.O. Box 807                                                                                      Tullahoma           TN     37388              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tulsa County                                         500 S. Denver                                                                                     Tulsa               OK     74103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tunica County                                        P.O. Box 639                                                                                      Tunica              MS     38676              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tuscaloosa County                                    P.O. Box 20738                                                                                    Tuscaloosa          AL     35402-0738         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Tuscola County                                       1303 Cleaver Road                                                                                 Caro                MI     48723              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
TX USF                                               P.O. Box 121033                                                                                   Dallas              TX     75312-1033         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ulster County                                        238 Golden Hill Lane                                                                              Kingston            NY     12401              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ulster County                                        244 Fair Street                            Box 180                                                Kingston            NY     12401-0800         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
ULTS                                                 P.O. Box 45130                                                                                    San Francisco       CA     94145-0130         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Unified Government of Cusseta-Chattahoochee County   215 McNaughton Street                                                                             Cusseta             GA     31805              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Unified Government Treasury                          P.O. Box 175013                                                                                   Kansas City          KS    66101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union City                                           P.O. Box 36                                                                                       Union City          OK     73090              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union County                                         101 North Washington                       Room 104                                               El Dorado           AR     71730              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union County                                         414 South Pinckney Street                                                                         Union                SC    29379              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union County 911                                     P.O. Box 847                                                                                      New Albany          MS     38652              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union County E911                                    P.O. Box 60                                                                                       Morganfield         KY     42437              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union Parish 911                                     100 E Bayou St                             Room 203                                               Farmerville         LA     71241              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Union Parish Sales and Use Tax Commission            P.O. Box 903                                                                                      Ruston              LA     71273-0903         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
University City                                      6801 Delmar Boulevard                                                                             University City     MO     63130              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Upshur County                                        181 Pallottine Drive                                                                              Buckhannon          WV     26201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Upson Co. Board of Commissioners                     106 E. Lee Street                          Ste 110                                                Thomaston           GA     30286              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Utah Public Service Commission                       160 E. 300 S., 4th Floor                   Heber Wells Building                                   Salt Lake City      UT     84111              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Utah State Tax Commission                            210 N 1950 W                                                                                      Salt Lake City      UT     84134-0400         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Valwood Improvement Authority                        1740 Briercroft Court                                                                             Carrollton          TX     75006              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Ventura County                                       P.O. Box 51179                                                                                    Los Angeles         CA     90051-5479         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vermilion Parish Communications District             100 North State Street                     Suite 201                                              Abbeville           LA     70510              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vermilion Parish School Board                        P.O. Drawer 1508                                                                                  Abbeville           LA     70511-1508         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vermillion Parish Communication District             100 N State Street                         Suite 201                                              Abbeville           LA     70510              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vermont Department of Taxes                          133 State Street                                                                                  Montpelier          VT     05633-1401         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vermont Department of Taxes                          P.O. Box 547                                                                                      Montpelier          VT     05601-0547         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Vernon Parish Communications District E911           P.O. Box 1328                                                                                     Leesville           LA     71496-1328         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Versailles/Woodford County E911                      P.O. Box 625                                                                                      Versailles          KY     40383              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village Hall of Sea Cliff                            P.O. Box 34300 Sea Cliff Avenue                                                                   Sea Cliff           NY     11579              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Addison                                   35 Tuscarora Street                                                                               Addison             NY     14801              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Airmont                                   251 Cherry Lane                            P.O. Box 578                                           Tallman             NY     10982              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Albion                                    37 East Bank Street                                                                               Albion              NY     14411              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Alden                                     13336 Broadway                                                                                    Alden               NY     14004              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                Date Debt was     Specify Code Subsection
                                                                                                                                                                                                Incurred, Basis    of Priority Unsecured
                        Creditor Name                                     Address1                            Address2                                      City     State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Village of Alexandria Bay                   110 Walton Street                                                                                  Alexandria Bay         NY     13607              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Altamont                         P.O. Box 643                                                                                       Altamont               NY     12009              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Amityville                       21 Ireland Place                                                                                   Amityville             NY     11701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Angola                           41 Commercial Street                                                                               Angola                 NY     14006              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Ardsley                          507 Ashford Avenue                                                                                 Ardsley                NY     10502              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Arkport                          P.O. Box 465                                                                                       Arkport                NY     14807              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Attica                           9 Water Street                                                                                     Attica                 NY     14011              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bailey's Prairie                 P.O. Box 71                                                                                        Angelton               TX     77515              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village Of Baldwinsville                    16 West Genesee Street                                                                             Baldwinsville          NY     13027              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Barker                           P.O. Box 298                                                                                       Barker                 NY     14012              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bayou Vista                      2929 Hwy. 6                                 Ste. 100                                               Bayou Vista            TX     77563              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bayville                         34 School Street                                                                                   Bayville               NY     11709              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bee Cave                         4000 Galleria Parkway                                                                              Bee Cave               TX     78738-3104         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bellerose                        50 Superior Road                                                                                   Bellerose              NY     11001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bellport                         29 Bellport Lane                                                                                   Bellport               NY     11713              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bel-Nor                          8416 Natural Bridge Road                                                                           Bel-Nor                MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Black River                      107 Jefferson Place                                                                                Black River            NY     13612-2302         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Blasdell                         121 Miriam Ave                                                                                     Blasdell               NY     14219              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bloomingburg                     P.O. Box 341                                                                                       Bloomingburg           NY     12721              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Briarcliff Manor                 1111 Pleasantville Rd.                                                                             Briarcliff Manor       NY     10510              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Brockport                        127 Main Street                                                                                    Brockport              NY     14420              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Bronxville                       200 Pondfield Road                                                                                 Bronxville             NY     10708              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Caledonia                        3095 Main Street                                                                                   Caledonia              NY     14423              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Camden                           57 Main Street                                                                                     Camden                 NY     13316              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Camillus                         37 Main Street                                                                                     Camillus               NY     13031              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Canajoharie                      75 Erie Blvd.                                                                                      Canajoharie            NY     13317              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Canaseraga                       P.O. Box 235                                                                                       Canaseraga             NY     14822              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Canastota                        205 South Peterboro Street                                                                         Canastota              NY     13032              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Canisteo                         8 Green Street                                                                                     Canisteo               NY     14823              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Canton                           60 Main Street                                                                                     Canton                 NY     13617              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Carthage                         120 South Mechanic Street                                                                          Carthage               NY     13619              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Castleton-on-Hudson              85 South Main Street                                                                               Castleton-on-Hudson    NY     12033              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Catskill                         422 Main Street                                                                                    Catskill               NY     12414              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cattaraugus                      14 Main Street                                                                                     Cattaraugus            NY     14719              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cayuga                           P.O. Box 313                                                                                       Cayuga                 NY     13034              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cedarhurst                       200 Cedarhurst Avenue                                                                              Cedarhurst             NY     11516              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Chaumont                         27994 Old Town Springs Road                                                                        Chaumont               NY     13622              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Chestnut Ridge                   277 Old NyackTurnpike                                                                              Chestnut Ridge         NY     10977              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Chittenango                      222 Genessee Street                                                                                Chittenango            NY     13037              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Clayton                          425 Mary Street                                                                                    Clayton                NY     13624              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cleveland                        2 Clay Street                                                                                      Cleveland              NY     13042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Clyde                            6 South Park Street                                                                                Clyde                  NY     14433              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cobleskill                       378 Mineral Springs Road                    Suite 2                                                Cobleskill             NY     12043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Colonie                          2 Thunder Road                                                                                     Albany                 NY     12205              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Cooperstown                      P.O. Box 346                                                                                       Cooperstown            NY     13326              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Croton-on-Hudson                 1 Van Wycke Street                                                                                 Croton                 NY     10520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Dansville                        14 Clara Barton Street                                                                             Dansville              NY     14437              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Delevan                          85 South Main Street                                                                               Delevan                NY     14042              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Depew                            85 Manitou Street                                                                                  Depew                  NY     14043              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Dobbs Ferry                      1122 Main Street                                                                                   Dobbs Ferry            NY     10522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Dolgeville                       41 North Main Street                                                                               Dolgeville             NY     13329              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of East Aurora                      571 Main Street                                                                                    East Aurora            NY     14052              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of East Hampton                     86 Main Street                                                                                     East Hampton           NY     11937              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of East Rochester                   317 Main Street                                                                                    East Rochester         NY     14445              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of East Rockaway                    376 Atlantic Avenue                                                                                East Rockaway          NY     11518              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of East Syracuse                    207 North Center Street                                                                            East Syracuse          NY     13057              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Elbridge                         210 West Main Street                        P.O. Box 267                                           Elbridge               NY     13060              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Elmsford                         15 South Stone Avenue                                                                              Elmsford               NY     10523              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Endicott                         1009 East Main Street                                                                              Endicott               NY     13760-5260         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Fairchilds                       8713 Fairchilds Road                                                                               Richmond               TX     77469              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Fairport                         31 South Main Street                                                                               Fairport               NY     14450              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Fayetteville                     425 East Genesee Street                                                                            Fayetteville           NY     13066              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Floral Park                      1 Floral Blvd.                                                                                     Floral Park            NY     11001              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Forestville                      68 Hanover Street                           Suite 1                                                Silver Creek           NY     14136              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Fort Ann                         P.O. Box 236                                                                                       Fort Ann               NY     12827              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Fort Plain                       168 Canal Street                                                                                   Fort Plain             NY     13339              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Frankfort                        110 Railroad St                             Suite 1                                                Frankfort              NY     13340              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Freeport                         46 North Ocean Avenue                                                                              Freeport               NY     11520              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Galway                           P.O. Box 476                                                                                       Galway                 NY     12074              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                           Date Debt was     Specify Code Subsection
                                                                                                                                                                                           Incurred, Basis    of Priority Unsecured
                        Creditor Name                                   Address1                           Address2                                     City    State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Village of Garden City                      351 Stewart Avenue                                                                              Garden City          NY     11530              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Geneseo                          119 Main Street                                                                                 Geneseo              NY     14454              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Gouverneur                       33 Clinton Street                                                                               Gouverneur           NY     13642              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Gowanda                          27 East Main Street                                                                             Gowanda              NY     14070              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Great Neck                       61 Baker Hill Road                                                                              Great Neck           NY     11023              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Greenwich                        6 Academy Street                                                                                Greenwich            NY     12834              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Greenwood Lake                   18 Church Street                          P.O. Box 7                                            Greenwood Lake       NY     10925              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Groton                           108 Courtland Street                      P.O. Box 10                                           Groton               NY     13073              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hamilton                         3 Broad Street                            P.O. Box 119                                          Hamilton             NY     13346              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Harriman                         1 Church Street                                                                                 Harriman             NY     10926              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Harrison                         1 Heineman Place                                                                                Harrison             NY     10528              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hastings-on-Husdon               7 Maple Avenue                                                                                  Hastings-on-Hudon    NY     10706              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Haverstraw                       40 New Main Street                                                                              Haverstraw           NY     10927              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Head of the Harbor               500 North Country Road                                                                          St. James            NY     11780              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Herkimer                         120 Green Street                                                                                Herkimer             NY     13350              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hewlett Bay Park                 30 Piermont Avenue                                                                              Hewlett Bay Park     NY     11557              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Highland Falls                   303 Main Street                                                                                 Highland Falls       NY     10928              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hillsdale                        6428 Jesse Jackson                                                                              Hillsdale            MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hobart                           P.O. Box 53                                                                                     Hobart               NY     13788              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hoosick Falls                    24 Main Street                                                                                  Hoosick Falls        NY     12090              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Horseheads                       202 South Main Street                                                                           Horseheads           NY     14845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Hudson Falls                     220 Main Street                                                                                 Hudson Falls         NY     12839              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Ilion                            49 Morgan Street                                                                                Ilion                NY     13357              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Irvington                        85 Main Street                                                                                  Irvington            NY     10533              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Jamaica Beach                    P.O. Box 5264                                                                                   Jamaica Beach        TX     77554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Johnson City                     243 Main St.                                                                                    Johnson City         NY     13790              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Jones Creek                      7207 S.F. Austin Road                                                                           Jones Creek          TX     77541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Kelso                            P.O. Box 279                                                                                    Kelso                MO     63758              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Kenmore                          2919 Delaware Avenue                                                                            Kenmore              NY     14217              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Laguna Vista                     122 Fernandez Street                                                                            Laguna Vista         TX     78578              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lake George                      26 Old Post Road                                                                                Lake George          NY     12845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lake Grove                       980 Hawkins Avenue                                                                              Lake Grove           NY     11755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lake Success                     15 Vanderbilt Drive                                                                             Great Neck           NY     11021              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lancaster                        5423 Broadway Street                                                                            Lancaster            NY     14086              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lansing                          2405 N. Triphammer Road                                                                         Ithaca               NY     14850-1013         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Larchmont                        120 Larchmont Avenue                                                                            Larchmont            NY     10538              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lattingtown                      Box 488                                                                                         Locust Valley        NY     11560              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lawrence                         196 Central Avenue                                                                              Lawrence             NY     11559              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lewiston                         145 North 4th Street                      P.O. Box 325                                          Lewiston             NY     14092              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Liberty                          167 North Main Street                                                                           Liberty              NY     12754              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lindenhurst                      430 South Wellwood Avenue                                                                       Lindenhurst          NY     11757              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Little Valley                    103 Rock City Street                                                                            Little Valley        NY     14755              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Liverpool                        310 Sycamore Street                                                                             Liverpool            NY     13088              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Lynbrook                         P.O. Box 7021                                                                                   Lynbrook             NY     11563-7021         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Malone                           343 W Main Street                                                                               Malone               NY     12953              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Malverne                         99 Church Street                                                                                Malverne             NY     11565              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Mamaroneck                       P.O. Box 369                                                                                    Mamaroneck           NY     10543              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Massapequa Park                  151 Front Street                                                                                Massapeque Park      NY     11762              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Massena                          60 Main Street                                                                                  Massena              NY     13662              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Mc Graw                          P.O. Box 676                                                                                    Mc Graw              NY     13101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Medina                           119 Park Avenue                                                                                 Medina               NY     14103              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Mexico                           3236 Main Street                          P.O. Box 309                                          Mexico               NY     13114              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Middleport                       24 Main Street                                                                                  Middleport           NY     14105              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Millbrook                        P.O. Box 349                              35 Merritt Ave                                        Millbrook            NY     12545              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Mineola                          155 Washington Avenue                                                                           Mineola              NY     11501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Monroe                           7 Stage Road                                                                                    Monroe               NY     10950              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Montgomery                       133 Clinton Street                        P.O. Box 116                                          Montgomery           NY     12549              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Monticello                       2 Pleasant Street                                                                               Monticello           NY     12701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Moravia                          P.O. Box 711                                                                                    Moravia              NY     13118              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Mount Morris                     117 Main St.                                                                                    Mount Morris         NY     14510              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of New Hempstead                    108 Old School House Road                                                                       New City             NY     10956              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of New Hyde Park                    1420 Jericho Tpke                                                                               New Hyde Park        NY     11040              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of New Paltz                        25 Pattekill Drive                                                                              New Paltz            NY     12561              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Newark                           100 East Miller Street                                                                          Newark               NY     14513              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of North Collins                    10543 Main Street                                                                               North Collins        NY     14111              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Northport                        224 Main Street                                                                                 Northport            NY     11768              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Norwood                          P.O. Box 182                                                                                    Norwood              NY     13668              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Nyack                            9 North Broadway                                                                                Nyack                NY     10960-2619         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Oakfield                         37 Main Street                                                                                  Oakfield             NY     14125              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                                                                     Disputed
                                                                                                                                                                                             Date Debt was     Specify Code Subsection
                                                                                                                                                                                             Incurred, Basis    of Priority Unsecured
                         Creditor Name                                   Address1                            Address2                                      City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Village of Old Brookville                    201 McCouns Lane                                                                                 Old Brookville       NY     11545              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Old Westbury                      1 Store Hill Road                                                                                Old Westbury         NY     11568              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Orchard Park                      4295 South Buffalo Street                                                                        Orchard Park         NY     14127              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Ossining                          16 Croton Avenue                                                                                 Ossining             NY     10562              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Owego                             178 Main Street                                                                                  Owego                NY     13827              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Painted Post                      Box 110                                                                                          Painted Post         NY     14870              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Palmyra                           144 East Main Street                                                                             Palmyra              NY     14522              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Pasadena Park                     P.O. Box 210357                                                                                  St. Louis            MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Patchogue                         14 Baker Street                           P.O. Box 719                                           Patchogue            NY     11772              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Pelham                            195 Sparks Avenue                                                                                Pelham               NY     10803              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Penn Yan                          P.O. Box 426                                                                                     Penn Yan             NY     14527              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Philmont                          P.O. 00                                                                                          Philmont             NY     12565              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Piermont                          478 Piermont Avenue                                                                              Piermont             NY     10968              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Plandome Manor                    55 Manhasset Avenue                                                                              Manhasset            NY     11030              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Pleasantville                     80 Wheeler Avenue                                                                                Pleasantville        NY     10570              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Port Byron                        52 Utica Street                                                                                  Port Byron           NY     13140              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Port Chester                      222 Grace Church St                       Suite 220                                              Port Chester         NY     10573              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Port Jefferson                    121 West Broadway                                                                                Port Jefferson       NY     11777              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Potsdam                           P.O. Box 5168                                                                                    Potsdam              NY     13676              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Pulaski                           4917 Jefferson Street                     P.O. Box 227                                           Pulaski              NY     13142              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Quogue                            P.O. Box 926                                                                                     Quogue               NY     11959              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Ravena                            15 Mountain Road                                                                                 Ravena               NY     12143              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Richfield Springs                 P.O. Box 271                              102 Main Street                                        Richfield Springs    NY     13439              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Richville                         P.O. Box 285                                                                                     Richville            NY     13681              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Rockville Centre                  1 College Place                           P.O. Box 95                                            Rockville Centre     NY     11571-0950         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Roslyn                            1200 Old Northern Blvd.                                                                          Roslyn               NY     11576              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Rye Brook                         938 King Street                                                                                  Rye Brook            NY     10573              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sackets Harbor                    P.O. Box 335                                                                                     Sackets Harbor       NY     13685              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sag Harbor                        P.O. Box 660                                                                                     Sag Harbor           NY     11963-0015         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Saranac Lake                      39 Main Street                            Suite 9                                                Saranac Lake         NY     12983              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Scarsdale                         1001 Post Road                            Floor 1                                                Scarsdale            NY     10583              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Scotia                            4 North Ten Broeck Street                                                                        Scotia               NY     12303              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sharon Springs                    P.O. Box 217                                                                                     Sharon Springs       NY     13459              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sidney                            21 Liberty Street                                                                                Sidney               NY     13838              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Silver Creek                      172 Central Avenue                                                                               Silver Creek         NY     14136              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Skaneateles                       26 Fennell Street                                                                                Skaneateles          NY     13152              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sleepy Hollow                     28 Beekman Avenue                                                                                Sleepy Hollow        NY     10591              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sloan                             425 Reiman Street                                                                                Buffalo              NY     14212              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sloatsburg                        96 Orange Turnpike                                                                               Sloatsburg           NY     10974              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Sodus                             14-16 Mill Street                                                                                Sodus                NY     14551              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of South Dayton                      P.O. Box 269                                                                                     South Dayton         NY     14138              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of South Glens Falls                 46 Saratoga Avenue                                                                               South Glens Falls    NY     12803-1210         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Southampton                       23 Main Street                                                                                   Southampton          NY     11968              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Spring Valley                     200 North Main Street                                                                            Spring Valley        NY     10977              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Springville                       5 West Main Street                                                                               Springville          NY     14141              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Stamford                          84 Main Street                                                                                   Stamford             NY     12167-1139         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Suffern                           61 Washington Avenue                                                                             Suffern              NY     10901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Surfside Beach                    1304 Monument Drive                                                                              Surfside Beach       TX     77541              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village Of Sylvan Beach                      P.O. Box 508                                                                                     Sylvan Beach         NY     13157              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Tannersville                      Box 967                                                                                          Tannersville         NY     12485              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Tarrytown                         1 Depot Plaza                                                                                    Tarrytown            NY     10591              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of The Branch                        P.O Box 725                                                                                      Smithtown            NY     11787              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Tiki Island                       802 Tiki Drive, Rt 2                                                                             Galveston            TX     77554              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Tupper Lake                       53 Park Street                                                                                   Tupper Lake          NY     12986              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Union Springs                     P.O. Box 99                                                                                      Union Springs        NY     13160              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Uplands Park                      6390 Natural Bridge Rd.                                                                          Uplands Park         MO     63121              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Valley Falls                      P.O. Box 157                                                                                     Valley Falls         NY     12185              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Valley Stream                     123 South Central Avenue                                                                         Valley Stream        NY     11580              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Vinton                            436 E. Vinton Road                                                                               Vinton               TX     79821              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Voorheesville                     29 Voorheesville Avenue                                                                          Voorheesville        NY     12186              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Waddington                        P.O. Box 335                                                                                     Waddington           NY     13694              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Walden                            1 Municipal Square                                                                               Walden               NY     12586              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Walton                            P.O. Box 29                                                                                      Walton               NY     13856              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Wappingers Falls                  2582 South Avenue                                                                                Wappingers Falls     NY     12590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Warsaw                            15 South Main Street                                                                             Warsaw               NY     14569              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Washingtonville                   9 Fairlawn Dr.                                                                                   Washingtonville      NY     10992-1282         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Waterloo                          41 West Main Street                                                                              Waterloo             NY     13165              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Watkins Glen                      303 North Franklin Street                                                                        Watkins Glen         NY     14891              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Waverly                           32 Ithaca Street                                                                                 Waverly              NY     14892              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                                                                                                                                                                                           Claim subject to offset?
                                                                                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                                                                                    Contingent


                                                                                                                                                                                                                                                                                Disputed
                                                                                                                                                                                                        Date Debt was     Specify Code Subsection
                                                                                                                                                                                                        Incurred, Basis    of Priority Unsecured
                        Creditor Name                                               Address1                            Address2                                      City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
Village of Webster                                      28 West Main Street                                                                              Webster              NY     14580-2997         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Weedsport                                    P.O. Box 190                                                                                     Weedsport            NY     13166              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Wellsville                                   P.O. Box 591                                                                                     Wellsville           NY     14895              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of West Haverstraw                              130 Samsonvale Avenue                                                                            West Haverstraw      NY     10993              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Westbury                                     235 Lincoln Place                                                                                Westbury             NY     11590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Westhampton Beach                            165 Mill Rd.                                                                                     Westhampton Beach    NY     11978-2344         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Williamsville                                5565 Main Street                                                                                 Williamsville        NY     14231              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Williston Park                               494 Willis Avenue                                                                                Williston Park       NY     11596              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Wimberley                                    P.O. Box 2027                                                                                    Wimberley            TX     78676              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Wolcott                                      P.O. Box 85                                                                                      Wolcott              NY     14590              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Woodridge                                    P.O. Box 655                                                                                     Woodridge            NY     12789-0655         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Wurtsboro                                    P.O. Box 157                                                                                     Wurtsboro            NY     12790              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village of Youngstown                                   240 Lockport Road                                                                                Youngstown           NY     14174              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Village Treasurer                                       110 Liberty Street                                                                               Bath                 NY     14810              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Virginia Beach Treasurer                                2401 Courthouse Drive                     City Hall Building                                     Virginia Beach       VA     23456              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Virginia Department of Taxation                         P.O. Box 26627                                                                                   Richmond             VA     23261-6627         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Virginia Department of Taxation                         P.O. Box 760                                                                                     Richmond             VA     23218-0760         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Virginia Department of Transportation                   1401 East Broad Street                                                                           Richmond             VA     23219              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
VUSF Solix Inc.                                         P.O. Box 780018                                                                                  Philadelphia         PA     19178-0018         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Walthall County E911                                    P.O. Box 351                                                                                     Tylertown            MS     39667              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Walton County Board of Commissioners                    303 S. Hammond Dr                         Suite 333                                              Monroe               GA     30655              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Walworth County                                         P.O. Box 1004                                                                                    Elkhorn              WI     53121-1004         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wapello County                                          101 West 4th Street                                                                              Ottumwa               IA    52501              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warner Robins City Collector                            P.O. Box 8629                                                                                    Warner Robins        GA     31095              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warr Acres City Hall                                    5930 NW 49th Street                                                                              Oklahoma City        OK     73122              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warren County                                           1340 State Route 9                                                                               Lake George          NY     12845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warren County                                           429 East 10th Street                      2nd Floor                                              Bowling Green        KY     42101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warren County 911                                       P.O. Box 351                                                                                     Vicksburg            MS     39181              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Warren County Treasurer                                 1340 State Route 9                                                                               Lake George          NY     12845              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washakie County                                         P.O. Box 260                                                                                     Worland              WY     82401-0260         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Co. Board of Commissioners                   P.O. Box 271                                                                                     Sandersville         GA     31082              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Auditor                               223 Putnam Street                                                                                Marietta             OH     45750              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Board of Supervisors                  910 Court House Lane                      Suite A                                                Greenville           MS     38702-0158         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County E911                                  105 North Mill Avenue                                                                            Fayetteville         AR     72701              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Enhanced 911                          P.O. Box 126                                                                                     Springfield          KY     40069              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Treasurer                             205 Putnam Street                                                                                Marietta             OH     45750              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Treasurer                             383 Broadway                                                                                     Fort Edward          NY     12828-1015         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington County Wi                                    432 E Washington Street, Room 2053                                                               West Bend            WI     53095              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Department of Revenue                        P.O. Box 47476                                                                                   Olympia              WA     98504-7476         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Exchange Carrier Association, Inc.           1104 Main Street                          Suite 220                                              Vancouver            WA     98660-2974         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Parish                                       P.O. Box 508                                                                                     Franklinton          LA     70438              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Parish Communications District               54100 Dollar Road                                                                                Franklinton          LA     70438-8101         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington Parish Sheriff's Office                      P.O. Box 508                                                                                     Franklinton          LA     70438              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Washington State Department of Revenue                  P.O. Box 47464                                                                                   Olympia              WA     98504-7464         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined

Washington-Yuma Emergency Telephone Service Authority   P.O. Box 96                                                                                      Yuma                CO      80759               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Washoe County                                           1001 East 9th Street                      Suite C220                                             Reno                NV      89512               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Washtenaw County                                        2201 Hogback Road                                                                                Ann Arbor           MI      48105               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Washtenaw County Treasurer                              200 N. Maine, Suite 200                   P.O. Box 8645                                          Ann Arbor           MI      48107-8645          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Waukesha County                                         1621 Woodburn Road                                                                               Waukesha            WI      53188               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Wayne County                                            16 William Street                                                                                Lyons               NY      14489               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Wayne County Board of Supervisors                       609 Azela Drive                                                                                  Waynesboro          MS      39367               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Wayne County Treasurers Office                          400 Monroe, Ste 540                                                                              Detroit             MI      48226               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Webster County                                          P.O. Box 398                                                                                     Walthall            MS      39771               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Webster County Treasurer                                P.O. Box 155                                                                                     Dixon               KY      42409               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Webster Parish Communications District E-911            P.O. Box 1101                                                                                    Minden              LA      71058-1101          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Webster Parish Sales & Use Tax Commission               P.O. Box 357                                                                                     Minden              LA      71058-0357          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Weld County                                             P.O. Box 758                                                                                     Greeley             CO      80632               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Baton Rouge Parish Council                         P.O. Box 757                                                                                     Port Allen          LA      70767               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Carroll Parish                                     410 Willis Street                                                                                Oak Grove           LA      71263               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Carroll Parish Communications                      P.O. Drawer 630                                                                                  Oak Grove           LA      71263               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Feliciana Parish E911                              P.O. Box 3417                                                                                    St. Francisville    LA      70775               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Feliciana Parish School Board                      P.O. Box 1910                                                                                    St. Francisville    LA      70775-1910          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Virginia Department of Revenue                     P.O. Box 1202                                                                                    Charleston          WV      25324-1202          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Virginia State Tax Department                      P.O. Box 11895                                                                                   Charleston          WV      25339-1895          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
West Virginia State Tax Department                      P.O. Box 1826                                                                                    Charleston          WV      25327-1826          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Westchester County                                      148 Martine Ave. Room 107                                                                        White Plains        NY      10601               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
Westchester County                                      148 Martine Avenue                        Suite 107                                              White Plains        NY      10601               Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined
White County                                            300 North Spruce                                                                                 Searcy              AR      72143-7723          Tax              507(a)(8)                   X             X            X                                    Undetermined   Undetermined




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                                                                                                                                                                                                    Incurred, Basis    of Priority Unsecured
                         Creditor Name                                          Address1                               Address2                                   City   State       Zip    Country    for Claim                Claim                                                                              Total Claim   Priority Amount
White County Emergency Coummunications             1241 Helen Highway                          Suite 160                                              Cleveland           GA     30528              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Whitfield County Board of Commissioners E911       P.O. Box 248                                                                                       Dalton              GA     30722              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
WI USF                                             Box 93918                                                                                          Milwaukee           WI     53293-0918         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wichita-Wilbarger 911 District                     P.O. Box 1829                                                                                      Wichita Falls       TX     76307              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Williams County                                    P.O. Box 2047                                                                                      Williston           ND     58802-2047         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Williamsburg County 911 Fund                       2086 Thurgood Marshall Highway                                                                     Kingstree            SC    29556              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Williamson County Tax Assessor/Collector           904 South Main Street                                                                              Georgetown          TX     78626              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Williamson County Trustee                          P.O. Box 648                                                                                       Franklin            TN     37065-0648         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wilmington Trust National Association              25 S Charles Street                         11th Floor                                             Baltimore           MD     21201              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wilson County Trustee                              P.O. Box 865                                                                                       Lebanon             TN     37088              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Winn Parish Communications District                P.O. Box 189                                                                                       Winnfield           LA     71483              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Winn Parish School Board                           P.O. Box 430                                                                                       WInnfield           LA     71483-0430         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Winnebago County                                   112 Otter Street                            P.O. Box 2808                                          Oshkosh             WI     54901              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Winston County 9-1-1                               P.O. Box 69                                                                                        Louisville          MS     39339              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wireless Emergency Telephone System Fund           P.O. Box 7117                                                                                      Tallahassee          FL    32314              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wisconsin Department of Revenue                    P.O. Box 930208                                                                                    Milwaukee           WI     53293-0208         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wisconsin Dept of Revenue                          P.O Box 8949                                                                                       Madison             WI     53708-8949         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wisconsin Public Service Commission                P.O. Box 7854                                                                                      Madison             WI     53707-7854         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wise County Appraisal District                     400 E. Business Hwy. 380                                                                           Decatur             TX     76234-3165         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wise County Tax Assessor/Collector                 404 W. Walnut                                                                                      Decatur             TX     76234              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wood County                                        1 Court Square                                                                                     Parkersburg         WV     26101              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wood County Treasurer                              P.O. Box 7                                                                                         Alva                OK     73717              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Woodbury County                                    P.O. Box 447                                                                                       Sioux City           IA    51102              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Woodlands Metro Center MUD                         P.O. Box 7829                                                                                      The Woodlands       TX     77387-7829         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Woodward County Commissioners                      1600 Main Street                            Suite #9                                               Woodward            OK     73801-3060         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wylie Police and Fire Communications Ctr.          2000 North Highway 78                                                                              Wylie               TX     75098              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wyoming County Treasurer                           RE: 9-1-1                                   143 North Main Street                                  Warsaw              NY     14569              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wyoming Department of Revenue                      122 West 25th Street, 3rd Floor East                                                               Cheyenne            WY     82002-0110         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wyoming Department of Revenue                      Herschler Building - Second Floor West      122 West 25th Street                                   Cheyenne            WY     82002-0110         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wyoming State Treasurer                            Division of Vocational Rehabilitation       614 South Greely Highway                               Cheyenne            WY     82007              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Wyoming Universal Service Fund                     2515 Warren Avenue                          Suite 300                                              Cheyenne            WY     82002              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Yalobusha County                                   P.O. Box 664                                                                                       Water Valley        MS     38965              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Yate County Treasurer                              417 Liberty Street                          Suite 1081                                             Penn Yan            NY     14527-1122         Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Yazoo County Chancery Clerk                        E911 Account                                P.O. Box 68                                            Yazoo City          MS     39194              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
York County                                        P.O. Box 12430                                                                                     Rock Hill            SC    29731              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined
Zapata County                                      200 E 7th St., Suite 153                                                                           Zapata              TX     78076              Tax               507(a)(8)                   X             X            X                                    Undetermined    Undetermined




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                                                                                                                         In re Fusion Connect, Inc.
                                                                                                                                                                                                    Main Document
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                                                                                                    Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                           Last 4




                                                                                                                                                                                                                                                             Contingent



                                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                                                                          Digits of      Date Debt was
                                                                                                                                                                                                                          Account      Incurred, Basis for
                         Creditor Name                             Address1                  Address2                            Address3                Address4                   City   State      Zip       Country   Number              Claim                                                                               Total Claim
Advocate Network                               John Campbell                    270 Peachtree Street NW           Ste 1800                                          Atlanta                GA           30303                         Litigation             X            X              X                                        Undetermined
Cooley LLP                                     101 California Street            5Th Floor                                                                           San Francisco          CA      94111-5800                         Indemnification        X            X              X                                        Undetermined
Cyrus Satazadeh                                Greg Blankenship                 445 Hamilton Avenue               Suite 605                                         White Plains           NY           10601                         Litigation             X            X              X                                        Undetermined
DELOITTE TAX LLP                               191 Peachtree St Ne              Ste 2000                                                                            Atlanta                GA           30303                         Trade Payable                                                                                   $5,250.00
DIGITAL PI INC                                 P.O. Box 207343                                                                                                      Dallas                 TX      75320-7343                         Trade Payable                                                                                  $16,762.50
Estill County                                  Ridney G. Davis, Esq.            133 Main Street                   P.O. Box 150                                      Irvine                 KY           40336                         Litigation             X            X              X                                        Undetermined
FAXCOREINC                                     19590 East Mainstreet 207                                                                                            Parker                 CO           80138                         Trade Payable                                                                                   $5,368.50
Harmon                                         Thomas S. Harmon                 2702 Treble Creek                                                                   San Antonio            TX           78258                         Litigation             X            X              X                                        Undetermined
Holcombe T. Green, Jr                          3060 Peachtree Road NW           Suite 1065                                                                          Atlanta                GA           30305                         Note Payable                                                                               $10,000,000.00
                                                                                                                                                                                                                                      Employee
Matthew D. Rosen                               210 Interstate North Parkway     Suite 300                                                                           Atlanta                   GA   30339                              compensation                            X                                                  Undetermined
MEMORYBLUE, INC                                8230 Courthouse Rd #520                                                                                              Vienna                 VA           22182                         Trade Payable                                                                                   $9,250.00
MICROSOFT                                      P.O. Box 842103                                                                                                      Dallas                 TX      75284-2103                         Trade Payable                                                                                  $29,511.00
Rampalli                                       John Dember, Esq.                600 Lawrence Road                                                                   Lawrenceville          NJ           08648                         Litigation             X            X              X                                        Undetermined
SERVICE NEON SIGNS, INC                        6611 Iron Place                                                                                                      Springfield            VA           22151                         Trade Payable                                                                                   $5,427.70
TECHNOLOGY MARKETING CORPORATION               35 Nutmeg Drive                  Suite 340                                                                           Trumbull               CT           06611                         Trade Payable                                                                                  $20,000.00
WEX BANK                                       P.O. Box 6293                                                                                                        Carol Stream           IL      60197-6293                         Trade Payable                                                                                   $1,976.11
                                                                                                                                                                                                                                                                                                    Total:                       $10,093,545.81




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 Fill in this information to identify the case:

 Debtor name         Fusion Connect, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-11811
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                        See Schedule G Attachment
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                                            19-11811-dsj                                         Doc 191         Filed 07/16/19 Entered 07/16/19 22:09:01
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                                                                                                                                                                  Schedule G: Executory Contracts




                   Contract Counterparty                          Address1                                            Address2                         Address3                        Address4                   City        State     Zip           Country     Description of Contract or Lease and Nature of    Date of Contract or Lease   Remaining Term     List Contract Number
                                                                                                                                                                                                                                                                                 Debtor's Interest                                                                  of Any Government
                                                                                                                                                                                                                                                                                                                                                                          Contract
301 Solutions LLC                            Attn: General Counsel                       7549 Long Valley Drive                                                                                     Harrisburg           NC               28075                 Service Level Agreement - Client                                   12/20/2018        12/20/2019                      N/A
Adt Canada Inc.                              Attn: General Counsel                       2815 Matheson Boulevard                                                                                    Mississauga          ON              L4Z 1X1 Canada         View Purchase Order - Purchaser                                     7/14/2017    Term Not Stated                PO-75242
Aleksandr Kostenko                           Georgy Gongadze Str., 18                    App. 94                                                                                                    Kiev                                         Ukraine        Notice Of Consulting Agreement Renewal -                             1/8/2018          1/7/2019                      N/A
                                                                                                                                                                                                                                                                Customer
Allied Telecom Group, LLC                    1400 Crystal Drive Suite 700                                                                                                                           Arlington            VA               22202                 Service Agreement - Customer                                        4/27/2016         4/27/2019                     N/A
Allied Telecom Group, LLC                    1400 Crystal Drive Suite 700                                                                                                                           Arlington            VA               22202                 Service Agreement - Customer                                        4/27/2016         4/27/2019                     N/A
Bchi Holdings LLC                            Attn: General Counsel                       3060 Peachtree Road Nw                   Suite 1065                                                        Atlanta              GA               30305                 Indemnity Agreement - Beneficiary                                    5/4/2019    Term Not Stated                    N/A
Beka Business Media                          Attn: General Counsel                       15560 N Frank Lloyd Wright Blvd          Suite B4-5433                                                     Scottsdale           AZ               85260                 Advertising Agreement - Purchaser                                    1/3/2019          1/2/2020                     N/A
Bluesky It Partners                          Attn: General Counsel                       2429 Bissonnet                           Suite 483                                                         Houston              TX               77005                 Master Service Agreement - Customer                                 7/23/2018         10/7/2019                     N/A
Brightwell Talent Solutions                  Attn: General Counsel                       780 Johnson Ferry Road, Suite 200                                                                          Atlanta              GA               30342                 Executive Search Terms And Conditions - Customer                    10/3/2018         10/2/2019                     N/A

Broadvox, Inc.                               Attn: General Counsel                       Piedmont Center Four                     3565 Piedmont Road                       Suite 600                Atlanta              GA               30305                 Assignment And Assumption Of Lease And Consent                      12/1/2013    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                To Agreement - Assignee
Charter Fiberlink Cco, LLC                   12405 Powerscourt Drive                                                                                                                                St. Louis            MO               63131                 Service Agreement - Customer                                        9/11/2014         9/11/2016                     N/A
ClearCell Power, Inc.                        Attn: General Counsel                       420 Lexington Avenue                     Suite 1718                                                        New York             NY               10170                 Desk Space Use And Occupancy Agreement - Tenant                      7/8/2015          7/8/2016                     N/A

Consolidated Planning, Inc.                  Attn: Andy Brincefield, Ceo And President   4201 Congress Street                     Suite 295                                Suite 350                Charlotte            NC               28909                 Consent To Sublease - Lessee                                        2/14/2019    Term Not Stated                   N/A
Consolidated Planning, Inc.                  Attn: Andy Brincefield, Ceo And President   4201 Congress Street                     Suite 295                                Suite 350                Charlotte            NC               28909                 Sublease Agreement - Lessor                                         1/10/2019    Term Not Stated                   N/A
Curvature LLC                                Attn: General Counsel                       6500 Hollister Avenue                                                                                      Santa Barbara        CA               93117                 Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated   675-87759; Schedules
                                                                                                                                                                                                                                                                Of Amendment - Lessee                                                                                             10-12
Curvature LLC                                Attn: General Counsel                       6500 Hollister Avenue                                                                                      Santa Barbara        CA               93117                 Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated    675-87759; Schedule
                                                                                                                                                                                                                                                                Of Amendment - Lessee                                                                                                12
Curvature LLC K/KA Network Hardware Resale   Attn: General Counsel                       6500 Hollister Avenue                                                                                      Santa Barbara        CA               93117                 Schedule A - Licensee                                               Not Dated    Term Not Stated                   N/A
E/W Capital NY, LLC                          Attn: General Counsel                       420 Lexington Avenue                     Suite 1718                                                        New York             NY               10170                 Desk Space Use And Occupancy Agreement - Tenant                     9/18/2017    Term Not Stated                   N/A

Empirix                                      Attn: General Counsel                       600 Technology Park Drive, Suite 100                                                                       Billerica            MA               01821                 Software License and Services Agreement -                           11/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Customer
First American Commercial Bancorp, Inc.      Attn: General Counsel                       1801 West Olympic Boulevard                                                                                Pasadena             CA               91199                 Notice And Acknowledgement Of Assignment Of                          2/1/2019    Term Not Stated               2018827
                                                                                                                                                                                                                                                                Security Interest - Lessee
Fti Stockholders                             210 Interstate North Parkway, Suite 300                                                                                                                Atlanta              GA               30339                 Form Of Joinder To Stockholders Agreement -                         Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Participant
Fti Stockholders                             210 Interstate North Parkway, Suite 300                                                                                                                Atlanta              GA               30339                 Stockholder Agreement - Participant                                 Not Dated    Term Not Stated                   N/A
Global Converge Solutions, Inc.              Attn: General Counsel                       1716 Sunrise Highway                                                                                       Bayshore             NJ               11706                 Schedule A To Master Service Agreement - Lessee                     Not Dated    Term Not Stated         101-87759-015

Global Convergence Solutions I               Attn: General Counsel                       1249 South River Road                    Suite 101                                                         Cranbury             NJ               08512                 Purchase Order - Lessee                                            12/14/2015        12/13/2019                0000030
Global Convergence Solutions, Inc.           Attn: General Counsel                       1249 South River Road                    Suite 101                                                         Cranbury             NJ               08512                 Notice Of Amendment To Lease Agreement -                            2/18/2016         2/17/2020                    N/A
                                                                                                                                                                                                                                                                Licensee
Goldman Sachs Lending Partners LLC           Attn: General Counsel                       200 West Street                                                                                            New York             NY               10282                 Letter Of Direction And Funds Flow Agreement -                       5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Customer
Griffin Clay Consulting LLC                  C/O Wendell Beckner                         6457 Woodmere Place                                                                                        Centreville          VA               20120                 Consulting Agreement - Client                                       1/22/2019         1/29/2019                     N/A
H. A. Storage Systems, Inc.                  Attn: General Counsel                       7965 Stone Creek Drive                   Suite 120                                                         Chanhassen           MN               55317                 Invoice - Lessor                                                    3/23/2015    Term Not Stated                 276259
H. A. Storage Systems, Inc.                  Attn: General Counsel                       7965 Stone Creek Drive                   Suite 120                                                         Chanhassen           MN               55317                 Schedule A To Master Lease Agreement And Notice                     7/29/2015         7/28/2019                     N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
H. A. Storage Systems, Inc.                  Attn: General Counsel                       7965 Stone Creek Drive                   Suite 120                                                         Chanhassen           MN               55317                 Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
Hunter Technical Resources, LLC              Attn: General Counsel                       5555 Glenridge Connector                 Suite 625                                                         Atlanta              GA               30342                 Master Employment Agency Services Agreement -                       10/5/2018         10/5/2019                     N/A
                                                                                                                                                                                                                                                                Client
Insight Global, LLC                          Attn: General Counsel                       Attn: Legal Department                   4170 Ashford Dunwoody Road               Suite 250                Atlanta              GA               30319                 Master Services Agreement For Staffing Services -                   10/3/2018         10/3/2021                     N/A
                                                                                                                                                                                                                                                                Client
Internet Creations                           Attn: General Counsel                       2000 Water View Drive, Suite 100                                                                           Hamilton             NJ                08691                Purchase Agreement - Customer                                        6/3/2019          6/2/2020                     N/A
Inteserra Consulting Group Inc               Attn: General Counsel                       P.O. Box 200                                                                                               Winter Park          FL           32790-0200                Compliance Reporting Agreement - Purchaser                           7/1/2018          7/1/2019                     N/A
KPMG LLP                                     Attn: General Counsel                       1050 Crown Pointe Parkway                Suite 1500                                                        Atlanta              GA                30338                Tax Compliance Services Agreement - Client                          10/8/2018         10/7/2022                     N/A
Lightower Fiber Networks                     P.O. Box 28730                                                                                                                                         New York             NY           10087-8730                Order Form - Customer                                              11/18/2014    Term Not Stated                    N/A
Lightower Fiber Networks ii, LLC             P.O. Box 28730                                                                                                                                         New York             NY           10087-8730                Order Form - Customer                                               3/16/2016    Term Not Stated                    N/A
Lightower Fiber Networks ii, LLC             P.O. Box 28730                                                                                                                                         New York             NY           10087-8730                Order Form - Customer                                               3/28/2016    Term Not Stated                    N/A
Lightower Fiber Networks ii, LLC             P.O. Box 28730                                                                                                                                         New York             NY           10087-8730                Order Form - Customer                                                3/6/2015    Term Not Stated                    N/A
Lingo Management LLC                         Attn: General Counsel                       3060 Peachtree Road North West           Suite 1065                                                        Atlanta              GA                30305                Carrier Solutions Wholesale Master Service                           5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Agreement - Customer
Lingo Management, LLC                        Attn: Vinnie Oddo                           3060 Peachtree Road Northwest            Suite 1065                                                        Atlanta              GA                30305                Transition Services Agreement - Client                               5/4/2018    Term Not Stated                    N/A
Maksym Kovalenko                             App. 273                                    Deghtiarenko Str., 33                                                                                      Kiev                                   04201 Ukraine        Consulting Agreement Extension - Client                              1/8/2018          1/8/2019                     N/A
Maksym Rollie                                App. 45                                     Gradynska Str., 14                                                                                         Kiev                                   02222 Ukraine        Consulting Agreement Extension - Purchaser                           1/8/2018          1/8/2019                     N/A
Matthew D. Rosen                             210 Interstate North Parkway, Suite 300                                                                                                                Atlanta              GA                30339                Employment Agreement                                                    N/A               N/A N/A
Max De Lavenne                               1335 Sw Fleishauer Lane                                                                                                                                Mcminnville          OR                97128                Agreement For Consulting Services - Employer                        2/18/2019    Term Not Stated                    N/A
Max De Lavenne                               1335 Sw Fleishauer Lane                                                                                                                                Mcminnville          OR                97128                General Safety Policy And Release - Employer                         3/3/2019    Term Not Stated                    N/A
Max De Lavenne                               1335 Sw Fleishauer Lane                                                                                                                                Mcminnville          OR                97128                Confidentiality Agreement - Disclosing Party                         3/5/2019    Term Not Stated                    N/A
Microsoft Corporation                        Attn: General Counsel                       Volume Licensing Group                   One Microsoft Way                                                 Redmond              WA                98052                Indemnity Agreement - Customer                                       5/4/2018          5/3/2020                     N/A
Midcontinent Communications                  P.O. Box 5010                                                                                                                                          Sioux Falls          SD           57117-5010                Confidentiality Agreement - Receiving/ Disclosing                   2/25/2019         2/25/2020                     N/A
                                                                                                                                                                                                                                                                Party
Miller Isar, Inc.                            Attn: General Counsel                       4304 92Nd Avenue Nw                                                                                        Gig Harbor           WA                98335                Engagement Letter Agreement - Customer                               4/3/2017    Term Not Stated                   N/A
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Service Agreement - Lessee                     Not Dated    Term Not Stated         101-87759-015

NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A - Lessee                                                 4/29/2016         4/28/2020                    N/A
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement - Lessee                       Not Dated    Term Not Stated         101-87759-016

NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Equipment Lease - Lessee                                            Not Dated    Term Not Stated                   N/A
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Installment Payment Agreement - Customer                            Not Dated    Term Not Stated             101-87759
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Master Lease Agreement - Lessee                                     Not Dated          6/9/2014                    N/A
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Letter Re: Credit Approval - Lessee                                  3/5/2015         6/25/2019                    N/A
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement - Lessee                       Not Dated    Term Not Stated   675-87759; Schedules
                                                                                                                                                                                                                                                                                                                                                                                    7-9
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement - Lessee                        4/3/2015          4/2/2019     675-87759; Schedule
                                                                                                                                                                                                                                                                                                                                                                                     07
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Certificate Of Acceptance & Amendment Letter -                      3/31/2015    Term Not Stated                   N/A
                                                                                                                                                                                                                                                                Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement - Lessee                       3/31/2015         3/30/2019     675-87759; Schedule
                                                                                                                                                                                                                                                                                                                                                                                    08
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Certificate Of Acceptance & Amendment Letter -                      3/31/2015    Term Not Stated                   N/A
                                                                                                                                                                                                                                                                Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Certificate Of Acceptance - Lessor                                  4/14/2015    Term Not Stated         101-87759 009
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement - Lessee                       4/29/2015         4/28/2019     675-87759; Schedule
                                                                                                                                                                                                                                                                                                                                                                                    09
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Certificate Of Acceptance - Lessor                                  4/14/2015    Term Not Stated         101-87759 009
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Certificate Of Acceptance - Lessor                                  4/14/2015    Term Not Stated         101-87759 009
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement And Notice                     7/29/2015         7/28/2019                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5805                Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5805                Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5805                Schedule A To Master Lease Agreement And Notice                     Not Dated    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                Of Amendment - Lessee
NEC Financial Services, LLC                  Attn: General Counsel                       250 Pehle Avenue                         Suite 704                                                         Saddle Brook         NJ           07663-5806                Credit Approval Confirmation And Terms And                           3/5/2015         6/25/2019                     N/A
                                                                                                                                                                                                                                                                Conditions - Lessee




                                                                                                                                                                              1 of 2
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                                                                                                                                                                            In re Fusion Connect, Inc.
                                                                                                                                                                                                                                                                 Main Document
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                                                                                                                                                                         Schedule G: Executory Contracts




                  Contract Counterparty                                    Address1                                        Address2                           Address3                        Address4                    City        State     Zip        Country     Description of Contract or Lease and Nature of     Date of Contract or Lease   Remaining Term     List Contract Number
                                                                                                                                                                                                                                                                                      Debtor's Interest                                                                   of Any Government
                                                                                                                                                                                                                                                                                                                                                                                Contract
NEC Financial Services, LLC                           Attn: General Counsel                  250 Pehle Avenue                          Suite 704                                                           Saddle Brook          NJ           07663-5806             Schedule A To Master Lease Agreement And                             Not Dated    Term Not Stated           101-87759-013
                                                                                                                                                                                                                                                                     Addendum - Lessee
NEC Financial Services, LLC                           Attn: General Counsel                  250 Pehle Avenue                          Suite 704                                                           Saddle Brook          NJ           07663-5806             Certificate Of Acceptance & Amendment Letter -                      11/30/2015        11/29/2019                     N/A
                                                                                                                                                                                                                                                                     Licensee
NEC Financial Services, LLC                           Attn: General Counsel                  250 Pehle Avenue                          Suite 704                                                           Saddle Brook          NJ           07663-5806             Assignment Of Invoice Agreement - Lessee                            11/12/2015    Term Not Stated                    N/A
Objectfrontier, Inc.                                  Attn: General Counsel                  3025 Windward Plaza                       Suite 525                                                           Alpharetta            GA                30005             Statement Of Work - Customer                                         2/19/2019         8/31/2019                     N/A
Objectfrontier, Inc.                                  Attn: General Counsel                  3025 Windward Plaza                       Suite 525                                                           Alpharetta            GA                30005             Statement Of Work For Extended Engineering Team -                     1/1/2019        12/31/2019                     N/A
                                                                                                                                                                                                                                                                     Contractor
Oracle America Inc.                                   Attn: General Counsel                  500 Oracle Parkway                                                                                            Redwood City          CA               94065              Schedule A To Master Lease Agreement - Lessee                        Not Dated    Term Not Stated         101-87759-016

Oracle America Inc.                                   Attn: General Counsel                  500 Oracle Parkway                                                                                            Redwood Shores        CA               94065              Schedule A To Master Lease Agreement And                             Not Dated    Term Not Stated         101-87759-013
                                                                                                                                                                                                                                                                     Addendum - Lessee
Palisade Compliance, LLC                              Attn: General Counsel                  88 East Main Street                       Suite H310                                                          Mendham               NJ                07945             Master Services Agreement - Unknown/Other                            1/31/2019    Term Not Stated                    N/A
Palisade Compliance, LLC                              Attn: General Counsel                  88 East Main Street                       Suite H310                                                          Mendham               NJ                07945             Statement Of Work No1 - Purchaser                                    1/31/2019    Term Not Stated                    N/A
Park Place Technologies LLC                           Attn: General Counsel                  5910 Landerbrook Drive                    Suite 300                                                           Cleveland             OH           44124-6500             Purchase Order - Client                                             11/27/2018    Term Not Stated                    N/A
Peerless Network, Inc.                                222 South Riverside Plaza Suite 2730   Suite 2730                                                                                                    Chicago               IL                60606             Service Order - Customer                                             9/29/2014    Term Not Stated                    N/A
Piedmont Center, 1-4 LLC                              Attn: General Counsel                  3565 Piedmont Road, N.E.                                                                                      Atlanta               GA                30305             First Amendment To Lease Agreement - Lessee                           9/1/2017         8/31/2022                     N/A

Piedmont Center, 1-4 LLC                              Attn: General Counsel                  3565 Piedmont Road, N.E.                                                                                      Atlanta               GA               30305              Assignment And Assumption Of Lease And Consent                       12/1/2013    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     To Agreement - Assignee
Qualified Staffing, Inc.                              Attn: General Counsel                  153 Smithville Church Road                                                                                    Warner Robins         GA               31088              Staffing Agreement - Client                                          10/3/2018    Term Not Stated                    N/A
Qualtrics                                             Attn: General Counsel                  333 W. River Park Drive                                                                                       Provo                 UT               84604              Service Order - Customer                                             9/14/2018         9/13/2019                     N/A
R Kirby Godsey                                        210 Interstate North Parkway Se                                                                                                                      Atlanta               GA               30339              Separation Agreement - Participant                                    6/8/2018    Term Not Stated                    N/A
Salestream Software Inc                               Attn: General Counsel                  4160 Temescal Canyon Road                 Suite 208                                                           Corona                CA               92883              Master Services Agreement - Customer                                 5/27/2016    Term Not Stated                    N/A
Salestream Software Inc                               Attn: General Counsel                  4160 Temescal Canyon Road                 Suite 208                                                           Corona                CA               92883              Order For Services - Purchaser                                       5/27/2016         5/26/2019                     N/A
seriesOne, Inc.                                       Attn: General Counsel                  420 Lexington Avenue, Suite 1718                                                                              New York              NY               10170              Amendment To Desk Space And Occupancy                                3/21/2019    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     Agreement - Tenant
seriesOne, Inc.                                       Attn: General Counsel                  420 Lexington Avenue, Suite 1718                                                                              New York              NY               10170              Desk Space And Occupancy Agreement - Tenant                          1/21/2019    Term Not Stated                    N/A

Shareholder Representative Services LLC               Attn: General Counsel                  950 17Th Street, Suite 1400                                                                                   Denver                CO               80202              Agreement And Plan Of Merger - Unknown/Other                          5/4/2018    Term Not Stated                    N/A

SLG Graybar Mesne Lease LLC                           C/O Sl Green Realty Corp.              Attn: General Counsel                     420 Lexington Avenue                                                New York              NY               10170              First Lease Modification And Extension Agreement -                  11/14/2014        10/31/2020                     N/A
                                                                                                                                                                                                                                                                     Tenant
SLG Graybar Mesne Lease LLC                           C/O Sl Green Realty Corp.              Attn: General Counsel                     420 Lexington Avenue                                                New York              NY               10170              First Lease Modification And Extension Agreement -                  11/19/2014        10/31/2020                     N/A
                                                                                                                                                                                                                                                                     Tenant
Smithville Telecom, LLC                               1600 Temperance Street                                                                                                                               Ellettsville          IN               47429              Enterprise Services Comtract (service provisioning                   9/10/2018         9/10/2019                     N/A
                                                                                                                                                                                                                                                                     and ROW)
Smithville Telecom, LLC                               1600 Temperance Street                                                                                                                               Ellettsville          IN               47429              Services Contract Customer                                           9/10/2018         9/10/2019                    N/A
Sonus Networks, Inc.                                  Attn: General Counsel                  4 Technology Park Drive                                                                                       Westfort              MA               01886              Schedule A - Lessee                                                  7/31/2015         7/30/2019           101-87759 011
Sonus Networks, Inc.                                  Attn: General Counsel                  4 Technology Park Drive                                                                                       Westfort              MA               01886              Schedule A To Master Lease Agreement And Notice                      Not Dated    Term Not Stated                   N/A
                                                                                                                                                                                                                                                                     Of Amendment - Lessee
Spectrotel Holding Company LLC                        P.O. Box 1949                                                                                                                                        Newark                NJ           07101-1949             Service Agreement Agent                                               6/3/2016    Term Not Stated                    N/A
Spectrum Business Charter Fiberlink Cc Viii, LLC      12405 Powerscourt Drive                                                                                                                              St. Louis             MO                63131             Service Agreement - Customer                                         2/17/2016         2/17/2019                     N/A
Spectrum Business Or Charter Fiberlink Cc Viii, LLC   P.O. Box 3019                                                                                                                                        Milwaukee             WI           53201-3019             Service Agreement - Customer                                         2/12/2016         7/19/2013                     N/A
TAC PCN, LLC                                          C/O The Ardent Companies Llc           Attn: Dror Bezalel                        2100 Powers Ferry Road                     Suite 350                Atlanta               GA                30339             Consent To Sublease - Lessee                                         2/14/2019    Term Not Stated                    N/A
The Telx Group, Inc.                                  1 State Street                         21St Floor                                                                                                    New York              NY                10004             Vendor Contract - Marketing Service Provider                         8/30/2013    Term Not Stated                    N/A

Tierpoint Hosted Solutions, LLC F/K/A Windstream      4120 Main at North Hills Ave           Suite 230                                                                                                     Raleigh               NC               27609              "Hi-Touch Telecom Services -" Customer                               8/24/2016         9/30/2016                     N/A
Hosted Solutions, LLC
Us National Bank Association                          Attn: General Counsel                  425 Walnut Street                                                                                             Cincinnati            OH               45202              Letter Of Direction And Funds Flow Agreement -                        5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     Customer
Vaco Atlanta, LLC                                     Attn: Contracts Manager                5410 Maryland Way                         Suite 460                                                           Brentwood             TN               37027              Client Services Agreement - Client                                   10/4/2018    Term Not Stated                 190085
Vector Capital V LP                                   One Market Street                      Steuart Tower 23Rd Floor                                                                                      San Francisco         CA               94105              Letter Of Direction And Funds Flow Agreement -                        5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     Customer
Vector Entrepreneur Fund V LP                         One Market Street                      Steuart Tower 23Rd Floor                                                                                      San Francisco         CA               94105              Letter Of Direction And Funds Flow Agreement -                        5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     Customer
Vector Fusion Holdings (Cayman) Ltd                   One Market Street                      Steuart Tower 23Rd Floor                                                                                      San Francisco         CA               94105              Letter Of Direction And Funds Flow Agreement -                        5/4/2018    Term Not Stated                    N/A
                                                                                                                                                                                                                                                                     Customer
Velocify                                              Attn: General Counsel                  4420 Rosewood Drive Suite 500                                                                                 Pleasanton            CA               94588              Order Form - Customer                                               10/22/2018        10/22/2019                     N/A
Velocity By Ellie Mae                                 4420 Rosewood Drive, Suite 500                                                                                                                       Pleasanton            CA               94588              Order Form - Customer                                               10/30/2018        10/30/2019                     N/A
Weston Financial Services LLC                         Attn: General Counsel                  420 Lexington Avenue, Suite 1718                                                                              New York              NY               10170              Desk Space Use And Occupancy Agreement - Tenant                       1/1/2018        12/31/2018                     N/A

Wow Internet Cable And Phone                          Attn: Vp Of Buisness                   7887 E Belleview Ave                      Suite 1000                                                          Englewood             CO               80111              Business Service Order for Internet service                         10/26/2018        10/26/2021                     N/A
Z Global, LLC                                         Attn: General Counsel                  420 Lexington Avenue                      Suite 1718                                                          New York              NY               10170              Desk Space Use And Occupancy Agreement - Tenant                       1/1/2018        12/31/2018                     N/A




                                                                                                                                                                                     2 of 2
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 Fill in this information to identify the case:

 Debtor name         Fusion Connect, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         19-11811
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      See Schedule H                                                                                                         D
             Attachment                                                                                                             E/F
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
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                                                                                                H: Codebtors




                Bridge Loan (Initial)                             First Lien Term Loan A                             First Lien Term Loan B                                  Second Lien Term Loan
Role        Debtor                                 Role        Debtor                                 Role        Debtor                                       Role        Debtor
Borrower    Fusion Connect, Inc.                   Borrower    Fusion Connect, Inc.                   Borrower    Fusion Connect, Inc.                         Borrower    Fusion Connect, Inc.
Guarantor   Fusion Telecom of Texas Ltd., L.L.P.   Guarantor   Fusion Telecom of Texas Ltd., L.L.P.   Guarantor   Fusion Telecom of Texas Ltd., L.L.P.         Guarantor   Fusion Telecom of Texas Ltd., L.L.P.
Guarantor   Fusion Communications, LLC             Guarantor   Fusion Communications, LLC             Guarantor   Fusion Communications, LLC                   Guarantor   Fusion Communications, LLC
Guarantor   Fusion PM Holdings, Inc.               Guarantor   Fusion PM Holdings, Inc.               Guarantor   Fusion PM Holdings, Inc.                     Guarantor   Fusion PM Holdings, Inc.
Guarantor   Fusion Management Services LLC         Guarantor   Fusion Management Services LLC         Guarantor   Fusion Management Services LLC               Guarantor   Fusion Management Services LLC
Guarantor   Bircan Holdings, LLC                   Guarantor   Bircan Holdings, LLC                   Guarantor   Bircan Holdings, LLC                         Guarantor   Bircan Holdings, LLC
Guarantor   Fusion Telecom of Missouri, LLC        Guarantor   Fusion Telecom of Missouri, LLC        Guarantor   Fusion Telecom of Missouri, LLC              Guarantor   Fusion Telecom of Missouri, LLC
Guarantor   Fusion Telecom of Oklahoma, LLC        Guarantor   Fusion Telecom of Oklahoma, LLC        Guarantor   Fusion Telecom of Oklahoma, LLC              Guarantor   Fusion Telecom of Oklahoma, LLC
Guarantor   Fusion Telecom of Kansas, LLC          Guarantor   Fusion Telecom of Kansas, LLC          Guarantor   Fusion Telecom of Kansas, LLC                Guarantor   Fusion Telecom of Kansas, LLC
Guarantor   Fusion Texas Holdings, Inc.            Guarantor   Fusion Texas Holdings, Inc.            Guarantor   Fusion Texas Holdings, Inc.                  Guarantor   Fusion Texas Holdings, Inc.
Guarantor   Fusion Telecom, LLC                    Guarantor   Fusion Telecom, LLC                    Guarantor   Fusion Telecom, LLC                          Guarantor   Fusion Telecom, LLC
Guarantor   Fusion CB Holdings, Inc.               Guarantor   Fusion CB Holdings, Inc.               Guarantor   Fusion CB Holdings, Inc.                     Guarantor   Fusion CB Holdings, Inc.
Guarantor   Fusion Cloud Services, LLC             Guarantor   Fusion Cloud Services, LLC             Guarantor   Fusion Cloud Services, LLC                   Guarantor   Fusion Cloud Services, LLC
Guarantor   Fusion BCHI Acquisition LLC            Guarantor   Fusion BCHI Acquisition LLC            Guarantor   Fusion BCHI Acquisition LLC                  Guarantor   Fusion BCHI Acquisition LLC
Guarantor   Fusion LLC                             Guarantor   Fusion LLC                             Guarantor   Fusion LLC                                   Guarantor   Fusion LLC
Guarantor   Fusion NBS Acquisition Corp.           Guarantor   Fusion NBS Acquisition Corp.           Guarantor   Fusion NBS Acquisition Corp.                 Guarantor   Fusion NBS Acquisition Corp.
Guarantor   Fusion Cloud Company LLC               Guarantor   Fusion Cloud Company LLC               Guarantor   Fusion Cloud Company LLC                     Guarantor   Fusion Cloud Company LLC
Guarantor   Fusion MPHC Group, Inc.                Guarantor   Fusion MPHC Group, Inc.                Guarantor   Fusion MPHC Group, Inc.                      Guarantor   Fusion MPHC Group, Inc.
Guarantor   Fusion MPHC Holding Corporation        Guarantor   Fusion MPHC Holding Corporation        Guarantor   Fusion MPHC Holding Corporation              Guarantor   Fusion MPHC Holding Corporation

             Bridge Loan (Incremental)                              First Lien Revolver                                 Letters of Credit                             Green Unsecured Subordinated Note
Role        Debtor                                 Role        Debtor                                 Role        Debtor                                       Role       Debtor
Borrower    Fusion Connect, Inc.                   Borrower    Fusion Connect, Inc.                   Borrower    Fusion Connect, Inc.                         Borrower   Fusion Connect, Inc.
Guarantor   Fusion Telecom of Texas Ltd., L.L.P.   Guarantor   Fusion Telecom of Texas Ltd., L.L.P.   Guarantor   Fusion Telecom of Texas Ltd., L.L.P.
Guarantor   Fusion Communications, LLC             Guarantor   Fusion Communications, LLC             Guarantor   Fusion Communications, LLC
Guarantor   Fusion PM Holdings, Inc.               Guarantor   Fusion PM Holdings, Inc.               Guarantor   Fusion PM Holdings, Inc.
Guarantor   Fusion Management Services LLC         Guarantor   Fusion Management Services LLC         Guarantor   Fusion Management Services LLC
Guarantor   Bircan Holdings, LLC                   Guarantor   Bircan Holdings, LLC                   Guarantor   Bircan Holdings, LLC
Guarantor   Fusion Telecom of Missouri, LLC        Guarantor   Fusion Telecom of Missouri, LLC        Guarantor   Fusion Telecom of Missouri, LLC
Guarantor   Fusion Telecom of Oklahoma, LLC        Guarantor   Fusion Telecom of Oklahoma, LLC        Guarantor   Fusion Telecom of Oklahoma, LLC
Guarantor   Fusion Telecom of Kansas, LLC          Guarantor   Fusion Telecom of Kansas, LLC          Guarantor   Fusion Telecom of Kansas, LLC
Guarantor   Fusion Texas Holdings, Inc.            Guarantor   Fusion Texas Holdings, Inc.            Guarantor   Fusion Texas Holdings, Inc.
Guarantor   Fusion Telecom, LLC                    Guarantor   Fusion Telecom, LLC                    Guarantor   Fusion Telecom, LLC
Guarantor   Fusion CB Holdings, Inc.               Guarantor   Fusion CB Holdings, Inc.               Guarantor   Fusion CB Holdings, Inc.
Guarantor   Fusion Cloud Services, LLC             Guarantor   Fusion Cloud Services, LLC             Guarantor   Fusion Cloud Services, LLC
Guarantor   Fusion BCHI Acquisition LLC            Guarantor   Fusion BCHI Acquisition LLC            Guarantor   Fusion BCHI Acquisition LLC
Guarantor   Fusion LLC                             Guarantor   Fusion LLC                             Guarantor   Fusion LLC
Guarantor   Fusion NBS Acquisition Corp.           Guarantor   Fusion NBS Acquisition Corp.           Guarantor   Fusion NBS Acquisition Corp.
Guarantor   Fusion Cloud Company LLC               Guarantor   Fusion Cloud Company LLC               Guarantor   Fusion Cloud Company LLC
Guarantor   Fusion MPHC Group, Inc.                Guarantor   Fusion MPHC Group, Inc.                Guarantor   Fusion MPHC Group, Inc.
Guarantor   Fusion MPHC Holding Corporation        Guarantor   Fusion MPHC Holding Corporation        Guarantor   Fusion MPHC Holding Corporation
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Fill in this information to identify the case:

Debtor name         Fusion Connect, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF NEW YORK

Case number (if known)     19-11811
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 16, 2019                   X /s/ Keith Soldan
                                                           Signature of individual signing on behalf of debtor

                                                            Keith Soldan
                                                            Printed name

                                                            Chief Financial Officer and Principal Accounting Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
